(1 of 262), Page 1 of 262   Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 1 of 262




                                                 No. 24-880

                            IN THE UNITED STATES COURT OF APPEALS
                                    FOR THE NINTH CIRCUIT
                                   ____________________________

                    CENTER FOR INVESTIGATIVE REPORTING and WILL EVANS

                                                                 Plaintiffs-Appellees,

                                                      v.

                              UNITED STATES DEPARTMENT OF LABOR

                                                                 Defendant-Appellant.


                 On Appeal from the United States District Court for the Northern District of
                California, Case No. 22-cv-07182-WHA, Honorable William Alsup, Presiding

                             SUPPLEMENTAL EXCERPTS OF RECORD
                                      VOLUME 4 OF 4


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(2 of 262), Page 2 of 262        Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 2 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌGENERAL       Document 39-1 Filed 10/18/23 Page 812 of 1025
                                                 INFORMATION                                                                                           ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




       SUPPLY CHAIN DIVISION                                                                                                                           ÌÓÛÞáä%ßÓÖ×åçââÞëÕ
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              employees                                   Most innovative                                                        Active in more than
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                                                          according to Gartner ranking                                           countries



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(3 of 262), Page 3 of 262        Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 3 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌGENERAL       Document 39-1 Filed 10/18/23 Page 813 of 1025
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(4 of 262), Page 4 of 262        Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 4 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌGENERAL       Document 39-1 Filed 10/18/23 Page 814 of 1025
                                                 INFORMATION                                           ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




       ECOMMERCE SOLUTIONS DIVISION                                                                     ¼áß×åæÛÕÓàÖÛàæ×äàÓ
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(5 of 262), Page 5 of 262        Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 5 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌGENERAL       Document 39-1 Filed 10/18/23 Page 815 of 1025
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       ÈÇËÌÈ¹Ê»½Ä¿½ÊÅ¹ÆÑ¼ÁÎÁËÁÇÆ                                                                 ÌÚ×âáåæÓÞå×äèÛÕ×Øá
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                                                          SER-905
(6 of 262), Page 6 of 262        Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 6 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌGENERAL       Document 39-1 Filed 10/18/23 Page 816 of 1025
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(7 of 262), Page 7 of 262        Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 7 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌGENERAL       Document 39-1 Filed 10/18/23 Page 817 of 1025
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                                                                           SER-907
(8 of 262), Page 8 of 262        Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 8 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌGENERAL       Document 39-1 Filed 10/18/23 Page 818 of 1025
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                                                                      SER-908
(9 of 262), Page 9 of 262        Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 9 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌGENERAL       Document 39-1 Filed 10/18/23 Page 819 of 1025
                                                 INFORMATION                                                                                  ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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(10 of 262), Page 10 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 10 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌGENERAL       Document 39-1 Filed 10/18/23 Page 820 of 1025
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(11 of 262), Page 11 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 11 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌGENERAL       Document 39-1 Filed 10/18/23 Page 821 of 1025
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(12 of 262), Page 12 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 12 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌREPORT        Document
                                                ON ECONOMIC POSITION 39-1 Filed 10/18/23 Page 822 of 1025                                                                                ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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(13 of 262), Page 13 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 13 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌREPORT        Document
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         é×àæ Þ×åå åÛÙàÛýÕÓàæ ÙäáéæÚ Ûà æÚ× ë×Óä çàÖ×ä ä×èÛ×é     âä×%âÓàÖ×ßÛÕÞ×è×Þå                                                 ä×ÞÓæÛàÙæáæÚ×âäáÖçÕæ
        Óæoq´ÕáßâÓä×ÖéÛæÚjiq´ÛàæÚ×âä×èÛáçåë×Óä¾áä                                                                               æáÇ¼ÁÆ¹çæáßáæÛè×
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        Ö×ßÓàÖ ßÓàÛØ×åæå Ûæå×ÞØ Ûà æÚ× ä×è×àç× ÓàÖ ×ÓäàÛàÙå        ÁàèÛ×éáØáçäÞ×ÓÖÛàÙßÓäÝ×æâáåÛæÛáàßÓàëáØáçäå×äèÛÕ×å        äÓæ×ÖÛàæáæÚ×¿ÞáÔÓÞ¾
         æä×àÖåáØæÚ×¼ÀÄÖÛèÛåÛáàåÖçäÛàÙæÚ×ë×ÓäÏÚÛÞåæÙÞáÔÓÞ       Óä×åçÔÜ×Õææáå×Õæáä%åâ×ÕÛýÕä×ÙçÞÓæÛáàçàÖ×äæÚ×Post-                  ÌÚ×æÚÛäÖãçÓäæ×ä
         æäÓÖ×éÓååæÛÞÞä×ÞÓæÛè×Þëé×ÞÞåçââáäæ×ÖÓææÚ×Ô×ÙÛààÛàÙ       Ù×å×æì*Èáåæ¿(¿×äßÓàÈáåæÓÞ¹Õæ+¾çäæÚ×äÛàØáäßÓæÛáà             áØæÚ×¹çåæäÓÞÛÓ%ÔÓå×Ö
        áØæÚ×ë×ÓäæÚ×ÙäáéæÚæä×àÖåÞáé×ÖéÛæÚÛàÕä×ÓåÛàÙÕÞÓä-         ä×ÙÓäÖÛàÙæÚÛåÛååç×ÓàÖÞ×ÙÓÞäÛåÝåÛåÕáàæÓÛà×ÖÛà Æáæ×mn      äáÓÖØä×ÛÙÚæÓàÖÕáàæä
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                                                                           SER-913
(14 of 262), Page 14 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 14 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌREPORT        Document
                                                ON ECONOMIC POSITION 39-1 Filed 10/18/23 Page 824 of 1025                                                             ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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        ÔÓå×ÖÅáàæÓºÎéÓåÕáßâÞ×æ×ÖÛàÇÕæáÔ×äÏÛæÚÛæå×%ØçÞ-
        ýÞß×àæå×äèÛÕ×åÅáàæÓéÛÞÞÓÞåáåçââáäææÚ×ËçââÞë»ÚÓÛà
        ÖÛèÛåÛáà

        Ë×Þ×Õæ×ÖÛàÖÛÕÓæáäåØáää×åçÞæåáØáâ×äÓæÛáàå

                                                                                                                                             2021                      2022
        Revenue                                                                                                           xß              81,747                     94,436
        ÈäáýæØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×å*½ºÁÌ+                                                                            xß               7,978                      8,436
        Return on sales`                                                                                                      %               9.8                       8.9
        ½ºÁÌÓØæ×äÓåå×æÕÚÓäÙ×*½¹»+                                                                                     xß               5,186                      5,118
        »áàåáÞÛÖÓæ×Öà×æâäáýæØáäæÚ×â×äÛáÖa                                                                           xß               5,053                      5,359
        ½ÓäàÛàÙåâ×äåÚÓä×b                                                                                                   €              4.10                      4.41
        ¼ÛèÛÖ×àÖâ×äåÚÓä×                                                                                                     €              1.80                      `gdc

        ½ºÁÌ,×ÓäàÛàÙå
        `
                            ¹Øæ×äÖ×ÖçÕæÛáàáØàáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæå
                            a                                                b
                                                                                 ºÓåÛÕ×ÓäàÛàÙåâ×äåÚÓä×   c
                                                                                                                  ÈäáâáåÓÞ



       »áàåáÞÛÖÓæ×Öä×è×àç×çâjnn´                                                              âáäæÕáåæåÓàÖÛàÕä×Óå×ÖÝ×äáå×à×âäÛÕ×åÓåé×ÞÞÓåÕçä-          æá xjrkkßÛÞÞÛáà Ûà
       ÁàæÚ×kikkýàÓàÕÛÓÞë×ÓäÕáàåáÞÛÖÓæ×Öä×è×àç×äáå×Øäáß                                  ä×àÕë×ü×ÕæåÛàæÚ×ÓßáçàæáØxkkpkßÛÞÞÛáàÓàÖæÚ×ÛàÛæÛÓÞ      xkkjlßÛÞÞÛáà+¹æx(n
       xqjpmpßÛÞÞÛáàæáxrmmloßÛÞÞÛáàÓÞåáÔ×à×ýæÛàÙØäáß                                    ÕáàåáÞÛÖÓæÛáàáØÀÛÞÞ×ÔäÓàÖÛàæÚ×ÓßáçàæáØxjllißÛÞÞÛáà      áè×ä æÚ× âäÛáä ë×Óä *x
       âáåÛæÛè×Õçää×àÕë×ü×ÕæåÛàæÚ×ÓßáçàæáØxkrnpßÛÞÞÛáà                                  ËæÓüÕáåæåäáå×ÔëxkjnoßÛÞÞÛáàæáxkoilnßÛÞÞÛáàâÓä-         Þáé×äåæäÓÛàØäáßæÚ×
       ÀÛÞÞ×ÔäÓàÖÚÓåÙ×à×äÓæ×Öä×è×àç×áØxjomißÛÞÞÛáàåÛàÕ×                                   æÛÕçÞÓäÞëÓåÓä×åçÞæáØæÚ×ÛàÕä×Óå×ÖàçßÔ×äáØ×ßâÞáë-           äÛÙÚæå*Ë¹Êå+ÓæØÓÛäè
       ¹âäÛÞkikkÌÚ×âäáâáäæÛáàáØä×è×àç×Ù×à×äÓæ×ÖÓÔäáÓÖ                                     ××å ¹æ xmjppßÛÞÞÛáà Ö×âä×ÕÛÓæÛáà ÓßáäæÛåÓæÛáà ÓàÖ       ÔëxnnkßÛÞÞÛáàæáxpr
       äáå×Øäáßplo´æápoq´ÁàæÚ×ØáçäæÚãçÓäæ×äáØkikk                                 ÛßâÓÛäß×àæÞáåå×åÕÓß×ÛàxmirßÛÞÞÛáàÓÔáè×æÚ×âäÛáä            æÓê×åÛàÕä×Óå×ÖÔëxk
       ä×è×àç×ÛàÕä×Óå×ÖÔëjp´ØäáßæÚ×âäÛáä%ë×Óäâ×äÛáÖæá                                   ë×ÓäâäÛßÓäÛÞëáàÓÕÕáçàæáØÛàè×åæß×àæåÇæÚ×äáâ×äÓæÛàÙ        æáÓåÞÛÙÚæÞëÚÛÙÚ×äæÓê
       xklppoßÛÞÞÛáàåçââáäæ×ÖÔëâáåÛæÛè×Õçää×àÕë×ü×ÕæåÛà                                  ×êâ×àå×åÕÓß×æáxnpjkßÛÞÞÛáàæÚçåÞÛÝ×éÛå××êÕ××ÖÛàÙ
       æÚ×ÓßáçàæáØxlnoßÛÞÞÛáà                                                                 æÚ×âäÛáäë×Óä*xmqroßÛÞÞÛáà+ÖäÛè×àÔëØÓÕæáäååçÕÚÓå         Áßâäáè×ÖÕáàåáÞÛÖÓæ
            ÀÛÙÚ×äÛàÕáß×ØäáßÕçää×àÕëæäÓàåÞÓæÛáàÛàâÓäæÛÕçÞÓä                                 ÚÛÙÚ×äÕçää×àÕëæäÓàåÞÓæÛáà×êâ×àå×åÓåé×ÞÞÓåÛàÕä×Óå×Ö         »áàåáÞÛÖÓæ×Ö à×æ â
       ÕÓçå×ÖáæÚ×äáâ×äÓæÛàÙÛàÕáß×æáÛàÕä×Óå×ÔëxolmßÛÞÞÛáà                                  æäÓè×Þ×àæ×äæÓÛàß×àæÓàÖæäÓÛàÛàÙÕáåæå                          æÚ× kikk ØÛàÓàÕÛÓÞ ë
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        ÅÓæ×äÛÓÞå×êâ×àå×ÕÞÛßÔ×ÖåÛÙàÛýÕÓàæÞëØäáßxmlqrpßÛÞ-                                   Øäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×å*½ºÁÌ+ÕÓß×ÛàxmnqßÛÞÞÛáàÚÛÙÚ×ä      åÚÓä×ÓÞåáäáå×Øäáß
        ÞÛáàæáxnlmplßÛÞÞÛáàâäÛßÓäÛÞëÓåÓä×åçÞæáØÚÛÙÚ×äæäÓàå-                            æÚÓà æÚ× âäÛáä%ë×Óä ýÙçä× *xprpqßÛÞÞÛáà+ Áæ Óßáçàæ×Ö     â×äåÚÓä×Øäáßxmij




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(15 of 262), Page 15 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 15 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌREPORT        Document
                                                ON ECONOMIC POSITION 39-1 Filed 10/18/23 Page 825 of 1025                                       ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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       äÓæÛáÛàä×ÞÓæÛáàæáæÚ×ÕáàåáÞÛÖÓæ×Öà×æâäáýæÓææäÛÔçæÓÔÞ×
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                                                                                                                                                       áÔÞÛÙÓæÛáàå+
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       rÅÓëkikl
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                                                                                                                                                     ¹åå×æåÓàÖÞÛÓÔÛÞÛæÛ×åÓåÖ×åÕ
        ÌáæÓÞÖÛèÛÖ×àÖÓàÖÖÛèÛÖ×àÖâ×äàá%âÓä%èÓÞç×åÚÓä×                    ÌÚ× à×æ Óåå×æ ÔÓå× ÛàÕä×Óå×Ö Ôë xnommßÛÞÞÛáà æá               ÕáàåáÞÛÖÓæ×ÖýàÓàÕÛÓÞåæÓæ
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                                                              2,205   2,205
                                                                              ÓàÖâäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæÛàÕä×Óå×ÖßÓÛàÞëáà
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                                                                              ÓÕãçÛåÛæÛáà áØ Øä×ÛÙÚæ ÓÛäÕäÓØæ ÓàÖ Ûàè×åæß×àæå Ûà éÓä×-
                                                      1,673    1.80
                                                                      1.85    Úáçå×ååáäæÛàÙØÓÕÛÞÛæÛ×åÓàÖæÚ×è×ÚÛÕÞ×þ××æÆ×æéáäÝÛàÙ
                                                                              ÕÓâÛæÓÞÖ×Õä×Óå×ÖÕáßâÓä×ÖéÛæÚæÚ×âä×èÛáçåë×Óä
                      1,409    1,419      1,422
                                                                                    Çâ×äÓæÛàÙâäáèÛåÛáàåä×ßÓÛà×ÖÓææÚ×Þ×è×ÞáØæÚ×âä×-
        1,270
                                                      1.35                    èÛáçåë×ÓäéÚÛÞåæáæÚ×äàáà%Õçää×àæÓåå×æåÓàÖÞÛÓÔÛÞÛæÛ×å
                      1.15      1.15      1.15                                Ø×ÞÞåÞÛÙÚæÞë
            1.05




         jo          jp       jq       jr         ki     kj     kk`

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                                                                              SER-915
(16 of 262), Page 16 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 16 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌREPORT        Document
                                                ON ECONOMIC POSITION 39-1 Filed 10/18/23 Page 826 of 1025                                    ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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       »áàæÛàçÛàÙæá×êâÓàÖÓàÖßáÖ×äàÛå×à×æéáäÝÓàÖ                    ½Óåæ»ÚÛàÓÓàÖÓÖÖ×ÖÛàæäÓ%¹åÛÓÕÓâÓÕÛæëáàÝ×ëÙäáéæÚ            äáàß×àæáçäèÛäæçÓÞ
        Ûàæ×äÕáàæÛà×àæÓÞþ××æ                                             ÞÓà×å¾çäæÚ×ä¼ÀÄ½êâä×ååÓàÖËÛàÙÓâáä×¹ÛäÞÛà×ååÛÙà×ÖÓ       þ×êÛÔÛÞÛæëÓÞÞáéÛàÙçå
       ¹åâÓäæáØçâÙäÓÖÛàÙáçäÛàæ×äÕáàæÛà×àæÓÞþ××æé×åÛÙà×Ö        Õä×éÓàÖßÓÛàæ×àÓàÕ×ÓÙä××ß×àæÛàÅÓäÕÚkikkæá×êâÓàÖ             èáÞçß××êâ×ÕæÓæÛáàå
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       ÌÚ×ä×ßÓÛàÛàÙæ×àÓÛäÕäÓØæéÛÞÞÔ×Ö×ÞÛè×ä×ÖÛàæÚ×ë×Óäå         ÓÛäÕäÓØæ×àæ×ä×Öå×äèÛÕ×ÛàË×âæ×ßÔ×äkikkéÚÛÕÚ×àÓÔÞ×Ö         çàÖ×ä ä×èÛ×é æá xkp
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       ÕáàæÛàç×Öæá×êâÓàÖáçäÓÛäà×æéáäÝéÛæÚæÚ×ÓÖÖÛæÛáàáØ         »ÚÛàÓ¹àáæÚ×äØáçäÕáàè×äæ×ÖÓÛäÕäÓØæáØæÚÛåßáÖ×ÞÓä×           æÚ×ä×è×àç×ÛàÕä×Óå×
       à×éÖÛä×Õæå×äèÛÕ×åØáä×êÓßâÞ×Ô×æé××àºäçåå×Þå*ºÊÍ+           âÞÓàà×Ö Øáä Ö×ÞÛè×äë ÖçäÛàÙ kikl ÏÛæÚ ¹ÛäÁàÕÚ×áà Ó      ä×þ×ÕæåæÚ×ØÓÕææÚÓæ
       ÓàÖ¹æÞÓàæÓ*¹ÌÄ+                                                à×éä×ÙÛáàÓÞâÓäæà×äÓÛäÞÛà×éÓåÓÖÖ×Öæááçäà×æéáäÝÛà           æÚ×âä×èÛáçåë×ÓäÛàÓ
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        æáýè×¹lkj%kiiåÓàÖæé×Þè×ºplp%qiiåÛàå×äèÛÕ×ÛàæÚ×               ÁàæÚ×Å½¹ä×ÙÛáàé×ÕáàæÛàç×æáÛàè×åæÛàáçäÛàØäÓ-        ¼×ýàÛæ×Áàæ×äàÓæÛáàÓÞ
       ë×ÓäçàÖ×ää×èÛ×éÏ×àáéáâ×äÓæ×æÚä××ÓÛäÞÛà×åä×ÙÛáà-           åæäçÕæçä×ÔëÔçÛÞÖÛàÙà×éØÓÕÛÞÛæÛ×åÛà¹Ôç¼ÚÓÔÛÓàÖ¼çÔÓÛ      é×ä×çâéÚÛÞåæåÚÛâß
       ÓÞÞë¼ÀÄ¹ÛäÍÃ×êâÓàÖ×ÖÛæåºpopáâ×äÓæÛáàåÛàÛæåà×é         ÍàÛæ×Ö¹äÓÔ½ßÛäÓæ×åÅçåÕÓæ(æÚ×ÕÓâÛæÓÞáØÇßÓà(Óåé×ÞÞ       ¼×ýàÛæ×¼áß×åæÛÕ*Ì
       Ûàæ×äÕáàæÛà×àæÓÞäáÞ×ÓàÖÓÖÖ×Öà×éºpppåæáÛæåþ××æÏ×         ÓåÂ×ÖÖÓÚÓàÖ¼ÓßßÓßÛàËÓçÖÛ¹äÓÔÛÓÓàÖÔë×êâÓàÖ-               é×ä×þÓæéÚÛÞåæåÚÛâß
       ÓÞåáÕáßâÞ×æ×ÖæÚ×Ûàæ×ÙäÓæÛáàáØ¼ÀÄ¹Ûä¹çåæäÛÓÛàæáæÚ×       ÛàÙáçäÚçÔÛàºÓÚäÓÛàÏ×ÓÞåáÓÕãçÛä×Öå×è×àºpop%lii                Ê×è×àç× Ûà æÚ×
       ½Í¹èÛÓæÛáàâÞÓæØáäßÓàÖ½çäáâ×Óà¹ÛäÌäÓàåâáäæ*½¹Ì+ÚÓå       ÓÛäÕäÓØæØáäÕáàè×äåÛáàáØéÚÛÕÚæÚ×ÞÓåæ×àæ×ä×Öå×äèÛÕ×Ûà     æá xjjkqpßÛÞÞÛáà Ûà
       ×êâÓàÖ×Öáâ×äÓæÛáàåÛàæá¹åÛÓ*ºÓàÙÝáÝÀáàÙÃáàÙ+ÓàÖ            ÅÓëkikk¾çäæÚ×äßáä×é×ÛàæäáÖçÕ×Öà×éþÛÙÚæåæáæÚ×            çä× ÛàÕÞçÖ×å à×ÙÓæÛè
       ÛàæáæÚ×ÍàÛæ×ÖËæÓæ×å                                           ¹åÛÓÈÓÕÛýÕÓàÖ½çäáâ×ä×ÙÛáàåÛßâäáèÛàÙæÚ×ÞÛàÝÔ×æé××à        ¿äáéæÚ×êÕÞçÖÛàÙÕç
             ÁàæÚ×¹ß×äÛÕÓåä×ÙÛáàé× è×áâ×à×ÖÓà×éä×ÙÛáàÓÞ        ×ÓåæÓàÖé×åæ                                                      æáæÚ×âä×èÛáçåë×Óä
       ÚçÔÞáÕÓæ×ÖÛà¹æÞÓàæÓÍË¹ÌÚ×ÚçÔÛàÅ×êÛÕá»ÛæëéÓå                ÁàåçÔ%ËÓÚÓäÓà¹ØäÛÕÓé×ÕáßßÛææ×ÖæáØáçäÕáàè×äæ×Ö        ÖÓëÛàÕä×Óå×ÖÔëjm
       ÓÞåá×êâÓàÖ×Ö¹ææÚ××àÖáØæÚ×ë×Óäæ×àºplp%qiiåé×ä×        ¹ÌÊ pk%nii ÓÛäÕäÓØæ æÚ× ýäåæ éÓå Ö×ÞÛè×ä×Ö Ûà æÚ× ë×Óä   Ö×Õä×Óå×ÖÔëni´Á
       Ûà å×äèÛÕ× Ûà æÚ× ÍàÛæ×Ö ËæÓæ×å ¾çäæÚ×äßáä× ¼ÀÄ ¹×äá    çàÖ×ää×èÛ×éÓàÖæÚ×ä×åæéÛÞÞØáÞÞáéÛàkikl                    àÓæÛáàÓÞä×è×àç×åâ×
       ½êâä×ååáÈÓàÓßÓéÛÞÞÔ×Õáß×áçäâäÛßÓäëÕÓääÛ×äÔ×æé××à                                                                              åÚÛâß×àæèáÞçß×åÖá
        æÚ×ÍàÛæ×ÖËæÓæ×åÓàÖ»×àæäÓÞÓàÖËáçæÚ¹ß×äÛÕÓÛàæÚ×          ÁßâÓÕæåáØ×êæ×äàÓÞØÓÕæáäåáàáçäÔçåÛà×åå
       ýäåæÚÓÞØáØkikléÛæÚÓàáæÚ×äÕáàè×äæ×Öºpop%liiÔ×ÛàÙ         ÈÓàÖ×ßÛÕ%ä×ÞÓæ×Öä×åæäÛÕæÛáàåé×ä×ÞÛØæ×ÖÛàæÚ×ä×âáäæÛàÙ
       ÛàæäáÖçÕ×Ö ¼×ÖÛÕÓæ×Ö þÛÙÚæå Øäáß ÅÛÓßÛ æá ÎÛäÓÕáâáå    ë×Óä¹ÞåáØáäæÚÛåä×Óåáàºk»½êâä×åååÚÛâß×àæèáÞçß×å




                                                                         SER-916
(17 of 262), Page 17 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 17 of 262
                   Case 3:22-cv-07182-WHA
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        Ã×ëýÙçä×å½êâä×åå                                                                                                                                                                Ê×è×àç× Ûà æÚ×
        xß                                                                                                                                                                           xojmrßÛÞÞÛáàÛàkik
                                                                                               2021           2022           ,(´    Éca_a`        Éca_aa          ,(´      ä×àÕë×ü×ÕæåáØxmqj
        Revenue                                                                              24,217         27,592            13.9          6,856          7,029              2.5      ä×è×àç×ÛàÕä×Óå×ÖÔë
        áØéÚÛÕÚ ½çäáâ×                                                                     10,193         11,287            10.7          2,863          2,994              4.6
                                                                                                                                                                                      jni´ÓàÖåÚÛâß×àæèá
                    ¹ß×äÛÕÓå                                                                 5,120           6,149           20.1          1,464          1,563              6.8
                                                                                                                                                                                       ãçÓäæ×äáØkikkâ×ä%
                    ¹åÛÓÈÓÕÛýÕ                                                              8,871           9,908           11.7          2,560          2,475            –3.3
                                                                                                                                                                                      jm´ÓàÖåÚÛâß×àæèá
                    Å½¹*ÅÛÖÖÞ×½ÓåæÓàÖ¹ØäÛÕÓ+                                             1,361           1,569           15.3            364            400              9.9
                                                                                                                                                                                           ÁàæÚ×¹åÛÓÈÓÕÛýÕ
                    »áàåáÞÛÖÓæÛáà,ÇæÚ×ä                                                     –1,328         –1,321              0.5          –395          – 403            –2.0
        ÈäáýæØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×å*½ºÁÌ+                                                4,220           4,025           – 4.6         1,111            941          –15.3
                                                                                                                                                                                       æáxrriqßÛÞÞÛáàÛàæÚ
        Ê×æçäàáàåÓÞ×å*´+`                                                                   17.4           14.6               –          16.2            13.4               –      ÛàÕÞçÖ×å âáåÛæÛè× Õçä
        Çâ×äÓæÛàÙÕÓåÚþáé                                                                    5,894           5,549           – 5.9         1,331          1,173          –11.9        ×àç×ÙäáéæÚ×êÕÞçÖÛà
                                                                                                                                                                                      Ì¼ÁâäáÖçÕæÞÛà×ä×è×à
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             ½ºÁÌ,ä×è×àç×
                                                                                                                                                                                       â×ä%ÖÓëèáÞçß×åÖ×Õä
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        ½êâä×ååä×è×àç×ÔëâäáÖçÕæ                                                                                                                                                   (qk´Øáäâ×ä%ÖÓëèáÞç
        xßâ×äÖÓë`                                                                                                                                                                      Ê×è×àç×ÛàæÚ×Å
                                                                                               2021           2022           ,(´    Éca_a`        Éca_aa          ,(´      Ûßâäáè×ÖÔëjnl´æá
        ÌÛß×¼×ýàÛæ×Áàæ×äàÓæÛáàÓÞ*Ì¼Á+                                                        72.7           81.2           11.7           82.0            84.0             2.4     ÌÚ×ä×è×àç×ýÙçä×Ûà
        ÌÛß×¼×ýàÛæ×¼áß×åæÛÕ*Ì¼¼+                                                               6.0            6.0              –            6.5            6.2           – 4.6
                                                                                                                                                                                      xrqßÛÞÞÛáàÊ×è×àç×
        `
             ÌáÛßâäáè×ÕáßâÓäÓÔÛÞÛæëâäáÖçÕæä×è×àç×åé×ä×æäÓàåÞÓæ×ÖÓæçàÛØáäß×êÕÚÓàÙ×äÓæ×åÌÚ×å×ä×è×àç×åÓä×ÓÞåáæÚ×ÔÓåÛåØáäæÚ×é×ÛÙÚæ×ÖÕÓÞÕçÞÓæÛáàáØéáäÝÛàÙÖÓëå    éÓåqj´È×ä%ÖÓëÌ¼
                                                                                                                                                                                       ÖÓëèáÞçß×åÖ×Õä×Óå
                                                                                                                                                                                       ãçÓäæ×äáØkikkÕÓß
        ½êâä×ååèáÞçß×ÔëâäáÖçÕæ                                                                                                                                                    (jjn´Øáäâ×ä%ÖÓëèá
        Áæ×ßåâ×äÖÓë*æÚáçåÓàÖå+
                                                                                               2021           2022           ,(´    Éca_a`        Éca_aa          ,(´     ½ºÁÌÖ×ÕÞÛà×åë×Óä%á
        ÌÛß×¼×ýàÛæ×Áàæ×äàÓæÛáàÓÞ*Ì¼Á+                                                      1,211           1,145           – 5.5         1,282          1,192            –7.0      ÁàÞÛÙÚæáØæÚ×èáÞçß×Ö
        ÌÛß×¼×ýàÛæ×¼áß×åæÛÕ*Ì¼¼+                                                              645            554          –14.1            671            564          –15.9
                                                                                                                                                                                      Ö×ÕÞÛà×ÖÔëmo´Ûàki
                                                                                                                                                                                      Ö×Õä×Óå×ÖØäáßjpm´
                                                                                                                                                                                      Óåâ×ÕÛÓÞÔáàçåâÓëß
                                                                                                                                                                                      xlpßÛÞÞÛáà¾áçäæÚ%ãç
                                                                                                                                                                                      Ôëjnl´æáxrmjßÛÞÞ




                                                                                                 SER-917
(18 of 262), Page 18 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 18 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌREPORT        Document
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        ¿ÄÇº¹Ä¾ÇÊÏ¹Ê¼ÁÆ¿¾Ê½Á¿ÀÌ                                                                                     ÁßâÓÕæåáØ×êæ×äàÓÞØ
                                                                                                                       ÌÚ×ÙÞáÔÓÞØáäéÓäÖÛàÙ
        Ã×ëýÙçä×å¿ÞáÔÓÞ¾áäéÓäÖÛàÙ¾ä×ÛÙÚæ                                                                         æÓÛÞéÛàÖÕáàæÛàç×ÖÓæ
        xß                                                                                                            çß×åÞáé×ÖÖáéàáè
                                                            2021     2022    ,(´   Éca_a`   Éca_aa   ,(´   æÚ×Ö×è×Þáâß×àæáØæ
        Revenue                                            22,833   30,212    32.3       7,134      6,805     – 4.6    Ûàþç×àÕ×ÖÔëØÓÕæáäå
        áØéÚÛÕÚ ¿ÞáÔÓÞ¾áäéÓäÖÛàÙ                        18,108   24,976    37.9       5,894      5,435     –7.8
                                                                                                                       ÛÕ%ä×ÞÓæ×ÖÞáÕÝÖáéàåÛ
                     ¾ä×ÛÙÚæ                               4,848    5,374    10.8       1,270      1,405     10.6
                                                                                                                       éÛæÚæÚ×ä×Õáè×äÛàÙÕ
                     »áàåáÞÛÖÓæÛáà,ÇæÚ×ä                 –123     –138    –12.2         –30        –35    –16.7
                                                                                                                       ßÓäÝ×æåæÚ×âäÛÕ×ååÚ
        ÈäáýæØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×å*½ºÁÌ+              1,303    2,311    77.4         403        402     – 0.2
                                                                                                                       ÚÓÞØáØæÚ×ë×Óä
        Ê×æçäàáàåÓÞ×å*´+`                                 5.7      7.6        –         5.6        5.9        –
        Çâ×äÓæÛàÙÕÓåÚþáé                                  1,008    3,221   >100          622        999     60.6
                                                                                                                            ÁàæÚ×½çäáâ×Óà
                                                                                                                       åÞáéÖáéà Ô×ÕÓß× Ó
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             ½ºÁÌ,ä×è×àç×                                                                                          çß×åÖ×ÕÞÛà×Ö×åâ×Õ
                                                                                                                       ¼×åâÛæ×æÚÛåÖ×è×Þáâß
        ¿ÞáÔÓÞ¾áäéÓäÖÛàÙä×è×àç×                                                                                     âäÛßÓäÛÞëæáæÚ×âä×èÓ
        xß                                                                                                            éÛæÚæÚ××ü×ÕæåáØæÚ
                                                            2021     2022    ,(´   Éca_a`   Éca_aa   ,(´   æÚÛåÞ×ÖæáÓàÛßß×àå
        ¹ÛäØä×ÛÙÚæ                                         8,788   10,428    18.7       2,848      2,200    –22.8     ÚÛÙÚæÚäáçÙÚáçææÚ×ë
        ÇÕ×ÓàØä×ÛÙÚæ                                       7,115   11,477    61.3       2,456      2,455       0.0
        ÇæÚ×ä                                               2,205    3,071    39.3         590        780     32.2
                                                                                                                       ÈáåÛæÛè×ä×è×àç×æä×à
        Total                                              `g`_g   achfe    bfh       dghc      dcbd     (fg
                                                                                                                       Ê×è×àç×ÛàæÚ×ÖÛèÛåÛáà
                                                                                                                       ä×èÛ×é æá xlikjkß
                                                                                                                       ×ü×ÕæåáØxqroßÛÞÞÛá
        ¿ÞáÔÓÞ¾áäéÓäÖÛàÙèáÞçß×å                                                                                     ë×ÓäÁàæÚ×ØáçäæÚãç
        ÌÚáçåÓàÖå                                                                                                      xoqinßÛÞÞÛáàÓàÖØ×Þ
                                                            2021     2022    ,(´   Éca_a`   Éca_aa   ,(´   ÁàæÚ×¿ÞáÔÓÞ¾áäéÓä
        ¹ÛäØä×ÛÙÚæ×êâáäæå                      tonnes     2,096    1,902    – 9.3        561        449    –20.0     lpr´æáxkmrpoßÛÞÞ
        ÇÕ×ÓàØä×ÛÙÚæ                              Ì½Í`    3,142    3,294      4.8        802        769     – 4.1
                                                                                                                       Øä×ÛÙÚæäÓæ×åÛàæÚ×ë×
        `
             Ìé×àæë%Øááæ×ãçÛèÓÞ×àæçàÛæå                                                                            Õçää×àÕë×ü×ÕæåáØxr
                                                                                                                       ¹æxmrmrßÛÞÞÛáàÙä
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                                                                                                                       xllooßÛÞÞÛáà




                                                              SER-918
(19 of 262), Page 19 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 19 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌREPORT        Document
                                                ON ECONOMIC POSITION 39-1 Filed 10/18/23 Page 829 of 1025                                     ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




         ÀÛÙÚ×äÙäáååâäáýæÛàÓÛäØä×ÛÙÚæ                                Ê×è×àç×ÛàÕä×Óå×Ûà½çäáâ×Óàáè×äÞÓàÖæäÓàåâáäæ
         Ï×ä×ÙÛåæ×ä×ÖÓÖ×Õä×Óå×áØrl´ÛàÓÛäØä×ÛÙÚæèáÞçß×åÛà     ÔçåÛà×åå
        kikkÖç×æáÞáé×äÖ×ßÓàÖÓåé×ÞÞÓååÚÛØæåæááÕ×ÓàØä×ÛÙÚæ    Áà æÚ× ¾ä×ÛÙÚæ ÔçåÛà×åå çàÛæ ä×è×àç× äáå× Ôë jiq´ æá
        ¼×ÕÞÛà×åé×ä×å××àâäÛßÓäÛÞëáàæÚ×æäÓÖ×ÞÓà×åÔ×æé××à          xnlpmßÛÞÞÛáàÛàæÚ×ä×âáäæÛàÙë×ÓäéÛæÚà×ÙÓæÛè×Õçää×àÕë
        »ÚÛàÓÓàÖæÚ×ÍàÛæ×ÖËæÓæ×åÓåé×ÞÞÓåÔ×æé××à»ÚÛàÓÓàÖ         ×ü×ÕæåáØxplßÛÞÞÛáàÌÚ×èáÞçß×éÓåÖáéàÔëmq´ë×Óä%
        ½çäáâ×¹ÛäØä×ÛÙÚæä×è×àç××êÕ××Ö×ÖæÚ×âäÛáä%ë×ÓäÞ×è×ÞÔë    áà%ë×ÓäÌÚ×ÙäáååâäáýæáØæÚ×ÔçåÛà×ååçàÛæäáå×Ôëpl´
        jqp´ÙäáååâäáýæÛßâäáè×ÖÔëmqn´ÁàæÚ×ØáçäæÚãçÓäæ×ä    æáxjllißÛÞÞÛáàÛàæÚ×ä×âáäæÛàÙë×ÓäÌÚ×ØáçäæÚãçÓäæ×ä
        áØkikkÞáé×äèáÞçß×åÓàÖäÓæ×åÕÓçå×ÖÓÛäØä×ÛÙÚæä×è×-         ÓÞåáâäáè×ÖæáÔ×åæäáàÙ×äéÛæÚä×è×àç×jio´ÓÔáè×æÚ×
        àç×æáÖ×Õä×Óå×Ôëkkq´éÚÛÞåæÙäáååâäáýæéÓåçâjiq´      âä×èÛáçåë×Óä

       »ÓâÓÕÛæëåÛæçÓæÛáàÛàáÕ×ÓàØä×ÛÙÚæ×Óå×å                          ½ÓäàÛàÙååÛÙàÛýÕÓàæÞë×êÕ××ÖâäÛáä%ë×ÓäýÙçä×
       ÇÕ×ÓàØä×ÛÙÚæèáÞçß×åØáäæÚ×ë×ÓäçàÖ×ää×èÛ×éé×ä×çâ           ÁàÞÛÙÚæáØæÚ×âäÛÕ×Ö×è×Þáâß×àæÖ×åÕäÛÔ×Ö½ºÁÌÛàæÚ×
       mq´ë×Óä%áà%ë×Óä½êÕÞçÖÛàÙæÚ×ÓÕãçÛåÛæÛáàáØÀÛÞÞ×ÔäÓàÖ      ÖÛèÛåÛáà ÛàÕä×Óå×Ö åÛÙàÛýÕÓàæÞë Øäáß xjlilßÛÞÞÛáà æá
       æÚÛåýÙçä×éÓåpm´Ô×ÞáéæÚ×âäÛáä%ë×ÓäÞ×è×ÞéÛæÚæÚ×         xkljjßÛÞÞÛáàÛàæÚ×ë×ÓäçàÖ×ää×èÛ×éÓÕÕáßâÓàÛ×ÖÔë
       Ö×ÕÞÛà×ÛàèáÞçß×Ö×è×Þáâß×àæÕÓçå×ÖÔëæäÓÖ×ÞÓà×åØäáß          Óà½ºÁÌßÓäÙÛàáØpo´ÁàæÚ×¿ÞáÔÓÞ¾áäéÓäÖÛàÙÔçåÛà×åå
       »ÚÛàÓ ÇÕ×Óà Øä×ÛÙÚæ ä×è×àç× ÛàÕä×Óå×Ö Ôë ojl´ Ûà æÚ×   çàÛæ½ºÁÌÓßáçàæ×Öæámlp´áØÙäáååâäáýæÌÚ×âä×èÛáçå
       ä×âáäæÛàÙë×Óä×êÕÞçÖÛàÙÀÛÞÞ×ÔäÓàÖæÚ×ÛàÕä×Óå×Óßáçàæ×Ö       ë×ÓäÛàÕÞçÖ×ÖÓåâ×ÕÛÓÞÔáàçåáØxjmßÛÞÞÛáà¹æxmikßÛÞ-
       æámjn´¿äáååâäáýæÛßâäáè×ÖÔënmn´ÌÚ×ÕÓâÓÕÛæëåÛæ-       ÞÛáàÖÛèÛåÛáà½ºÁÌÛàæÚ×ØáçäæÚãçÓäæ×äáØkikkéÓååÞÛÙÚæÞë
       çÓæÛáàÕáàæÛàç×Öæá×Óå×áàæÚ×áÕ×ÓàØä×ÛÙÚæßÓäÝ×æÛàæÚ×       Ô×ÞáéæÚ×âäÛáä%ë×ÓäÞ×è×ÞáØxmilßÛÞÞÛáà
       ØáçäæÚãçÓäæ×äáØkikkÓàÖæÚ×Øä×ÛÙÚæäÓæ×åÖ×ÕÞÛà×ÖåÛÙàÛØ-
       ÛÕÓàæÞëÁàæÚ×ØáçäæÚãçÓäæ×äáØkikkáÕ×ÓàØä×ÛÙÚæä×è×àç×
       ä×ßÓÛà×ÖþÓæéÚÛÞåæÙäáååâäáýæéÓåçâok´




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(20 of 262), Page 20 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 20 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌREPORT        Document
                                                ON ECONOMIC POSITION 39-1 Filed 10/18/23 Page 830 of 1025                                               ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




        SUPPLY CHAIN                                                                                                                                    Æ×éÔçåÛà×ååéáäæÚ
                                                                                                                                                        ÌÚ×ÖÛèÛåÛáàÕáàÕÞçÖ×
        Ã×ëýÙçä×åËçââÞë»ÚÓÛà                                                                                                                        ×êÛåæÛàÙÕçåæáß×äåé
        xß                                                                                                                                             àç×+ÛàæÚ×ë×ÓäçàÖ×
                                                                           2021         2022           ,(´   Éca_a`      Éca_aa       ,(´   æäÓÕæèáÞçß×áØxoni
        Revenue                                                           13,864      16,431            18.5        3,655         4,363        19.4     ÕáàæäÓÕæåÕáßâÓä×Ö
        áØéÚÛÕÚ ½Å½¹*½çäáâ×ÅÛÖÖÞ×½ÓåæÓàÖ¹ØäÛÕÓ+                   6,596       7,252              9.9       1,806         1,946          7.8
                                                                                                                                                        Ê×æÓÛÞ»áàåçß×äÓàÖ
                     ¹ß×äÛÕÓå                                             5,266       6,832            29.7        1,329         1,787        34.5
                                                                                                                                                        ßáåæáØæÚ×à×éÔçåÛ
                     ¹åÛÓÈÓÕÛýÕ                                          2,046       2,419            18.2          534           649        21.5
                                                                                                                                                        ÓÕÕáçàæ×ÖØáäÓll´å
                     »áàåáÞÛÖÓæÛáà,ÇæÚ×ä                                 – 44         –72           – 63.6         –14           –19       –35.7
                                                                                                                                                        ÕáàæäÓÕæä×à×éÓÞäÓæ×
        ÈäáýæØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×å*½ºÁÌ+                              705          893            26.7          198           225        13.6
        Ê×æçäàáàåÓÞ×å*´+`                                                5.1          5.4               –          5.4              5.2        –
        Çâ×äÓæÛàÙÕÓåÚþáé                                                 1,582       1,433            – 9.4         664           820        23.5     ½ºÁÌÓÔáè×âäÛáä%ë×Ó
                                                                                                                                                        ½ºÁÌÛàæÚ×ÖÛèÛåÛáàÛà
        `
             ½ºÁÌ,ä×è×àç×                                                                                                                           çàÖ×ää×èÛ×é*âä×èÛá
                                                                                                                                                        ë×ÓäÛàÕÞçÖ×ÖÓåâ×ÕÛ
        ÁßâÓÕæåáØ×êæ×äàÓÞØÓÕæáäåáàáçäÔçåÛà×åå                          ÕÓàÔ×å××àÛàÓÞÞä×ÙÛáàåÓàÖÓÞÞå×ÕæáäåéÛæÚ»áàåçß×äå                àç×â×äØáäßÓàÕ×åâç
        ½êæ×äàÓÞ ØÓÕæáä åçÕÚ Óå ÚÛÙÚ ÛàþÓæÛáà áàÙáÛàÙ ä×ÙÛáàÓÞ      ÓàÖ¹çæá%ßáÔÛÞÛæëä×ÕáäÖÛàÙæÚ×ÚÛÙÚ×åæä×è×àç×ÙäáéæÚ                   ë×ÓäéÚÛÕÚéÓååçåæÓ
        ÕáàåæäÓÛàæåÖç×æáæÚ×âÓàÖ×ßÛÕåÚáäæÓÙ×åÛàÞÓÔáçäÓàÖ            ÁàæÚ×ØáçäæÚãçÓäæ×äáØkikkä×è×àç×ÛàÕä×Óå×ÖÔëjrm´                Öç×æáÛàè×åæß×àæåÛ
        âÓäæÛÓÞÞëßÓæ×äÛÓÞåÓåé×ÞÞÓåÙ×áâáÞÛæÛÕÓÞÕáàþÛÕæåÕáàæÛà-         æáxmlolßÛÞÞÛáà                                                         ÌÚ×½ºÁÌßÓäÙÛàéÓå
        ç×ÖæáÕÓçå×ÙÞáÔÓÞåçââÞëÕÚÓÛàÔáææÞ×à×ÕÝåÓàÖÓÖÖÛæÛáàÓÞ                                                                                    ØáäæÚ×ØáçäæÚãçÓäæ×
        ÕáßâÞ×êÛæëØáäÔçåÛà×åå×åÛàæÚ×ë×ÓäçàÖ×ää×èÛ×éÏ×é×ä×         ËçââÞë»ÚÓÛàä×è×àç×Ôëå×ÕæáäÓàÖä×ÙÛáàkikk                           xkknßÛÞÞÛáà
        ÓÔÞ×æáßÓàÓÙ×áçäÕçåæáß×äå åçââÞëÕÚÓÛàåé×ÞÞæÚÓàÝåæá          ÌáæÓÞä×è×àç×xjomljßÛÞÞÛáà
        áçäþ×êÛÔÛÞÛæëáçäåæÓàÖÓäÖÛå×ÖâäáÕ×åå×åÓàÖáçäæÓäÙ×æ×Ö
        ÖÓæÓÓàÓÞëå×å                                                       áØéÚÛÕÚ Ê×æÓÛÞ                                                  ag´
                                                                                      »áàåçß×ä                                                ab´
                                                                                      ¹çæá%ßáÔÛÞÛæë                                           `d´
        ¼áçÔÞ×%ÖÛÙÛæä×è×àç×ÙäáéæÚ
                                                                                      Ì×ÕÚàáÞáÙë                                              `a´
        Ê×è×àç×ÛàæÚ×ÖÛèÛåÛáàéÓåçâÔëjqn´æáxjomljßÛÞÞÛáà
                                                                                      ÄÛØ×ËÕÛ×àÕ×åÀ×ÓÞæÚÕÓä×                              `a´
        ÛàæÚ×ë×ÓäçàÖ×ää×èÛ×é½êÕÞçÖÛàÙâáåÛæÛè×Õçää×àÕë×ü×Õæå
                                                                                      ½àÙÛà××äÛàÙÅÓàçØÓÕæçäÛàÙ                               e´
        áØxpqißÛÞÞÛáàä×è×àç×(éÚÛÕÚÓÞåáÛàÕÞçÖ×ÖæÚ×ßáåæ                      ÇæÚ×äå                                                    c´
        ä×Õ×àæÓÕãçÛåÛæÛáàå(éÓåçâÔëjkr´ë×Óä%áà%ë×ÓäÊ×è×-           áØéÚÛÕÚ ½
                                                                                        çäáâ×,ÅÛÖÖÞ×½Óåæ,¹ØäÛÕÓ,»áàåáÞÛÖÓæÛáà          cc´
        àç×ÙäáéæÚÛåØçäæÚ×äßáä×ÔÓå×Öáàà×éÔçåÛà×ååÓàÖÕáà-                      ¹ß×äÛÕÓå                                                c`´
        æäÓÕæä×à×éÓÞå¹ÖÖÛæÛáàÓÞÞë×¾çÞýÞÞß×àæÓàÖáßàÛÕÚÓàà×Þ                    ¹åÛÓÈÓÕÛýÕ                                             `d´
        åáÞçæÛáàååçââáäæ×ÖæÚ×ÙäáéæÚÌÚ×âáåÛæÛè×Ö×è×Þáâß×àæ




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(21 of 262), Page 21 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 21 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌREPORT        Document
                                                ON ECONOMIC POSITION 39-1 Filed 10/18/23 Page 831 of 1025                                  ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




        ECOMMERCE SOLUTIONS                                                                                                                ÈÇËÌÈ¹Ê»½Ä¿

        Ã×ëýÙçä×å×»áßß×äÕ×ËáÞçæÛáàå                                                                                                    ÁßâÓÕæåáØ×êæ×äàÓÞØ
        xß                                                                                                                                ÌÚ×åæäçÕæçäÓÞæäÓàåØá
                                                                       2021       2022        ,(´   Éca_a`   Éca_aa      ,(´   æÛàç×åÓåÕáàè×àæÛáàÓ
        Revenue                                                        5,928      6,142          3.6      1,664      1,696          1.9    çß×àæåÕáàæÛàç×æáÖ×
        áØéÚÛÕÚ ¹ß×äÛÕÓå                                             2,079      2,188          5.2        617        636          3.1
                                                                                                                                           æÚ×ßÓÛÞà×æéáäÝÓä×
                     ½
                       çäáâ×                                          3,140      3,235          3.0        855        884          3.4
                                                                                                                                               ÌÚ×¼ÛÓÞáÙç×ÅÓä
                     ¹åÛÓ                                              719        720           0.1        195        177        – 9.2
                                                                                                                                           éÛæÚæÚ×ÓÖè×äæÛåÛàÙ
                     »áàåáÞÛÖÓæÛáà,ÇæÚ×ä                             –10          –1        90.0          –3         –1        66.7
                                                                                                                                           ÕáßâÓä×ÖéÛæÚæÚ×â
        ÈäáýæØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×å*½ºÁÌ+                          417        389         – 6.7         93         91        –2.2
        Ê×æçäàáàåÓÞ×å*´+`                                            7.0        6.3            –         5.6        5.4           –
                                                                                                                                           ÛßâÓÕæ×ÖÔëæÚ×âÓàÖ
        Çâ×äÓæÛàÙÕÓåÚþáé                                              654        582        –11.0          99        113        14.1         ÌÚ×¿×äßÓàâÓä
                                                                                                                                           ×ü×ÕæåÌÚ×åçÕÕ×ååÛ
        `
             ½ºÁÌ,ä×è×àç×                                                                                                              ä×åæäÛÕæÛáàåÛàä×æÓÛÞÔç
                                                                                                                                           ÓàÖæÚ×ÛàÕä×Óå×ÛàÞ
       ÁßâÓÕæåáØ×êæ×äàÓÞØÓÕæáäåáàáçäÔçåÛà×åå                       ½ºÁÌÖ×ÕÞÛà×åë×Óä%áà%ë×Óä                                        áàÞÛà×åÚáââÛàÙÓàÖÞ
       ÌÚ×éÓäÛàÍÝäÓÛà×ÓàÖæÚ×ßÓäÝ×ÖÛàÕä×Óå×ÛàÕáåæáØÞÛèÛàÙ     ÁàæÚ×ë×ÓäçàÖ×ää×èÛ×é½ºÁÌÛàæÚ×ÖÛèÛåÛáàéÓåxlqrßÛÞ-
       Þ×ÖæáÓåÞÛÙÚæÖ×Õä×Óå×ÛàâÓäÕ×ÞèáÞçß×åÛàåáß×ä×ÙÛáàå      ÞÛáàæÚçåÕáßÛàÙÛàÔ×ÞáéæÚ×âäÛáä%ë×ÓäýÙçä×áØxmjpßÛÞ-      Ê×è×àç×ÖáéàÕáßâ
       ÌÚÓàÝåæááçäÖÛè×äåÛý×ÖâáäæØáÞÛáÚáé×è×äáçäÔçåÛà×åå        ÞÛáàÌÚÛåéÓåÖç×æáÖ×Õä×ÓåÛàÙèáÞçß×åÛàºk»ÔçåÛà×åå         ¹æxjopprßÛÞÞÛáàÖÛè
       ä×ßÓÛà×Öä×åÛÞÛ×àæÓàÖÓèáÛÖ×Ö×êæä×ß×þçÕæçÓæÛáàåÏ×           ÓàÖ ÚÛÙÚ×ä Õáåæå ÌÚ× âä×èÛáçå ë×Óä ÛàÕÞçÖ×Ö Ó åâ×ÕÛÓÞ   çàÖ×ää×èÛ×éÌÚ×Ö×
       Óä××êâ×äÛ×àÕÛàÙèáÞçß×åé×ÞÞÓÔáè×æÚ×Þ×è×ÞØäáßÔ×Øáä×        ÔáàçåáØxjjßÛÞÞÛáàÌÚ×½ºÁÌßÓäÙÛàéÓåol´ÛàæÚ×ë×Óä      æÚ×Ö×ÕÞÛà×ÛàæÚ×¿×ä
       æÚ×âÓàÖ×ßÛÕÛàkijrÛàÓÞÞßÓäÝ×æå                              çàÖ×ää×èÛ×é½ºÁÌÓßáçàæ×ÖæáxrjßÛÞÞÛáà*âä×èÛáçåë×Óä       Ô×ÞáéæÚ×åæäáàÙâäÛá
                                                                         xrlßÛÞÞÛáà+ÛàæÚ×ØáçäæÚãçÓäæ×äáØkikk                       ãçÓäæ×äáØkikkéÓåÖ
       Ê×è×àç×ÙäáéæÚÛàÓÞÞä×ÙÛáàåÛàæÚ×ë×ÓäçàÖ×ää×èÛ×é
       ÌÚ×ÖÛèÛåÛáàÙ×à×äÓæ×Öä×è×àç×áØxojmkßÛÞÞÛáàÛàæÚ×                                                                            ÎÓäëÛàÙÔçåÛà×ååçàÛ
       ë×ÓäçàÖ×ää×èÛ×éçâlo´áàæÚ×âäÛáä%ë×ÓäýÙçä×ÌÚÛå                                                                          ÁàæÚ×ä×âáäæÛàÙë×ÓäÅ
       ýÙçä× éÓå ä×ÖçÕ×Ö Ôë xjjkßÛÞÞÛáà æÚäáçÙÚ âáäæØáÞÛá                                                                          èáÞçß×åØáÞÞáéæÚ×á
       ÓÖÜçåæß×àæåÛà¹åÛÓ½êÕÞçÖÛàÙâáåÛæÛè×Õçää×àÕë×ü×Õæå                                                                            ÌÚÛåÖ×è×Þáâß×àæéÓå
       áØxkpkßÛÞÞÛáàä×è×àç×éÓåÖáéàÔëji´ë×Óä%áà%ë×Óä                                                                           àçßÔ×äåáØßÓÛÞ%Ûàèá
       ¼ÛèÛåÛáàä×è×àç×ÛàÕä×Óå×ÖÔëjr´ÛàæÚ×ØáçäæÚãçÓäæ×ä                                                                          Ö×ÕÞÛà× Ûà èáÞçß×å Ú
       áØkikkæáxjoroßÛÞÞÛáà                                                                                                          àáæÕáßâ×àåÓæ×ÖØáä
                                                                                                                                           ÛàÕä×Óå×å×ü×ÕæÛè×Øäá




                                                                        SER-921
(22 of 262), Page 22 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 22 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌREPORT        Document
                                                ON ECONOMIC POSITION 39-1 Filed 10/18/23 Page 832 of 1025                        ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




            Áàkikk¼ÛÓÞáÙç×ÅÓäÝ×æÛàÙ åä×è×àç×ÓàÖåÓÞ×åèáÞ-          Ã×ëýÙçä×åÈáåæÈÓäÕ×Þ¿×äßÓàë
        çß×åé×ä×ÓÔáè×æÚ×ÛäÞ×è×ÞåáØæÚ×âä×èÛáçåë×ÓäéÚÛÕÚ         xß
        åçü×ä×ÖØäáßÞáé×äÓÖè×äæÛåÛàÙ×êâ×àÖÛæçä×Ûàä×æÓÛÞÛà                                                               2021        2022        ,
        âÓäæÛÕçÞÓä                                                       Revenue                                             17,445     16,779          –
                                                                          áØéÚÛÕÚ Èáåæ¿×äßÓàë                              7,995      7,892          –
            ÁàæÚ×¿×äßÓàâÓäÕ×ÞÔçåÛà×ååßÓÕäá×ÕáàáßÛÕÖ×è×Þ-
                                                                                       ÈÓäÕ×Þ¿×äßÓàë                        6,785      6,408         –
        áâß×àæåÞ×ÖæáÖ×ÕÞÛàÛàÙèáÞçß×åÕáßâÓä×ÖéÛæÚæÚ×ÚÛÙÚ%
                                                                                       Áàæ×äàÓæÛáàÓÞ                          2,570      2,400         –
        ÙäáéæÚâäÛáäë×Óä½è×àæÚ×âä×%»ÚäÛåæßÓåÔçåÛà×ååÕáçÞÖ
                                                                                       »áàåáÞÛÖÓæÛáà,ÇæÚ×ä                    95          79        –1
        àáæÛàÕä×Óå×ë×Óä%áà%ë×ÓäÅÛæÛÙÓæ×ÖÔëâäÛÕ×ÛàÕä×Óå×å
                                                                          ÈäáýæØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×å*½ºÁÌ+               1,747      1,271        –2
        ä×è×àç×Ù×à×äÓæ×ÖÔëÈÓäÕ×Þ¿×äßÓàëØ×ÞÞÔëno´ÛàæÚ×        Ê×æçäàáàåÓÞ×å*´+`                                 10.0         7.6
        ë×ÓäçàÖ×ää×èÛ×éÈÓäÕ×ÞèáÞçß×Ö×ÕÞÛà×ÖÔëql´               Çâ×äÓæÛàÙÕÓåÚþáé                                   1,811      1,558        –1
            ÌÚ×æä×àÖáØÖ×Õä×ÓåÛàÙÖáÕçß×àæåÚÛâß×àæåÕáàæÛà-
        ç×ÖÛàÛàæ×äàÓæÛáàÓÞÔçåÛà×ååËÚÛâß×àæåáØÞÛÙÚæé×ÛÙÚæ
                                                                          `
                                                                               ½ºÁÌ,ä×è×àç×

        ÙááÖåÓÞåáØ×ÞÞÛàÛßâáäæÖç×âäÛßÓäÛÞëæáÛàÕä×Óå×ÖÛßâáäæ
        ä×ÙçÞÓæÛáàåºëÕáàæäÓåææÚ×àçßÔ×äáØâÓäÕ×ÞååÚÛââ×ÖÔë       ÈáåæÈÓäÕ×Þ¿×äßÓàëä×è×àç×
        ÔçåÛà×ååÕçåæáß×äåÛàÕä×Óå×ÖáàÕ×ÓÙÓÛà                          xß
                                                                                                                               2021        2022        ,
        ½ºÁÌÖáéàåÚÓäâÞëë×Óä%áà%ë×Óä                                    Èáåæ¿×äßÓàë                                        7,995      7,892          –
                                                                          áØéÚÛÕÚ ÅÓÛÞ»áßßçàÛÕÓæÛáà                         5,473      5,361          –
        ¼ÛèÛåÛáà½ºÁÌÛàkikkÓßáçàæ×ÖæáxjkpjßÛÞÞÛáàÓàÖæÚçå
                                                                                       ¼ÛÓÞáÙç×ÅÓäÝ×æÛàÙ                     1,811      1,833
        Ø×ÞÞkpk´åÚáäæáØæÚ×ä×ßÓäÝÓÔÞ×âäÛáäë×ÓäÛàéÚÛÕÚé×
                                                                                       ÇæÚ×ä,»áàåáÞÛÖÓæÛáàÈáåæ¿×äßÓàë     711         698          –
        ÚÓÖÙ×à×äÓæ×ÖÚÛÙÚ×ää×è×àç×åÛàâÓäÕ×ÞÔçåÛà×ååÛàâÓä-
                                                                          ÈÓäÕ×Þ¿×äßÓàë                                      6,785      6,408         –
        æÛÕçÞÓä ËæäÛÕæ Õáåæ ßÓàÓÙ×ß×àæ Ú×Þâ×Ö ßÛæÛÙÓæ× ÚÛÙÚ×ä
        ßÓæ×äÛÓÞåÕáåæåÓåÓä×åçÞæáØÓÕÕ×Þ×äÓæÛàÙÛàþÓæÛáàÔçææÚÛå
        ÖÛÖàáæØçÞÞëÕáßâ×àåÓæ×ØáäæÚ×Ö×è×Þáâß×àæÌÚ×åâ×ÕÛÓÞ
        ÔáàçåÓßáçàæÛàÙæáxnkßÛÞÞÛáàéÓåÛàÕÞçÖ×ÖÛàæÚ×âä×-           ÈáåæÈÓäÕ×Þ¿×äßÓàëèáÞçß×å
        èÛáçåë×Óä åýÙçä×¼ÛèÛåÛáà½ºÁÌÛàæÚ×ØáçäæÚãçÓäæ×äáØ       ÅÓÛÞÛæ×ßå*ßÛÞÞÛáàå+
        kikkæáæÓÞÞ×ÖxlqmßÛÞÞÛáàÓÖ×ÕÞÛà×áØlll´è×äåçåæÚ×                                                            2021        2022        ,
        ÕáßâÓäÓÔÞ×âäÛáä%ë×ÓäýÙçä×ÌÚ×ä×è×àç×Ö×Õä×Óå×åÓå            Èáåæ¿×äßÓàë                                       14,216     14,122         –
                                                                          áØéÚÛÕÚ ÅÓÛÞ»áßßçàÛÕÓæÛáà                         6,314      6,256         –
        é×ÞÞÓåÚÛÙÚ×äßÓæ×äÛÓÞÕáåæåÖç×æáÛàþÓæÛáàÓàÖæá×àåçä×
                                                                                       ¼ÛÓÞáÙç×ÅÓäÝ×æÛàÙ                     6,928      6,946
        ÚÛÙÚãçÓÞÛæëÖçäÛàÙæÚ×»ÚäÛåæßÓåå×ÓåáàÓÚÛÙÚåÛÕÝà×åå
                                                                          ÈÓäÕ×Þ¿×äßÓàë                                      1,818      1,668         –
        äÓæ×Óåé×ÞÞÓåÚÛÙÚ×äâ×äåáàà×Þä×ÕäçÛæÛàÙ×êâ×àå×åÛàþç-
        ×àÕ×Ö½ºÁÌ




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(23 of 262), Page 23 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 23 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌREPORT        Document
                                                ON ECONOMIC POSITION 39-1 Filed 10/18/23 Page 833 of 1025                                                ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




        Financial position                                                                                                                               ¾ÛàÓàÕÛÓÞßÓàÓÙ×ß×
                                                                                                                                                         æÚ×¿äáçâ
        Ë×Þ×Õæ×ÖÕÓåÚþáéÛàÖÛÕÓæáäå                                                                                                                     ÌÚ×¿äáçâ åýàÓàÕÛÓÞ
        xß                                                                                                                                              ÓÙÛàÙÞÛãçÛÖÛæëÓÞáàÙ
                                                                                                 2021     2022            Éca_a`         Éca_aa      Ûàæ×ä×åæäÓæ×åÕçää×àÕ
        »ÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæåÓåÓælj¼×Õ×ßÔ×ä                                              3,531    3,790             3,531             3,790      ¿äáçâýàÓàÕÛàÙÛååçÛ
        Æ×æÕÚÓàÙ×ÛàÕÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæå                                              –1,055        375                – 444               –127
                                                                                                                                                         ÓàÖÞÛÓÛåÛàÙéÛæÚäÓæÛà
        Æ×æÕÓåÚØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×å                                                       9,993   10,965             2,616             3,090
                                                                                                                                                         ÓÕæÛèÛæÛ×åä×åæåéÛæÚ»
        Æ×æÕÓåÚçå×ÖÛàÛàè×åæÛàÙÓÕæÛèÛæÛ×å                                                – 4,824     –3,179            –2,184            –2,087
                                                                                                                                                         æ×äåÛàºáààéÚÛÕÚÛå
        Æ×æÕÓåÚçå×ÖÛàýàÓàÕÛàÙÓÕæÛèÛæÛ×å                                                 – 6,224     –7,411               – 876          –1,130
                                                                                                                                                         åçäë»×àæä×åÛàºáàà*
                                                                                                                                                         ËÛàÙÓâáä×ÌÚ×ä×ÙÛáà
                                                                                                                                                         ¿äáçâÚ×ÓÖãçÓäæ×äåÓ
        ¾ÛàÓàÕ×åæäÓæ×Ùë                                                                                                                                 æÚ×ÕáßâÓàÛ×åáàýàÓ
                                                                                                                                                         ÕáßâÞÛÓàÕ×éÛæÚ¿äáç
                                                                                                                                                              »áäâáäÓæ×¾ÛàÓàÕ
              »ä×ÖÛæäÓæÛàÙ                     ÈäÛáäÛæÛ×åØáäÓèÓÛÞÓÔÞ×ÞÛãçÛÖÛæë                                Áàè×åæáäå
                                                                                                                                                         äÛåÝÓàÖæÚ×ÕáåæáØÕ
              • ÅÓÛàæÓÛàåæÓàÖ%ÓÞáà×                                ¾ä××ÕÓåÚþáé                               • ÎÓÞç×Õä×ÓæÛáàæÚäáçÙÚ
                äÓæÛàÙåÔ×æé××à"ºÓÓj#                                                                             æäÓàåâÓä×àæÓàÖ×ü×ÕæÛè×            ¿äáçâ åýàÓàÕÛÓÞåæÓÔ
                                                                       Ù×à×äÓæÛáà
                ÓàÖ"¹l#ÓàÖ"ººº#ÓàÖ                                                                            ÕÓâÛæÓÞÓÞÞáÕÓæÛáà
                "¹(#ä×åâ×ÕæÛè×Þë                                                                               • ÌäÓàåâÓä×àæÓàÖä×ÞÛÓÔÞ×
                                                                                                                                                         ÍâÖÓæ×ÖýàÓàÕ×åæäÓ
                                                       ¾çàÖÔçåÛà×ååáâ×äÓæÛáàå                                     ÛàØáäßÓæÛáàØäáßæÚ×
              Ê×ÙçÞÓäÖÛèÛÖ×àÖâáÞÛÕë                                                                               ÕáßâÓàë                              ºçÛÞÖÛàÙáàæÚ×âäÛàÕÛ
                                                                                                                  • Èä×ÖÛÕæÓÔÛÞÛæëáØ×êâ×Õæ×Ö          ÓÙ×ß×àæÓàÖÛàÞÛÙÚæ
              • ÈÓëmi´æáoi´áØà×æ               ¾ÛàÓàÕ×áäÙÓàÛÕÛàè×åæß×àæå                                  åÚÓä×ÚáÞÖ×äåÖÛåæäÛÔçæÛáà
                âäáýæ                                                                                                                                    æÛáà æÚ× »áäâáäÓæ× º
              • »áàåÛÖ×äÕÓåÚþáéÓàÖ                                                                            ¿äáçâ
                ÕáàæÛàçÛæë                             ÈÓëä×ÙçÞÓäÖÛèÛÖ×àÖ                                                                              ÛàÂÓàçÓäëkikkÁææÓ
                                                                                                                  • Èä×å×äè×ýàÓàÕÛÓÞÓàÖ               Ûàæ×ä×åæåÓàÖæÚ×Þ×àÖ
              ¼×ÔæâáäæØáÞÛá                           ËÚÓä×ÚáÞÖ×ä            ¾çàÖÛàáäÙÓàÛÕ                      åæäÓæ×ÙÛÕþ×êÛÔÛÞÛæë
                                                                                                                  • »áßßÛæß×àææáæÚ×¿äáçâ å
                                                                                                                                                         Õä×ÓæÛáàæÚäáçÙÚÓæäÓ
              • ËëàÖÛÕÓæ×ÖÕä×ÖÛæØÓÕÛÞÛæë            ÖÛåæäÛÔçæÛáà           ÙäáéæÚ
                                                       Ô×ëáàÖä×ÙçÞÓä                                              ½Ë¿ÊáÓÖßÓâ                          ÕÓâÛæÓÞÁæÓÞåáÓÛßåæá
                ÓåÓÞÛãçÛÖÛæëä×å×äè×                                                                           • ¹ååçä×ÓÕÕ×ååæáÖ×Ôæ
              • ËçåæÓÛàÓÔÛÞÛæë%ÞÛàÝ×Ö                 ÖÛèÛÖ×àÖ                                                                                          ÕáåæáØÕÓâÛæÓÞØáäæÚ×¿
                                                                                                                    ÕÓâÛæÓÞßÓäÝ×æåÓàÖÞáé
                ýàÓàÕ×ØäÓß×éáäÝÓå                                                                                ÕáåæáØÕÓâÛæÓÞ                      ÓàÖâä×ÖÛÕæÓÔÛÞÛæëØáä
                áâæÛáàØáäØçæçä×ØçàÖÛàÙ
                                                                     ºÓÞÓàÕ×åÚ××æ                                                                      ½Ë¿äáÓÖßÓâ
                                                                       åæä×àÙæÚ




                                                                                      SER-923
(24 of 262), Page 24 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 24 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌREPORT        Document
                                                ON ECONOMIC POSITION 39-1 Filed 10/18/23 Page 834 of 1025                                   ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




             Çà×Ý×ëÕáßâáà×àæáØæÚ×åæäÓæ×ÙëÛåÓåæÓàÖ%ÓÞáà×          ÄÛßÛæÛàÙßÓäÝ×æäÛåÝ                                              æÚäáçÙÚáæÚ×äÛàÖ×â×
        æÓäÙ×æäÓæÛàÙÔ×æé××à"ºÓÓj#ÓàÖ"¹l#ÓàÖ"ººº#ÓàÖ"¹(#      ÌÚ×¿äáçâçå×åÔáæÚâäÛßÓäëÓàÖÖ×äÛèÓæÛè×ýàÓàÕÛÓÞÛàåæäç-       ÔáàÖåâäáßÛååáäëàáæ
        ä×åâ×ÕæÛè×ÞëÌÚ×åæäÓæ×ÙëÓÞåáå×æåÕÞ×ÓäâäÛáäÛæÛ×åáàÚáé     ß×àæåæáÞÛßÛæßÓäÝ×æäÛåÝÁàæ×ä×åæäÓæ×åéÓâåÓä×çå×Öæá      áçæÕ×àæäÓÞÞëÛàáäÖ×ä
        ÓèÓÛÞÓÔÞ×ÞÛãçÛÖÛæëÛåÓÞÞáÕÓæ×ÖÁæéÛÞÞýäåæÔ×çå×ÖæáØçàÖ   Ú×ÖÙ×ÓÙÓÛàåæÛàæ×ä×åæäÓæ×äÛåÝåÓàÖØáäéÓäÖæäÓàåÓÕæÛáàå      åâ×ÕÛÓÞÛåÓæÛáàÔ×à×ýæå
        ÔçåÛà×ååáâ×äÓæÛáàåýàÓàÕ×áäÙÓàÛÕÛàè×åæß×àæåÓàÖßÓÝ×         Óä×çå×ÖØáäÕçää×àÕëäÛåÝåÏ×âÓååáàßáåæáØæÚ×äÛåÝ             Çà×ÔáàÖÛàæÚ×Ó
        ä×ÙçÞÓäÖÛèÛÖ×àÖâÓëß×àæåÌÚ×ä×ÓØæ×äÓÖÖÛæÛáàÓÞÖÛèÛÖ×àÖ       ÓäÛåÛàÙØäáßÕáßßáÖÛæëâäÛÕ×þçÕæçÓæÛáàåæááçäÕçåæáß-           æÚ×ë×ÓäçàÖ×ää×èÛ×é
        âÓëß×àæåáäåÚÓä×Ôçë%ÔÓÕÝåÓåé×ÞÞÓåÛàáäÙÓàÛÕÙäáéæÚ          ×äåÓàÖæáåáß××êæ×àæçå×ÕáßßáÖÛæëåéÓâåæáßÓàÓÙ×           Ûà Æáæ×lræáæÚ×Õáàå
        éÛÞÞÔ×ÕáàåÛÖ×ä×Ö                                               æÚ×ä×ßÓÛàÛàÙäÛåÝÌÚ×âÓäÓß×æ×äåä×åâáàåÛÔÛÞÛæÛ×åÓàÖ
                                                                          ÕáàæäáÞåÙáè×äàÛàÙæÚ×çå×áØÖ×äÛèÓæÛè×åÓä×ÞÓÛÖÖáéàÛà       ¿äáçâ åÕä×ÖÛæäÓæÛàÙ
       »ÓåÚÓàÖÞÛãçÛÖÛæëßÓàÓÙ×ÖÕ×àæäÓÞÞë                               Ûàæ×äàÓÞÙçÛÖ×ÞÛà×å                                              Áà¹âäÛÞæÚ×áçæÞááÝá
       ÌÚ×ÕÓåÚÓàÖÞÛãçÛÖÛæëáØáçäÙÞáÔÓÞÞëáâ×äÓæÛàÙåçÔåÛÖÛÓäÛ×å                                                                       åæÓÔÞ×æáâáåÛæÛè×Ôëæ
       ÛåßÓàÓÙ×ÖÕ×àæäÓÞÞëÔë»áäâáäÓæ×Ìä×Óåçäë¹ââäáêÛßÓæ×Þë         ¾Þ×êÛÔÞ×ÓàÖåæÓÔÞ×ýàÓàÕÛàÙ                                      æÚ×ºººäÓæÛàÙéÓå
       qi´ áØ æÚ× ¿äáçâ å ×êæ×äàÓÞ ä×è×àç× Ûå ÕáàåáÞÛÖÓæ×Ö Ûà   ÌÚ×¿äáçâÕáè×äåÛæåÞáàÙ%æ×äßýàÓàÕÛàÙä×ãçÛä×ß×àæåÔë          Õä×ÖÛæäÓæÛàÙéÓåçâÙ
       ÕÓåÚâááÞåÓàÖçå×ÖæáÔÓÞÓàÕ×Ûàæ×äàÓÞÞÛãçÛÖÛæëà××ÖåÁà       ß×ÓàåáØ×ãçÛæëÓàÖÖ×ÔæÌÚÛå×àåçä×åáçäýàÓàÕÛÓÞåæÓÔÛÞ-       Øäáß¹læá¹kéÛæÚÓÕ
       ÕáçàæäÛ×åéÚ×ä×æÚÛåâäÓÕæÛÕ×ÛåäçÞ×ÖáçæØáäÞ×ÙÓÞä×Óåáàå     ÛæëÓàÖÓÞåáâäáèÛÖ×åÓÖ×ãçÓæ×þ×êÛÔÛÞÛæëÇçäßáåæÛßâáä-        âáåÛæÛáà×ÖÛàæÚ×æäÓà
       Ûàæ×äàÓÞÓàÖ×êæ×äàÓÞÔáääáéÛàÙÓàÖÛàè×åæß×àæÓä×ßÓà-            æÓàæåáçäÕ×áØØçàÖåÛåà×æÕÓåÚØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×å       äÓæÛàÙåÌÚ×ØáÞÞáéÛà
       ÓÙ×ÖÕ×àæäÓÞÞëÔë»áäâáäÓæ×Ìä×ÓåçäëÁàæÚÛåÕáàæ×êæé×               Ï×ÓÞåáÚÓè×ÓåëàÖÛÕÓæ×ÖÕä×ÖÛæØÓÕÛÞÛæëÛàÓæáæÓÞèáÞ-   ä×âáäæÛàÙÖÓæ×ÓàÖæÚ
       áÔå×äè×ÓÔÓÞÓàÕ×ÖÔÓàÝÛàÙâáÞÛÕëÛàáäÖ×äæáä×ßÓÛàÛàÖ×-         çß×áØxkÔÛÞÞÛáàæÚÓæÙçÓäÓàæ××åçåØÓèáçäÓÔÞ×ßÓäÝ×æ           ÓàÖÕçää×àæÓàÓÞëå×å
       â×àÖ×àæáØÛàÖÛèÛÖçÓÞÔÓàÝåÇçäåçÔåÛÖÛÓäÛ×å ÛàæäÓ%¿äáçâ        ÕáàÖÛæÛáàåÓàÖÓÕæåÓåÓå×Õçä×ÞáàÙ%æ×äßÞÛãçÛÖÛæëä×å×äè×    ÕÓæ×ÙáäÛ×åÕÓàÔ×Øáç
       ä×è×àç×ÛåÓÞåáâááÞ×ÖÓàÖßÓàÓÙ×ÖÔëáçäÛà%Úáçå×ÔÓàÝ           ÌÚ×æ×äßáØæÚ×åëàÖÛÕÓæ×ÖÕä×ÖÛæØÓÕÛÞÛæëÛåæÚäáçÙÚkikn
       *Ûàæ×ä%ÕáßâÓàëÕÞ×ÓäÛàÙ+ÛàáäÖ×äæáÓèáÛÖâÓëÛàÙ×êæ×äàÓÞ        ÛæÖá×åàáæÕáàæÓÛàÓàëØçäæÚ×äÕáè×àÓàæåÕáàÕ×äàÛàÙæÚ×
       ÔÓàÝÕÚÓäÙ×åÓàÖßÓäÙÛàåÈÓëß×àææäÓàåÓÕæÛáàåÓä××ê×-            ¿äáçâ åýàÓàÕÛÓÞÛàÖÛÕÓæáäåÓàÖæÚÓàÝåæááçäåáÞÛÖÞÛãçÛÖ-
       Õçæ×ÖÛàÓÕÕáäÖÓàÕ×éÛæÚçàÛØáäßÙçÛÖ×ÞÛà×åçåÛàÙåæÓàÖ-           ÛæëåÛæçÓæÛáàÛæéÓåàáæÖäÓéàÖáéàÖçäÛàÙæÚ×ë×ÓäçàÖ×ä
       ÓäÖÛå×ÖâäáÕ×åå×åÓàÖÁÌåëåæ×ßåÅÓàë¿äáçâÕáßâÓàÛ×å            ä×èÛ×é
       âááÞæÚ×Ûä×êæ×äàÓÞâÓëß×àææäÓàåÓÕæÛáàåÛàæÚ×ÛàæäÓ%¿äáçâ            ¹åâÓäæáØáçäÔÓàÝÛàÙâáÞÛÕëé×åâä×ÓÖáçäÔçåÛà×åå
       ÈÓëß×àæ¾ÓÕæáäëéÚÛÕÚ×ê×Õçæ×åâÓëß×àæåáàÔ×ÚÓÞØáØ             èáÞçß×éÛÖ×ÞëÓàÖßÓÛàæÓÛàÞáàÙ%æ×äßä×ÞÓæÛáàåÚÛâåéÛæÚ
       æÚ×ä×åâ×ÕæÛè×ÕáßâÓàÛ×åèÛÓ¼×çæåÕÚ×Èáåæ¹¿ åÕ×àæäÓÞ         æÚ×ýàÓàÕÛÓÞÛàåæÛæçæÛáàåé××àæäçåæéÛæÚáçäÔçåÛà×ååÁà
       ÔÓàÝÓÕÕáçàæå                                                     ÓÖÖÛæÛáàæáÕä×ÖÛæÞÛà×åé×ß××æáçäÔáääáéÛàÙä×ãçÛä×ß×àæå




                                                                          SER-924
(25 of 262), Page 25 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 25 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌREPORT        Document
                                                ON ECONOMIC POSITION 39-1 Filed 10/18/23 Page 835 of 1025                                                            ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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           ¾ÛæÕÚ                                                                                                                  ÅááÖë å

           ÄáàÙ%æ×äßººº                                                                                                        ÄáàÙ%æ×äß¹k
           ËÚáäæ%æ×äß¾k                                                                                                         ËÚáäæ%æ×äßÈ(j
           ÇçæÞááÝâáåÛæÛè×                                                                                                      ÇçæÞááÝåæÓÔÞ×


             ÊÓæÛàÙØÓÕæáäå                                                                                                        ÊÓæÛàÙØÓÕæáäå
           • »áßâÓàëåÛì×ÓàÖÙ×áÙäÓâÚÛÕÖÛè×äåÛýÕÓæÛáà                                                                           • ÄÓäÙ×åÕÓÞ×ÓàÖÙÞáÔÓÞâä×å×àÕ×ÓåæÚ×éáäÞÖ åÔÛÙÙ×åæÞáÙÛ
           • ºäáÓÖâáäæØáÞÛááØå×äèÛÕ×åÓàÖÕçåæáß×äå                                                                              ßÓäÝ×æâáåÛæÛáàåÛà×êâä×ååÓàÖÞáÙÛåæÛÕåÓàÖÔëæÚ×ÞÓäÙ×¿
           • ÅÓäÝ×æÞ×ÓÖ×äåÚÛâ                                                                                                    • ÁàÖÛä×ÕæåÚÓä×ÚáÞÖÛàÙáØæÚ×¿×äßÓàÙáè×äàß×àæ
           • ½êÕ×ÞÞ×àæä×åçÞæåÖäÛè×àÔëÓÕÞ×ÓääÛå×ÛàÙÞáÔÓÞæäÓÖ×ÓàÖæÚ×ÕáàæÛàçÓæÛáàáØåæäáàÙ×%Õáßß×äÕ×                  • ËáÞÛÖýàÓàÕÛÓÞâäáýÞ×
           • ºÓÞÓàÕ×ÖÔçåÛà×ååäÛåÝâäáýÞ×Ô×æé××àæÚ×âÓäÕ×ÞÓàÖ×êâä×ååå×Ùß×àæåéÚÛÕÚÓä×ÙäáéÛàÙÖç×                        • ¿ááÖ×ÓäàÛàÙåßáß×àæçß
             æááàÞÛà×ä×æÓÛÞÕáàæäÓÕæÞáÙÛåæÛÕåÔçåÛà×ååÓàÖæÚ×ÕëÕÞÛÕÓÞØä×ÛÙÚæØáäéÓäÖÛàÙÔçåÛà×åå
           • ËáÞÛÖÝ×ëýÙçä×åÓàÖÞÛãçÛÖÛæë
                                                                                                                                    ÊÓæÛàÙØÓÕæáäå

             ÊÓæÛàÙØÓÕæáäå                                                                                                      • »áåæÛàþÓæÛáàÛàâÓäæÛÕçÞÓäØáäØç×Þ
                                                                                                                                  • »ÚÓÞÞ×àÙ×åØÓÕ×ÖÛàÖáß×åæÛÕÞ×ææ×äßÓÛÞÔçåÛà×ååéÚÛÕÚä×å
           • ËæäçÕæçäÓÞèáÞçß×Ö×ÕÞÛà×ÛàÞ×ææ×äßÓÛÞÔçåÛà×åå                                                                       Õáàè×àæÛáàÓÞÞ×ææ×äßÓÛÞÔçåÛà×åå
           • ÁàÕä×Óå×ÖÕÓâÛæÓÞ×êâ×àÖÛæçä×ÓàÖÖÛèÛÖ×àÖåæáåÚÓä×ÚáÞÖ×äå                                                          • ½êâáåçä×æáÚÛÙÚÞëÕáßâ×æÛæÛè×ßÓäÝ×æåÓàÖèáÞÓæÛÞ×ßÓäÝ×
                                                                                                                                  • ÁàÕä×ÓåÛàÙÕÓâÛæÓÞåâ×àÖÛàÙéÚÛÕÚÚÓßâ×äåÕÓåÚÙ×à×äÓæÛá




       ÄÛãçÛÖÛæëÓàÖåáçäÕ×åáØØçàÖå                                              ¾ÛàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                                             »ÓâÛæÓÞ×êâ×àÖÛæçä×Ø
       ¹åÓææÚ×ä×âáäæÛàÙÖÓæ×æÚ×¿äáçâä×âáäæ×ÖÕ×àæäÓÞÞëÓèÓÛÞ-               xß                                                                               âäÛáä%ë×ÓäÞ×è×Þ
       ÓÔÞ×ÞÛãçÛÖÛæëÛàæÚ×ÓßáçàæáØxkiÔÛÞÞÛáà*âä×èÛáçåë×Óä                                                                       2021         2022         Áàè×åæß×àæåÛàâäáâ×
       xloÔÛÞÞÛáà+éÚÛÕÚÛåÕáßâäÛå×ÖáØÕÓåÚÓàÖÕÓåÚ×ãçÛèÓ-                  Ä×Óå×ÞÛÓÔÛÞÛæÛ×å                                     11,805       13,514         ÙÛÔÞ×Óåå×æåÓÕãçÛä×Ö
                                                                                   ºáàÖå                                                   6,669       6,180
       Þ×àæåÓåé×ÞÞÓåÕçää×àæýàÓàÕÛÓÞÓåå×æå¼ç×æááçäåáÞÛÖ                                                                                                   xmjklßÛÞÞÛáà Ûà æÚ×
                                                                                   ¹ßáçàæåÖç×æáÔÓàÝå                                      544         530
       ÞÛãçÛÖÛæëåÛæçÓæÛáàæÚ×åëàÖÛÕÓæ×ÖÕä×ÖÛæÞÛà×ÛàæÚ×Óßáçàæ                                                                                                xlqrnßÛÞÞÛáà+ÈÞ×Óå
                                                                                   ÈäáßÛååáäëàáæ×ÞáÓàå                                     150         100
       áØxkÔÛÞÞÛáàéÓåàáæÖäÓéàÁàÓÖÖÛæÛáàæáæÚ×åëàÖÛÕÓæ×Ö                                                                                                   ÕáàåáÞÛÖÓæ×ÖýàÓàÕÛÓÞåæÓ
                                                                                   ¾ÛàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×åÓæØÓÛäèÓÞç×æÚäáçÙÚ
       Õä×ÖÛæÞÛà×çàçå×ÖÔÛÞÓæ×äÓÞÕä×ÖÛæÞÛà×åæáæÓÞÞÛàÙxjmÔÛÞÞÛáà          âäáýæáäÞáåå                                              13         134         Óåå×æÕÞÓåå×åÓàÖä×Ù
       é×ä×ÓèÓÛÞÓÔÞ×æáæÚ×¿äáçâÓææÚ×ä×âáäæÛàÙÖÓæ×                          ÇæÚ×äýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                716       1,360
             ÌÚ×ØáÞÞáéÛàÙæÓÔÞ×ÙÛè×åÓÔä×ÓÝÖáéàáØæÚ×ýàÓàÕÛÓÞÞÛÓ-                                                                  `hghf       a`g`g
       ÔÛÞÛæÛ×åä×âáäæ×ÖÛàæÚ×ÔÓÞÓàÕ×åÚ××æ¹ÖÖÛæÛáàÓÞÛàØáäßÓæÛáà
       ÛåâäáèÛÖ×ÖÛà Æáæ×lræáæÚ×ÕáàåáÞÛÖÓæ×ÖýàÓàÕÛÓÞåæÓæ×ß×àæå




                                                                                   SER-925
(26 of 262), Page 26 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 26 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌREPORT        Document
                                                ON ECONOMIC POSITION 39-1 Filed 10/18/23 Page 836 of 1025                                            ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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                                                                                         Global
                                                                                    ¾áäéÓäÖÛàÙ                           ×»áßß×äÕ×        ÈáåæÈÓäÕ×Þ              ¿äáçâ
                                                                      ½êâä×åå           ¾ä×ÛÙÚæ        ËçââÞë»ÚÓÛà          ËáÞçæÛáàå          ¿×äßÓàë              ¾çàÕæÛáàå

                                                              2021      2022     2021     2022      2021      2022     2021      2022      2021     2022      2021       2022
        »Óâ×ê*xß+ä×ÞÓæÛàÙæáÓÕãçÛä×ÖÓåå×æå               1,707    1,528      132       159      483       504       245      431       883     1,043       445        459
        »Óâ×ê*xß+ä×ÞÓæÛàÙæáÞ×Óå×ÖÓåå×æå                 1,246    1,860      215       281      667       900       178      135        14        27       760        536
        ÌáæÓÞ*xß+                                           ahdb    bbgg      bcf       cc_     ``d_    `c_c       cab      dee       ghf     `_f_     `a_d        hhd
        ¼×âä×ÕÛÓæÛáàÓßáäæÛåÓæÛáàÓàÖÛßâÓÛäß×àæ
        Þáåå×å*xß+                                          1,511    1,690      245       318      756       859       179      198       334       354       744        758
        ÊÓæÛááØæáæÓÞÕÓâ×êæáÖ×âä×ÕÛÓæÛáàÓßáäæÛåÓæÛáà
        ÓàÖÛßâÓÛäß×àæÞáåå×å                                  1.95     2.00      1.42     1.38      1.52     1.63      2.36      2.86     2.69      3.02      1.62       1.31

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        »Óâ×êÓàÖÖ×âä×ÕÛÓæÛáàÓßáäæÛåÓæÛáàÓàÖÛßâÓÛäß×àæÞáåå×åÉm

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                                                                      ½êâä×åå           ¾ä×ÛÙÚæ        ËçââÞë»ÚÓÛà          ËáÞçæÛáàå          ¿×äßÓàë              ¾çàÕæÛáàå

                                                              2021      2022     2021     2022      2021      2022     2021      2022      2021     2022      2021       2022
        »Óâ×ê*xß+ä×ÞÓæÛàÙæáÓÕãçÛä×ÖÓåå×æå                758       825       37        59      166       155       138      213       403       375       136        178
        »Óâ×ê*xß+ä×ÞÓæÛàÙæáÞ×Óå×ÖÓåå×æå                  334       470       60        91      155       237        90       41         5         6       263        166
        ÌáæÓÞ*xß+                                           `_ha    `ahd       hf       `d_      ba`       bha       aag      adc       c_g       bg`       bhh        bcc
        ¼×âä×ÕÛÓæÛáàÓßáäæÛåÓæÛáàÓàÖÛßâÓÛäß×àæ
        Þáåå×å*xß+                                           400       428       65        84      117       232        51       52        90        97       190        199
        ÊÓæÛááØæáæÓÞÕÓâ×êæáÖ×âä×ÕÛÓæÛáàÓßáäæÛåÓæÛáà
        ÓàÖÛßâÓÛäß×àæÞáåå×å                                  2.73     3.03      1.49     1.79      2.74     1.69      4.47      4.88     4.53      3.93      2.10       1.73

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        æ×ÕÚàÛÕÓÞ×ãçÛâß×àæ»áàæÛàçáçåßÓÛàæ×àÓàÕ×ÓàÖä×à×éÓÞ                é×ä×Ûàè×åæ×ÖæáåçââáäæÕçåæáß×äÛßâÞ×ß×àæÓæÛáàåÛàÓÞÞ            ÕÓâ×ê âáäæÛáà éÓå Ó
        áØáçäÛàæ×äÕáàæÛà×àæÓÞÓÛäþ××æä×âä×å×àæ×ÖÓàÓÖÖÛæÛáàÓÞ             ä×ÙÛáàåÓÔáè×ÓÞÞÛàæÚ×¹ß×äÛÕÓåÓàÖ½Å½¹ä×ÙÛáàå                 ÛàØäÓåæäçÕæçä×ÌÚ×ÓÕ
        ØáÕçåáØÛàè×åæß×àæåâ×àÖÛàÙ ¼ÛèÛåÛáàåËáß×áØæÚ×å×                   Áà æÚ× ×»áßß×äÕ× ËáÞçæÛáàå ÖÛèÛåÛáà ßáåæ áØ æÚ×         ×äæëé×ä×åæ×ââ×Öçâ
        Ûàè×åæß×àæåé×ä×ÓææäÛÔçæÓÔÞ×æáäÛÙÚæåáØçå×                         Ûàè×åæß×àæåé×ä×ÓææäÛÔçæÓÔÞ×æáà×æéáäÝ×êâÓàåÛáàÛàæÚ×           ØáÕçåéÓå×êâÓàÖÛàÙ
            ÁàæÚ×¿ÞáÔÓÞ¾áäéÓäÖÛàÙ¾ä×ÛÙÚæÖÛèÛåÛáàé×Ûàè×åæ×Ö            Æ×æÚ×äÞÓàÖåÈáÞÓàÖÓàÖæÚ×ÍàÛæ×ÖËæÓæ×å                                ¹æ¿äáçâ¾çàÕæÛá
        ÛàéÓä×Úáçå×åáÿÕ×ÔçÛÞÖÛàÙåÓàÖÁÌ                                                                                                        é×ä×ßÓÛàÞëÛàæÚ×è×




                                                                                SER-926
(27 of 262), Page 27 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 27 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌREPORT        Document
                                                ON ECONOMIC POSITION 39-1 Filed 10/18/23 Page 837 of 1025                                          ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




        ÁàÕä×Óå×Ûàà×æÕÓåÚØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×å                     »ÓÞÕçÞÓæÛáàáØØä××ÕÓåÚþáé
        Æ×æÕÓåÚØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×åäáå×ØäáßxrrrlßÛÞ-           xß
        ÞÛáàæáxjironßÛÞÞÛáàÌÚ×Ûßâäáè×Ö½ºÁÌéÓåáüå×æÔë                                                                                            2021
        ÛàÕä×Óå×Ö ÛàÕáß× æÓê âÓëß×àæå ÌÚ× ÕÓåÚ Ûàþáé Øäáß         Æ×æÕÓåÚØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×å                                               hhhb

        ÕÚÓàÙ×åÛàæÚ×éáäÝÛàÙÕÓâÛæÓÞéÓåxkjnßÛÞÞÛáàÕáßâÓä×Ö         ËÓÞ×áØâäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæÓàÖÛàæÓàÙÛÔÞ×Óåå×æå                        190
        éÛæÚÓÕÓåÚáçæþáéáØxmlißÛÞÞÛáàÛàæÚ×âä×èÛáçåë×Óä           ¹ÕãçÛåÛæÛáàáØâäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæÓàÖÛàæÓàÙÛÔÞ×Óåå×æå             –3,736
             Æ×æÕÓåÚçå×ÖÛàÛàè×åæÛàÙÓÕæÛèÛæÛ×åØ×ÞÞØäáßxmqkmßÛÞ-   »ÓåÚáçæþáéØäáßÕÚÓàÙ×Ûàâäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæÓàÖ
                                                                           ÛàæÓàÙÛÔÞ×Óåå×æå                                                              (bdce           (
        ÞÛáà æá xljprßÛÞÞÛáà ÓÞæÚáçÙÚ é× ßÓÖ× âÓëß×àæå Øáä
        æÚ× ÓÕãçÛåÛæÛáà áØ åçÔåÛÖÛÓäÛ×å ÓàÖ áæÚ×ä ÔçåÛà×åå çàÛæå   ¼ÛåâáåÓÞåáØåçÔåÛÖÛÓäÛ×åÓàÖáæÚ×äÔçåÛà×ååçàÛæå                                  13
        ÓßáçàæÛàÙæáxjojlßÛÞÞÛáàÌÚ×ÓÕãçÛåÛæÛáàáØÀÛÞÞ×ÔäÓàÖ        ¼ÛåâáåÓÞåáØÛàè×åæß×àæåÓÕÕáçàæ×ÖØáäçåÛàÙæÚ××ãçÛæëß×æÚáÖÓàÖ
                                                                           áæÚ×äÛàè×åæß×àæå                                                                    1
        Óæ xjlprßÛÞÞÛáà à×æ *Þ×åå Óååçß×Ö ÕÓåÚ+ éÓå æÚ× ßÓÛà
                                                                           ¹ÕãçÛåÛæÛáàáØåçÔåÛÖÛÓäÛ×åÓàÖáæÚ×äÔçåÛà×ååçàÛæå                                 0
        ÕáàæäÛÔçæáäÛàæÚÛåä×ÙÓäÖ»ÓåÚâÓÛÖæáÓÕãçÛä×àáà%Õçää×àæ
                                                                           ¹ÕãçÛåÛæÛáàáØÛàè×åæß×àæåÓÕÕáçàæ×ÖØáäçåÛàÙæÚ××ãçÛæëß×æÚáÖÓàÖ
        Óåå×æåäáå×ØäáßxlploßÛÞÞÛáàæáxlrjkßÛÞÞÛáàÓàÖä×ÞÓæ×Ö     áæÚ×äÛàè×åæß×àæå                                                                   –2
        âäÛßÓäÛÞëæáæÚ××êâÓàåÛáàÓàÖä×à×éÓÞáØáçäè×ÚÛÕÞ×ÓàÖ         »ÓåÚÛàþáé,áçæþáéØäáßÓÕãçÛåÛæÛáàå,ÖÛè×åæÛæçä×å                                `a          (
        ÓÛäþ××æåÌÚ×ÕÚÓàÙ×ÛàÕçää×àæýàÓàÕÛÓÞÓåå×æåâäáÖçÕ×Ö         ÈäáÕ××ÖåØäáßÞ×Óå×ä×Õ×ÛèÓÔÞ×å                                                    143
        ÓÕÓåÚÛàþáéáØxjoomßÛÞÞÛáà¾áäæÚ×ßáåæâÓäæé×åáÞÖ        Áàæ×ä×åæØäáßÞ×Óå×ä×Õ×ÛèÓÔÞ×å                                                     16
        ßáà×ëßÓäÝ×æØçàÖåæáÕáè×äæÚ×ÖÛèÛÖ×àÖâÓëß×àææáæÚ×           Ê×âÓëß×àæáØÞ×Óå×ÞÛÓÔÛÞÛæÛ×å                                                 –2,051
        åÚÓä×ÚáÞÖ×äåÓàÖæÚ×âçäÕÚÓå×âäÛÕ×ØáäÀÛÞÞ×ÔäÓàÖÌÚÛåÛåÛà    Áàæ×ä×åæáàÞ×Óå×ÞÛÓÔÛÞÛæÛ×å                                                    –383
        ÕáàæäÓåææáÓÕÓåÚáçæþáéáØxjniqßÛÞÞÛáàÛàæÚ×âä×èÛáçå       »ÓåÚáçæþáéØáäÞ×Óå×å                                                         (aafd           (
        ë×ÓäâäÛßÓäÛÞëØáäæÚ×âçäÕÚÓå×áØßáà×ëßÓäÝ×æØçàÖåÛà
                                                                           Áàæ×ä×åæä×Õ×Ûè×Ö*éÛæÚáçæÞ×ÓåÛàÙ+                                                 75
        æÚ×ÓßáçàæáØxrnißÛÞÞÛáà                                        Áàæ×ä×åæâÓÛÖ*éÛæÚáçæÞ×ÓåÛàÙ+                                                  –167
             ¾ä××ÕÓåÚþáéÖ×ÕÞÛà×ÖåçÔåæÓàæÛÓÞÞëØäáßxmirkßÛÞ-         Æ×æÛàæ×ä×åæâÓÛÖ                                                                 ( ha
        ÞÛáàæáxliopßÛÞÞÛáàÓàÖßÓÛàÞëä×þ×ÕæåæÚ×âÓëß×àæåØáä
                                                                           ¾ä××ÕÓåÚþáé                                                                    c_ha
        æÚ×ÓÕãçÛåÛæÛáàáØÕáßâÓàÛ×å¹ÖÜçåæ×ÖØáäæÚ×âÓëß×àæå
        ØáäÓÕãçÛåÛæÛáàåÓàÖÖÛè×åæÛæçä×åáØxjnmißÛÞÞÛáàà×æØä××
        ÕÓåÚþáéåæááÖÓæxmoipßÛÞÞÛáà




                                                                           SER-927
(28 of 262), Page 28 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 28 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌREPORT        Document
                                                ON ECONOMIC POSITION 39-1 Filed 10/18/23 Page 838 of 1025                                         ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




        Æ×æÕÓåÚçå×ÖÛàýàÓàÕÛàÙÓÕæÛèÛæÛ×åäáå×ØäáßxokkmßÛÞÞÛáà         ÁàæÓàÙÛÔÞ×Óåå×æåäáå×ØäáßxjkipoßÛÞÞÛáàæáxjmiroßÛÞ-        lj¼×Õ×ßÔ×äkikj*x
        æáxpmjjßÛÞÞÛáàÌÚ×ÖÛèÛÖ×àÖâÓÛÖáçææááçäåÚÓä×ÚáÞÖ×äå      ÞÛáàÁàâÓäæÛÕçÞÓäæÚ×ÕáàåáÞÛÖÓæÛáàáØÀÛÞÞ×ÔäÓàÖÕÓçå×Ö           âäáýæØáäæÚ×â×äÛáÖ
        Ûà ÅÓë ÛàÕä×Óå×Ö Ôë xnlkßÛÞÞÛáà æá xkkinßÛÞÞÛáà ÈÓë-   ÙááÖéÛÞÞÓàÖæÚ×âçäÕÚÓå×ÖÕçåæáß×äÞÛåæåæáÛàÕä×Óå×åÛÙ-              ß×àæáØâ×àåÛáàâäáèÛ
        ß×àæåØáäæÚ×ÓÕãçÛåÛæÛáàáØæä×ÓåçäëåÚÓä×åÛàæÚ×Óßáçàæ       àÛýÕÓàæÞëÈäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæÙä×éåÛÙàÛýÕÓàæÞë             ÖÛèÛÖ×àÖâÓëß×àæÓàÖ
        áØxjirrßÛÞÞÛáàé×ä×ßÓÖ×âäÛßÓäÛÞëÓåâÓäæáØæÚ×Õçää×àæ     ØäáßxkmrilßÛÞÞÛáàæáxkqoqqßÛÞÞÛáàÓåÛàè×åæß×àæå                æÛÕçÞÓäÚÛÙÚ×äÛàæ×ä×åæ
        åÚÓä×Ôçë%ÔÓÕÝâäáÙäÓßß×åÞÛÙÚæÞëÔ×ÞáéæÚ×Þ×è×ÞáØæÚ×        ×êÕ××Ö×Ö ÖÛåâáåÓÞå ÓàÖ Ö×âä×ÕÛÓæÛáà ÓßáäæÛåÓæÛáà ÓàÖ             áØxkkmrßÛÞÞÛáàÛà
        âä×èÛáçåë×Óä*xjjjnßÛÞÞÛáà+                                    ÛßâÓÛäß×àæÞáåå×å»çää×àæýàÓàÕÛÓÞÓåå×æåÖäáââ×ÖÕáàåÛÖ-             áÔÞÛÙÓæÛáàå æá xjrl
             »ÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæåÛàÕä×Óå×ÖØäáßxlnljßÛÞ-         ×äÓÔÞëØäáßxliqqßÛÞÞÛáàæáxjlnnßÛÞÞÛáàÖç×ßÓÛàÞëæá            ØäáßxjrqrpßÛÞÞÛáàæ
        ÞÛáàÓåÓælj¼×Õ×ßÔ×äkikjæáxlprißÛÞÞÛáà                     æÚ×åÓÞ×áØßáà×ëßÓäÝ×æØçàÖåÌäÓÖ×ä×Õ×ÛèÓÔÞ×åÛàÕä×Óå×Ö           Þ×Óå×ÞÛÓÔÛÞÛæÛ×åÛàÕä×Ó
                                                                           ÔëxnpißÛÞÞÛáàæáxjkknlßÛÞÞÛáà                                    âÓëÓÔÞ×åÛàÕä×Óå×ÖØä
                                                                                ¹æ xklkloßÛÞÞÛáà ×ãçÛæë ÓææäÛÔçæÓÔÞ× æá¼×çæåÕÚ×         ÌÚ×ÛàÕä×Óå×áØxlpm
        Net assets                                                        Èáåæ¹¿ åÚÓä×ÚáÞÖ×äå éÓå ÕáàåÛÖ×äÓÔÞë ÚÛÙÚ×ä æÚÓà Óæ            xonjkßÛÞÞÛáàåæ×ßå

        Ë×Þ×Õæ×ÖÛàÖÛÕÓæáäåØáäà×æÓåå×æå                                ºÓÞÓàÕ×åÚ××æåæäçÕæçä×áØæÚ×¿äáçâÓåÓælj¼×Õ×ßÔ×ä
                                                                          xß
                                                  b`¼×Õ    b`¼×Õ                                               ASSETS
                                                    2021        2022
                                                                                                                                    egafg
        ½ãçÛæëäÓæÛá                        %        30.7       34.7                                                   63,592
        Net debt                          xß     12,772      15,856
                                                                          ÁàæÓàÙÛÔÞ×Óåå×æå                          `h´          a`´          ½ãçÛæë
        Æ×æÛàæ×ä×åæÕáè×ä                           17.4       18.6
        Æ×æÙ×ÓäÛàÙ                         %        39.6       40.1

                                                                          Èäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæ              bh´          ca´
                                                                                                                                                 Æáà%Õçää×àæâäáèÛåÛáàåÓàÖ

       ÁàÕä×Óå×ÛàÕáàåáÞÛÖÓæ×ÖæáæÓÞÓåå×æå                              ÌäÓÖ×ä×Õ×ÛèÓÔÞ×å                          `g´          `g´
       ÌÚ×¿äáçâ åæáæÓÞÓåå×æåÓßáçàæ×ÖæáxoqkpqßÛÞÞÛáàÓå
       Óælj¼×Õ×ßÔ×äkikkÓàÖé×ä×æÚçåxmoqoßÛÞÞÛáàÚÛÙÚ×ä                                                                                  »çää×àæâäáèÛåÛáàåÓàÖÞÛÓÔÛ
       æÚÓàÓælj¼×Õ×ßÔ×äkikj*xolnrkßÛÞÞÛáà+                        ÇæÚ×äÓåå×æå                               ac´          `h´


                                                                                                                            2021          a_aa




                                                                          SER-928
(29 of 262), Page 29 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 29 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌÊ½ÈÇÊÌÇÆ    Document 39-1 Filed      È ÇËÌ ¹¿10/18/23
                                                   ½ »ÇÆÇÅÁ»ÈÇËÁÌÁÇÆ>¼½ÍÌË»À½        @À¿ºA   Page 839 of 1025                                          ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




        ÀÛÙÚ×äà×æÖ×Ôæ                                                                  ½ÍÌË»À½ÈÇËÌ¹¿
                                                                                        ¼                                                                   æá ¼ÛÓÞáÙç× ÅÓäÝ×æÛà
        Ççäà×æÖ×ÔæÛàÕä×Óå×ÖØäáßxjkppkßÛÞÞÛáàÓåÓælj¼×Õ×ß-
        Ô×äkikjæáxjnqnoßÛÞÞÛáàÓåÓælj¼×Õ×ßÔ×äkikk¹æ                         @À¿ºA                                                               xjikjßÛÞÞÛáà+æááæÚ×
                                                                                                                                                            Õ×ÞÔçåÛà×ååÛàæÚ×ä×â
        lmp´æÚ××ãçÛæëäÓæÛáéÓåé×ÞÞÓÔáè×æÚ×âäÛáä%ë×ÓäýÙ-                                                                                          åÚáäæáØæÚ×âäÛáä%ë×Óäý
        çä×*lip´+¹æjqoà×æÛàæ×ä×åæÕáè×äÓÞåá×êÕ××Ö×ÖæÚ×                    ¼×çæåÕÚ×Èáåæ¹¿ÓåâÓä×àæÕáßâÓàë                                ÓææäÛÔçæÓÔÞ×âäÛßÓäÛÞëæ
        âä×èÛáçåë×Óä åÞ×è×Þ*jpm+Æ×æÙ×ÓäÛàÙéÓåmij´ÓåÓæ                                                                                         âä×èÛáçåë×ÓäéÓåÚ×Ó
        lj¼×Õ×ßÔ×äkikk                                                               ÁàÓÖÖÛæÛáàæáæÚ×ä×âáäæÛàÙáàæÚ×¿äáçâæÚ×â×äØáäßÓàÕ×         ×àç×áØxkimrßÛÞÞÛá
                                                                                        áØ¼×çæåÕÚ×Èáåæ¹¿ÛåáçæÞÛà×ÖÔ×Þáé                            ä×âáäæ×ÖØáäáçäÁàæ×äà
        Net debt                                                                              ¹åæÚ×âÓä×àæÕáßâÓàëáØ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ        â×äÛáÖÇæÚ×ää×è×àç×
        xß                                                                             ¼×çæåÕÚ×Èáåæ¹¿âä×âÓä×åÛæåÓààçÓÞýàÓàÕÛÓÞåæÓæ×ß×àæå         ë×ÓäxoojßÛÞÞÛáà+ÓàÖ
                                                               b`¼×Õ      b`¼×Õ    ÛàÓÕÕáäÖÓàÕ×éÛæÚæÚ×âäÛàÕÛâÞ×åáØæÚ×ÀÓàÖ×ÞåÙ×å×æìÔçÕÚ         ×ßâÞáë××Þ×ÓåÛàÙä×àæ
                                                                 2021          2022
                                                                                        *À¿º(¿×äßÓà»áßß×äÕÛÓÞ»áÖ×+ÓàÖæÚ×¹ÝæÛ×àÙ×å×æì                 Øäáßå×äèÛÕ×Þ×è×ÞÓÙä×
        Æáà%Õçää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                       16,589        17,616
                                                                                        *¹Ýæ¿(¿×äßÓàËæáÕÝ»áäâáäÓæÛáà¹Õæ+
            »çää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                       2,802         3,486
            ¾ÛàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å`                           `hbh`        a``_a
                                                                                              ÌÚ×ä×Óä×àáå×âÓäÓæ×â×äØáäßÓàÕ×ÛàÖÛÕÓæáäåä×Þ×èÓàæ        ÁàÕáß×åæÓæ×ß×àæØá
                                                                                        ØáäßÓàÓÙ×ß×àæâçäâáå×åæÚÓæÓä×ÓââÞÛÕÓÔÞ×æáæÚ×âÓä-             jÂÓàçÓäëæálj¼×Õ×ß
            »ÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæå                         3,531         3,790
                                                                                        ×àæÕáßâÓàë¼×çæåÕÚ×Èáåæ¹¿¾áäæÚÛåä×ÓåáàæÚ××êâÞÓ-         xß
            »çää×àæýàÓàÕÛÓÞÓåå×æå                            3,088         1,355
            ÈáåÛæÛè×ØÓÛäèÓÞç×áØàáà%Õçää×àæ                                       àÓæÛáàåâä×å×àæ×ÖØáä¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâÓä×ÓÞåá
                                                                                                                                                            Revenue
              ýàÓàÕÛÓÞÖ×äÛèÓæÛè×åa                                 0         101     ÓââÞÛÕÓÔÞ×æá¼×çæåÕÚ×Èáåæ¹¿                                   ÇæÚ×äáéàéáäÝÕÓâÛæÓÞÛå×
            ¾ÛàÓàÕÛÓÞÓåå×æå                                  ee`h         dace
                                                                                                                                                            ÇæÚ×äáâ×äÓæÛàÙÛàÕáß×
        Net debt                                               `affa        `dgde

        `
          Ä×ååáâ×äÓæÛàÙýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                         Employees                                                           ÅÓæ×äÛÓÞå×êâ×àå×
        a
          Ê×ÕáÙàÛå×ÖÛààáà%Õçää×àæýàÓàÕÛÓÞÓåå×æåÛàæÚ×ÔÓÞÓàÕ×åÚ××æ
                                                                                                                                                            ËæÓüÕáåæå
                                                                                        ÌÚ×àçßÔ×äáØØçÞÞ%æÛß××ãçÛèÓÞ×àæåÓæ¼×çæåÕÚ×Èáåæ¹¿          ¹ßáäæÛåÓæÛáàáØÛàæÓàÙÛÔÞ×
                                                                                        ÓææÚ×ä×âáäæÛàÙÖÓæ×éÓåjojppk*âä×èÛáçåë×Óäjonkkj+         Ö×âä×ÕÛÓæÛáàáØâäáâ×äæëâ
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(30 of 262), Page 30 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 30 of 262
                   Case 3:22-cv-07182-WHA
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(31 of 262), Page 31 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 31 of 262
                   Case 3:22-cv-07182-WHA
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       ÌÚ××ãçÛæëäÓæÛáÖ×Õä×Óå×ÖåÞÛÙÚæÞëØäáßmkp´æámjj´
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(32 of 262), Page 32 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 32 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 842 of 1025
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(33 of 262), Page 33 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 33 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 843 of 1025
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(34 of 262), Page 34 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 34 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 844 of 1025
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(35 of 262), Page 35 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 35 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 845 of 1025
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(36 of 262), Page 36 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 36 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 846 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌÆÇÆ;¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌ                                                                          ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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(37 of 262), Page 37 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 37 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 847 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌÆÇÆ;¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌ                                                                                                         ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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                                                                          SER-937
(38 of 262), Page 38 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 38 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 848 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌÆÇÆ;¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌ                                                                            ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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      âáäæçåÛàÙæÚ×ßáåæØç×ÞÓàÖÙ×à×äÓæÛàÙæÚ×ßáåæ×ßÛååÛáàå                                                2021    2022    ,(´   ÓÛäÓàÖáÕ×ÓàØä×ÛÙÚæ
      àÓß×ÞëÓÛäÓàÖáÕ×ÓàØä×ÛÙÚæÓàÖäáÓÖæäÓàåâáäæÓàÖØçä-          ËçåæÓÛàÓÔÞ×Øç×ÞåÓàÖæ×ÕÚàáÞáÙÛ×å       `de     agc     ga`     áÔÜ×ÕæÛè×å
                                                                         áØéÚÛÕÚ åçåæÓÛàÓÔÞ×Øç×Þ                 28      66    `__
      æÚ×äÛàÕä×ÓåÛàÙæÚ××Þ×ÕæäÛýÕÓæÛáàáØáçäþ××æáØâÛÕÝ%çâÓàÖ                                                                              ËçââÞë»ÚÓÛàÛåÖä
                                                                                 ×Þ×ÕæäÛýÕÓæÛáàáØæÚ×þ××æ      115     179     55.7
      Ö×ÞÛè×äëè×ÚÛÕÞ×åÏ×ÓÞåáÛàè×åæÛàæ×ÕÚàáÞáÙÛ×åæáÖ×åÛÙà                                                                          ÕÚÓÛàåéÛæÚÓâáäæØáÞÛá
                                                                                 ÔçÛÞÖÛàÙå                        13      24     84.6
      áçäáéàà×éÔçÛÞÖÛàÙåæáÔ×ÕÞÛßÓæ×à×çæäÓÞÌÚ×åÚÓä×áØ                                                                            çÕæåØáäÕÓäÔáà%à×çæäÓ
                                                                                 Ø çäæÚ×äß×Óåçä×å
      åçåæÓÛàÓÔÞ×Øç×ÞåÛåæáæáâli´ÛàÓÛäáÕ×ÓàÓàÖäáÓÖØä×ÛÙÚæ            *åÚÛØæÛàÙåÚÛâß×àæåæáäÓÛÞ                             æÚ×ë×ÓäçàÖ×ää×èÛ×é
      ÔëkiliÁàâÛÕÝ%çâåÓàÖÖ×ÞÛè×äÛ×åoi´áØè×ÚÛÕÞ×åçå×Ö                 ÔÛáÙÓåæäçÕÝå+                     –      15         –    ÕÓäÔáà%à×çæäÓÞéÓä×Ú
      Óä×æáÔ××Þ×ÕæäÛÕè×ÚÛÕÞ×å¹ÞÞáØæÚ×ÕáßâÓàë åà×éÔçÛÞÖ-                                                                          ×êÓßâÞ×áØéÚÛÕÚÛåæÚ
      ÛàÙåÓä×æáÔ×ÕÞÛßÓæ×%à×çæäÓÞÏ×ÓÞåáÖäÛè×Ö×ÕÓäÔáàÛåÓ-                                                                            æÚ×ÍàÛæ×ÖÃÛàÙÖáß
      æÛáàéÛæÚáçääÓàÙ×áØ¿á¿ä××àÈÞçåâäáÖçÕæåéÛæÚéÚÛÕÚ          ½êÓßâÞ×åØäáßæÚ×ÖÛèÛåÛáàåÛàæÚ×ë×ÓäçàÖ×ää×èÛ×é                     ×»áßß×äÕ×ËáÞç
      é× ×àÓÔÞ× áçä Õçåæáß×äå æá ßÓÝ× çå× áØ ÓßáàÙ áæÚ×ä      ÁàæÚ×ë×ÓäçàÖ×ää×èÛ×é½êâä×ååéÓåÓÔÞ×æáÕáàÕÞçÖ×            þ××æáØ×%è×ÚÛÕÞ×åÓàÖ
      æÚÛàÙåÓÛäÓàÖáÕ×ÓàØä×ÛÙÚææäÓàåâáäæåéÛæÚåçåæÓÛàÓÔÞ×         ØçäæÚ×äÖ×ÞÛè×äëÕáàæäÓÕæåØáäåçåæÓÛàÓÔÞ×ÓÛäÕäÓØæØç×Þå        ä×à×éÓÔÞ×åáçäÕ×åÁà
      Øç×Þå »áßâÓàëé×ÔåÛæ×                                          Åáä×áè×äæÚ×ßáÖ×äàÛåÓæÛáàáØæÚ×ÓÛäÕäÓØæþ××æéÓåÕáà-          ¿á¿ä××àâäáÖçÕæåÛàæ
           ÁàæÚ×ë×ÓäçàÖ×ää×èÛ×éé×à×ÓäÞëÖáçÔÞ×ÖÓÖÖÛæÛáàÓÞ       æÛàç×ÖÓàÖæÚ×à×æéáäÝáØâÓäæà×äåÚÛâåéÛæÚæäÓàåâáäæåçÔ-               ÈáåæÈÓäÕ×Þ¿×ä
      ×êâ×àÖÛæçä×ØáäÖ×ÕÓäÔáàÛåÓæÛáàß×Óåçä×åÕáßâÓä×Öæá              ÕáàæäÓÕæáäåéÓå×êâÓàÖ×ÖÁàÓÖÖÛæÛáàæÚ×¹ÞÛÕ×(æÚ×ýäåæ       þ××æáØ×Þ×ÕæäÛÕè×ÚÛÕÞ×
      æÚ×âä×èÛáçåë×ÓäæáxkqmßÛÞÞÛáàÓàÖÛàÖáÛàÙåáÓèáÛÖ×Ö        ÓÞÞ%×Þ×ÕæäÛÕÓÛäÕäÓØæ(åçÕÕ×ååØçÞÞëÕáßâÞ×æ×ÖÛæåßÓÛÖ×à         æäÛÕè×ÚÛÕÞ×åÛàçå×Ûà
      ÓäáçàÖjßÛÞÞÛáàæáàà×åáØ»Çke.                                   þÛÙÚæéÛæÚæÚ×ýäåæÖ×ÞÛè×äÛ×åáØæÚÛåßáÖ×ÞåÕÚ×ÖçÞ×ÖØáä       äÓÛÞæäÓàåâáäæØáäâÓä
           ÌÚ×åÚÓä×áØåçåæÓÛàÓÔÞ×Øç×ÞåÛàÕä×Óå×ÖÔëinâ×ä-          kikpæáÔ×çå×ÖØáäåÚçææÞ×þÛÙÚæåÛàæÚ×ÍàÛæ×ÖËæÓæ×å          åçåæÓÛàÓÔÛÞÛæëÌÚ×äÓ
      Õ×àæÓÙ×âáÛàæåæájp´*âä×èÛáçåë×Óäjk´+ÁàâÛÕÝ%çâå       Åáä×áè×äé×ÕáàæÛàç×ÖéÛæÚæÚ××êâÓàåÛáàáØáçäÛàæ×ä-            Õçåæáß×äåæáÓÕæÛè×Þë
      ÓàÖÖ×ÞÛè×äÛ×åé×ÛàÕä×Óå×ÖæÚ×àçßÔ×äáØ×%è×ÚÛÕÞ×åçå×Ö        àÓæÛáàÓÞþ××æáØ×%è×ÚÛÕÞ×å                                       âÓäÕ×ÞåÓàÖæÚçåÓèáÛÖ
      ÛàæÚ×ä×âáäæÛàÙâ×äÛáÖÔëlm´æáÓââäáêÛßÓæ×Þëkpqii                ¿ÞáÔÓÞ¾áäéÓäÖÛàÙ¾ä×ÛÙÚæ×êâÓàÖ×ÖÛæåâÓäæà×äåÚÛâå
      *âä×èÛáçåë×Óäkipii+¹ærm´æÚ×åÚÓä×áØ×Þ×ÕæäÛÕÛæë        ØáäÛàå×ææÛàÙéÛæÚåçåæÓÛàÓÔÞ×Øç×ÞåÍàÞÛÝ×áüå×ææÛàÙÛàå×æ-
      Øäáßä×à×éÓÔÞ×åáçäÕ×åçå×ÖéÓåé×ÞÞÓÔáè×æÚ×Þ×è×ÞáØ           æÛàÙ áü×äå æÚ× ÓÔÛÞÛæë æá åâ×ÕÛýÕÓÞÞë ÛßâÞ×ß×àæ ÕÞÛßÓæ×
      æÚ×âä×èÛáçåë×Óä*âä×èÛáçåë×Óäqo´+                          âäáæ×ÕæÛáà Ûà áçä áéà åçââÞë ÕÚÓÛà ×àÓÔÞÛàÙ Ó âáåÛæÛè×
           ÁàÓÖÖÛæÛáàæááçää×ÖçÕæÛáàß×Óåçä×åé×áü×äáçä           ÛßâÓÕæ áà æÚ× ÓÕÚÛ×è×ß×àæ áØ áçä æÓäÙ×æå æÚäáçÙÚ æÚ×
      Õçåæáß×äå áüå×ææÛàÙ âäáÖçÕæå æá Õáßâ×àåÓæ× Øáä ¿À¿          ÖÛä×Õæä×âÞÓÕ×ß×àæáØØáååÛÞØç×ÞåÏÛæÚÛæå¿ä××à»ÓääÛ×ä
      ×ßÛååÛáàåÀáé×è×äÛàÓÕÕáäÖÓàÕ×éÛæÚæÚ×¿À¿ÈäáæáÕáÞ           »×äæÛýÕÓæÛáàæÚ×ÖÛèÛåÛáàÕä×Óæ×åæäÓàåâÓä×àÕëä×ÙÓäÖÛàÙ
      ÓàÖØáäæÚ×âä×å×àæÓæÛáàáØæÚ×Ê×ÓÞÛå×Ö¼×ÕÓäÔáàÛåÓæÛáà          æÚ×åçåæÓÛàÓÔÛÞÛæëáØáçäåçÔÕáàæäÓÕæáäå¿ÞáÔÓÞ¾áäéÓäÖÛàÙ
      ½ü×ÕæåæÚÛåáüå×ææÛàÙÛåàáææÓÝ×àÛàæáÓÕÕáçàæÓåÓà×ßÛå-       ¾ä×ÛÙÚæÛåáà×áØæÚ×ýäåæÕáßâÓàÛ×åÛàáçäÛàÖçåæäëæááü×ä
      åÛáàåä×ÖçÕæÛáàØáäæÚ×ÕÓÞÕçÞÓæÛáàáØáçä¿À¿ØááæâäÛàæ          ÓÛäÓàÖáÕ×ÓàØä×ÛÙÚæåáÞçæÛáàåæÚÓæßÓÝ×çå×áØåçåæÓÛàÓ-




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(39 of 262), Page 39 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 39 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 849 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌÆÇÆ;¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌ                                                                                                             ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




      ½à×äÙëÕáàåçßâæÛáàÓàÖ×ÿÕÛ×àÕë                                                  Workforce                                                                             º×ÛàÙÓà×ßâÞáë×äá
      ¿äáçâ%éÛÖ××à×äÙëÕáàåçßâæÛáà*ËÕáâ×åjÓàÖk+äáå×æá                                                                                                                Ççä×ßâÞáë××åÓä×á
      lmmrqßÛÞÞÛáàÝÏÚÛàæÚ×ä×âáäæÛàÙâ×äÛáÖÏ×ÛàÕä×Óå×Ö                        »áßßáà¼Æ¹ÓåÓØÓÕæáäØáäåçÕÕ×åå                                                    oiiiii ×ßâÞáë××å
      æÚ××à×äÙëçå×ÖØäáßä×à×éÓÔÞ×åáçäÕ×åÔëkm´ÕáßâÓä×Ö                         ÇçäÕáäâáäÓæ×ÕçÞæçä×ßÓÝ×åçååæäáàÙÁæÛåçàÖ×äâÛàà×Ö                             ×ßâÞáë×äå Ûà áçä å×
      æáæÚ×âä×èÛáçåë×Óä½à×äÙë×ÿÕÛ×àÕëÓßáçàæåæáimÝÏÚ                        ÔëÕáßßáàèÓÞç×åÕáàèÛÕæÛáàåÓàÖÔ×ÚÓèÛáçäåÓàÖÛåáà×                              ÕÚáÛÕ×ÓææäÓÕæÛàÙÕáß
      â×ä×çäááØä×è×àç×                                                            áØæÚ×ßáåæÛßâáäæÓàæØÓÕæáäåÛàáçäÔçåÛà×åååçÕÕ×ååÏ×                            ÕáàæÛàçáçåÞë Ö×è×Þáâ
           ÁàáçäÔçåÛà×ååßáÖ×ÞÓÛäØä×ÛÙÚæÛåæÚ×ßáåæ×à×äÙë%                     ÕÓÞÞÛæáçäÕáßßáà¼Æ¹ ËæäÓæ×ÙëÁæÕáàà×ÕæåçåÓÕäáåå                            æÚ×ÞáàÙæ×äßÇàÞëß
      Ûàæ×àåÛè×ßáÖ×áØæäÓàåâáäæÏÛæÚÕáàæÛàçáçåßáÖ×äàÛåÓæÛáà                      ÓÞÞÔçåÛà×ååçàÛæåÓàÖáâ×äÓæÛàÙä×ÙÛáàåÓàÖÖ×ýà×åéÚá                              å×äèÛÕ×ãçÓÞÛæëß××æ
      âäáÕ×åå×åÛàáçäáéàþ××æÓàÖÓæáçäÞáÕÓæÛáàåé×éÛÞÞÚÓè×                    é×Óä×ÓàÖÚáéé×áâ×äÓæ×¹å×ÓäÞëÓåkiioé×Ö×ýà×ÖÓ                              ÓàÖæÚ×ä×Øáä××àåçä×
      ÓâáåÛæÛè×ÛßâÓÕæáàáçä×à×äÙëÕáàåçßâæÛáàÅáä×áè×äáçä                      »áÖ×áØ»áàÖçÕæÓââÞÛÕÓÔÞ×æáæÚ×éÚáÞ×¿äáçâÏ×èÓÞç×                              ÔçåÛà×ååÓÕæÛèÛæÛ×å¾á
      ÖÛèÛåÛáàåÓä×ÛàÕä×ÓåÛàÙÞëçåÛàÙáçäáéàþ××æÓàÖæäÓÛàÛàÙ                      æÚ×ÖÛè×äåÛæëáØáçäéáäÝØáäÕ×ÓàÖæä×Óæáà×ÓàáæÚ×äéÛæÚ                            ÓàÖÞáÕÝÛàæÚ×ÛäÕáß
      æÚ×âÛÞáæåÛàæÚ×çå×áØ×à×äÙë%Õáàå×äèÛàÙþÛÙÚæßÓàá×çèä×å                    ä×åâ×ÕæåáæÚÓæé×ßÓëéáäÝæáÙ×æÚ×äÕááâ×äÓæÛè×ÞëÓàÖ                              ÛÕÓæ×ÖæáæÚ×âäÛàÕÛâÞ
                                                                                       ÞÓëæÚ×ØáçàÖÓæÛáàØáäáçäÕáßâÓàë åýàÓàÕÛÓÞåçÕÕ×åå                                Ô×ÞáàÙÛàÙæáÕä×Óæ×Ó
      ½à×äÙëÕáàåçßâæÛáàáØæÚ×ÕáßâÓàë åáéàþ××æ                                                                                                                          ÛàÓæÛáàéÚ×ä××ÓÕÚÛà
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      ÅÛÞÞÛáàÝÏÚ
                                                          2021       2022    ,(´
                                                                                       ½ßâÞáë××ßÓææ×äå
      ÌáæÓÞ×à×äÙëÕáàåçßâæÛáà                           b_cge     bcchg    `ba
      ØäáßØáååÛÞåáçäÕ×å                                agee_     baaaf    `ac
                                                                                       ÅÓæ×äÛÓÞæáâÛÕ                     ÃÈÁ                                                          2021
      áØéÚÛÕÚ ÓÛäæäÓàåâáäæ                            22,484     26,649    18.5
                                                                                       ½ßâÞáë××½àÙÓÙ×ß×àæ                ½ßâÞáë××½àÙÓÙ×ß×àæ`
                   ä áÓÖæäÓàåâáäæ                                                                                     ¹ââäáèÓÞäÓæ×ÛàæÚ×ÓààçÓÞ
                    *×êÕÞçÖÛàÙ×%è×ÚÛÕÞ×å+                4,486      4,237    – 5.6                                       åçäè×ë                                        %                 84
                   ÔçÛÞÖÛàÙåÓàÖØÓÕÛÞÛæÛ×å              1,690      1,341   –20.7                                        »áàæÛàçÛàÙ×ÖçÕÓæÛáà                  ßÛÞÞÛáà
      Øäáßä×à×éÓÔÞ×åáçäÕ×å                              `gae      aaf`    acc                                        ÌáæÓÞæäÓÛàÛàÙÚáçäå                     Úáçäå                    –
      áØéÚÛÕÚ ÓÛäæäÓàåâáäæ                              175       343     96.0     ¼Ûè×äåÛæëÓàÖÛàÕÞçåÛáà            ËÚÓä×áØéáß×àÛàßÛÖÖÞ×
                   äáÓÖæäÓàåâáäæ`                        150       242     61.3                                        ÓàÖçââ×äßÓàÓÙ×ß×àæa                        %               25.1

                   áØéÚÛÕÚ×%è×ÚÛÕÞ×å                        –       58         –                                       ½ßâÞáë××åéÛæÚÖÛåÓÔÛÞÛæÛ×åb       Ú×ÓÖÕáçàæ              14,652

                   ÔçÛÞÖÛàÙåÓàÖØÓÕÛÞÛæÛ×å              1,501a    1,686    12.3                                        ½ßâÞáëß×àæäÓæ×b                             %                8.0
                                                                                       ÇÕÕçâÓæÛáàÓÞÚ×ÓÞæÚ               ÄáåææÛß×ÛàÜçäëØä×ãç×àÕë
      `
           ÁàÕÞçÖ×åÞ×ÙÓÞÞëä×ãçÛä×ÖÔÞ×àÖÛàÙ                                        ÓàÖåÓØ×æë                         äÓæ×*ÄÌÁ¾Ê+ac                                              3.9
      a
           ÁàÕÞçÖ×åÕáàåçßâæÛáàÔë×Þ×ÕæäÛÕè×ÚÛÕÞ×å                                                                    ËÛÕÝà×ååäÓæ×                                 %                5.5

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                                                                                       jolË¿ºÁÐ cÏáäÝ%ä×ÞÓæ×ÖÓÕÕÛÖ×àæåâ×äkiiiiiéáäÝÛàÙÚáçäåéÛæÚÓæÞ×Óåæáà×éáäÝÛàÙÖÓëáØÓÔå×àÕ×ØáäæÚ×Ó




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(40 of 262), Page 40 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 40 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 850 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌÆÇÆ;¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌ                                                                               ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌÆÇÆ;¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌ                                                                            ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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(42 of 262), Page 42 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 42 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 852 of 1025
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(43 of 262), Page 43 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 43 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 853 of 1025
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(44 of 262), Page 44 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 44 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 854 of 1025
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(45 of 262), Page 45 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 45 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 855 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌÆÇÆ;¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌ                                                                            ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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(46 of 262), Page 46 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 46 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 856 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌÆÇÆ;¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌ                                                                        ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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                                                                       SER-946
(47 of 262), Page 47 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 47 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 857 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌÆÇÆ;¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌ                                                                             ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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(48 of 262), Page 48 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 48 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 858 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌÆÇÆ;¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌ                                                                                         ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




      ½ÍÌÓêáàáßë                                                         éÛæÚæÚ×âäáèÛåÛáàåØáäÖ×æ×äßÛàÛàÙæÚ×ÓÞÛÙà×ÖåÚÓä×åáØ                    æÛÕçÞÓäÓåé×ÞÞÓåä×è×
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(49 of 262), Page 49 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 49 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 859 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌÆÇÆ;¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌ                                                                                                                  ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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(50 of 262), Page 50 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 50 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 860 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌÆÇÆ;¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌ                                                                                                                                             ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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                                                                                             xß            %          %      %           %            %           %          %         Ñ,Æ      Ñ,Æ      Ñ,Æ           Ñ,Æ       Ñ,Æ
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      Çâ×äÓæÛáàáØâ×äåáàÓÞßáÔÛÞÛæëÖ×èÛÕ×åÕëÕÞ×ÞáÙÛåæÛÕå              6.4         2,078              2.2     100.0                                                                              Y                          Y
      ÌäÓàåâáäæÔëßáæáäÔÛÝ×åâÓåå×àÙ×äÕÓäåÓàÖÞÛÙÚæÕáßß×äÕÛÓÞ
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      æäÓàåâáäæ                                                           6.15         6,730              7.2     100.0                                                                              Y          Y               Y           Y
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      *ÌÓêáàáßë%ÓÞÛÙà×Ö+*¹j+                                                     ``agg             `a_        `___
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      ÓÕæÛèÛæÛ×å*àáæÌÓêáàáßë%ÓÞÛÙà×ÖÓÕæÛèÛæÛ×å+
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      ¾ä×ÛÙÚæäÓÛÞæäÓàåâáäæ                                               6.2           92               0.1
      Çâ×äÓæÛáàáØâ×äåáàÓÞßáÔÛÞÛæëÖ×èÛÕ×åÕëÕÞ×ÞáÙÛåæÛÕå              6.4           49               0.1
      ÌäÓàåâáäæÔëßáæáäÔÛÝ×åâÓåå×àÙ×äÕÓäåÓàÖÞÛÙÚæÕáßß×äÕÛÓÞ
      è×ÚÛÕÞ×å                                                             6.5         8,351              8.8
      ¾ä×ÛÙÚææäÓàåâáäæå×äèÛÕ×åÔëäáÓÖ                                   6.6     17,371             18.3
      Ë×ÓÓàÖÕáÓåæÓÞØä×ÛÙÚæéÓæ×äæäÓàåâáäæè×åå×ÞåØáäâáäæ
      áâ×äÓæÛáàåÓàÖÓçêÛÞÛÓäëÓÕæÛèÛæÛ×å                                 6.10         8,029              8.5
      ÁàØäÓåæäçÕæçä××àÓÔÞÛàÙÞáé%ÕÓäÔáàäáÓÖæäÓàåâáäæÓàÖâçÔÞÛÕ
      æäÓàåâáäæ                                                           6.15         5,006              5.3
      »áàåæäçÕæÛáàÓàÖä×ÓÞ×åæÓæ×ÓÕæÛèÛæÛ×å                                           bb`               _c
      »áàåæäçÕæÛáàáØà×éÔçÛÞÖÛàÙå                                        7.1          330               0.4
      ¹ÕãçÛåÛæÛáàÓàÖáéà×äåÚÛâáØÔçÛÞÖÛàÙå                               7.7               1            0.0
      Ê×è×àç×áØÌÓêáàáßë%×ÞÛÙÛÔÞ×Ôçæàáæ×àèÛäáàß×àæÓÞÞë
      åçåæÓÛàÓÔÞ×ÓÕæÛèÛæÛ×å*àáæÌÓêáàáßë%ÓÞÛÙà×ÖÓÕæÛèÛæÛ×å+*¹k+               bhaah             c`d
      ÌáæÓÞ*¹j¹k+                                                            d_d`f             dbd
      ºÌÓêáàáßë%àáà%×ÞÛÙÛÔÞ×ÓÕæÛèÛæÛ×å
      Ê×è×àç×áØÌÓêáàáßë%àáà%×ÞÛÙÛÔÞ×ÓÕæÛèÛæÛ×å*º+                              cbh`h             ced
      ÌáæÓÞ*¹º+                                                                hccbea          `___


      `
       ¼áàáåÛÙàÛýÕÓàæÚÓäß     a
                                       Ê×è×àç×âçäåçÓàææáæÚ×   ÁàÕáß×åæÓæ×ß×àæ     b
                                                                                             ½àÓÔÞÛàÙ    c
                                                                                                            ÌäÓàåÛæÛáàÓÞ




                                                                                                                 SER-950
(51 of 262), Page 51 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 51 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 861 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌÆÇÆ;¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌ                                                                                                                                               ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




      Ì×ßâÞÓæ×ÈäáâáäæÛáàáØ»Óâ×êØäáßâäáÖçÕæåáäå×äèÛÕ×åÓååáÕÛÓæ×ÖéÛæÚÌÓêáàáßë%ÓÞÛÙà×Ö×ÕáàáßÛÕÓÕæÛèÛæÛ×å(ÖÛåÕÞáåçä×Õáè×äÛàÙë×Óäki
                                                                                                                            ËçÔåæÓàæÛÓÞÕáàæäÛÔçæÛáàÕäÛæ×äÛÓ                                                 ¼ÆËÀ`ÕäÛæ×äÛÓ


                                                                                                          »ÞÛßÓæ×    »ÞÛßÓæ× ÏÓæ×äÓàÖ                             ºÛáÖÛè×äåÛæë »ÞÛßÓæ×   »ÞÛßÓæ× ÏÓæ×äÓàÖ                                  ºÛáÖ
                                                                                   ¹ÔåáÞçæ× ÈäáâáäæÛáà  ÕÚÓàÙ×     ÕÚÓàÙ×    ßÓäÛà×        »ÛäÕçÞÓä                     and   ÕÚÓàÙ×    ÕÚÓàÙ×    ßÓäÛà×         »ÛäÕçÞÓä
      ½ÕáàáßÛÕÓÕæÛèÛæÛ×å                                                »áÖ×*å+     »Óâ×ê     áØ»Óâ×ê ßÛæÛÙÓæÛáà ÓÖÓâæÓæÛáà ä×åáçäÕ×å        ×Õáàáßë      ÈáÞÞçæÛáà ×Õáåëåæ×ßå ßÛæÛÙÓæÛáà ÓÖÓâæÓæÛáà ä×åáçäÕ×å         ×Õáàáßë        ÈáÞÞçæÛáà ×Õá
      *`+                                                                    *a+         *b+          *c+       *d+         *e+         *f+          *g+         *h+        *`_+        *``+        *`a+         *`b+           *`c+        *`d+
                                                                                         xß           %         %           %           %            %           %           %         Ñ,Æ       Ñ,Æ        Ñ,Æ          Ñ,Æ       Ñ,Æ
      ¹ÌÓêáàáßë%×ÞÛÙÛÔÞ×ÓÕæÛèÛæÛ×å
      ¹j½àèÛäáàß×àæÓÞÞëåçåæÓÛàÓÔÞ×ÓÕæÛèÛæÛ×å*ÌÓêáàáßë%ÓÞÛÙà×Ö+
      ÌäÓàåâáäæ                                                                     a`gg           ada
      Çâ×äÓæÛáàáØâ×äåáàÓÞßáÔÛÞÛæëÖ×èÛÕ×åÕëÕÞ×ÞáÙÛåæÛÕå               6.4           1a        0.0    100.0                                                                                     Y                           Y
      ÌäÓàåâáäæÔëßáæáäÔÛÝ×åâÓåå×àÙ×äÕÓäåÓàÖÞÛÙÚæÕáßß×äÕÛÓÞ
      è×ÚÛÕÞ×å                                                              6.5        212    b
                                                                                                     2.5    100.0                                                                                     Y                           Y           Y
      ¾ä×ÛÙÚææäÓàåâáäæå×äèÛÕ×åÔëäáÓÖ                                    6.6         19c         0.2    100.0                                                                                     Y                           Y           Y
      ÁàØäÓåæäçÕæçä××àÓÔÞÛàÙÞáé%ÕÓäÔáàäáÓÖæäÓàåâáäæÓàÖâçÔÞÛÕ
      æäÓàåâáäæ                                                            6.15     1,956     d
                                                                                                    22.5    100.0                                                                                     Y            Y              Y           Y
      »áàåæäçÕæÛáàÓàÖä×ÓÞ×åæÓæ×ÓÕæÛèÛæÛ×å                                             c          __
      ÁàåæÓÞÞÓæÛáàßÓÛàæ×àÓàÕ×ÓàÖä×âÓÛäáØ×à×äÙë×ÿÕÛ×àÕë
      ×ãçÛâß×àæ                                                             7.3           1e        0.0    100.0                                                                                     Y                                       Y
      ÁàåæÓÞÞÓæÛáàßÓÛàæ×àÓàÕ×ÓàÖä×âÓÛäáØä×à×éÓÔÞ××à×äÙë
      æ×ÕÚàáÞáÙÛ×å                                                          7.6           3f        0.0    100.0                                                                                     Y
      »Óâ×êáØ×àèÛäáàß×àæÓÞÞëåçåæÓÛàÓÔÞ×ÓÕæÛèÛæÛ×å
      *ÌÓêáàáßë%ÓÞÛÙà×Ö+*¹j+                                                      a`ha           ada    `___
      ¹kÌÓêáàáßë%×ÞÛÙÛÔÞ×Ôçæàáæ×àèÛäáàß×àæÓÞÞëåçåæÓÛàÓÔÞ×
      ÓÕæÛèÛæÛ×å*àáæÌÓêáàáßë%ÓÞÛÙà×ÖÓÕæÛèÛæÛ×å+
      ÌäÓàåâáäæ                                                                     `fba           a__
      Çâ×äÓæÛáàáØâ×äåáàÓÞßáÔÛÞÛæëÖ×èÛÕ×åÕëÕÞ×ÞáÙÛåæÛÕå               6.4           0          0.0
      ÌäÓàåâáäæÔëßáæáäÔÛÝ×åâÓåå×àÙ×äÕÓäåÓàÖÞÛÙÚæÕáßß×äÕÛÓÞ
      è×ÚÛÕÞ×å                                                              6.5        204           2.3
      ¾ä×ÛÙÚææäÓàåâáäæå×äèÛÕ×åÔëäáÓÖ                                    6.6        479           5.5
      ÁàØäÓåæäçÕæçä××àÓÔÞÛàÙÞáé%ÕÓäÔáàäáÓÖæäÓàåâáäæÓàÖâçÔÞÛÕ
      æäÓàåâáäæ                                                            6.15     1,049           12.2
      »áàåæäçÕæÛáàÓàÖä×ÓÞ×åæÓæ×ÓÕæÛèÛæÛ×å                                       `d_d           `fb
      »áàåæäçÕæÛáàáØà×éÔçÛÞÖÛàÙå                                         7.1           8          0.1
      Ê×àáèÓæÛáàáØ×êÛåæÛàÙÔçÛÞÖÛàÙå                                      7.2           2          0.0
      ÁàåæÓÞÞÓæÛáàßÓÛàæ×àÓàÕ×ÓàÖä×âÓÛäáØ×à×äÙë×ÿÕÛ×àÕë
      ×ãçÛâß×àæ                                                             7.3           5          0.1
      ÁàåæÓÞÞÓæÛáàßÓÛàæ×àÓàÕ×ÓàÖä×âÓÛäáØÛàåæäçß×àæåÓàÖÖ×èÛÕ×å
      Øáäß×ÓåçäÛàÙä×ÙçÞÓæÛáàÓàÖÕáàæäáÞÞÛàÙ×à×äÙëâ×äØáäßÓàÕ×
      áØÔçÛÞÖÛàÙå                                                          7.5           1          0.0
      ÁàåæÓÞÞÓæÛáàßÓÛàæ×àÓàÕ×ÓàÖä×âÓÛäáØä×à×éÓÔÞ××à×äÙë
      æ×ÕÚàáÞáÙÛ×å                                                          7.6           1          0.0
      ¹ÕãçÛåÛæÛáàÓàÖáéà×äåÚÛâáØÔçÛÞÖÛàÙå                                7.7     1,488           17.1
      ÁàØáäßÓæÛáàÓàÖÕáßßçàÛÕÓæÛáà                                                     `_           _`
      ¼ÓæÓâäáÕ×ååÛàÙÚáåæÛàÙÓàÖä×ÞÓæ×ÖÓÕæÛèÛæÛ×å                       8.1         10           0.1
      »Óâ×êáØÌÓêáàáßë%×ÞÛÙÛÔÞ×Ôçæàáæ×àèÛäáàß×àæÓÞÞë
      åçåæÓÛàÓÔÞ×ÓÕæÛèÛæÛ×å*àáæÌÓêáàáßë%ÓÞÛÙà×ÖÓÕæÛèÛæÛ×å+*¹k+                bacf           bfc
      ÌáæÓÞ*¹j¹k+                                                             dcbh           eae
      ºÌÓêáàáßë%àáà%×ÞÛÙÛÔÞ×ÓÕæÛèÛæÛ×å
      »Óâ×êáØÌÓêáàáßë%àáà%×ÞÛÙÛÔÞ×ÓÕæÛèÛæÛ×å*º+                                 bad_           bfc
      ÌáæÓÞ*¹º+                                                                geghgh      `___


      `
       ¼áàáåÛÙàÛýÕÓàæÚÓäß aÇØéÚÛÕÚâäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæxjßÛÞÞÛáà bÇØéÚÛÕÚâäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæxjqoßÛÞÞÛáàäÛÙÚæ%áØ%çå×Óåå×æåxkoßÛÞÞÛáà cÇØéÚÛÕÚâäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæxjmßÛÞÞÛáàäÛÙÚæ%á
      ×ãçÛâß×àæxjkjoßÛÞÞÛáàäÛÙÚæ%áØ%çå×Óåå×æåxpjjßÛÞÞÛáàÛàæÓàÙÛÔÞ×Óåå×æåxkrßÛÞÞÛáà eÇØéÚÛÕÚâäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæxjßÛÞÞÛáà fÇØéÚÛÕÚâäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæxkßÛÞÞÛáàäÛÙÚæ%áØ%çå×Óåå×æåxjßÛÞÞÛáà g
      ä×âáäæÛàÙÓàÖÛàè×åæß×àæâäáâ×äæÛ×å Æáæ×jiÓàÖkmæáæÚ×ÕáàåáÞÛÖÓæ×ÖýàÓàÕÛÓÞåæÓæ×ß×àæå hÁàÕÞçÖ×åÓÖÖÛæÛáàåØäáßÔçåÛà×ååÕáßÔÛàÓæÛáàåÛàæÓàÙÛÔÞ×Óåå×æå*×êÕÞçÖÛàÙÙááÖéÛÞÞ+áØxnrkßÛÞÞÛáàâäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæá
      ýàÓàÕÛÓÞåæÓæ×ß×àæå `_½àÓÔÞÛàÙ ``ÌäÓàåÛæÛáàÓÞ




                                                                                                            SER-951
(52 of 262), Page 52 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 52 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 862 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌÆÇÆ;¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌ                                                                                                                                               ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




      Ì×ßâÞÓæ×ÈäáâáäæÛáàáØÇâ×êØäáßâäáÖçÕæåáäå×äèÛÕ×åÓååáÕÛÓæ×ÖéÛæÚÌÓêáàáßë%ÓÞÛÙà×Ö×ÕáàáßÛÕÓÕæÛèÛæÛ×å(ÖÛåÕÞáåçä×Õáè×äÛàÙë×Óäkik
                                                                                                                            ËçÔåæÓàæÛÓÞÕáàæäÛÔçæÛáàÕäÛæ×äÛÓ                                                 ¼ÆËÀ`ÕäÛæ×äÛÓ


                                                                                                        »ÞÛßÓæ×    »ÞÛßÓæ× ÏÓæ×äÓàÖ                               ºÛáÖÛè×äåÛæë »ÞÛßÓæ×   »ÞÛßÓæ× ÏÓæ×äÓàÖ                                  ºÛáÖ
                                                                                 ¹ÔåáÞçæ× ÈäáâáäæÛáà  ÕÚÓàÙ×     ÕÚÓàÙ×    ßÓäÛà×          »ÛäÕçÞÓä                     and   ÕÚÓàÙ×    ÕÚÓàÙ×    ßÓäÛà×         »ÛäÕçÞÓä
      ½ÕáàáßÛÕÓÕæÛèÛæÛ×å                                              »áÖ×*å+      Çâ×ê      áØÇâ×ê ßÛæÛÙÓæÛáà ÓÖÓâæÓæÛáà ä×åáçäÕ×å          ×Õáàáßë      ÈáÞÞçæÛáà ×Õáåëåæ×ßå ßÛæÛÙÓæÛáà ÓÖÓâæÓæÛáà ä×åáçäÕ×å         ×Õáàáßë        ÈáÞÞçæÛáà ×Õá
      *`+                                                                  *a+         *b+          *c+         *d+         *e+         *f+          *g+         *h+        *`_+        *``+         *`a+        *`b+           *`c+        *`d+
                                                                                       xß           %           %           %           %            %           %           %         Ñ,Æ        Ñ,Æ       Ñ,Æ          Ñ,Æ       Ñ,Æ
      ¹ÌÓêáàáßë%×ÞÛÙÛÔÞ×ÓÕæÛèÛæÛ×å
      ¹j½àèÛäáàß×àæÓÞÞëåçåæÓÛàÓÔÞ×ÓÕæÛèÛæÛ×å*ÌÓêáàáßë%ÓÞÛÙà×Ö+
      ÌäÓàåâáäæ                                                                      b_h          ``c
      Çâ×äÓæÛáàáØâ×äåáàÓÞßáÔÛÞÛæëÖ×èÛÕ×åÕëÕÞ×ÞáÙÛåæÛÕå             6.4         26a         1.0      100.0                                                                                      Y                          Y
      ÌäÓàåâáäæÔëßáæáäÔÛÝ×åâÓåå×àÙ×äÕÓäåÓàÖÞÛÙÚæÕáßß×äÕÛÓÞ
      è×ÚÛÕÞ×å                                                            6.5         50    b
                                                                                                   1.8      100.0                                                                                      Y                          Y           Y
      ¾ä×ÛÙÚææäÓàåâáäæå×äèÛÕ×åÔëäáÓÖ                                  6.6           7c        0.3      100.0                                                                                      Y                          Y           Y
      ÁàØäÓåæäçÕæçä××àÓÔÞÛàÙÞáé%ÕÓäÔáàäáÓÖæäÓàåâáäæÓàÖâçÔÞÛÕ
      æäÓàåâáäæ                                                          6.15        226    d
                                                                                                   8.3      100.0                                                                                      Y           Y              Y           Y
      Çâ×êáØ×àèÛäáàß×àæÓÞÞëåçåæÓÛàÓÔÞ×ÓÕæÛèÛæÛ×å
      *ÌÓêáàáßë%ÓÞÛÙà×Ö+*¹j+                                                      b_h          ``c      `___
      ¹kÌÓêáàáßë%×ÞÛÙÛÔÞ×Ôçæàáæ×àèÛäáàß×àæÓÞÞëåçåæÓÛàÓÔÞ×
      ÓÕæÛèÛæÛ×å*àáæÌÓêáàáßë%ÓÞÛÙà×ÖÓÕæÛèÛæÛ×å+
      ÌäÓàåâáäæ                                                                      egb          ada
      Çâ×äÓæÛáàáØâ×äåáàÓÞßáÔÛÞÛæëÖ×èÛÕ×åÕëÕÞ×ÞáÙÛåæÛÕå             6.4           2          0.1
      ÌäÓàåâáäæÔëßáæáäÔÛÝ×åâÓåå×àÙ×äÕÓäåÓàÖÞÛÙÚæÕáßß×äÕÛÓÞ
      è×ÚÛÕÞ×å                                                            6.5        185           6.8
      ¾ä×ÛÙÚææäÓàåâáäæå×äèÛÕ×åÔëäáÓÖ                                  6.6        340          12.5
      Ë×ÓÓàÖÕáÓåæÓÞØä×ÛÙÚæéÓæ×äæäÓàåâáäæè×åå×ÞåØáäâáäæ
      áâ×äÓæÛáàåÓàÖÓçêÛÞÛÓäëÓÕæÛèÛæÛ×å                                6.10           5          0.2
      ÁàØäÓåæäçÕæçä××àÓÔÞÛàÙÞáé%ÕÓäÔáàäáÓÖæäÓàåâáäæÓàÖâçÔÞÛÕ
      æäÓàåâáäæ                                                          6.15        151           5.6
      »áàåæäçÕæÛáàÓàÖä×ÓÞ×åæÓæ×ÓÕæÛèÛæÛ×å                                        dde          a_d
      »áàåæäçÕæÛáàáØà×éÔçÛÞÖÛàÙå                                       7.1           3          0.1
      ¹ÕãçÛåÛæÛáàÓàÖáéà×äåÚÛâáØÔçÛÞÖÛàÙå                              7.7        553          20.4
      ÁàØáäßÓæÛáàÓàÖÕáßßçàÛÕÓæÛáà                                                   aa           _g
      ¼ÓæÓâäáÕ×ååÛàÙÚáåæÛàÙÓàÖä×ÞÓæ×ÖÓÕæÛèÛæÛ×å                     8.1         22           0.8
      Çâ×êáØÌÓêáàáßë%×ÞÛÙÛÔÞ×Ôçæàáæ×àèÛäáàß×àæÓÞÞë
      åçåæÓÛàÓÔÞ×ÓÕæÛèÛæÛ×å*àáæÌÓêáàáßë%ÓÞÛÙà×ÖÓÕæÛèÛæÛ×å+*¹k+               `ae`          ced
      ÌáæÓÞ*¹j¹k+                                                            `df_          dfh
      ºÌÓêáàáßë%àáà%×ÞÛÙÛÔÞ×ÓÕæÛèÛæÛ×å
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(53 of 262), Page 53 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 53 of 262
                   Case 3:22-cv-07182-WHA
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                                                                           SER-953
(54 of 262), Page 54 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 54 of 262
                   Case 3:22-cv-07182-WHA
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(55 of 262), Page 55 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 55 of 262
                   Case 3:22-cv-07182-WHA
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(56 of 262), Page 56 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 56 of 262
                   Case 3:22-cv-07182-WHA
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                                                                                   SER-956
(57 of 262), Page 57 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 57 of 262
                   Case 3:22-cv-07182-WHA
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                                                                                   SER-957
(58 of 262), Page 58 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 58 of 262
                   Case 3:22-cv-07182-WHA
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                                                                              SER-958
(59 of 262), Page 59 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 59 of 262
                   Case 3:22-cv-07182-WHA
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(61 of 262), Page 61 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 61 of 262
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(62 of 262), Page 62 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 62 of 262
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(63 of 262), Page 63 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 63 of 262
                   Case 3:22-cv-07182-WHA
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                                                                           SER-963
(64 of 262), Page 64 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 64 of 262
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                                                                 Ç ÈÈÇÊÌÍÆÁÌÁ½Ë¹Æ¼ÊÁËÃË                                                       ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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(65 of 262), Page 65 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 65 of 262
                   Case 3:22-cv-07182-WHA
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(66 of 262), Page 66 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 66 of 262
                   Case 3:22-cv-07182-WHA
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(67 of 262), Page 67 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 67 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 877 of 1025
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(68 of 262), Page 68 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 68 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 878 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌGOVERNANCE                                                                                    ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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                                                                       SER-968
(69 of 262), Page 69 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 69 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 879 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌGOVERNANCE                                                                                       ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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(70 of 262), Page 70 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 70 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 880 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌGOVERNANCE                                                                                        ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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(71 of 262), Page 71 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 71 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 881 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌGOVERNANCE                                                                                                                               ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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(72 of 262), Page 72 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 72 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 882 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌGOVERNANCE                                                                                          ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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(73 of 262), Page 73 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 73 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 883 of 1025
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(74 of 262), Page 74 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 74 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 884 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌGOVERNANCE                                                                                          ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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(75 of 262), Page 75 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 75 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 885 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌGOVERNANCE                                                                                        ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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                                                                        SER-975
(76 of 262), Page 76 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 76 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 886 of 1025
              »ÇÅºÁÆ½¼Å¹Æ¹¿½Å½ÆÌÊ½ÈÇÊÌGOVERNANCE                                                                                          ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




      ºáÓäÖáØÅÓàÓÙ×ß×àæÓçæÚáäÛåÓæÛáàâÓäæÛÕçÞÓäÞë                   ØáçàÖÛàæÚ×ÓçæÚáäÛåÓæÛáàä×åáÞçæÛáàÓÖáâæ×ÖÔëæÚ×¹¿Å           ×àÖáØÓÙÛè×àßáàæÚ
      ä×ÙÓäÖÛàÙæÚ×Ûååç×ÓàÖÔçë%ÔÓÕÝáØåÚÓä×å                         áØoÅÓëkikj*ÓÙ×àÖÓÛæ×ßq+ÁàÓÖÖÛæÛáàæÚ×¹¿ÅáØ             ÓÙ×ß×àæÕáàæäÓÕæ*äÛÙ
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      å×àæáØæÚ×Ëçâ×äèÛåáäëºáÓäÖæáÛååç×çâæájliiiiiii         ÔÓÕÝåÚÓä×åéÛæÚÛàæÚ×åÕáâ×åâ×ÕÛý×ÖÛàÓÙ×àÖÓÛæ×ßq            æÚ×¹ààçÓÞºáàçåÈÞÓ
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      æ×äÌÚ×ëßÓëÓÞåáÔ×èÛ×é×ÖÛàæÚ×Õáßß×äÕÛÓÞä×ÙÛåæ×äáØ        ËÛÙàÛýÕÓàæÓÙä××ß×àæåæÚÓæÓä×ÕáàÖÛæÛáàÓÞçâáàÓ                  ß×àæ*áäÓÕÓåÚ×ãçÛè
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      æÛáàä×åáÞçæÛáàåÓä×ÛàÕÞçÖ×ÖÛàæÚ×àáæÓäÛå×ÖßÛàçæ×åáØ          éÛæÚÓÕáàåáäæÛçßáØÔÓàÝåÁØÓÕÚÓàÙ×áØÕáàæäáÞéÛæÚÛà         ä×ÛßÔçäå×Ö½ü×ÕæÛè×
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                                                                         SER-976
(77 of 262), Page 77 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 77 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 887 of 1025
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËÁÆ»ÇÅ½ËÌ¹Ì½Å½ÆÌ>ËÌ¹Ì½Å½ÆÌÇ¾»ÇÅÈÊ½À½ÆËÁÎ½ÁÆ»ÇÅ½                                   ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




       CONSOLIDATED FINANCIAL STATEMENTS




       INCOME STATEMENT                                                                     STATEMENT OF
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       jÂÓàçÓäëæálj¼×Õ×ßÔ×ä                                                             jÂÓàçÓäëæálj¼×Õ×ßÔ×ä
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                                                             Note        2021       2022
       Revenue                                                 11      81,747     94,436    »áàåáÞÛÖÓæ×Öà×æâäáýæØáäæÚ×â×äÛáÖ
       ÇæÚ×äáâ×äÓæÛàÙÛàÕáß×                                  12       2,291      2,925
                                                                                            Áæ×ßåæÚÓæéÛÞÞàáæÔ×ä×ÕÞÓååÛý×ÖæáâäáýæáäÞáåå
       »ÚÓàÙ×åÛàÛàè×àæáäÛ×åÓàÖéáäÝâ×äØáäß×ÖÓàÖ                                       »ÚÓàÙ×Öç×æáä×ß×Óåçä×ß×àæåáØà×æâ×àåÛáàâäáèÛåÛáàå
       ÕÓâÛæÓÞÛå×Ö                                             13         348        511
                                                                                            Ê×å×äè×Øáä×ãçÛæëÛàåæäçß×àæåéÛæÚáçæä×ÕëÕÞÛàÙ
       ÅÓæ×äÛÓÞå×êâ×àå×                                       14     – 43,897   – 53,473
                                                                                            ÁàÕáß×æÓê×åä×ÞÓæÛàÙæáÕáßâáà×àæåáØáæÚ×äÕáßâä×-
       ËæÓüÕáåæå                                              15     –23,879    –26,035    Ú×àåÛè×ÛàÕáß×
       ¼×âä×ÕÛÓæÛáàÓßáäæÛåÓæÛáàÓàÖÛßâÓÛäß×àæÞáåå×å        16      –3,768     – 4,177   ÌáæÓÞà×æáØæÓê
       ÇæÚ×äáâ×äÓæÛàÙ×êâ×àå×å                                17      – 4,896    – 5,712
       Æ×æÛàÕáß×,×êâ×àå×åØäáßÛàè×åæß×àæåÓÕÕáçàæ×ÖØáä                                  Áæ×ßåæÚÓæßÓëÔ×ä×ÕÞÓååÛý×ÖåçÔå×ãç×àæÞëæáâäáýæáä
       çåÛàÙæÚ××ãçÛæëß×æÚáÖ                                 25          32        –39    Þáåå
                                                                                            À×ÖÙÛàÙä×å×äè×å
       ÈäáýæØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×å*½ºÁÌ+                           fhfg      gcbe    »ÚÓàÙ×åØäáßçàä×ÓÞÛå×ÖÙÓÛàåÓàÖÞáåå×å

       ¾ÛàÓàÕÛÓÞÛàÕáß×                                                   191        427    »ÚÓàÙ×åØäáßä×ÓÞÛå×ÖÙÓÛàåÓàÖÞáåå×å

       ¾ÛàÓàÕ×Õáåæå                                                     –746      – 847    »çää×àÕëæäÓàåÞÓæÛáàä×å×äè×
       ¾áä×ÛÙàÕçää×àÕëä×åçÞæ                                            – 64      –105    »ÚÓàÙ×åØäáßçàä×ÓÞÛå×ÖÙÓÛàåÓàÖÞáåå×å
       Æ×æýàÓàÕ×Õáåæå                                        18       ( e`h      ( dad    »ÚÓàÙ×åØäáßä×ÓÞÛå×ÖÙÓÛàåÓàÖÞáåå×å

       ÈäáýæÔ×Øáä×ÛàÕáß×æÓê×å                                        fbdh      fh``    ÁàÕáß×æÓê×åä×ÞÓæÛàÙæáÕáßâáà×àæåáØáæÚ×äÕáßâä×-
                                                                                            Ú×àåÛè×ÛàÕáß×
       ÁàÕáß×æÓê×å                                            19      –1,936     –2,194    ËÚÓä×áØáæÚ×äÕáßâä×Ú×àåÛè×ÛàÕáß×áØÛàè×åæß×àæå
                                                                                            ÓÕÕáçàæ×ÖØáäçåÛàÙæÚ××ãçÛæëß×æÚáÖà×æáØæÓê
       »áàåáÞÛÖÓæ×Öà×æâäáýæØáäæÚ×â×äÛáÖ                            dcab      df`f
                                                                                            ÌáæÓÞà×æáØæÓê
       ÓææäÛÔçæÓÔÞ×æá¼×çæåÕÚ×Èáåæ¹¿åÚÓä×ÚáÞÖ×äå                    5,053      5,359
       ÓææäÛÔçæÓÔÞ×æáàáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæå                          370        358    ÇæÚ×äÕáßâä×Ú×àåÛè×ÛàÕáß×à×æáØæÓê

       ºÓåÛÕ×ÓäàÛàÙåâ×äåÚÓä×*x+                            20        c`_       cc`    ÌáæÓÞÕáßâä×Ú×àåÛè×ÛàÕáß×
                                                                                            ÓææäÛÔçæÓÔÞ×æá¼×çæåÕÚ×Èáåæ¹¿åÚÓä×ÚáÞÖ×äå
       ¼ÛÞçæ×Ö×ÓäàÛàÙåâ×äåÚÓä×*x+                          20        c_`       cbb
                                                                                            ÓææäÛÔçæÓÔÞ×æáàáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæå




                                                                    SER-977
(78 of 262), Page 78 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 78 of 262
                   Case 3:22-cv-07182-WHA SHEET
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËBALANCE Document 39-1 Filed 10/18/23 Page 888 of 1025                                     ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




       BALANCE SHEET
       xß
                                                           Note   b`¼×Õa_a`   b`¼×Õa_aa

       ASSETS                                                                                   EQUITY AND LIABILITIES
       ÁàæÓàÙÛÔÞ×Óåå×æå                                     22        12,076         14,096    Áååç×ÖÕÓâÛæÓÞ
       Èäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæ                         23        24,903         28,688    »ÓâÛæÓÞä×å×äè×å
       Áàè×åæß×àæâäáâ×äæë                                   24            48             22    ÇæÚ×ää×å×äè×å
       Áàè×åæß×àæåÓÕÕáçàæ×ÖØáäçåÛàÙæÚ××ãçÛæëß×æÚáÖ     25           111             76    Ê×æÓÛà×Ö×ÓäàÛàÙå
       Æáà%Õçää×àæýàÓàÕÛÓÞÓåå×æå                           26         1,190          1,216    ½ãçÛæëÓææäÛÔçæÓÔÞ×æá¼×çæåÕÚ×Èáåæ¹¿åÚÓä×ÚáÞÖ×äå
       ÇæÚ×äàáà%Õçää×àæÓåå×æå                              27           587            581    Æáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæå
       ¼×Ø×ää×ÖæÓêÓåå×æå                                   28         1,943          1,440    ½ãçÛæë
       Æáà%Õçää×àæÓåå×æå                                              c_gdg         ce``h
                                                                                                ÈäáèÛåÛáàåØáäâ×àåÛáàåÓàÖåÛßÛÞÓäáÔÞÛÙÓæÛáàå
       Áàè×àæáäÛ×å                                           29           593            927    ¼×Ø×ää×ÖæÓêÞÛÓÔÛÞÛæÛ×å
       »çää×àæýàÓàÕÛÓÞÓåå×æå                               26         3,088          1,355    ÇæÚ×äàáà%Õçää×àæâäáèÛåÛáàå
       ÌäÓÖ×ä×Õ×ÛèÓÔÞ×å                                     30        11,683         12,253    Æáà%Õçää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å
       ÇæÚ×äÕçää×àæÓåå×æå                                  27         3,588          3,551    ÇæÚ×äàáà%Õçää×àæÞÛÓÔÛÞÛæÛ×å
       ÁàÕáß×æÓêÓåå×æå                                                  230            283    Æáà%Õçää×àæâäáèÛåÛáàåÓàÖÞÛÓÔÛÞÛæÛ×å
       »ÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæå                             31         3,531          3,790
                                                                                                »çää×àæâäáèÛåÛáàå
       ¹åå×æåÚ×ÞÖØáäåÓÞ×                                  32            21              0
                                                                                                »çää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å
       »çää×àæÓåå×æå                                                  aafbc         aa`dh
                                                                                                ÌäÓÖ×âÓëÓÔÞ×å
       TOTAL ASSETS                                                    ebdha         egafg    ÇæÚ×äÕçää×àæÞÛÓÔÛÞÛæÛ×å
                                                                                                ÁàÕáß×æÓêÞÛÓÔÛÞÛæÛ×å
                                                                                                ÄÛÓÔÛÞÛæÛ×åÓååáÕÛÓæ×ÖéÛæÚÓåå×æåÚ×ÞÖØáäåÓÞ×
                                                                                                »çää×àæâäáèÛåÛáàåÓàÖÞÛÓÔÛÞÛæÛ×å

                                                                                                TOTAL EQUITY AND LIABILITIES




                                                                  SER-978
(79 of 262), Page 79 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 79 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËCASH FLOWDocument
                                                         STATEMENT 39-1 Filed 10/18/23 Page 889 of 1025   ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




       CASH FLOW STATEMENT
       jÂÓàçÓäëæálj¼×Õ×ßÔ×ä
       xß


       »áàåáÞÛÖÓæ×Öà×æâäáýæØáäæÚ×â×äÛáÖ
       ÁàÕáß×æÓê×å
       Æ×æýàÓàÕ×Õáåæå
       ÈäáýæØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×å*½ºÁÌ+
       ¼×âä×ÕÛÓæÛáàÓßáäæÛåÓæÛáàÓàÖÛßâÓÛäß×àæÞáåå×å
       Æ×æÛàÕáß×ØäáßÖÛåâáåÓÞáØàáà%Õçää×àæÓåå×æå
       Æáà%ÕÓåÚÛàÕáß×ÓàÖ×êâ×àå×
       »ÚÓàÙ×ÛàâäáèÛåÛáàå
       »ÚÓàÙ×ÛàáæÚ×äàáà%Õçää×àæÓåå×æåÓàÖÞÛÓÔÛÞÛæÛ×å
       ¼ÛèÛÖ×àÖä×Õ×Ûè×Ö
       ÁàÕáß×æÓê×åâÓÛÖ
       Æ×æÕÓåÚØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×åÔ×Øáä×ÕÚÓàÙ×åÛàéáäÝÛàÙÕÓâÛæÓÞ

       »ÚÓàÙ×åÛàéáäÝÛàÙÕÓâÛæÓÞ
       Áàè×àæáäÛ×å
       Ê×Õ×ÛèÓÔÞ×åÓàÖáæÚ×äÕçää×àæÓåå×æå
       ÄÛÓÔÛÞÛæÛ×åÓàÖáæÚ×äÛæ×ßå
       Æ×æÕÓåÚØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×å

       ËçÔåÛÖÛÓäÛ×åÓàÖáæÚ×äÔçåÛà×ååçàÛæå
       Èäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæÓàÖÛàæÓàÙÛÔÞ×Óåå×æå
       Áàè×åæß×àæåÓÕÕáçàæ×ÖØáäçåÛàÙæÚ××ãçÛæëß×æÚáÖÓàÖáæÚ×äÛàè×åæß×àæå
       ÇæÚ×äàáà%Õçää×àæýàÓàÕÛÓÞÓåå×æå
       ÈäáÕ××ÖåØäáßÖÛåâáåÓÞáØàáà%Õçää×àæÓåå×æå

       ËçÔåÛÖÛÓäÛ×åÓàÖáæÚ×äÔçåÛà×ååçàÛæå
       Èäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæÓàÖÛàæÓàÙÛÔÞ×Óåå×æå
       Áàè×åæß×àæåÓÕÕáçàæ×ÖØáäçåÛàÙæÚ××ãçÛæëß×æÚáÖÓàÖáæÚ×äÛàè×åæß×àæå
       ÇæÚ×äàáà%Õçää×àæýàÓàÕÛÓÞÓåå×æå
       »ÓåÚâÓÛÖæáÓÕãçÛä×àáà%Õçää×àæÓåå×æå

       Áàæ×ä×åæä×Õ×Ûè×Ö
       »çää×àæýàÓàÕÛÓÞÓåå×æå
       Æ×æÕÓåÚçå×ÖÛàÛàè×åæÛàÙÓÕæÛèÛæÛ×å




                                                                                 SER-979
(80 of 262), Page 80 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 80 of 262
                   Case 3:22-cv-07182-WHA
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËCASH FLOWDocument
                                                         STATEMENT 39-1 Filed 10/18/23 Page 890 of 1025   ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




       ÈäáÕ××ÖåØäáßÛååçÓàÕ×áØàáà%Õçää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å
       Ê×âÓëß×àæåáØàáà%Õçää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å
       »ÚÓàÙ×ÛàÕçää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å
       ÇæÚ×äýàÓàÕÛàÙÓÕæÛèÛæÛ×å
       »ÓåÚâÓÛÖØáä,âäáÕ××ÖåØäáßæäÓàåÓÕæÛáàåéÛæÚàáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæå
       ¼ÛèÛÖ×àÖâÓÛÖæá¼×çæåÕÚ×Èáåæ¹¿åÚÓä×ÚáÞÖ×äå
       ¼ÛèÛÖ×àÖâÓÛÖæáàáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæÚáÞÖ×äå
       ÈçäÕÚÓå×áØæä×ÓåçäëåÚÓä×å
       Áàæ×ä×åæâÓÛÖ
       Æ×æÕÓåÚçå×ÖÛàýàÓàÕÛàÙÓÕæÛèÛæÛ×å

       Æ×æÕÚÓàÙ×ÛàÕÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæå
       ½ü×ÕæáØÕÚÓàÙ×åÛà×êÕÚÓàÙ×äÓæ×åáàÕÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæå
       »ÚÓàÙ×åÛàÕÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæåÓååáÕÛÓæ×ÖéÛæÚÓåå×æåÚ×ÞÖØáäåÓÞ×
       »ÚÓàÙ×åÛàÕÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæåÖç×æáÕÚÓàÙ×åÛàÕáàåáÞÛÖÓæ×ÖÙäáçâ
       »ÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæåÓæÔ×ÙÛààÛàÙáØä×âáäæÛàÙâ×äÛáÖ
       »ÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæåÓæ×àÖáØä×âáäæÛàÙâ×äÛáÖ




                                                                                   SER-980
(81 of 262), Page 81 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 81 of 262
                   Case 3:22-cv-07182-WHA Document
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËSTATEMENT                39-1 Filed 10/18/23 Page 891 of 1025
                                                          OF CHANGES IN EQUITY                                                                      ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




        STATEMENT OF CHANGES IN EQUITY
        jÂÓàçÓäëæálj¼×Õ×ßÔ×ä
        xß
                                                                                                                  ÇæÚ×ää×å×äè×å

                                                                                                                      Ê×å×äè×Øáä
                                                                                                                           ×ãçÛæë                                       ÓææäÛ
                                                                                                                     Ûàåæäçß×àæå      »çää×àÕë                         æá¼
                                                                                                       À×ÖÙÛàÙ           éÛæÚáçæ   æäÓàåÞÓæÛáà          Ê×æÓÛà×Ö
                                                                   Áååç×ÖÕÓâÛæÓÞ   »ÓâÛæÓÞä×å×äè×å   reserves         ä×ÕëÕÞÛàÙ       reserve            ×ÓäàÛàÙå     åÚÓä×
         Note                                                                 33                 34                                                              34
         ºÓÞÓàÕ×ÓåÓæjÂÓàçÓäëkikj                                     1,239               3,519       –17                –27        –1,622              10,685
         ¼ÛèÛÖ×àÖ                                                                                                                                           –1,673
         ÌäÓàåÓÕæÛáàåéÛæÚàáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæå                                                         0                  0              1                –1
         »ÚÓàÙ×åÛààáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæåÖç×æáÕÚÓàÙ×åÛà
         ÕáàåáÞÛÖÓæ×ÖÙäáçâ
         »ÓâÛæÓÞÛàÕä×Óå×,Ö×Õä×Óå×                                          –15                  14                                                           – 981

         ÌáæÓÞÕáßâä×Ú×àåÛè×ÛàÕáß×
         »áàåáÞÛÖÓæ×Öà×æâäáýæØáäæÚ×â×äÛáÖ                                                                                                               5,053
         »çää×àÕëæäÓàåÞÓæÛáàÖÛü×ä×àÕ×å                                                                                                    894
         »ÚÓàÙ×Öç×æáä×ß×Óåçä×ß×àæåáØà×æâ×àåÛáàâäáèÛåÛáàå                                                                                              1,930
         ÇæÚ×äÕÚÓàÙ×å                                                                                      23                15                                  0
         Total
         ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×äkikj                                   `aac              bdbb           e               (`a          (faf              `d_`b


         ºÓÞÓàÕ×ÓåÓæjÂÓàçÓäëkikk                                     1,224               3,533          6               –12          –727              15,013
         ¼ÛèÛÖ×àÖ                                                                                                                                           –2,205
         ÌäÓàåÓÕæÛáàåéÛæÚàáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæå                                                         0                  0              0              –145
         »ÚÓàÙ×åÛààáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæåÖç×æáÕÚÓàÙ×åÛà
         ÕáàåáÞÛÖÓæ×ÖÙäáçâ
         »ÓâÛæÓÞÛàÕä×Óå×,Ö×Õä×Óå×                                          –25                  10                                                         –1,195

         ÌáæÓÞÕáßâä×Ú×àåÛè×ÛàÕáß×
         »áàåáÞÛÖÓæ×Öà×æâäáýæØáäæÚ×â×äÛáÖ                                                                                                               5,359
         »çää×àÕëæäÓàåÞÓæÛáàÖÛü×ä×àÕ×å                                                                                                    154
         »ÚÓàÙ×Öç×æáä×ß×Óåçä×ß×àæåáØà×æâ×àåÛáàâäáèÛåÛáàå                                                                                              2,185
         ÇæÚ×äÕÚÓàÙ×å                                                                                      52                  9                                 0
         Total
         ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×äkikk                                   ``hh              bdcb          dg                (b          ( dfb             `h_`a




                                                                            SER-981
(82 of 262), Page 82 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 82 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       892 of 1025
                                                                                                     POST AG                                           ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




         NOTES TO THE                                                           Óæäç×ÓàÖØÓÛäèÛ×éáØæÚ×¿äáçâ åà×æÓåå×æåýàÓàÕÛÓÞâáåÛæÛáà     åâÛæ×¼×çæåÕÚ×Èáåæ¼À

         CONSOLIDATED                                                           ÓàÖä×åçÞæåáØáâ×äÓæÛáàå
                                                                                       ÌÚ×ÕáàåáÞÛÖÓæ×ÖýàÓàÕÛÓÞåæÓæ×ß×àæåÕáàåÛåæáØæÚ×ÛàÕáß×
                                                                                                                                                       äÛÙÚæåËÛàáæäÓàåâäáèÛÖ
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        åÛÖÛÓäÛ×åÛåæÚ×ÕÓÞ×àÖÓäë×Óä¼×çæåÕÚ×Èáåæ¹¿éÚáå×ä×ÙÛåæ×ä×Ö    ÚÓè×Ô××àä×ãçÛä×ÖæáÔ×ÓââÞÛ×ÖÔëæÚ×¿äáçâåÛàÕ×jÂÓàç-           »áàåáÞÛÖÓæ×ÖÙäáçâ
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         ¹åÓÞÛåæ×ÖÕáßâÓàë¼×çæåÕÚ×Èáåæ¹¿âä×âÓä×ÖÛæåÕáàåáÞÛ-           ÞÛáàåáØ×çäáå*xßÛÞÞÛáàxß+                                      ÆçßÔ×äáØÜáÛàæáâ×äÓæÛáàå
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                                                                                SER-982
(83 of 262), Page 83 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 83 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       893 of 1025
                                                                                                     POST AG                                            ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




         ØáçäÕáßâÓàÛ×åÓàÖæÚ×Æ×æÚ×äÞÓàÖå%ÔÓå×ÖÅáàæÓºÎ¿äáçâ                                                                                   »Óß×äáà¿äáçâ
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         ÅáàæÓºÎ¿äáçâ*ÅáàæÓ+                   Æ×æÚ×äÞÓàÖå                 ËçââÞë»ÚÓÛà                                51       ÇÕæáÔ×äa_aa
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         éÓäÖÛàÙæäÓàåâáäæÓàÖÞáÙÛåæÛÕåáØÔ×è×äÓÙ×åàáà%ÚÓìÓäÖáçå
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         ÔçÞÝÞÛãçÛÖåÓàÖáæÚ×äâäáÖçÕæåæÚÓæä×ãçÛä×åâ×ÕÛÓÞÕÓä×ÌÚ×
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         ÓÕãçÛåÛæÛáà×àÓÔÞ×å¿ÞáÔÓÞ¾áäéÓäÖÛàÙ¾ä×ÛÙÚææá×êâÓàÖÛæå
                                                                                 »çää×àæÓåå×æå                                                 484     EQUITY AND LIABILITIES
         ÔçåÛà×ååÛàæÚÛåßÓäÝ×æå×Ùß×àæ¾áÞÞáéÛàÙæÚ×ÕÞ×ÓäÓàÕ×áØ
                                                                                 »ÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæå                                        72    Æ×æÓåå×æå
         æÚ×æäÓàåÓÕæÛáàÔëæÚ×ä×åâáàåÛÔÞ×Õáßâ×æÛæÛáàÓçæÚáäÛæÛ×åæÚ×
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         âçäÕÚÓå×âäÛÕ×áØxjmnkßÛÞÞÛáàéÓåâÓÛÖÛàØçÞÞÓææÚ××àÖáØ
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         ÅÓäÕÚkikk                                                                                                                                   Æáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæå
                                                                                 áØéÚÛÕÚ¼×Ø×ää×ÖæÓê×å                                        171
               ÌÚ× ýàÓÞ âçäÕÚÓå× âäÛÕ× ÓÞÞáÕÓæÛáà ä×åçÞæ×Ö Ûà àáà%æÓê%                                                                          ¿ááÖéÛÞÞ
                                                                                 »çää×àæâäáèÛåÛáàåÓàÖÞÛÓÔÛÞÛæÛ×å                             488
         Ö×ÖçÕæÛÔÞ×ÙááÖéÛÞÞáØxjkjjßÛÞÞÛáàéÚÛÕÚÛåÓÞÞáÕÓæ×ÖæáæÚ×       EQUITY AND LIABILITIES                                         hfe
         ¿ÞáÔÓÞ¾áäéÓäÖÛàÙ¾ä×ÛÙÚæÖÛèÛåÛáàÁæÛåßÓÛàÞëÓææäÛÔçæÓÔÞ×æá      Æ×æÓåå×æå                                                     ada
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         áÕ×ÓàØä×ÛÙÚæØáäéÓäÖÛàÙßÓäÝ×æÌÚ×Õçåæáß×ää×ÞÓæÛáàåÚÛâåÓä×        ¼Ûü×ä×àÕ×                                                    `a__
         ÓßáäæÛå×Öáè×äÓâ×äÛáÖáØkië×ÓäåÓàÖæÚ×ÔäÓàÖàÓß×áè×äÓ          Æáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæå                                        11
         â×äÛáÖáØlië×ÓäåÌÚ×åáØæéÓä×ÚÓåÓçå×ØçÞÞÛØ×áØýè×ë×Óäå       ¿ááÖéÛÞÞ                                                     `a``
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         æÚ×ÕÓääëÛàÙÓßáçàæ




                                                                                 SER-983
(84 of 262), Page 84 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 84 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       894 of 1025
                                                                                                     POST AG                                                     ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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          ¼ÀÄËçââÞë»ÚÓÛàÓÕãçÛä×ÖÓßÓÜáäÛæëÚáÞÖÛàÙáØnj´ÛàæÚ×           xß
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                                                                                 ÕáàåáÞÛÖÓæÛáà                           1,640          111            26
         åÛì×ÖáàÞÛà×åÚáâåÛà×%ØçÞýÞß×àæÓàÖáàÞÛà×åÓÞ×åÓàÖæÚÓàÝå
                                                                                 ¿äáçâ½ºÁÌåÛàÕ×ÕáàåáÞÛÖÓæÛáà              79              1          2
          æá æÚ× Ûàæ×äàÓæÛáàÓÞ äáÞÞ%áçæ áØ ÅáàæÓ å ÞáÙÛåæÛÕå å×äèÛÕ×å
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         à××ÖåáØËÅ½åÓàÖåßÓÞÞ×äé×ÔåÚáâåÌÚ×ß×Óåçä×ß×àæáØ                áâ×äÓæÛàÙ×êâ×àå×å+                         21              1          2
          æÚ×Óåå×æåÓÕãçÛä×ÖÓàÖÞÛÓÔÛÞÛæÛ×åÓååçß×ÖÚÓåàáæë×æÔ××à
         ÕáßâÞ×æ×ÖÖç×æáæÛß×ä×åæäÛÕæÛáàåÌÚ×ÓÕãçÛåÛæÛáàä×åçÞæ×ÖÛà
         âä×ÞÛßÛàÓäëÙááÖéÛÞÞéÚÛÕÚÕçää×àæÞëÓßáçàæåæáxrkßÛÞÞÛáà           ÁØæÚ×ÕáßâÓàÛ×åÚÓÖÓÞä×ÓÖëÔ××àÕáàåáÞÛÖÓæ×ÖÓåÓæjÂÓàç-
         ÓàÖÕÓààáæÔ×Ö×ÖçÕæ×ÖØäáßæÓêÁæÛåßÓÛàÞëÓææäÛÔçæÓÔÞ×æáæÚ×      ÓäëkikkÀÛÞÞ×ÔäÓàÖéáçÞÖÚÓè×ÓÖÖÛæÛáàÓÞÞëÙ×à×äÓæ×Öä×è×-
         åëà×äÙÛ×åÓàÖà×æéáäÝ×ü×Õæå×êâ×Õæ×ÖØäáßæÚ××%Õáßß×äÕ×              àç×áØxmlpßÛÞÞÛáàÓàÖ½ºÁÌáØxkißÛÞÞÛáà»Óß×äáàä×è×àç×
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         »çää×àæÓåå×æåÛàÕÞçÖ×æäÓÖ×ä×Õ×ÛèÓÔÞ×åáØxjoßÛÞÞÛáàÌÚ×ä×
          éÓåàáÖÛü×ä×àÕ×Ô×æé××àæÚ×ÙäáååÓßáçàæÓàÖæÚ×ÕÓääëÛàÙ            kk ¼ÛåâáåÓÞÓàÖÖ×ÕáàåáÞÛÖÓæÛáà×ü×Õæå
         ÓßáçàæÌÚ×ýàÓÞâçäÕÚÓå×âäÛÕ×ÓÞÞáÕÓæÛáàéÛÞÞÔ×âä×å×àæ×Ö           ÌÚ×ØáÞÞáéÛàÙÕáßâÓàÛ×åé×ä×åáÞÖÛàæÚ×kikkýàÓàÕÛÓÞë×Óä
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                                                                                 ËÛÙàÛýÕÓàæÖÛåâáåÓÞå
         Æáà%Õçää×àæÓåå×æå                                              62      Ëæä××æËÕááæ×äÕáßâÓàÛ×å                          ¿×äßÓàëÂÓâÓàËéÛæì×äÞÓàÖ   ¿äáçâ¾çàÕæÛáàå
         »çää×àæÓåå×æå                                                  18
         »ÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæå                                         3     ÁàåÛÙàÛýÕÓàæÖÛåâáåÓÞå
                                                                                 ¿ä××àâÞÓà¿ßÔÀ                                   ¿×äßÓàë                       ¿äáçâ¾çàÕæÛáàå
         ASSETS                                                          gb
                                                                                 ÎŔäáà¿äÓç×ä¹¿                                  ËéÛæì×äÞÓàÖ                    ¿ÞáÔÓÞ¾áäéÓäÖÛàÙ¾ä×ÛÙÚæ
         Æáà%Õçää×àæâäáèÛåÛáàåÓàÖÞÛÓÔÛÞÛæÛ×å                          51
                                                                                 ¼ÀÄ¿ÞáÔÓÞ¾áäéÓäÖÛàÙ»áæ×Ö ÁèáÛä×Ë¹        Áèáäë»áÓåæ                    ¿ÞáÔÓÞ¾áäéÓäÖÛàÙ¾ä×ÛÙÚæ
         »çää×àæâäáèÛåÛáàåÓàÖÞÛÓÔÛÞÛæÛ×å                              31
                                                                                 ¼ÀÄ¿ÞáÔÓÞ¾áäéÓäÖÛàÙ*Ë×à×ÙÓÞ+Ë¹            Ë×à×ÙÓÞ                        ¿ÞáÔÓÞ¾áäéÓäÖÛàÙ¾ä×ÛÙÚæ
         EQUITY AND LIABILITIES                                          ga
         Æ×æÓåå×æå                                                        `
         ÈçäÕÚÓå×âäÛÕ×âÓÛÖÛàÕÓåÚ                                    103
         ¼Ûü×ä×àÕ×                                                      `_a
         ¾ÓÛäèÓÞç×áØæÚ×áâæÛáà                                        10
         Æáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæå                                         0
         Èä×ÞÛßÛàÓäëÙááÖéÛÞÞ                                            ha




                                                                                 SER-984
(85 of 262), Page 85 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 85 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       895 of 1025
                                                                                                     POST AG                                            ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




         Çà lÂÓàçÓäëkikk ¼×çæåÕÚ× Èáåæ ¼ÀÄ ¿äáçâ åáÞÖ æÚ× âäá-     kl ÂáÛàæáâ×äÓæÛáàå                                                        Çàjm¾×ÔäçÓäëki
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         »çää×àæâäáèÛåÛáàåÓàÖÞÛÓÔÛÞÛæÛ×å                                5
                                                                                 ÁàÓÖÖÛæÛáàæáæÚ×ÔçåÛà×ååÕáßÔÛàÓæÛáàåÓàÖÖÛåâáåÓÞåáØåÚÓä×-       ÛàæáæÓÞáà×%áü×ü×Õæå
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         »áàåÛÖ×äÓæÛáà                                                    67
                                                                                                                                                        ÛßâÓÛäß×àæÞáåå×å Æá
         ½ãçÛæëÛàæ×ä×åæÛàÇ¼ÁÆ                                          10
         ¼×ÕáàåáÞÛÖÓæÛáàÙÓÛà                                             ee
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         áâ×äÓæÛàÙÛàÕáß×ÌÚ×åÓÞ×áØæÚ×æéá¹ØäÛÕÓàÕáßâÓàÛ×åÞ×Öæá         ÕÚÓå×èÛÓæÚ×åæáÕÝ×êÕÚÓàÙ×åæÓäæ×Öáàq¹âäÛÞkikkÓàÖéÛÞÞ
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                                                                                 ¿×à×äÓÞÅ××æÛàÙáàoÅÓëkikj Æáæ×llÓàÖlm




                                                                                 SER-985
(86 of 262), Page 86 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 86 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       896 of 1025
                                                                                                     POST AG                                                                         ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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(88 of 262), Page 88 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 88 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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         »ÆÑ                                »ÚÛàÓ                                     7.2024           7.3823          7.6120           7.0875      æÓÝÛàÙÛàæáÓÕÕáçàææÚ×Õ
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(89 of 262), Page 89 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 89 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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(90 of 262), Page 90 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 90 of 262
                   Case 3:22-cv-07182-WHATO THE
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(91 of 262), Page 91 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 91 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                               SER-992
(93 of 262), Page 93 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 93 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                                 SER-993
(94 of 262), Page 94 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 94 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       904 of 1025
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                                                                                SER-995
(96 of 262), Page 96 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 96 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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(97 of 262), Page 97 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 97 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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        ÁàÓÖÖÛæÛáàåæäáàÙèáÞÓæÛÞÛæëÛååæÛÞÞ×êâ×Õæ×ÖáàæÚ×ÙááÖåÓàÖ      ÓÕÕáçàæÛàÙÌÚ×ÕáåæáØæÚ×ÓÕãçÛåÛæÛáàÕáää×åâáàÖåæáæÚ×ØÓÛä
        ýàÓàÕÛÓÞßÓäÝ×æåÓàÖÛà×êÕÚÓàÙ×äÓæ×åÖäÛè×àÔëäÛåÛàÙÛàæ×ä×åæ      èÓÞç×áØæÚ×Óåå×æåÙÛè×àçâæÚ××ãçÛæëÛàåæäçß×àæåÛååç×ÖÓàÖ




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(98 of 262), Page 98 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 98 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                                         OF DEUTSCHE       908 of 1025
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                                                                 ½êâä×åå              ¾ä×ÛÙÚæ         ËçââÞë»ÚÓÛà            ËáÞçæÛáàå             ¿×äßÓàë        ¿äáçâ¾çàÕæÛáàå


         `ÂÓàçÓäëæáb`¼×Õ×ßÔ×ä                        2021      2022     2021       2022        2021      2022      2021      2022        2021      2022       2021        2022
         ½êæ×äàÓÞä×è×àç×                               23,704    26,986   21,553     28,770      13,760    16,333     5,792     6,004      16,895    16,309         44          35
         Áàæ×äàÓÞä×è×àç×                                  513       606    1,280      1,442         104        98       136       138         550       470      1,750       1,846
         ÌáæÓÞä×è×àç×                                  24,217    27,592   22,833     30,212      13,864    16,431     5,928     6,142      17,445    16,779      1,794       1,881
         Èäáýæ,ÞáååØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×å*½ºÁÌ+     4,220     4,025    1,303      2,311         705       893       417       389       1,747     1,271      – 413       – 451
         áØéÚÛÕÚà×æÛàÕáß×ØäáßÛàè×åæß×àæå
         ÓÕÕáçàæ×ÖØáäçåÛàÙæÚ××ãçÛæëß×æÚáÖ              –2         3       –1         –3           2        –4         0         0           0         0         33         –35
         Ë×Ùß×àæÓåå×æå                                 18,806    20,748   11,536     13,158       8,386    10,063     2,212     2,593       6,902     7,727      5,645       5,795
         áØéÚÛÕÚÛàè×åæß×àæåÓÕÕáçàæ×ÖØáäçåÛàÙ
         æÚ××ãçÛæëß×æÚáÖ                                   6         8       20         19          15         9         0         0           0         0         71          40
         Ë×Ùß×àæÞÛÓÔÛÞÛæÛ×å                             5,233     5,437    5,012      5,157       3,505     4,003       876       896       2,631     2,673      1,718       1,772
         Æ×æå×Ùß×àæÓåå×æå                             13,573    15,311    6,524      8,001       4,881     6,060     1,336     1,697       4,271     5,054      3,927       4,023
            »Óâ×ê*Óåå×æåÓÕãçÛä×Ö+                      1,707     1,528      132        159         483       504       245       431         883     1,043        445         459
            »Óâ×ê*äÛÙÚæ%áØ%çå×Óåå×æå+                  1,246     1,860      215        281         667       900       178       135          14        27        760         536
         ÌáæÓÞÕÓâ×ê                                     2,953     3,388      347        440       1,150     1,404       423       566         897     1,070      1,205         995
            ¼×âä×ÕÛÓæÛáàÓàÖÓßáäæÛåÓæÛáà                1,511     1,666      245        311         756       848       179       198         334       354        744         753
            ÁßâÓÛäß×àæÞáåå×å                                0        24        0          7           0        11         0         0           0         0          0           5
         ÌáæÓÞÖ×âä×ÕÛÓæÛáàÓßáäæÛåÓæÛáàÓàÖ
         ÛßâÓÛäß×àæÞáåå×å                              1,511     1,690      245        318         756       859      179        198         334       354        744         758
          ÇæÚ×äàáà%ÕÓåÚÛàÕáß×*(+ÓàÖ×êâ×àå×å*+       524       386      158        215         245       270        5         24         302       263         51         107
          ½ßâÞáë××åa                                  108,896   113,735   42,348     46,718     167,666   178,585   32,099     31,715     164,429   158,770     12,641      13,393

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         `ÂÓàçÓäëæáb`¼×Õ×ßÔ×ä                                                                  2021      2022     2021       2022        2021      2022       2021        2022
         ½êæ×äàÓÞä×è×àç×                                                                         21,554    21,870   23,740     27,704      17,487    22,318     15,736      18,383
         Æáà%Õçää×àæÓåå×æå                                                                       11,043    12,485   11,308     13,061       8,943    10,781      5,213       5,985
         »Óâ×ê                                                                                     2,347     2,392    1,746      1,932       2,085     2,321        606       1,023




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(99 of 262), Page 99 of 262 Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 99 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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         ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâä×âáäæåýè×áâ×äÓæÛàÙå×Ùß×àæåØáä           Ê×þ×ÕæÛàÙæÚ×¿äáçâ åâä×ÖáßÛàÓàæáäÙÓàÛåÓæÛáàÓÞåæäçÕæçä×æÚ×      ä×âáäæÛàÙÕáßâäÛå×åæÚ×
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         ä×åâáàåÛÔÞ×å×Ùß×àæßÓàÓÙ×ß×àæÔáÖÛ×åÛàÞÛà×éÛæÚæÚ×âäáÖ-             ÖÛåæÛàÙçÛåÚ×åÔ×æé××àæÚ×ØáÞÞáéÛàÙÖÛèÛåÛáàå                        ¿äáçâ¾çàÕæÛáàå
         çÕæåÓàÖå×äèÛÕ×åáü×ä×ÖÓàÖæÚ×ÔäÓàÖåÖÛåæäÛÔçæÛáàÕÚÓàà×Þå                                                                                ¿äáçâ¾çàÕæÛáàåÛàÕÞçÖ
         ÓàÖÕçåæáß×äâäáýÞ×åÛàèáÞè×Ö»áßâáà×àæåáØæÚ××àæÛæëÓä×             ½êâä×åå                                                               Ë×äèÛÕ×å*¿ºË+ÓàÖ»çå
         Ö×ýà×ÖÓåÓå×Ùß×àæáàæÚ×ÔÓåÛåáØæÚ××êÛåæ×àÕ×áØå×Ùß×àæ            ÌÚ×½êâä×ååÖÛèÛåÛáàáü×äåæÛß×%Ö×ýàÛæ×ÕáçäÛ×äÓàÖ×êâä×ååå×ä-      âäáýæ,ÞáååÙ×à×äÓæ×ÖÔ
         ßÓàÓÙ×äåéÛæÚÔáææáß%ÞÛà×ä×åâáàåÛÔÛÞÛæëéÚáä×âáäæÖÛä×ÕæÞëæá         èÛÕ×åæáÔçåÛà×ååÓàÖâäÛèÓæ×Õçåæáß×äåÌÚ×ÖÛèÛåÛáàÕáßâäÛå×å      ß×àæåéÚÛÞåæÛæåÓåå×æå
          ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ åæáâßÓàÓÙ×ß×àæ                            æÚ×½çäáâ×ÅÛÖÖÞ×½ÓåæÓàÖ¹ØäÛÕÓ¹ß×äÛÕÓåÓàÖ¹åÛÓÈÓÕÛýÕ        ß×æäÛÕÓÞÓÞÞáÕÓæÛáà+
                 ½êæ×äàÓÞ ä×è×àç× Ûå æÚ× ä×è×àç× Ù×à×äÓæ×Ö Ôë æÚ× ÖÛèÛ-   ä×ÙÛáàå
         åÛáàåØäáßàáà%¿äáçâæÚÛäÖâÓäæÛ×åÁàæ×äàÓÞä×è×àç×Ûåä×è×àç×                                                                               »áàåáÞÛÖÓæÛáà
         Ù×à×äÓæ×ÖéÛæÚáæÚ×äÖÛèÛåÛáàåÁØÕáßâÓäÓÔÞ××êæ×äàÓÞßÓäÝ×æ           ¿ÞáÔÓÞ¾áäéÓäÖÛàÙ¾ä×ÛÙÚæ                                            ÌÚ×ÖÓæÓØáäæÚ×ÖÛèÛåÛáà
         âäÛÕ×å×êÛåæØáäå×äèÛÕ×åáäâäáÖçÕæåáü×ä×ÖÛàæ×äàÓÞÞëéÛæÚÛàæÚ×      ÌÚ×¿ÞáÔÓÞ¾áäéÓäÖÛàÙ¾ä×ÛÙÚæÖÛèÛåÛáàÕáßâäÛå×åÛàæ×äàÓæÛáàÓÞ      Ûàæ×äÖÛèÛåÛáàÓÞæäÓàåÓÕæ
         ¿äáçâæÚ×å×ßÓäÝ×æâäÛÕ×åáäßÓäÝ×æ%áäÛ×àæ×ÖâäÛÕ×åÓä×çå×Ö           ÓÛäáÕ×ÓàÓàÖáè×äÞÓàÖØä×ÛÙÚæØáäéÓäÖÛàÙå×äèÛÕ×åÌÚ×ÖÛèÛ-        åÛáàåÓä××ÞÛßÛàÓæ×ÖÛàæ
         ÓåæäÓàåØ×äâäÛÕ×å*Óäß å%Þ×àÙæÚâäÛàÕÛâÞ×+ÌÚ×æäÓàåØ×äâäÛÕ×åØáä    åÛáà åÔçåÛà×ååçàÛæåÓä×¿ÞáÔÓÞ¾áäéÓäÖÛàÙÓàÖ¾ä×ÛÙÚæ
         å×äèÛÕ×åØáäéÚÛÕÚàá×êæ×äàÓÞßÓäÝ×æ×êÛåæåÓä×Ù×à×äÓÞÞëÔÓå×Ö                                                                              jil ÁàØáäßÓæÛáàÓÔáç
         áàÛàÕä×ß×àæÓÞÕáåæå                                                    ËçââÞë»ÚÓÛà                                                          ÌÚ× ßÓÛà Ù×áÙäÓâÚÛÕÓ
                 ÌÚ××êâ×àå×åØáäå×äèÛÕ×åâäáèÛÖ×ÖÛàæÚ×ÁÌå×äèÛÕ×Õ×à-        ÌÚ×ËçââÞë»ÚÓÛàÖÛèÛåÛáàÖ×ÞÛè×äåÕçåæáßÛå×ÖåçââÞëÕÚÓÛàåáÞç-      Óä×¿×äßÓàë½çäáâ×*×
           æä×åÓä×ÓÞÞáÕÓæ×ÖæáæÚ×ÖÛèÛåÛáàåÔëæÚ×ÛäáäÛÙÛàÌÚ×ÓÖÖÛæÛáàÓÞ   æÛáàåæáÛæåÕçåæáß×äåÔÓå×ÖáàÙÞáÔÓÞÞëåæÓàÖÓäÖÛå×ÖßáÖçÞÓä        ÈÓÕÛýÕÓàÖÅÛÖÖÞ×½ÓåæÓ
         Õáåæåä×åçÞæÛàÙØäáß¼×çæåÕÚ×Èáåæ¹¿ åçàÛè×äåÓÞâáåæÓÞå×äèÛÕ×      Õáßâáà×àæåÛàÕÞçÖÛàÙéÓä×ÚáçåÛàÙæäÓàåâáäæÓàÖèÓÞç×%ÓÖÖ×Ö          Óåå×æåÓàÖÕÓâ×êÓä×ÖÛå
         áÔÞÛÙÓæÛáà*àÓæÛáàéÛÖ×ä×æÓÛÞáçæÞ×æà×æéáäÝÖ×ÞÛè×äë×è×äëéáäÝ-       å×äèÛÕ×åÌÚ×ÖÛèÛåÛáàÕáßâäÛå×åæÚ×½çäáâ×ÅÛÖÖÞ×½ÓåæÓàÖ        ÓàÖÕÓâ×êÓä×ÓÞÞáÕÓæ×Ö
           ÛàÙÖÓë+ÓàÖØäáßÛæåáÔÞÛÙÓæÛáàæáÓååçß×æÚ×ä×ßçà×äÓæÛáà          ¹ØäÛÕÓ¹ß×äÛÕÓåÓàÖ¹åÛÓÈÓÕÛýÕä×ÙÛáàå                            æÚ×ÖáßÛÕÛÞ×áØæÚ×ä×â
         åæäçÕæçä×ÓåæÚ×Þ×ÙÓÞåçÕÕ×ååáäæá¼×çæåÕÚ×ºçàÖ×åâáåæÓä×                                                                                  âäÛå×ÛàæÓàÙÛÔÞ×Óåå×æå
         ÓÞÞáÕÓæ×ÖæáæÚ×ÈáåæÈÓäÕ×Þ¿×äßÓàëÖÛèÛåÛáà                        ×»áßß×äÕ×ËáÞçæÛáàå                                                   àáà%Õçää×àæÓåå×æå*×êÕ
                 Áà Ý××âÛàÙ éÛæÚ Ûàæ×äàÓÞ ä×âáäæÛàÙ ÕÓâÛæÓÞ ×êâ×àÖÛæçä×   ÌÚ××»áßß×äÕ×ËáÞçæÛáàåÖÛèÛåÛáàÛåÚáß×æáæÚ×¿äáçâ åÛàæ×ä-
         *ÕÓâ×ê+ÛåÖÛåÕÞáå×Ö¹ÖÖÛæÛáàåæáÛàæÓàÙÛÔÞ×Óåå×æåà×æáØÙááÖ-        àÓæÛáàÓÞâÓäÕ×ÞÖ×ÞÛè×äëÔçåÛà×ååÌÚ×Õáä×ÔçåÛà×ååÓÕæÛèÛæÛ×å      jim Ê×ÕáàÕÛÞÛÓæÛáàáØ
           éÛÞÞÓàÖæáâäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæÛàÕÞçÖÛàÙäÛÙÚæ%áØ%çå×     Óä×Öáß×åæÛÕâÓäÕ×ÞÖ×ÞÛè×äëÛàå×Þ×Õæ×ÖÕáçàæäÛ×åÛà½çäáâ×æÚ×         Óßáçàæå
         Óåå×æåÓä×ä×âáäæ×ÖÛàæÚ×ÕÓâ×êýÙçä×¼×âä×ÕÛÓæÛáàÓßáäæÛåÓ-         ÍàÛæ×ÖËæÓæ×åÓàÖ¹åÛÓÓàÖàáà%Ì¼ÁÕäáåå%ÔáäÖ×äå×äèÛÕ×å             ÌÚ×ØáÞÞáéÛàÙæÓÔÞ×åÚáé
           æÛáàÓàÖÛßâÓÛäß×àæÞáåå×åä×ÞÓæ×æáæÚ×å×Ùß×àæÓåå×æåÓÞÞá-                                                                                ¿äáçâ åæáæÓÞÓåå×æåæáæ
         ÕÓæ×ÖæáæÚ×ÛàÖÛèÛÖçÓÞÖÛèÛåÛáàåÇæÚ×äàáà%ÕÓåÚÛàÕáß×ÓàÖ            ÈáåæÈÓäÕ×Þ¿×äßÓàë                                               âáà×àæåÛàÕáß×æÓêÓåå
         ×êâ×àå×åä×ÞÓæ×âäÛßÓäÛÞëæá×êâ×àå×åØäáßæÚ×ä×ÕáÙàÛæÛáàáØ           ÌÚ×ÈáåæÈÓäÕ×Þ¿×äßÓàëÖÛèÛåÛáàæäÓàåâáäæååáäæåÓàÖÖ×ÞÛè-      ÓÞ×àæåÓàÖáæÚ×äÓåå×æÕ
         âäáèÛåÛáàå                                                              ×äåÖáÕçß×àæåÓàÖÙááÖåÛàÓàÖáçæåÛÖ×áØ¿×äßÓàëÁæåÔçåÛà×åå
                 ÌÚ×âäáýæÓÔÛÞÛæëáØæÚ×¿äáçâ åáâ×äÓæÛàÙÖÛèÛåÛáàåÛåß×Ó%      çàÛæåÓä×ÕÓÞÞ×ÖÈáåæ¿×äßÓàëÈÓäÕ×Þ¿×äßÓàëÓàÖÁàæ×äàÓæÛáàÓÞ
         åçä×ÖÓåâäáýæØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×å*½ºÁÌ+




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(100 of 262), Page 100 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 100 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       910 of 1025
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         Ê×ÕáàÕÛÞÛÓæÛáàæáå×Ùß×àæÓåå×æå                                        ÌÚ×ØáÞÞáéÛàÙæÓÔÞ×åÚáéåæÚ×ä×ÕáàÕÛÞÛÓæÛáàáØæÚ×å×Ùß×àæ
         xß                                                                     ÓßáçàæåæáæÚ×ÛàÕáß×åæÓæ×ß×àæ
                                                         2021         2022
         ÌáæÓÞ×ãçÛæëÓàÖÞÛÓÔÛÞÛæÛ×å                  63,592        68,278      Ê×ÕáàÕÛÞÛÓæÛáàæáæÚ×ÛàÕáß×åæÓæ×ß×àæ
         Áàè×åæß×àæâäáâ×äæë                              – 48          –22
                                                                                 xß
         Æáà%Õçää×àæýàÓàÕÛÓÞÓåå×æå                   –1,006        –1,040                                                          ÌáæÓÞØáää×âáäæ×Ö                         Ê×ÕáàÕ
                                                                                                                                             å×Ùß×àæå          ¿äáçâ¾çàÕæÛáàå
         ÇæÚ×äàáà%Õçää×àæÓåå×æå                        – 421        –355
         ¼×Ø×ää×ÖæÓêÓåå×æå                           –1,943        –1,440
                                                                                                                                    2021         2022       2021        2022         20
         ÁàÕáß×æÓêÓåå×æå                               –230         –283
                                                                                 ½êæ×äàÓÞä×è×àç×                                 81,704       94,402         44           35
         Ê×Õ×ÛèÓÔÞ×åÓàÖáæÚ×äÕçää×àæÓåå×æå               –9          –15
                                                                                 Áàæ×äàÓÞä×è×àç×                                  2,583         2,754      1,750       1,846      – 4,3
         »çää×àæýàÓàÕÛÓÞÓåå×æå                       –2,989        –1,313
                                                                                 ÌáæÓÞä×è×àç×                                    gcagf       hf`de       `fhc       `gg`      ( cb
         »ÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæå                     –3,531        –3,790
                                                                                 ÇæÚ×äáâ×äÓæÛàÙÛàÕáß×                            2,236         2,836      1,607       1,856      –1,5
         Ë×Ùß×àæÓåå×æå                                dbc`d       e__a_
                                                                                 »ÚÓàÙ×åÛàÛàè×àæáäÛ×åÓàÖéáäÝ
         áØéÚÛÕÚ ¿äáçâ¾çàÕæÛáàå                       5,645        5,795      â×äØáäß×ÖÓàÖÕÓâÛæÓÞÛå×Ö                           214           386       134          125
                      æáæÓÞØáää×âáäæ×Öå×Ùß×àæå     47,842        54,289      ÅÓæ×äÛÓÞå×êâ×àå×                               – 46,955     – 56,768     –1,325      –1,436       4,3
                      »áàåáÞÛÖÓæÛáà`                    –72          – 64      ËæÓüÕáåæå                                      –22,778      –24,860      –1,112      –1,182
                                                                                 ¼×âä×ÕÛÓæÛáàÓßáäæÛåÓæÛáàÓàÖ
         `
              ÁàÕÞçÖÛàÙäáçàÖÛàÙ                                               ÛßâÓÛäß×àæÞáåå×å                                –3,025       –3,419       –744        –758
                                                                                 ÇæÚ×äáâ×äÓæÛàÙ×êâ×àå×å                         – 5,586      – 6,438      – 800       – 902       1,4
        ÌÚ×ØáÞÞáéÛàÙæÓÔÞ×åÚáéåæÚ×ä×ÕáàÕÛÞÛÓæÛáàáØ¼×çæåÕÚ×Èáåæ¼ÀÄ   Æ×æ×êâ×àå×å,ÛàÕáß×ØäáßÛàè×åæß×àæå
                                                                                 ÓÕÕáçàæ×ÖØáäçåÛàÙæÚ××ãçÛæëß×æÚáÖ                –1            –4        33          –35
        ¿äáçâ åæáæÓÞÞÛÓÔÛÞÛæÛ×åæáæÚ×å×Ùß×àæÞÛÓÔÛÞÛæÛ×å»áßâáà×àæåáØ
                                                                                 Èäáýæ,ÞáååØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×å
        æÚ×âäáèÛåÛáàåÓàÖÞÛÓÔÛÞÛæÛ×åÓåé×ÞÞÓåÛàÕáß×æÓêÞÛÓÔÛÞÛæÛ×åÓàÖ
                                                                                 *½ºÁÌ+                                            gbha        gggh       ( c`b       ( cd`
        Ö×Ø×ää×ÖæÓê×åÓä×Ö×ÖçÕæ×Ö                                             Æ×æýàÓàÕ×Õáåæå
                                                                                 ÈäáýæÔ×Øáä×ÛàÕáß×æÓê×å
         Ê×ÕáàÕÛÞÛÓæÛáàæáå×Ùß×àæÞÛÓÔÛÞÛæÛ×å                                   ÁàÕáß×æÓê×å
         xß                                                                     »áàåáÞÛÖÓæ×Öà×æâäáýæØáäæÚ×â×äÛáÖ
                                                         2021         2022       áØéÚÛÕÚ ÓææäÛÔçæÓÔÞ×æá
         ÌáæÓÞ×ãçÛæëÓàÖÞÛÓÔÛÞÛæÛ×å                  63,592        68,278                   ¼×çæåÕÚ×Èáåæ¹¿åÚÓä×ÚáÞÖ×äå
         ½ãçÛæë                                       –19,499      –23,703                    Æáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæå
         »áàåáÞÛÖÓæ×ÖÞÛÓÔÛÞÛæÛ×å                      cc_hb       ccdfd
         Æáà%Õçää×àæâäáèÛåÛáàåÓàÖÞÛÓÔÛÞÛæÛ×å       –21,513      –20,402       `
                                                                                      ÁàÕÞçÖÛàÙäáçàÖÛàÙ
         »çää×àæâäáèÛåÛáàåÓàÖÞÛÓÔÛÞÛæÛ×å            –3,658       – 4,290
         Ë×Ùß×àæÞÛÓÔÛÞÛæÛ×å                           `ghaa       `hggb
         áØéÚÛÕÚ ¿äáçâ¾çàÕæÛáàå                       1,718        1,772
                      æáæÓÞØáää×âáäæ×Öå×Ùß×àæå     17,257        18,166
                      »áàåáÞÛÖÓæÛáà                      – 53         – 55




                                                                                 SER-1000
(101 of 262), Page 101 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 101 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       911 of 1025
                                                                                                     POST AG                                  ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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                                                                           ÛàæÚ×å×Ùß×àæä×âáäæÛàÙ                                          Ûæ×ßåæÚ×ÙÓÛàáàæÚ×Ö
         jj Ê×è×àç×ÔëÔçåÛà×ååçàÛæ                                                                                                               ÌÚ× ä×è×äåÓÞå áØ
                                                                           jk ÇæÚ×äáâ×äÓæÛàÙÛàÕáß×                                         áæÚ×äÓåå×æåÓßáçàæÛà
         xß                                                                                                                                  àáà%Õçää×àæàáà%ýàÓàÕ
                                                     2021        2022      xß                                                                çæÓÔÞ×æáæÚ×½êâä×ååÖ
         ½êâä×åå                                   abf_c      aehge                                                     2021      2022        Æáæ×l¹ØçäæÚ×äxqß
         ¿ÞáÔÓÞ¾áäéÓäÖÛàÙ¾ä×ÛÙÚæ                a`ddb      agff_      ÁàÕáß×ØäáßÕçää×àÕëæäÓàåÞÓæÛáà                336       696            ÁàÕáß×Øäáßáâ×ä
         ¿ÞáÔÓÞ¾áäéÓäÖÛàÙ                         17,795      24,523      ÁàåçäÓàÕ×ÛàÕáß×                                301       340      Þ×ÓåÛàÙáØæÚ×ÓÛäÕäÓØæþ
         ¾ä×ÛÙÚæ                                     3,758       4,247     ÁàÕáß×ØäáßæÚ×ä×ß×Óåçä×ß×àæáØÞÛÓÔÛÞÛæÛ×å    195       284            ÅÛåÕ×ÞÞÓà×áçåáæ
         ËçââÞë»ÚÓÛà                              `bfe_      `ebbb      ÁàÕáß×ØäáßæÚ×ä×è×äåÓÞáØâäáèÛåÛáàå          274       214
                                                                                                                                              àçßÔ×äáØåßÓÞÞ×äÛàÖÛè
         ×»áßß×äÕ×ËáÞçæÛáàå                        dfha       e__c      ÁàÕáß×ØäáßæÚ×ÖÛåâáåÓÞáØÓåå×æå               85       175
         ÈáåæÈÓäÕ×Þ¿×äßÓàë                    `eghd      `eb_h      Çâ×äÓæÛàÙÞ×Óå×ÛàÕáß×                          130       150
                                                                                                                                              jl »ÚÓàÙ×åÛàÛàè×àæ
         Èáåæ¿×äßÓàë                               7,952       7,844     ÁàÕáß×ØäáßØ××åÓàÖä×ÛßÔçäå×ß×àæå             112       133
                                                                                                                                                      ÕÓâÛæÓÞÛå×Ö
         ÈÓäÕ×Þ¿×äßÓàë                             6,756       6,388     ËçÔÞ×Óå×ÛàÕáß×                                  74        87
         Áàæ×äàÓæÛáàÓÞ                               2,036       1,936     ËçÔåÛÖÛ×å                                        96        72
         ÇæÚ×ä                                        151         141      ÁàÕáß×ØäáßâäÛáä%â×äÛáÖÔÛÞÞÛàÙå                61        54      xß
         ¿äáçâ¾çàÕæÛáàå,»áàåáÞÛÖÓæÛáà               cb          bc      ÁàÕáß×ØäáßÞáååÕáßâ×àåÓæÛáà                    30        47
                                                                                                                                              »ÚÓàÙ×åÛàÛàè×àæáäÛ×å
         ÌáæÓÞä×è×àç×                             g`fcf      hccbe      ÁàÕáß×ØäáßæÚ×Ö×ä×ÕáÙàÛæÛáàáØÞÛÓÔÛÞÛæÛ×å     25        40
                                                                                                                                              ×êâ×àå×*(+,ÛàÕáß×*+
                                                                           Ê×è×äåÓÞåáØÛßâÓÛäß×àæÞáåå×åáà
                                                                                                                                              ÏáäÝâ×äØáäß×ÖÓàÖÕÓâÛæÓ
                                                                           ä×Õ×ÛèÓÔÞ×åÓàÖáæÚ×äÓåå×æå                     16        39
                                                                                                                                              Total
        ÌÚ×æáæÓÞÓßáçàæÛàÕÞçÖ×åä×è×àç×Øäáßâ×äØáäßÓàÕ×áÔÞÛÙÓ-         Ê×Õáè×äÛ×åáàä×Õ×ÛèÓÔÞ×åâä×èÛáçåÞë
                                                                           éäÛææ×àáü                                       18        16
        æÛáàåÛàæÚ×ÓßáçàæáØxmpßÛÞÞÛáà*âä×èÛáçåë×ÓäxmnßÛÞÞÛáà+
                                                                           ÁàÕáß×ØäáßÖ×äÛèÓæÛè×å                           6          8
        å×ææÞ×ÖÛàâäÛáäâ×äÛáÖåÌÚ×ØáÞÞáéÛàÙæÓÔÞ×åÚáéåæÚ×ØÓÕæáäå
                                                                           ÅÛåÕ×ÞÞÓà×áçå                                   532       570
        Óü×ÕæÛàÙä×è×àç×                                                                                                                     »ÚÓàÙ×åÛàÛàè×àæáäÛ×å
                                                                           Total                                          aah`     ahad
                                                                                                                                              Ö×è×Þáâß×àæâäáÜ×ÕæåÏ
         ¾ÓÕæáäåÓü×ÕæÛàÙä×è×àç×kikk                                                                                                       âäÛßÓäÛÞëæáÁÌâäáÜ×Õæå
         xß
                                                                           ÌÚ×ÛàÕä×Óå×ÛàÛàÕáß×ØäáßÕçää×àÕëæäÓàåÞÓæÛáàä×åçÞæåØäáß
         ÇäÙÓàÛÕÙäáéæÚ                                          7,946     æÚ×èáÞÓæÛÞÛæëáàæÚ×Õçää×àÕëßÓäÝ×æåÌÚÛåÛàÕáß×Ûåáüå×æÔë
         ÈáäæØáÞÛáÕÚÓàÙ×å                                       1,786     Õáää×åâáàÖÛàÙ×êâ×àå×å
         »çää×àÕëæäÓàåÞÓæÛáà×ü×Õæå                             2,957
         Total                                                  `aegh




                                                                           SER-1001
(102 of 262), Page 102 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 102 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       912 of 1025
                                                                                                     POST AG                                   ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




         jm ÅÓæ×äÛÓÞå×êâ×àå×                                          ÌÚ×ÛàÕä×Óå×ÛàßÓæ×äÛÓÞå×êâ×àå×ä×åçÞæ×ÖßÓÛàÞëØäáßÓäÛå×Ûà            Ê×æÛä×ß×àæ Ô×à×
                                                                        æäÓàåâáäæÕáåæåÛàæÚ×¿ÞáÔÓÞ¾áäéÓäÖÛàÙ¾ä×ÛÙÚæÖÛèÛåÛáàÚÛÙÚ×ä    ä×ÞÓæ×ÖæáæÚ×Ö×ýà×ÖÔ
         xß                                                            ÓÛäÕäÓØæØç×ÞÕáåæåÛàæÚ×½êâä×ååÖÛèÛåÛáàÓàÖâäÛÕ×ÛàÕä×Óå×åÛà    ×êâ×àå×å ÓÞåá ÛàÕÞçÖ×
                                                       2021     2022    Ú×ÓæÛàÙÓàÖØç×Þå                                                    ä×æÛä×ß×àæâÞÓàåØáäÕÛ
         »áåæáØäÓéßÓæ×äÛÓÞåÕáàåçßÓÔÞ×åÓàÖ
                                                                              ÌÚ× áæÚ×ä ×êâ×àå×å Ûæ×ß ÛàÕÞçÖ×å ØçäæÚ×äßáä× Ó ÞÓäÙ×     áØ xliqßÛÞÞÛáà *âä×èÛ
         åçââÞÛ×åÓàÖáØÙááÖåâçäÕÚÓå×ÖÓàÖÚ×ÞÖ                     àçßÔ×äáØÛàÖÛèÛÖçÓÞÛæ×ßå                                            æÚ×¿äáçâ åÚáçäÞëéáä
         Øáää×åÓÞ×                                                                                                                            xmpißÛÞÞÛáà*âä×èÛáçå
         ¹ÛäÕäÓØæØç×Þ                                 1,833    3,808
                                                                        jn ËæÓüÕáåæå,×ßâÞáë××å                                                   ÌÚ×Óè×äÓÙ×àçßÔ
         Fuel                                           762     1,253
                                                                                                                                               â×äÛáÖÔäáÝ×àÖáéàÔë
         ÈÓÕÝÓÙÛàÙßÓæ×äÛÓÞ                             401      466
         ¿ááÖåâçäÕÚÓå×ÖÓàÖÚ×ÞÖØáää×åÓÞ×            302      443    xß

         ËâÓä×âÓäæåÓàÖä×âÓÛäßÓæ×äÛÓÞå               150      165
                                                                                                                        2021         2022      ½ßâÞáë××å
                                                                        ÏÓÙ×ååÓÞÓäÛ×åÓàÖÕáßâ×àåÓæÛáà              18,987       20,794
         ºäÓàÕÚÓàÖáÿÕ××êâ×àå×å                        96       85
                                                                        ËáÕÛÓÞå×ÕçäÛæëÕáàæäÛÔçæÛáàå                  2,921        3,192
         ÇæÚ×ä×êâ×àå×å                                 250      313
                                                                        Ê×æÛä×ß×àæÔ×à×ýæ×êâ×àå×å                     1,031        1,027
                                                       bfhc    edbb                                                                          À×ÓÖÕáçàæ*ÓààçÓÞÓè×äÓÙ
                                                                        »áåæáØáæÚ×äå×äèÛÕ×åØáä×ßâÞáë××å             940        1,022
                                                                                                                                               ÀáçäÞëéáäÝ×äåÓàÖåÓÞÓäÛ×Ö
         »áåæáØâçäÕÚÓå×Öå×äèÛÕ×å                                     ËæÓüÕáåæå                                    abgfh       ae_bd
         ÌäÓàåâáäæÕáåæå                              32,434   38,783                                                                          »ÛèÛÞå×äèÓàæå

         »áåæáØæ×ßâáäÓäëåæÓüÓàÖå×äèÛÕ×å           2,559    2,704                                                                          ÌäÓÛà××å

         ÅÓÛàæ×àÓàÕ×Õáåæå                             1,586    1,887                                                                          Total

         ÁÌå×äèÛÕ×å                                    773      850    ËæÓüÕáåæåä×ÞÓæ×ßÓÛàÞëæáéÓÙ×ååÓÞÓäÛ×åÓàÖÕáßâ×àåÓæÛáàÓå      ¾çÞÞ%æÛß××ãçÛèÓÞ×àæå`
         Ä×Óå××êâ×àå×å                                                 é×ÞÞÓåÓÞÞáæÚ×äÔ×à×ýæåâÓÛÖæá×ßâÞáë××åáØæÚ×¿äáçâØáäæÚ×Ûä    ¹åÓælj¼×Õ×ßÔ×ä
           ËÚáäæ%æ×äßÞ×Óå×å                            506      535    å×äèÛÕ×åÛàæÚ×ýàÓàÕÛÓÞë×ÓäÌÚ×äÛå×éÓåÖç×ÞÓäÙ×ÞëæáåÓÞÓäë     ¹è×äÓÙ×ØáäæÚ×ë×Óä
            Ä×Óå×å*ÛàÕÛÖ×àæÓÞ×êâ×àå×å+                110      249
                                                                        ÛàÕä×Óå×åÓàÖà×éÚÛä×åÓåé×ÞÞÓåæÚ×ÓÕãçÛåÛæÛáàåáØÕáßâÓàÛ×å
            Äáé%èÓÞç×Óåå×æÞ×Óå×å                       74       98                                                                           `
                                                                                                                                                    ÁàÕÞçÖÛàÙæäÓÛà××å
                                                                        ÛàæÚ×ýàÓàÕÛÓÞë×Óä
            ÎÓäÛÓÔÞ×Þ×Óå×âÓëß×àæå                      21       24
                                                                              ËáÕÛÓÞå×ÕçäÛæëÕáàæäÛÔçæÛáàåä×ÞÓæ×ÛàâÓäæÛÕçÞÓäæáåæÓæç-
         »áßßÛååÛáàåâÓÛÖ                               637      622
                                                                        æáäëåáÕÛÓÞå×ÕçäÛæëÕáàæäÛÔçæÛáàåâÓÛÖÔë×ßâÞáë×äå                  ÌÚ××ßâÞáë××åáØÕáßâ
         ÇæÚ×äâçäÕÚÓå×Öå×äèÛÕ×å                      1,403    1,188
                                                                                                                                               ýàÓàÕÛÓÞë×Óäé×ä×ÛàÕÞ
                                                      c_`_b   cehc_
         ÅÓæ×äÛÓÞå×êâ×àå×                            cbghf   dbcfb
                                                                                                                                               ×ãçÛèÓÞ×àæåÓæÜáÛàæáâ×ä
                                                                                                                                               ÕÛÓÞåæÓæ×ß×àæåÓåÓælj
                                                                                                                                               âäáâáäæÛáàÓæ×ÔÓåÛå*âä




                                                                        SER-1002
(103 of 262), Page 103 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 103 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       913 of 1025
                                                                                                     POST AG                                        ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




         jo ¼×âä×ÕÛÓæÛáàÓßáäæÛåÓæÛáàÓàÖÛßâÓÛäß×àæÞáåå×å                      ÌÚ×ÛßâÓÛäß×àæÞáåå×åÓä×åâä×ÓÖÓßáàÙåææÚ×èÓäÛáçå            jp ÇæÚ×äáâ×äÓæÛàÙ×
                                                                              Óåå×æÕÞÓåå×åÓàÖå×Ùß×àæåÓåØáÞÞáéå
         xß                                                                                                                                        xß
                                                             2021    2022     ÁßâÓÛäß×àæÞáåå×å
         ¹ßáäæÛåÓæÛáàáØÓàÖÛßâÓÛäß×àæÞáåå×åáà                            xß                                                                   »çää×àÕëæäÓàåÞÓæÛáà×êâ×àå
         ÛàæÓàÙÛÔÞ×Óåå×æå*×êÕÞçÖÛàÙÙááÖéÛÞÞ+                                                                                                   »áåæáØâçäÕÚÓå×ÖÕÞ×ÓàÛàÙ
                                                                                                                             2021        2022
         áØéÚÛÕÚÛßâÓÛäß×àæÞáåå×åj*âä×èÛáçåë×Óäi+     a_`     ab_                                                                           å×äèÛÕ×å
                                                                              ½êâä×åå                                            _          ac
         ¼×âä×ÕÛÓæÛáàáØÓàÖÛßâÓÛäß×àæÞáåå×åáà                                                                                                  ÏÓääÓàæë×êâ×àå×åä×ØçàÖå
                                                                              ÁàæÓàÙÛÔÞ×Óåå×æå                                  0           1
         âäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæÓÕãçÛä×Ö                                                                                                   Õáßâ×àåÓæÛáàâÓëß×àæå
                                                                              ¹ÕãçÛä×Öâäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæ             0          12
         áØéÚÛÕÚ ÛßâÓÛäß×àæÞáåå×åkk*âä×èÛáçåë×Óäi+                                                                                          ½êâ×àå×åØáäÓÖè×äæÛåÛàÙÓà
                                                                              ÊÛÙÚæ%áØ%çå×Óåå×æå                                0          11
         ÄÓàÖÓàÖÔçÛÞÖÛàÙå                                   235     256                                                                           ÇæÚ×äÔçåÛà×ååæÓê×å
                                                                              ¿ÞáÔÓÞ¾áäéÓäÖÛàÙ¾ä×ÛÙÚæ                         _           f
         Ì×ÕÚàÛÕÓÞ×ãçÛâß×àæÓàÖßÓÕÚÛà×äë                    401     449                                                                           ÌäÓè×ÞÓàÖæäÓÛàÛàÙÕáåæå
                                                                              ¹ÕãçÛä×Öâäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæ             0           1
         ÌäÓàåâáäæ×ãçÛâß×àæ                                  311     354                                                                           ÇÿÕ×åçââÞÛ×å
                                                                              ÊÛÙÚæ%áØ%çå×Óåå×æå                                0           6
         ¹ÛäÕäÓØæ                                             459     502                                                                           ÁàåçäÓàÕ×Õáåæå
                                                                              ËçââÞë»ÚÓÛà                                       _          ``
         ÁÌ×ãçÛâß×àæ                                         147     145                                                                           Ì×Þ×ÕáßßçàÛÕÓæÛáàÕáåæå
                                                                              ¹ÕãçÛä×Öâäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæ             0           8
         Çâ×äÓæÛàÙÓàÖáÿÕ××ãçÛâß×àæ                          95      99                                                                           ½àæ×äæÓÛàß×àæÓàÖÕáäâáäÓæ
                                                                              ÊÛÙÚæ%áØ%çå×Óåå×æå                                0           3      ×êâ×àå×å
                                                             `ecg   `g_d
                                                                              ¿äáçâ¾çàÕæÛáàå                                    _           d      ÏäÛæ×%ÖáéàåÓàÖä×ß×Óåçä
         ¼×âä×ÕÛÓæÛáàáØÓàÖÛßâÓÛäß×àæÞáåå×åáà                            ÊÛÙÚæ%áØ%çå×Óåå×æå                                0           5      »çåæáßåÕÞ×ÓäÓàÕ×%ä×ÞÓæ×Ö
         äÛÙÚæ%áØ%çå×Óåå×æå
                                                                              ÁßâÓÛäß×àæÞáåå×å                                  _          cf      »áàåçÞæÛàÙÕáåæå*ÛàÕÞçÖÛàÙ
         áØéÚÛÕÚ ÛßâÓÛäß×àæÞáåå×åkm*âä×èÛáçåë×Óäi+
         ÄÓàÖÓàÖÔçÛÞÖÛàÙå                                  1,347   1,513                                                                          Åáà×æÓäëæäÓàåÓÕæÛáàÕáåæå
         Ì×ÕÚàÛÕÓÞ×ãçÛâß×àæÓàÖßÓÕÚÛà×äë                     43      48                                                                           ÎáÞçàæÓäëåáÕÛÓÞÔ×à×ýæå
         ÌäÓàåâáäæ×ãçÛâß×àæ                                  223     259     ÌÚ×ÛßâÓÛäß×àæÞáåå×åÛàæÚ×½êâä×ååÓàÖ¿ÞáÔÓÞ¾áäéÓäÖÛàÙ          Ë×äèÛÕ×åâäáèÛÖ×ÖÔëæÚ×ºçà
         ¹ÛäÕäÓØæ                                             296     320     ¾ä×ÛÙÚæÖÛèÛåÛáàåä×ÞÓæ×åáÞ×ÞëæáæÚ×ÛßâÓÛäß×àæÞáåå×åáàÓåå×æå   çàÖÌ×Þ×ÝáßßçàÛÝÓæÛáà*¿×
         ÁÌ×ãçÛâß×àæ                                           1       1     ÓàÖÞÛÓÔÛÞÛæÛ×åáØæÚ×ÊçååÛÓàÕáßâÓàÛ×å Æáæ×l                   ÓàÖæ×Þ×ÕáßßçàÛÕÓæÛáàåÓÙ

         Áàè×åæß×àæâäáâ×äæë                                    9       1           ÌÚ×ÛßâÓÛäß×àæÞáåå×åØäáßæÚ×âä×èÛáçåë×Óäé×ä×åâä×ÓÖ       »áßßÛååÛáàåâÓÛÖ
                                                                                                                                                    Ä×ÙÓÞÕáåæå
                                                             `h`h   a`ca    ÓßáàÙåæÖÛü×ä×àæÓåå×æÕÞÓåå×åÓàÖ×ÓÕÚÓßáçàæ×ÖæáÞ×ååæÚÓà
         ÁßâÓÛäß×àæáØÙááÖéÛÞÞ                                 _       _                                                                           Äáåå×åáàÖÛåâáåÓÞáØÓåå×æå
                                                                              xjßÛÞÞÛáàÓØæ×ääáçàÖÛàÙ
         ¼×âä×ÕÛÓæÛáàÓßáäæÛåÓæÛáàÓàÖ                                                                                                            »áàæäÛÔçæÛáàåÓàÖØ××å
         ÛßâÓÛäß×àæÞáåå×å                                   bfeg   c`ff                                                                          ¹çÖÛæÕáåæå
                                                                                                                                                    ¼áàÓæÛáàå
                                                                                                                                                    ½êâ×àå×åØäáßâäÛáä%â×äÛáÖ
                                                                                                                                                    ½êâ×àå×åØäáßÖ×äÛèÓæÛè×å
        ÌÚ×ÛàÕä×Óå×ÛàÖ×âä×ÕÛÓæÛáàÓßáäæÛåÓæÛáàÓàÖÛßâÓÛäß×àæÞáåå×å                                                                           ÅÛåÕ×ÞÞÓà×áçå
        ÛåÖç×ÖÛä×ÕæÞëæáÕÓâÛæÓÞ×êâ×àÖÛæçä×áàæÚ×áà×ÚÓàÖÓàÖáàæÚ×                                                                         Total
        áæÚ×äæÚ×ä×åçÞæáØæÚ×ÔçåÛà×ååÕáßÔÛàÓæÛáàåÛàæÚ×ýàÓàÕÛÓÞ
        ë×Óä Æáæ×kkÓàÖkl




                                                                              SER-1003
(104 of 262), Page 104 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 104 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                                         OF DEUTSCHE       914 of 1025
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         Äáåå×åáàÕÚÓàÙ×åÛàØÓÛäèÓÞç×áØýàÓàÕÛÓÞ                                                                        ( dac        ( d`a     äëÛàÙ Óßáçàæå Ûà æÚ× Á
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(105 of 262), Page 105 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 105 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       915 of 1025
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                                                                                  SER-1005
(106 of 262), Page 106 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 106 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       916 of 1025
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         Ï×ÛÙÚæ×ÖÓè×äÓÙ×àçßÔ×äáØåÚÓä×åáçæåæÓàÖÛàÙ                                                            àçßÔ×ä    1,232,451,264   1,214,024,931
         ºÓåÛÕ×ÓäàÛàÙåâ×äåÚÓä×                                                                                       €            c`_            cc`




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         ÈÞçåÛàæ×ä×åæ×êâ×àå×áàæÚ×Õáàè×äæÛÔÞ×ÔáàÖ                                                                xß               8               8
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         Ï×ÛÙÚæ×ÖÓè×äÓÙ×àçßÔ×äáØåÚÓä×åáçæåæÓàÖÛàÙ                                                            àçßÔ×ä    1,232,451,264   1,214,024,931
         Èáæ×àæÛÓÞÞëÖÛÞçæÛè×åÚÓä×å                                                                              àçßÔ×ä       29,645,735      24,475,019
         Ï×ÛÙÚæ×ÖÓè×äÓÙ×àçßÔ×äáØåÚÓä×åØáäÖÛÞçæ×Ö×ÓäàÛàÙå                                                   àçßÔ×ä    1,262,096,999   1,238,499,950
         ¼ÛÞçæ×Ö×ÓäàÛàÙåâ×äåÚÓä×                                                                                     €            c_`            cbb




        ÌáÕáßâçæ×ÖÛÞçæ×Ö×ÓäàÛàÙåâ×äåÚÓä×æÚ×é×ÛÙÚæ×ÖÓè×äÓÙ×                      åÚÓä×ÚáÞÖ×äåéÓåÛàÕä×Óå×ÖÔëæÚ×Óßáçàæååâ×àæØáäæÚ×Õáà-
        àçßÔ×ä áØ åÚÓä×å áçæåæÓàÖÛàÙ Ûå ÓÖÜçåæ×Ö Øáä æÚ× àçßÔ×ä áØ              è×äæÛÔÞ×ÔáàÖ
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        äÛÙÚæåæáåÚÓä×åçàÖ×äæÚ×È×äØáäßÓàÕ×ËÚÓä×ÈÞÓàÓàÖËÚÓä×                      xmll*âä×èÛáçåë×Óäxmij+
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        âä×èÛáçåë×Óäjjopqirk+ÓàÖæÚ×ßÓêÛßçßàçßÔ×äáØáäÖÛàÓäë                    kj ¼ÛèÛÖ×àÖâ×äåÚÓä×
        åÚÓä×åæÚÓæÕÓàÔ×Ûååç×Öáà×ê×äÕÛå×áØæÚ×Õáàè×äåÛáàäÛÙÚæå                   ¹ÖÛèÛÖ×àÖâ×äåÚÓä×áØxjqnÛåÔ×ÛàÙâäáâáå×ÖØáäæÚ×kikk
        çàÖ×äæÚ×Õáàè×äæÛÔÞ×ÔáàÖÛååç×ÖÛà¼×Õ×ßÔ×äkijp»áàåáÞÛ-                      ýàÓàÕÛÓÞë×Óä*âä×èÛáçåë×ÓäxjqiâÓÛÖ+¾çäæÚ×äÖ×æÓÛÞåáàæÚ×
        ÖÓæ×Öà×æâäáýæØáäæÚ×â×äÛáÖÓææäÛÔçæÓÔÞ×æá¼×çæåÕÚ×Èáåæ¹¿                ÖÛèÛÖ×àÖÖÛåæäÛÔçæÛáàÕÓàÔ×ØáçàÖÛà Æáæ×ln




                                                                                         SER-1006
(107 of 262), Page 107 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 107 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       917 of 1025
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         Balance sheet disclosures
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         kkj Çè×äèÛ×é


         xß
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                                                           Áàæ×äàÓÞÞëÙ×à×äÓæ×Ö   ÈçäÕÚÓå×ÖÔäÓàÖ   ÈçäÕÚÓå×ÖÕçåæáß×ä    ÇæÚ×äâçäÕÚÓå×Ö                          ÛàæÓ
                                                               ÛàæÓàÙÛÔÞ×Óåå×æå            àÓß×å                    ÞÛåæå   ÛàæÓàÙÛÔÞ×Óåå×æå              ¿ááÖéÛÞÞ
         »áåæ
         ºÓÞÓàÕ×ÓåÓæjÂÓàçÓäëkikj                                    `afb                cd_                     c`               `ded                 `a_c_
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         ¹ÖÖÛæÛáàå                                                          43                  0                      0                  60                      0
         Ê×ÕÞÓååÛýÕÓæÛáàå                                                   66                  0                      0                  81                      0
         ¼ÛåâáåÓÞå                                                         –73                  0                      0               –139                     –14
         »çää×àÕëæäÓàåÞÓæÛáàÖÛü×ä×àÕ×å                                     4                 30                      2                  33                    392
         ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×äkikj,jÂÓàçÓäëkikk                 `b`b                cg_                     cb               `e__                 `ac`g
         ¹ÖÖÛæÛáàåØäáßÔçåÛà×ååÕáßÔÛàÓæÛáàå                               13                 64                    432                  99                  1,366
         ¹ÖÖÛæÛáàå                                                          53                  0                      0                  77                      0
         Ê×ÕÞÓååÛýÕÓæÛáàå                                                   67                  0                      0                  76                      0
         ¼ÛåâáåÓÞå                                                         –22                  0                      0               –105                      –4
         »çää×àÕëæäÓàåÞÓæÛáàÖÛü×ä×àÕ×å                                    –3                –23                     –2                  13                     11
         ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×äkikk                                  `ca`                da`                    cfb               `fe_                 `bfh`
         ¹ßáäæÛåÓæÛáàÓàÖÛßâÓÛäß×àæÞáåå×å
         ºÓÞÓàÕ×ÓåÓæjÂÓàçÓäëkikj                                    `_hg                caa                     ae               `acf                  `_ca
         ¹ÖÖÛæÛáàåØäáßÔçåÛà×ååÕáßÔÛàÓæÛáàå                                 0                 0                      0                    0                     0
         ¹ßáäæÛåÓæÛáà                                                        65                 0                      3                 133                      0
         ÁßâÓÛäß×àæÞáåå×å                                                    0                 0                      0                    0                     0
         Ê×ÕÞÓååÛýÕÓæÛáàå                                                    –1                 0                      0                    1                     0
         Ê×è×äåÓÞåáØÛßâÓÛäß×àæÞáåå×å                                       0                 0                      0                    0                     0
         ¼ÛåâáåÓÞå                                                         – 59                 0                      0               –120                     –13
         »çää×àÕëæäÓàåÞÓæÛáàÖÛü×ä×àÕ×å                                      2                28                      2                   27                    36
         ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×äkikj,jÂÓàçÓäëkikk                 ``_d                cd_                     b`               `agg                  `_ed
         ¹ÖÖÛæÛáàåØäáßÔçåÛà×ååÕáßÔÛàÓæÛáàå                                 7                 0                      0                   11                     0
         ¹ßáäæÛåÓæÛáà                                                        74                 2                     19                 134                      0
         ÁßâÓÛäß×àæÞáåå×å                                                    0                 0                      0                    1                     0
         Ê×ÕÞÓååÛýÕÓæÛáàå                                                     0                 0                      0                    4                     0
         Ê×è×äåÓÞåáØÛßâÓÛäß×àæÞáåå×å                                       0                 0                      0                    0                     0
         ¼ÛåâáåÓÞå                                                         –21                  0                      0                 – 86                     0
         »çää×àÕëæäÓàåÞÓæÛáàÖÛü×ä×àÕ×å                                     –2               –24                     –1                   10                    –4
         ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×äkikk                                  ``eb                cag                     ch               `bea                  `_e`
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                                                                              SER-1007
(108 of 262), Page 108 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 108 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       918 of 1025
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        ÕáßÔÛàÓæÛáàåÛàæÚ×kikkýàÓàÕÛÓÞë×ÓäÓàÖæÚ×Õáää×åâáàÖÛàÙ          Øáä½ºÁÌÖ×âä×ÕÛÓæÛáàÓàÖÓßáäæÛåÓæÛáà,Ûàè×åæß×àæâÞÓààÛàÙ          ´
        ÙááÖéÛÞÞÓåé×ÞÞÓåæÚ×ÖÛåÕÞáåÛàÙáØÚÛÖÖ×àä×å×äè×åâäÛßÓäÛÞë      ÓÖáâæ×ÖÔëßÓàÓÙ×ß×àæÓåé×ÞÞÓåÕÚÓàÙ×åÛàà×æéáäÝÛàÙÕÓâÛ-
        ØäáßÕçåæáß×ää×ÞÓæÛáàåÚÛâåÓàÖÔäÓàÖàÓß×åáØÀÛÞÞ×ÔäÓàÖ            æÓÞÓàÖæÓÝ×ÔáæÚÛàæ×äàÓÞÚÛåæáäÛÕÓÞÖÓæÓÓàÖ×êæ×äàÓÞßÓÕäá×Õá-                            20
        »Óß×äáàÓàÖÅáàæÓ Æáæ×kÌÚ×ÖÛåâáåÓÞåáØÙááÖéÛÞÞßÓÛàÞë         àáßÛÕÖÓæÓÛàæáÓÕÕáçàæ¾äáßÓß×æÚáÖáÞáÙÛÕÓÞâ×äåâ×ÕæÛè×æÚ×        ½êâä×åå
        ÕáàÕ×äàæÚ×ÕáßâÓàÛ×å¿ä××àâÞÓàÓàÖÎŔäáà¿äÓç×ä                      Ö×æÓÛÞ×ÖâÞÓààÛàÙâÚÓå×Õáè×äåÓæÚä××%ë×ÓäâÞÓààÛàÙÚáäÛìáà           Global
              ÈçäÕÚÓå×ÖåáØæéÓä×ÕáàÕ×ååÛáàåÛàÖçåæäÛÓÞäÛÙÚæåÞÛÕ×àÕ×å    ØäáßkiklæákiknÈÞÓààÛàÙÛååçââÞ×ß×àæ×ÖÔëÓâ×äâ×æçÓÞ             ¾áäéÓäÖÛàÙ
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        ÓàÖ åÛßÛÞÓä äÛÙÚæå ÓàÖ Óåå×æå Óä× ä×âáäæ×Ö çàÖ×ä âçäÕÚÓå×Ö    ÓààçÛæëä×âä×å×àæÛàÙæÚ×èÓÞç×ÓÖÖ×ÖØäáßkikoáàéÓäÖåÌÚÛå
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        ÛàæÓàÙÛÔÞ×Óåå×æåÁàæ×äàÓÞÞëÙ×à×äÓæ×ÖÛàæÓàÙÛÔÞ×Óåå×æåä×ÞÓæ×      ÛåÕÓÞÕçÞÓæ×ÖçåÛàÙÓÞáàÙ%æ×äßÙäáéæÚäÓæ×éÚÛÕÚÛåÖ×æ×äßÛà×Ö
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        æáÖ×è×Þáâß×àæÕáåæåØáäÛàæ×äàÓÞÞëÖ×è×Þáâ×ÖåáØæéÓä×               Øáä×ÓÕÚ»¿Íå×âÓäÓæ×ÞëÓàÖÛååÚáéàÛàæÚ×æÓÔÞ×Ô×ÞáéÌÚ×               ¾ä×ÛÙÚæ
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         éÛæÚÁ¹ËloæÚ×¿äáçâÖ×æ×äßÛà×åæÚ×ä×Õáè×äÓÔÞ×ÓßáçàæáØ          ÛàéÚÛÕÚæÚ×»¿Íåáâ×äÓæ×ÌÚ×ÕÓåÚþáéØáä×ÕÓåæåÓä×ÔÓå×Ö           ÈáåæÈÓäÕ×Þ
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         áàâäáÜ×ÕæÛáàåáØØä××ÕÓåÚþáéåæÚÓæÓä×ÛàÛæÛÓÞÞëÖÛåÕáçàæ×Ö       Øçæçä×Ù×à×äÓÞßÓäÝ×ææä×àÖÁàÓÖÖÛæÛáàæÚ×Øáä×ÕÓåæåæÓÝ×Ûàæá
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         ÖÛåÕáçàæäÓæ×åÓä×Ö×æ×äßÛà×ÖÛæ×äÓæÛè×Þë                            ÓàÖÛàÙÞáÔÓÞæäÓÖ×ÓàÖæÚ×áàÙáÛàÙæä×àÖæáéÓäÖåáçæåáçäÕÛàÙ         ÌÚ×ÛàÕä×Óå×ÛàæÚ×ÖÛå
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         xß                                                                   ÓàÖå×äèÛÕ×åÓÞåáÚÓè×ÓàÛßâÓÕæáàèÓÞç×Ûàçå×¹Ý×ëâÞÓààÛàÙ       äÛåÝâä×ßÛçß
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           ¿ÞáÔÓÞ¾áäéÓäÖÛàÙ                           4,072        5,329
                                                                               »¿ÍåÓàÖæÚ×ÙäáéæÚäÓæ×åÓååçß×ÖÛà×ÓÕÚÕÓå×ØáäæÚ×â×äâ×æ-         é×ä×ä×ÕáÙàÛå×ÖáàÙáá
           ¾ä×ÛÙÚæ                                       279         280
         ËçââÞë»ÚÓÛà                                  1,977        2,095
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         ÈáåæÈÓäÕ×Þ¿×äßÓàë                          956         954                                                                               ¿äáçâÕáàÖçÕæ×Öå×àåÛ
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(109 of 262), Page 109 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 109 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       919 of 1025
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             ºÓÞÓàÕ×ÓåÓæjÂÓàçÓäëkikj                                    `eefa                   ee_d                   achd      ebda                  c_f`
             ¹ÖÖÛæÛáàåØäáßÔçåÛà×ååÕáßÔÛàÓæÛáàå`                                0                      0                        0         35                      5
             ¹ÖÖÛæÛáàå                                                         2,428                    240                     125        719                    738
             Ê×ÕÞÓååÛýÕÓæÛáàå                                                    360                    520                     129        881                    101
             ¼ÛåâáåÓÞå                                                        –1,457                  –198                     –335       –187                   –355
             »çää×àÕëæäÓàåÞÓæÛáàÖÛü×ä×àÕ×å                                     330                    124                      61        343                     64
             ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×äkikj,jÂÓàçÓäëkikk                 `gbbb                   fah`                   acfd      g`cb                  ceac
             ¹ÖÖÛæÛáàåØäáßÔçåÛà×ååÕáßÔÛàÓæÛáàå`                              165                     26                      60        –22                     91
             ¹ÖÖÛæÛáàå                                                         2,558                    296                     163      1,123                    799
             Ê×ÕÞÓååÛýÕÓæÛáàå                                                    515                    638                      98        490                     83
             ¼ÛåâáåÓÞå                                                         – 591                  –185                     –263       –357                   – 429
             »çää×àÕëæäÓàåÞÓæÛáàÖÛü×ä×àÕ×å                                     –11                     30                      22        282                      –2
             ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×äkikk                                  a_heh                   g_he                   addd      hedh                  d`ee
             ¼×âä×ÕÛÓæÛáàÓàÖÛßâÓÛäß×àæÞáåå×å
             ºÓÞÓàÕ×ÓåÓæjÂÓàçÓäëkikj                                      dghe                  bgcd                   `gcd      aacf                  `hde
             ¹ÖÖÛæÛáàåØäáßÔçåÛà×ååÕáßÔÛàÓæÛáàå`                                0                      0                        0          8                      5
             ¼×âä×ÕÛÓæÛáà                                                      1,582                    444                     243        755                    534
             ÁßâÓÛäß×àæÞáåå×å                                                     0                      0                        0          0                      0
             Ê×ÕÞÓååÛýÕÓæÛáàå                                                      1                    –15                        8          0                    12
             Ê×è×äåÓÞåáØÛßâÓÛäß×àæÞáåå×å                                      –10                      0                        0          0                      0
             ¼ÛåâáåÓÞå                                                         –757                   –171                     –325       –156                   –306
             »çää×àÕëæäÓàåÞÓæÛáàÖÛü×ä×àÕ×å                                     142                     72                      45          98                    35
             ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×äkikj,jÂÓàçÓäëkikk                   egdc                  c`fd                   `g`e      ahda                  aabe
             ¹ÖÖÛæÛáàåØäáßÔçåÛà×ååÕáßÔÛàÓæÛáàå`                               22                     12                      34           0                    32
             ¼×âä×ÕÛÓæÛáà                                                      1,742                    491                     241        822                    604
             ÁßâÓÛäß×àæÞáåå×å                                                    27                      6                        4          0                      9
             Ê×ÕÞÓååÛýÕÓæÛáàå                                                      1                     –1                      –3           0                      0
             Ê×è×äåÓÞåáØÛßâÓÛäß×àæÞáåå×å                                      –18                     –4                      –3           0                    –9
             ¼ÛåâáåÓÞå                                                         – 447                  –160                     –250       –298                   –377
             »çää×àÕëæäÓàåÞÓæÛáàÖÛü×ä×àÕ×å                                      12                     20                      17          78                      4
             ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×äkikk                                    g`hb                  cdbh                   `gde      bddc                  achh
             »ÓääëÛàÙÓßáçàæÓåÓælj¼×Õ×ßÔ×äkikk                          `affe                   bddf                     ehh      e`_d                  aeef
             »ÓääëÛàÙÓßáçàæÓåÓælj¼×Õ×ßÔ×äkikj                          ``cfh                   b``e                     edh      d`h`                  abgg

          ÁàÕÞçÖÛàÙâäáâáäæÛáàÓæ×ÕÚÓàÙ×ØäáßÜáÛàæáâ×äÓæÛáàå
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                                                                                   SER-1009
(110 of 262), Page 110 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 110 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       920 of 1025
                                                                                                     POST AG                              ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




        ¼ÛåÕÞáåçä×åáàäÛÙÚæ%áØ%çå×Óåå×æåÓä×ÕáàæÓÛà×ÖÛà Æáæ×mj                                                                    kn Áàè×åæß×àæåÓÕÕá
               Èäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæÛàÕä×Óå×ÖÔáæÚÖç×æáÕÓâ-      xß                                                          ÌÚ×ØáÞÞáéÛàÙæÓÔÞ×ÛåÓà
        ÛæÓÞ×êâ×àÖÛæçä×Óåé×ÞÞÓåØäáßæÚ×ÓÕãçÛåÛæÛáàáØÕáßâÓàÛ×åÁà                                           2021   2022          ÕáàåáÞÛÖÓæ×ÖýàÓàÕÛÓÞåæ
        æÚ×âä×èÛáçåë×ÓäÓâáäæÛáàáØÖÛåâáåÓÞåéÓåÓææäÛÔçæÓÔÞ×æáæÚ×   »áåæ
                                                                                                                                          æÚáå×ÕáßâÓàÛ×åéÚÛÕÚ
        ä×ÕÞÓååÛýÕÓæÛáàáØåçÔÞ×Óå×å×ßÔ×ÖÖ×ÖÛàÕçåæáß×äÕáàæäÓÕæåæá      ºÓÞÓàÕ×ÓåÓæjÂÓàçÓäë                  28      71          Óä×àáæáØßÓæ×äÛÓÞåÛÙà
        ýàÓàÕÛÓÞÓåå×æå Æáæ×p                                           ¹ÖÖÛæÛáàå                                 4       8                »áßâÓàÛ×å ÓÕÕá
               ¹ÖèÓàÕ×âÓëß×àæåä×ÞÓæ×áàÞëæáÓÖèÓàÕ×âÓëß×àæåáà          Ê×ÕÞÓååÛýÕÓæÛáàå                         39    – 44          Ö×Õä×Óå×ÖÖç×æáæÚ×à
        Ûæ×ßåáØâäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæØáäéÚÛÕÚæÚ×¿äáçâ          ¼ÛåâáåÓÞå                                 –1    –4           åçä×ß×àæÓåé×ÞÞÓåÖç×
        ÚÓåâÓÛÖÓÖèÓàÕ×åÛàÕáàà×ÕæÛáàéÛæÚÛàÕáßâÞ×æ×æäÓàåÓÕæÛáàå       »çää×àÕëæäÓàåÞÓæÛáàÖÛü×ä×àÕ×å           1       0          æÚ×ºäÛæÛåÚÜáÛàæè×àæçä×
        ÌÚ×ëä×ÞÓæ×ÛàâÓäæÛÕçÞÓäæáæÚ×ä×à×éÓÞáØæÚ×½êâä×ååÓÛäþ××æ   ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×ä                f`      b`          ÄÛßÛæ×ÖÌÚ×ÕáßâÓàëÛå
        ¹ÖèÓàÕ×åØáäæÚÛåâçäâáå×Óßáçàæ×ÖæáxojoßÛÞÞÛáàÛàæÚ×ýàÓà-      ¼×âä×ÕÛÓæÛáàÓàÖÛßâÓÛäß×àæÞáåå×å                           æÚ×âä×èÛáçåë×ÓäæÚ×ÖÛ
        ÕÛÓÞë×Óä*âä×èÛáçåë×ÓäxmjkßÛÞÞÛáà+¹åå×æåçàÖ×äÖ×è×Þáâß×àæ   ºÓÞÓàÕ×ÓåÓæjÂÓàçÓäë                  16      23          áØæÚ×åÚÓä×åÛà¿ÞáÔÓÞ%
        ä×ÞÓæ×æáÛæ×ßåáØâäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæÛàâäáÙä×ååÓæ     ¼×âä×ÕÛÓæÛáàÓàÖÛßâÓÛäß×àæÞáåå×å        9       1          áØxlrßÛÞÞÛáà
        æÚ×ä×âáäæÛàÙÖÓæ×ØáäéÚáå×âäáÖçÕæÛáàÛàæ×äàÓÞáäæÚÛäÖ%âÓäæë     ¼ÛåâáåÓÞå                                 –1     –3
                                                                             Ê×ÕÞÓååÛýÕÓæÛáàå                          –1    –12
        ÕáåæåÚÓè×ÓÞä×ÓÖëÔ××àÛàÕçää×Ö
                                                                             ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×ä                ab       h
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                                                                             áØéÚÛÕÚäÛÙÚæ%áØ%çå×Óåå×æå             41      9
        ÌÚ× Ûàè×åæß×àæ âäáâ×äæë ÞÓäÙ×Þë ÕáßâäÛå×å Þ×Óå×Ö âäáâ×äæë
        ×àÕçßÔ×ä×ÖÔëÚ×äÛæÓÔÞ×ÔçÛÞÖÛàÙäÛÙÚæåÓàÖÖ×è×Þáâ×ÖÓàÖ
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                                                                             ¹ÖÖÛæÛáàå                                  2             7                0
                                                                             ¼ÛåâáåÓÞå                                  0            0                 0
                                                                             ÁßâÓÛäß×àæÞáåå×å                         –3            0                 0
                                                                             »ÚÓàÙ×åÛà¿äáçâ ååÚÓä×áØ×ãçÛæë
                                                                               »ÚÓàÙ×åä×ÕáÙàÛå×ÖÛàâäáýæáäÞáåå     34           –34                1
                                                                               ÈäáýæÖÛåæäÛÔçæÛáàå                     –2            –2                0
                                                                               »ÚÓàÙ×åä×ÕáÙàÛå×ÖÛàáæÚ×ä
                                                                               Õáßâä×Ú×àåÛè×ÛàÕáß×                     6            4                 0
                                                                             ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×ä                 hd           f_                `e
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                                                                               ÈäáýæÓØæ×äÛàÕáß×æÓê×å               –11           –34                1
                                                                               ÇæÚ×äÕáßâä×Ú×àåÛè×ÛàÕáß×               6            4                 0
                                                                               ÌáæÓÞÕáßâä×Ú×àåÛè×ÛàÕáß×              –5           –30                1




                                                                             SER-1010
(111 of 262), Page 111 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 111 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       921 of 1025
                                                                                                     POST AG                                            ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




         ko ¾ÛàÓàÕÛÓÞÓåå×æå                                                                                                                           kp ÇæÚ×äÓåå×æå

         xß                                                                                                                                            xß
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                                                        2021              2022             2021             2022             2021             2022
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         ¹åå×æåß×Óåçä×ÖÓæÕáåæ                         834               788             1,257            1,272           a_h`            a_e_
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         ¹åå×æåÓæØÓÛäèÓÞç×æÚäáçÙÚáæÚ×ä
         Õáßâä×Ú×àåÛè×ÛàÕáß×                             46                 65                0                0              ce               ed      Ê×Õ×ÛèÓÔÞ×åØäáßÕáåæÓÔåá
         ¹åå×æåÓæØÓÛäèÓÞç×æÚäáçÙÚâäáýæáäÞáåå      310               363             1,831               83           a`c`              cce      »áàæäÓÕæÓåå×æå
         ¾ÛàÓàÕÛÓÞÓåå×æå                               ``h_          `a`e               b_gg            `bdd           cafg            adf`      Ê×Õáè×äÓÔÞ×åæÓäæ%çâÕáåæå
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        ¹åå×æåß×Óåçä×ÖÓæÕáåæÛàÕÞçÖ×xpiißÛÞÞÛáà*âä×èÛáçåë×Óä             ¹åå×æåß×Óåçä×ÖÓæØÓÛäèÓÞç×Ö×Õä×Óå×ÖÞÓäÙ×ÞëáàÓÕÕáçàæáØ
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        ÌÚ×àáæÛáàÓÞÓßáçàæåáØæÚ×áçæåæÓàÖÛàÙÞ×Óå×âÓëß×àæåÚÓè×              ä×åæäÓÛàæåáàÖÛåâáåÓÞå×× Æáæ×ml                                Ê×Õ×ÛèÓÔÞ×åØäáß×ßâÞáë××
        æÚ×ØáÞÞáéÛàÙßÓæçäÛæëÖÓæ×å                                                                                                                   Ê×Õ×ÛèÓÔÞ×åØäáßÕÓåÚáàÖ×
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         ÅÓæçäÛæÛ×åáØçàÖÛåÕáçàæ×ÖÞ×Óå×âÓëß×àæå
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         Íâæájë×Óä                                    160        168
         Åáä×æÚÓàjë×Óäæákë×Óäå                     139        159
         Åáä×æÚÓàkë×Óäåæálë×Óäå                    108        120
         Åáä×æÚÓàlë×Óäåæámë×Óäå                     70         91
                                                                                                                                                        ÌÚ×Ö×Õä×Óå×Ûàâä×âÓÛÖ
         Åáä×æÚÓàmë×Óäåæánë×Óäå                     46         64
                                                                                                                                                        ¿ÞáÔÓÞ¾áäéÓäÖÛàÙ¾ä×Û
         Åáä×æÚÓànë×Óäå                               100        209
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         Áàæ×ä×åæÕáßâáà×àæÛàÕÞçÖ×Öáè×ä×àæÛä×æ×äß   – 44       –111
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         áØéÚÛÕÚ Õçää×àæ                               160        168
                 àáà%Õçää×àæ                            419        532
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                                                                                  SER-1011
(112 of 262), Page 112 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 112 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       922 of 1025
                                                                                                     POST AG                                                   ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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                                                                                              assets       ÞÛÓÔÛÞÛæÛ×å         assets            ÞÛÓÔÛÞÛæÛ×å   åæäçÕæçä×åå×× Æáæ×m
         ÁàæÓàÙÛÔÞ×Óåå×æå                                                                       13              145              15                   362
         Èäáâ×äæëâÞÓàæÓàÖ×ãçÛâß×àæ                                                          479            2,102             789                 2,904
                                                                                                                                                               xß
         Æáà%Õçää×àæýàÓàÕÛÓÞÓåå×æå                                                               3              34              13                    29
         ÇæÚ×äàáà%Õçää×àæÓåå×æå                                                                16               44              18                    70     ÌäÓÖ×ä×Õ×ÛèÓÔÞ×å
         ÇæÚ×äÕçää×àæÓåå×æå                                                                    67              102              85                    99     ¼×Ø×ää×Öä×è×àç×
         ÈäáèÛåÛáàå                                                                             640              159             626                   147     ÌäÓÖ×ä×Õ×ÛèÓÔÞ×å
         ¾ÛàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                                                1,700               24           2,124                    40
         ÇæÚ×äÞÛÓÔÛÞÛæÛ×å                                                                      244               13             300                    21
         ÌÓêÞáååÕÓääëØáäéÓäÖå                                                               1,267                              806
         ¿äáååÓßáçàæ                                                                         ccah           aeab            cffe                befa
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(113 of 262), Page 113 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 113 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                                  SER-1013
(114 of 262), Page 114 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 114 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       924 of 1025
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(115 of 262), Page 115 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 115 of 262
                   Case 3:22-cv-07182-WHATO THE
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                                                                            SER-1015
(116 of 262), Page 116 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 116 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       926 of 1025
                                                                                                     POST AG                ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




         ÄÛßÛæ×Ö*ºÞç×¼Óäæ+ÁàÖÛÓéÚÛÕÚÛåÓååÛÙà×ÖæáæÚ××»áßß×äÕ×                                                    ÌÚ× âáäæÛáà áØ áæÚ×ä Õ
         ËáÞçæÛáàåå×Ùß×àæºÞç×¼ÓäæÛåÓÕáçäÛ×äå×äèÛÕ×âäáèÛÖ×äÌÚ×ØáÞ-                                               àáà%ÕáàæäáÞÞÛàÙÛàæ×ä×å
         ÞáéÛàÙæÓÔÞ×ÙÛè×åÓàáè×äèÛ×éáØæÚ×ÛäÓÙÙä×ÙÓæ×ÖýàÓàÕÛÓÞÖÓæÓ                                                 ÞÓæÛáàä×å×äè×ÌÚ×ÕÚÓà

         ¾ÛàÓàÕÛÓÞÖÓæÓØáäßÓæ×äÛÓÞàáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæå                                                              xß
         xß
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                                                                                                                            ÌäÓàåÓÕæÛáàåéÛæÚàáà%Õáàæ
                                                                                     2021       2022     2021      2022
                                                                                                                            ÌáæÓÞÕáßâä×Ú×àåÛè×ÛàÕáß
         ºÓÞÓàÕ×åÚ××æ                                                                                                         »ÚÓàÙ×åØäáßçàä×ÓÞÛå×Ö
         ASSETS
         Æáà%Õçää×àæÓåå×æå                                                           149         178     122       124       »ÚÓàÙ×åØäáßä×ÓÞÛå×ÖÙÓ
         »çää×àæÓåå×æå                                                               966         826     125       153     »çää×àÕëæäÓàåÞÓæÛáàä×å×ä
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         Total ASSETS                                                                ```d      `__c     acf       aff

         EQUITY AND LIABILITIES
         Æáà%Õçää×àæâäáèÛåÛáàåÓàÖÞÛÓÔÛÞÛæÛ×å                                        35          57      28         22
         »çää×àæâäáèÛåÛáàåÓàÖÞÛÓÔÛÞÛæÛ×å                                           391         343     100       100     lp ÈäáèÛåÛáàåØáäâ×
         Total EQUITY AND LIABILITIES                                                 cae         c__     `ag       `aa     ÌÚ×¿äáçâ åßáåæåÛÙàÛ
         Æ×æÓåå×æå                                                                   egh         e_c     ``h       `dd     Óä×Ûà¿×äßÓàëÓàÖæÚ×
         Æáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæå                                                    345         302      25         34    Ö×ýà×ÖÔ×à×ýæä×æÛä×ß
         ÁàÕáß×åæÓæ×ß×àæ                                                                                                   ÛàæÚ×Æ×æÚ×äÞÓàÖåËé
         Revenue                                                                     2,720      2,867     482       619     àçßÔ×äáØáæÚ×äÕáçàæ
         ÈäáýæÔ×Øáä×ÛàÕáß×æÓê×å                                                    753         713      49         78    éÛæÚæÚ×å×âÞÓàåÓÞáàÙé
         ÁàÕáß×æÓê×å                                                                 189         180      13         16
         ÈäáýæÓØæ×äÛàÕáß×æÓê×å                                                     dec         dbb      be         ea    lpj ÈÞÓàØ×Óæçä×å
         ÇæÚ×äÕáßâä×Ú×àåÛè×ÛàÕáß×                                                    58           0       4         –7
         ÌáæÓÞÕáßâä×Ú×àåÛè×ÛàÕáß×                                                   eaa         dbb      c_         dd
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         ÓææäÛÔçæÓÔÞ×æáàáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæå                                    311         267      10         14
                                                                                                                            Áà¿×äßÓàë¼×çæåÕÚ×È
         ¼ÛèÛÖ×àÖÖÛåæäÛÔçæ×Öæáàáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæå                            162         309       1          4
                                                                                                                            Ô×à×ýæÓääÓàÙ×ß×àæÔÓ
         »áàåáÞÛÖÓæ×Öà×æâäáýæÓææäÛÔçæÓÔÞ×æáàáà%ÕáàæäáÞÞÛàÙÛàæ×ä×åæå             282         267       9         15
                                                                                                                            áâ×àæáà×éÚáçäÞëéáä
         »ÓåÚþáéåæÓæ×ß×àæ                                                                                                 áàæÚ×é××ÝÞëéáäÝÛàÙÚ
         Æ×æÕÓåÚØäáßáâ×äÓæÛàÙÓÕæÛèÛæÛ×å                                           610         500      84         53
                                                                                                                            Ô×à×ýæ Õáßâáà×àæå Óä
         Æ×æÕÓåÚØäáß,çå×ÖÛàÛàè×åæÛàÙÓÕæÛèÛæÛ×å                                  17         –17    – 46       –14
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         Æ×æÕÓåÚçå×ÖÛàýàÓàÕÛàÙÓÕæÛèÛæÛ×å                                        –343       – 642     –34       –37
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         Æ×æÕÚÓàÙ×ÛàÕÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæå                                      284       –159        4          2
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         »ÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæåÓæjÂÓàçÓäë                                       370         711       9         15
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         ½ü×ÕæáØÕÚÓàÙ×åÛà×êÕÚÓàÙ×äÓæ×åáàÕÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæå               57          –2       2          0
         »ÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæåÓåÓælj¼×Õ×ßÔ×ä                                  f``         dd_      `d         `f
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                                                                                SER-1016
(117 of 262), Page 117 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 117 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       927 of 1025
                                                                                                     POST AG                                           ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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         ØäáßÓâä×èÛáçåÓÙä××ß×àæÓàÖæáÞ×ÙÓÕëâ×àåÛáàÕáßßÛæß×àæå          Áà æÚ× ÍàÛæ×Ö ÃÛàÙÖáß æÚ× ¿äáçâ å Ö×ýà×Ö Ô×à×ýæ â×àåÛáà      éÛæÚåæÓæçæáäëä×ãçÛä×ß
         æáéÓäÖåØáäß×äÚáçäÞëéáäÝ×äåÓàÖåÓÞÓäÛ×Ö×ßâÞáë××åéÚáÚÓè×         ÓääÓàÙ×ß×àæåÓä×ÕÞáå×Öæáà×é×àæäÓàæåÓàÖØáäØçäæÚ×äå×ä-           áàæÚ×ÕáàæäÛÔçæÛáàåâÓ
         Þ×Øæáää×æÛä×ÖØäáßæÚ×ÕáßâÓàëÁàÓÖÖÛæÛáàä×æÛä×ß×àæÔ×à×-        èÛÕ×ÓÕÕäçÓÞÏÛæÚä×ÙÓäÖæáåáß×áØæÚ×ÓääÓàÙ×ß×àæåÓØçÞÞ         Õ×äæÓÛàÓààçÛæëØÓÕæáäå
         ýæÓääÓàÙ×ß×àæåÓä×ÓèÓÛÞÓÔÞ×æá×ê×ÕçæÛè×åÔ×ÞáéæÚ×ºáÓäÖ           ÕáßßçæÓæÛáà×ê×äÕÛå×éÓåÕÓääÛ×ÖáçæÖçäÛàÙæÚ×âä×èÛáçåë×Óä        å×âÓäÓæ× âÞÓà âäáèÛÖÛà
         áØÅÓàÓÙ×ß×àæÞ×è×ÞÓàÖæáåâ×ÕÛýÕ×ßâÞáë××ÙäáçâåæÚäáçÙÚ            éÚÛÕÚ×àæÓÛÞ×Öáü×äÛàÙÕ×äæÓÛàß×ßÔ×äåéÛæÚåßÓÞÞâ×àåÛáàåæÚ×        ÞÛØ×ÞáàÙâ×àåÛáàâÓëß×
         Ö×Ø×ää×ÖÕáßâ×àåÓæÛáàÛàâÓäæÛÕçÞÓä¾áäÛàØáäßÓæÛáàáàæÚ×â×à-       áââáäæçàÛæëæá×êÕÚÓàÙ×æÚ×Ûäâ×àåÛáàØáäÓÞçßâ%åçßâÓëß×àæ         âáà×àæåÁàæÚ×ÍàÛæ×Ö
         åÛáàåÕÚ×ß×ØáäæÚ×ºáÓäÖáØÅÓàÓÙ×ß×àæå×× Æáæ×mpk              ÌÚÛåÞ×Öæáå×ææÞ×ß×àæâÓëß×àæåÛàæÚ×ë×ÓäçàÖ×ää×èÛ×é             ä×æÛä×ß×àæâÞÓàåÚÓè×Ô
               ÌÚ×âäÛß×åáçäÕ×áØ×êæ×äàÓÞØçàÖÛàÙØáä¼×çæåÕÚ×Èáåæ¹¿ å         ÌÚ×¿äáçâ åÖ×ýà×ÖÔ×à×ýæâ×àåÛáàÓääÓàÙ×ß×àæåÛàæÚ×           ×àæÛæÞ×ß×àæåÚÓè×Ô××à
         ä×åâ×ÕæÛè×ä×æÛä×ß×àæÔ×à×ýæáÔÞÛÙÓæÛáàåÛåÓÕáàæäÓÕæçÓÞæäçåæ       ÍàÛæ×ÖÃÛàÙÖáßÚÓè×ßÓÛàÞëÔ××àÕáàåáÞÛÖÓæ×ÖÛàæáÓ¿äáçâ             åßÓÞÞâ×àåÛáàåæÚ×ä×éÓ
         ÓääÓàÙ×ß×àæéÚÛÕÚÓÞåáÛàÕÞçÖ×åÓâ×àåÛáàØçàÖÌÚ×æäçåæÛå         âÞÓàéÛæÚÖÛü×ä×àæå×ÕæÛáàåØáäæÚ×âÓäæÛÕÛâÓæÛàÙÖÛèÛåÛáàåÌÚ×å×          ÌÚ×¿äáçâÕáßâÓ
         ØçàÖ×ÖáàÓÕÓå×%Ôë%ÕÓå×ÔÓåÛåÛàÞÛà×éÛæÚæÚ×¿äáçâ åýàÓàÕ×        Óä×ØçàÖ×ÖßÓÛàÞëèÛÓÓ¿äáçâæäçåæÌÚ×ÓßáçàæáØæÚ××ßâÞáë×ä       ýæä×æÛä×ß×àæâÞÓàåÛàæ
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         ÛàÙä×ãçÛä×ß×àæåÕÓàÛàâäÛàÕÛâÞ×Ô×ß×æéÛæÚáçæÓÖÖÛæÛáàÓÞ         Õáçäå×áØØçàÖÛàÙèÓÞçÓæÛáàåéÚÛÕÚÓä×ÕÓääÛ×Öáçæ×è×äëæÚä××       ËéÛæì×äÞÓàÖÔáæÚ×ßâÞ
         ×ßâÞáë×äÕáàæäÛÔçæÛáàåÈÓäæáØæÚ×âÞÓàÓåå×æåÕáàåÛåæåáØä×ÓÞ      ë×ÓäåÓàÖßáåæä×Õ×àæÞëÛàæÚ×âä×èÛáçåë×ÓäÆáäßÓÞÕáàæäÛÔç-         ØçàÖÛàÙÁàæÚ×ÍàÛæ×ÖËæ
         ×åæÓæ×æÚÓæÛåÞ×Óå×ÖáçææáæÚ×¿äáçâáàÓÞáàÙ%æ×äßÔÓåÛåÁà       æÛáàÓßáçàæåàáÞáàÙ×äÓÕÕäç×Ô×ÕÓçå×æÚ×ÓääÓàÙ×ß×àæåÚÓè×           Óä×Õçää×àæÞëßÓÖ×Ûàæ
         ÓÖÖÛæÛáàÎ×äåáäÙçàÙåÓàåæÓÞæÖ×ä¼×çæåÕÚ×àºçàÖ×åâáåæ*Î¹È(          Ô××àÕÞáå×Ö                                                          ÞÛßÛæ×Ö×ßâÞáë×äÖ×ýÕÛ
         ¼×çæåÕÚ×ºçàÖ×åâáåæÛàåæÛæçæÛáàØáäåçââÞ×ß×àæÓäëä×æÛä×ß×àæ                                                                                 æÚ×ë×ÓäçàÖ×ää×èÛ×é
         â×àåÛáàå+ÓåÚÓä×Öâ×àåÛáàØçàÖØáäåçÕÕ×ååáäÕáßâÓàÛ×åæá           ÇæÚ×ä
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         ÕáßßÛæß×àæå                                                          ×ßâÞáë××åéÚáÓä×àáæÕáè×ä×ÖÔëÓå×Õæáä%åâ×ÕÛýÕâÞÓàâÓä-
               ÁàÖÛèÛÖçÓÞåçÔåÛÖÛÓäÛ×åÛà¿×äßÓàëÚÓè×ä×æÛä×ß×àæÔ×à-         æÛÕÛâÓæ× Ûà Ó Ö×ÖÛÕÓæ×Ö Ö×ýà×Ö Ô×à×ýæ ä×æÛä×ß×àæ âÞÓà ÌÚ×
         ×ýæâÞÓàåæÚÓæé×ä×ÓÕãçÛä×ÖÛàæÚ×Õáàæ×êæáØÓÕãçÛåÛæÛáàåÓàÖ       Ö×ÖÛÕÓæ×ÖâÞÓàâäáèÛÖ×åØáäÓààçÓÞÓÕÕäçÓÞåéÚÛÕÚÓä×åçÔÜ×Õæ
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         æäÓÕæçÓÞæäçåæÓääÓàÙ×ß×àæåÓä×ÛàâÞÓÕ×ØáäæéáåçÔåÛÖÛÓäÛ×åØáä     ×ýæâÓëß×àæåæÚÓæÓä×ÛàÖ×ê×ÖÛàÞÛà×éÛæÚÛàþÓæÛáàáàæÚ×áà×
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                                                                                SER-1017
(118 of 262), Page 118 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 118 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       928 of 1025
                                                                                                     POST AG                                                                                          ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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        áØâÞÓàÓåå×æåÓàÖà×æâ×àåÛáàâäáèÛåÛáàåÕÚÓàÙ×ÖÓåØáÞÞáéå


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         ºÓÞÓàÕ×ÓåÓæjÂÓàçÓäë                                                                                        19,664                18,503                 13,854                14,785                       5
         »çää×àæå×äèÛÕ×Õáåæ×êÕÞçÖÛàÙ×ßâÞáë××ÕáàæäÛÔçæÛáàå                                                             274                   251                       –                     –                      –
         ÈÓåæå×äèÛÕ×Õáåæ                                                                                                   –6                   –13                       –                     –                      –
         Ë×ææÞ×ß×àæÙÓÛàå*(+,Þáåå×å*+                                                                                   –4                       –                     –                     –                      –
         ÇæÚ×äÓÖßÛàÛåæäÓæÛáàÕáåæåÛàÓÕÕáäÖÓàÕ×éÛæÚÁ¹Ëjrjli                                                              –                      –                  –10                   –11                       –
         Ë×äèÛÕ×Õáåæ`                                                                                                     aec                   abg                    (`_                   (``                       (
         Áàæ×ä×åæÕáåæáàÖ×ýà×ÖÔ×à×ýæáÔÞÛÙÓæÛáàå                                                                         192                   301                       –                     –                      –
         Áàæ×ä×åæÛàÕáß×áàâÞÓàÓåå×æå                                                                                        –                      –                  140                   241                       –
         Áàæ×ä×åæáàæÚ××ü×ÕæáØÓåå×æÕ×ÛÞÛàÙå                                                                               –                      –                     –                     –                      –
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         ÁàÕáß×ÓàÖ×êâ×àå×åä×ÕáÙàÛå×ÖÛàæÚ×ÛàÕáß×åæÓæ×ß×àæ                                                             cde                   dbh                    `b_                   ab_                       (
         ¹ÕæçÓäÛÓÞÙÓÛàå*(+,Þáåå×å*+(ÕÚÓàÙ×åÛàÖ×ßáÙäÓâÚÛÕÓååçßâæÛáàå                                            –180                      43                      –                     –                      –
         ¹ÕæçÓäÛÓÞÙÓÛàå*(+,Þáåå×å*+(ÕÚÓàÙ×åÛàýàÓàÕÛÓÞÓååçßâæÛáàå                                             –1,209                – 4,752                       –                     –                      –
         ¹ÕæçÓäÛÓÞÙÓÛàå*(+,Þáåå×å*+(×êâ×äÛ×àÕ×ÓÖÜçåæß×àæå                                                          112                   110                       –                     –                      –
         Ê×æçäàáàâÞÓàÓåå×æå×êÕÞçÖÛàÙÛàæ×ä×åæÛàÕáß×                                                                       –                      –                  769               –2,304                        –
         »ÚÓàÙ×ÛàæÚ××ü×ÕæáØÓåå×æÕ×ÛÞÛàÙå×êÕÞçÖÛàÙÛàæ×ä×åæ                                                              –                      –                     –                     –                    41
         Ê×ß×Óåçä×ß×àæåä×ÕáÙàÛå×ÖÛàæÚ×åæÓæ×ß×àæáØÕáßâä×Ú×àåÛè×ÛàÕáß×                                             (`aff                ( cdhh                    feh               (ab_c                      c`
         ½ßâÞáë×äÕáàæäÛÔçæÛáàå                                                                                                –                      –                   48                    90                       –
         ½ßâÞáë××ÕáàæäÛÔçæÛáàå                                                                                              28                     30                    28                    30                       –
         º×à×ýæâÓëß×àæå                                                                                                  –729                   –741                  – 417                 – 568                       –
         Ë×ææÞ×ß×àæâÓëß×àæå                                                                                                – 55                  –15                   – 54                   –14                       –
         ÌäÓàåØ×äå                                                                                                          –13                       –                     1                     3                      –
         ¹ÕãçÛåÛæÛáàå,ÖÛè×åæÛæçä×å                                                                                           –                    –2                      –                   –6                       –
         »çää×àÕëæäÓàåÞÓæÛáà×ü×Õæå                                                                                        429                  –264                    426                 –269                        –
         ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×ä                                                                                      `gd_b                `bcd`                 `cfgd                ``hff                      ce

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(119 of 262), Page 119 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 119 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
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                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       929 of 1025
                                                                                                     POST AG                                                                   ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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        âÓäæÛÕçÞÓäÛàæÚ×ä×âáäæÛàÙâ×äÛáÖÅáä×áè×äÛà¿×äßÓàëæÚ×                                  ÓææäÛÔçæÓÔÞ×æáæÚ×¿äáçâ å×êâ×Õæ×ÖÖÛä×ÕæÔ×à×ýæâÓëß×àæåÓàÖ
        âäáâáäæÛáàáØÔ×à×ýæâÓëß×àæåâÓÛÖÖÛä×ÕæÞëÔëæÚ×ÕáßâÓàë                                      xoqßÛÞÞÛáàæá×êâ×Õæ×Ö×ßâÞáë×äÕáàæäÛÔçæÛáàåæáâ×àåÛáàØçàÖå
        Ö×Õä×Óå×ÖÌÚ×ä×é×ä×å×ææÞ×ß×àæâÓëß×àæåÛàæÚ×ÍàÛæ×ÖËæÓæ×å                                        ÌÚ×ÖÛåÓÙÙä×ÙÓæÛáàáØæÚ×âä×å×àæèÓÞç×áØÖ×ýà×ÖÔ×à×ýæ
        ÛàâÓäæÛÕçÞÓäÛàæÚ×âä×èÛáçåë×ÓäÌÚ×ä×ß×Óåçä×ß×àæåÕÓçå×Ö                                   áÔÞÛÙÓæÛáàåØÓÛäèÓÞç×áØâÞÓàÓåå×æåÓàÖà×æâ×àåÛáàâäáèÛåÛáàå
        à×æâ×àåÛáàâäáèÛåÛáàåæáØÓÞÞåÛÙàÛýÕÓàæÞëáàÕ×ÓÙÓÛàÌáæÓÞâÓë-                               Óåé×ÞÞÓåæÚ×Ö×æ×äßÛàÓæÛáàáØæÚ×ÔÓÞÓàÕ×åÚ××æÛæ×ßåÛåÓå
        ß×àæåÓßáçàæÛàÙæáxlroßÛÞÞÛáàÓä××êâ×Õæ×ÖéÛæÚä×ÙÓäÖæá                                     ØáÞÞáéå


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             lj¼×Õ×ßÔ×äkikk
             Èä×å×àæèÓÞç×áØÖ×ýà×ÖÔ×à×ýæáÔÞÛÙÓæÛáàå                                                                                              7,254                      3,735
             ¾ÓÛäèÓÞç×áØâÞÓàÓåå×æå                                                                                                             – 5,665                     – 4,054
             ½ü×ÕæáØÓåå×æÕ×ÛÞÛàÙå                                                                                                                     0                          0
             Æ×æâ×àåÛáàâäáèÛåÛáàå                                                                                                                  `dgh                      (b`h

             Ê×âáäæ×Öå×âÓäÓæ×Þë
             È×àåÛáàÓåå×æå                                                                                                                              0                        319
             ÈäáèÛåÛáàåØáäâ×àåÛáàåÓàÖåÛßÛÞÓäáÔÞÛÙÓæÛáàå                                                                                         1,589                          0

             lj¼×Õ×ßÔ×äkikj
             Èä×å×àæèÓÞç×áØÖ×ýà×ÖÔ×à×ýæáÔÞÛÙÓæÛáàå                                                                                              9,927                      5,497
             ¾ÓÛäèÓÞç×áØâÞÓàÓåå×æå`                                                                                                           – 6,229                     – 5,895
             ½ü×ÕæáØÓåå×æÕ×ÛÞÛàÙå`                                                                                                                   0                          0
             Æ×æâ×àåÛáàâäáèÛåÛáàå                                                                                                                  behg                      (bhg

             Ê×âáäæ×Öå×âÓäÓæ×Þë
             È×àåÛáàÓåå×æå                                                                                                                              0                        400
             ÈäáèÛåÛáàåØáäâ×àåÛáàåÓàÖåÛßÛÞÓäáÔÞÛÙÓæÛáàå                                                                                         3,698                          2

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         ÁàæÚ×"ÇæÚ×ä#Óä×ÓæÚ×Æ×æÚ×äÞÓàÖåËéÛæì×äÞÓàÖÓàÖæÚ×ÍàÛæ×Ö                               xjißÛÞÞÛáà*âä×èÛáçåë×ÓäxjlßÛÞÞÛáà+éÚÛÕÚÚÓÖæáÔ×ä×âáäæ×Ö
         ËæÓæ×åÓÕÕáçàæØáäÓåÚÓä×ÛàæÚ×Õáää×åâáàÖÛàÙâä×å×àæèÓÞç×áØ                               å×âÓäÓæ×ÞëçàÖ×äýàÓàÕÛÓÞÓåå×æå»áää×åâáàÖÛàÙÔ×à×ýæâÓë-
         æÚ×Ö×ýà×ÖÔ×à×ýæáÔÞÛÙÓæÛáàåáØmp´jr´ÓàÖr´ä×åâ×ÕæÛè×Þë                              ß×àæåÓä×Ô×ÛàÙßÓÖ×ÖÛä×ÕæÞëÔëæÚ×Øáäß×ä¿äáçâÕáßâÓàÛ×å
         *âä×èÛáçåë×Óämq´jq´ÓàÖr´ä×åâ×ÕæÛè×Þë+
               ¹ÖÖÛæÛáàÓÞÞëäÛÙÚæåæáä×ÛßÔçäå×ß×àæØäáßØáäß×ä¿äáçâ
         ÕáßâÓàÛ×å×êÛåæ×ÖÛàæÚ×¿äáçâÛà¿×äßÓàëÛàæÚ×ÓßáçàæáØ




                                                                                                      SER-1019
(120 of 262), Page 120 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 120 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
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                                                                                         OF DEUTSCHE       930 of 1025
                                                                                                     POST AG                                          ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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              Ô×à×ýæáÔÞÛÙÓæÛáàå
        ÌÚ×åÛÙàÛýÕÓàæýàÓàÕÛÓÞÓååçßâæÛáàåÓä×ÓåØáÞÞáéå


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         lj¼×Õ×ßÔ×äkikk
         ¼ÛåÕáçàæäÓæ×*Ö×ýà×ÖÔ×à×ýæáÔÞÛÙÓæÛáàå+                                                                           4.00                       4.90
         ½êâ×Õæ×ÖÓààçÓÞäÓæ×áØØçæçä×åÓÞÓäëÛàÕä×Óå×                                                                      3.00                        àÓ
         ½êâ×Õæ×ÖÓààçÓÞäÓæ×áØØçæçä×â×àåÛáàÛàÕä×Óå×                                                                     2.25                       3.00

         lj¼×Õ×ßÔ×äkikj
         ¼ÛåÕáçàæäÓæ×*Ö×ýà×ÖÔ×à×ýæáÔÞÛÙÓæÛáàå+                                                                           1.50                       1.90
         ½êâ×Õæ×ÖÓààçÓÞäÓæ×áØØçæçä×åÓÞÓäëÛàÕä×Óå×                                                                      2.50                        àÓ
         ½êâ×Õæ×ÖÓààçÓÞäÓæ×áØØçæçä×â×àåÛáàÛàÕä×Óå×                                                                     1.75                       3.15



        ÌÚ×ÖÛåÕáçàæäÓæ×åØáäÖ×ýà×ÖÔ×à×ýæáÔÞÛÙÓæÛáàåÛàæÚ××çäá-          Õáßâä×Ú×àåÛè×ÛàÕáß×*Ô×Øáä×æÓê×å+áØÓäáçàÖxlprßÛÞÞÛáà
        ìáà×ÓàÖæÚ×ÍàÛæ×ÖÃÛàÙÖáßé×ä××ÓÕÚÖ×äÛè×ÖØäáßÓàÛàÖÛ-            ØáäkiklæÚ×ÓÖÜçåæß×àæåä×åçÞæÛàÓà×êâ×Õæ×ÖßÛàáäÛàÕä×Óå×
        èÛÖçÓÞëÛ×ÞÖÕçäè×ÕáßâäÛåÛàÙæÚ×ëÛ×ÞÖåáØ¹¹%äÓæ×ÖÕáäâáäÓæ×        ÛàÔáæÚå×äèÛÕ×ÕáåæÓàÖà×æÛàæ×ä×åæÕáåæ
        ÔáàÖåÓàÖæÓÝÛàÙÛàæáÓÕÕáçàæß×ßÔ×äåÚÛâÕáßâáåÛæÛáàÓàÖ                    ¾áäæÚ×ÓààçÓÞâ×àåÛáàÛàÕä×Óå×Ûà¿×äßÓàëýê×ÖäÓæ×åÛà
        ÖçäÓæÛáà ¾áä áæÚ×ä ÕáçàæäÛ×å æÚ× ÖÛåÕáçàæ äÓæ× Øáä Ö×ýà×Ö   âÓäæÛÕçÞÓäßçåæÔ×æÓÝ×àÛàæáÓÕÕáçàæÛàÓÖÖÛæÛáàæáæÚ×Óååçßâ-
        Ô×à×ýæáÔÞÛÙÓæÛáàåéÓåÖ×æ×äßÛà×ÖÛàÓåÛßÛÞÓäéÓëâäáèÛÖ×Ö          æÛáàååÚáéàÌÚ××ü×ÕæÛè×é×ÛÙÚæ×ÖÓè×äÓÙ×æÚ×ä×Øáä×Óßáçàæå
        æÚ×ä×éÓåÓÖ××âßÓäÝ×æØáä¹¹%äÓæ×Ö*áäÛàåáß×ÕÓå×å¹ ¹%        æáÓââäáêÛßÓæ×Þëjii´*âä×èÛáçåë×Óäjii´+
        ÓàÖ¹¹¹%äÓæ×Ö+ÕáäâáäÓæ×ÔáàÖåºëÕáàæäÓåæÙáè×äàß×àæÔáàÖ                ÌÚ× ßáåæ åÛÙàÛýÕÓàæ Ö×ßáÙäÓâÚÛÕ ÓååçßâæÛáàå ßÓÖ×
        ëÛ×ÞÖåé×ä×çå×ÖØáäÕáçàæäÛ×åéÛæÚáçæÓÖ××âßÓäÝ×æØáäåçÕÚ         ä×ÞÓæ×æáÞÛØ××êâ×ÕæÓàÕëÓàÖ,áäßáäæÓÞÛæë¾áäæÚ×¿äáçâÕáßâÓ-
        ÕáäâáäÓæ×ÔáàÖåÌÚ×Ö×æ×äßÛàÓæÛáàáØæÚ×ÖÛåÕáçàæäÓæ×åéÓå          àÛ×åÛà¿×äßÓàëæÚ×ëÓä×ÔÓå×ÖáàæÚ×À½Íº½»ÃÊÁ»ÀÌÌ¹¾½ÄÆ
        ßáÖÛý×ÖØáäæÚ××çäáìáà×ÓææÚ××àÖáØkikkÌÚ×Ù×à×äÓæÛáàáØ        kijq ¿ ßáäæÓÞÛæë æÓÔÞ×å ÄÛØ× ×êâ×ÕæÓàÕë Øáä æÚ× ä×æÛä×ß×àæ
        æÚ×ëÛ×ÞÖÕçäè×æÓÝÛàÙÛàæáÓÕÕáçàæÕáäâáäÓæ×ÔáàÖåéÛæÚÓäÓæÛàÙ     Ô×à×ýæâÞÓàåÛàæÚ×ÍàÛæ×ÖÃÛàÙÖáßéÓåÔÓå×ÖßÓÛàÞëáàæÚ×
        áØ¹¹éÓåØçäæÚ×äÖ×è×Þáâ×ÖÛàæÚ×Õçää×àæßÓäÝ×æ×àèÛäáàß×àæ        ËlÈÅ¹À,ËlÈ¾¹ÀæÓÔÞ×åáØæÚ×»áàæÛàçáçåÅáäæÓÞÛæëÁàè×åæÛ-
        ÌÚÛåÖ×è×Þáâß×àæä×åçÞæ×ÖÛàÖ×æÓÛÞ×ÖÕÚÓàÙ×åæáæÚ×Ö×äÛèÓæÛáà       ÙÓæÛáà*»ÅÁ+áØæÚ×ÁàåæÛæçæ×ÓàÖ¾ÓÕçÞæëáØ¹ÕæçÓäÛ×åÓÖÜçåæ×Öæá
        áØÛàæ×ä×åæäÓæ×å                                                    ä×þ×ÕæâÞÓà%åâ×ÕÛýÕßáäæÓÞÛæëÓÕÕáäÖÛàÙæáæÚ×ÞÓæ×åæØçàÖÛàÙèÓÞ-
              ¹åÓä×åçÞæáØæÚ×ÕÚÓàÙ×åßÓÖ×æÚ×ÖÛåÕáçàæäÓæ×çå×Öæá      çÓæÛáà¾çæçä×ßáäæÓÞÛæëÛßâäáè×ß×àæåé×ä×æÓÝ×àÛàæáÓÕÕáçàæ
        ÕÓÞÕçÞÓæ×æÚ×âä×å×àæèÓÞç×áØæÚ×Ö×ýà×ÖÔ×à×ýæáÔÞÛÙÓæÛáàåÛà       ÔÓå×ÖáàæÚ×Õçää×àæ»ÅÁâäáÜ×ÕæÛáàåßáÖ×ÞÓàÖÓàçâÖÓæ×Ö
        æÚ××çäáìáà×ÓåÓælj¼×Õ×ßÔ×äkikkéÓåioi´Þáé×äéÚÛÕÚ           ÞáàÙ%æ×äß æä×àÖ ÓååçßâæÛáà ¾áä áæÚ×ä ÕáçàæäÛ×å æÚ×Ûä áéà
        ä×åçÞæ×ÖÛàÓÚÛÙÚ×äâä×å×àæèÓÞç×áØæÚ×Ö×ýà×ÖÔ×à×ýæáÔÞÛÙÓ-        Õáçàæäë%åâ×ÕÛýÕÕçää×àæåæÓàÖÓäÖßáäæÓÞÛæëæÓÔÞ×åé×ä×çå×Ö
        æÛáàåØáäæÚ×¿äáçâÓàÖæÚ×Õáää×åâáàÖÛàÙÖ×æ×äÛáäÓæÛáàÛàáæÚ×ä




                                                                               SER-1020
(121 of 262), Page 121 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 121 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       931 of 1025
                                                                                                     POST AG                                                ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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         ÕÚÓàÙ× æÚ× âä×å×àæ èÓÞç× áØ æÚ× Ö×ýà×Ö Ô×à×ýæ áÔÞÛÙÓæÛáàå
         éáçÞÖÕÚÓàÙ×ÓåØáÞÞáéå


                                                                                                                                                         »ÚÓàÙ×Ûàâä×å×àæèÓÞç×
                                                                                  »ÚÓàÙ×ÛàÓååçßâæÛáà                                                áØÖ×ýà×ÖÔ×à×ýæáÔÞÛÙÓæÛáàå
                                                                                     â×äÕ×àæÓÙ×âáÛàæå                                                              %

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          lj¼×Õ×ßÔ×äkikk
          ¼ÛåÕáçàæäÓæ×*Ö×ýà×ÖÔ×à×ýæáÔÞÛÙÓæÛáàå+                                              1.00                          – 8.36                       –10.99
                                                                                                –1.00                          10.64                         13.48
          ½êâ×Õæ×ÖÓààçÓÞäÓæ×áØØçæçä×åÓÞÓäëÛàÕä×Óå×                                          0.50                           0.10                          àÓ
                                                                                                – 0.50                         – 0.08                          àÓ
          ½êâ×Õæ×ÖÓààçÓÞäÓæ×áØØçæçä×â×àåÛáàÛàÕä×Óå×                                         0.50                           0.29                          4.20
                                                                                                – 0.50                         – 0.25                        – 4.05

          lj¼×Õ×ßÔ×äkikj
          ¼ÛåÕáçàæäÓæ×*Ö×ýà×ÖÔ×à×ýæáÔÞÛÙÓæÛáàå+                                              1.00                        –12.50                         –13.76
                                                                                                –1.00                         16.00                          17.53
          ½êâ×Õæ×ÖÓààçÓÞäÓæ×áØØçæçä×åÓÞÓäëÛàÕä×Óå×                                          0.50                           0.14                          àÓ
                                                                                                – 0.50                         – 0.13                          àÓ
          ½êâ×Õæ×ÖÓààçÓÞäÓæ×áØØçæçä×â×àåÛáàÛàÕä×Óå×                                         0.50                           0.34                          5.32
                                                                                                – 0.50                         – 0.31                        – 5.12



        ÌÚ×å×Óä××ü×ÕæÛè×é×ÛÙÚæ×ÖÕÚÓàÙ×åÛàæÚ×ä×åâ×ÕæÛè×âä×å×àæ            ÓååçßâæÛáàåäÓæÚ×äÛæåçââáå×åæÚÓææÚ×ÓååçßâæÛáàåÕÚÓàÙ×Ûà
        èÓÞç×áØæÚ×Ö×ýà×ÖÔ×à×ýæáÔÞÛÙÓæÛáàå×ÙæÓÝÛàÙÛàæáÓÕÕáçàæ        ÛåáÞÓæÛáàÌÚÛåéáçÞÖÔ×çàçåçÓÞÛàâäÓÕæÛÕ×åÛàÕ×ÓååçßâæÛáàå
        æÚ×ÞÓäÙ×Þëýê×ÖàÓæçä×áØæÚ×â×àåÛáàÛàÕä×Óå×Øáä¿×äßÓàë             Óä×áØæ×àÕáää×ÞÓæ×Ö
              ¹áà×%ë×ÓäÛàÕä×Óå×ÛàÞÛØ××êâ×ÕæÓàÕëØáäÓon%ë×Óä%áÞÖ                 ÌÚ× é×ÛÙÚæ×Ö Óè×äÓÙ× ÖçäÓæÛáà áØ æÚ× ¿äáçâ å Ö×ýà×Ö
        Ô×à×ýÕÛÓäë éáçÞÖ ÛàÕä×Óå× æÚ× âä×å×àæ èÓÞç× áØ æÚ× Ö×ýà×Ö        Ô×à×ýæáÔÞÛÙÓæÛáàåÓåÓælj¼×Õ×ßÔ×äkikkéÓårqë×ÓäåÛà
        Ô×à×ýæáÔÞÛÙÓæÛáàåÔëlrn´Ûà¿×äßÓàë*âä×èÛáçåë×Óämqp´+        ¿×äßÓàë*âä×èÛáçåë×Óäjmlë×Óäå+ÓàÖjlië×ÓäåÛàæÚ×ÍàÛæ×Ö
        ÓàÖ Ôë ljr´ Ûà æÚ× ÍàÛæ×Ö ÃÛàÙÖáß *âä×èÛáçå ë×Óä mpp´+    ÃÛàÙÖáß*âä×èÛáçåë×Óäjnoë×Óäå+ÁàæÚ×áæÚ×äÕáçàæäÛ×åÛæéÓå
        ÌÚ×Õáää×åâáàÖÛàÙÛàÕä×Óå×ØáäáæÚ×äÕáçàæäÛ×åéáçÞÖÔ×kpn´          jojë×Óäå*âä×èÛáçåë×Óäjqoë×Óäå+ÓàÖÛàæáæÓÞÛæéÓåjjq
        *âä×èÛáçåë×Óällp´+ÓàÖæÚ×æáæÓÞÛàÕä×Óå×éáçÞÖÔ×lnk´           ë×Óäå*âä×èÛáçåë×Óäjnmë×Óäå+
        *âä×èÛáçåë×Óämnr´+                                                       ¹æáæÓÞáØkrk´*âä×èÛáçåë×Óälin´+áØæÚ×âä×å×àæèÓÞç×
              ÏÚ×àÖ×æ×äßÛàÛàÙæÚ×å×àåÛæÛèÛæëÖÛåÕÞáåçä×åæÚ×âä×å×àæ         áØæÚ×Ö×ýà×ÖÔ×à×ýæáÔÞÛÙÓæÛáàåéÓåÓææäÛÔçæÓÔÞ×æáÓÕæÛè×Ô×à-
        èÓÞç×åé×ä×ÕÓÞÕçÞÓæ×ÖçåÛàÙæÚ×åÓß×ß×æÚáÖáÞáÙëçå×Öæá               ×ýÕÛÓäÛ×åjrl´*âä×èÛáçåë×Óäkio´+æáØáäß×äÞë×ßâÞáë×Ö
        ÕÓÞÕçÞÓæ×æÚ×âä×å×àæèÓÞç×åÓææÚ×ä×âáäæÛàÙÖÓæ×ÌÚ×âä×å×àæÓ-         Ô×à×ýÕÛÓäÛ×åÓàÖnjn´*âä×èÛáçåë×Óämqr´+æáä×æÛä××å
        æÛáàÖá×åàáææÓÝ×ÛàæáÓÕÕáçàæÛàæ×äÖ×â×àÖ×àÕÛ×åÔ×æé××àæÚ×




                                                                                 SER-1021
(122 of 262), Page 122 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 122 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
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                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       932 of 1025
                                                                                                     POST AG                                                                     ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




        lpm ¹ÖÖÛæÛáàÓÞÛàØáäßÓæÛáàáàæÚ×ØÓÛäèÓÞç×áØâÞÓàÓåå×æå                                                                                                            lpn ÊÛåÝ
        ÌÚ×ØÓÛäèÓÞç×áØæÚ×âÞÓàÓåå×æåÕÓàÔ×ÖÛåÓÙÙä×ÙÓæ×ÖÓåØáÞÞáéå                                                                                                      Ëâ×ÕÛýÕ äÛåÝå Óä× Óååá
                                                                                                                                                                                 ß×àæâÞÓàåÌÚÛåÕÓàä×
         xß                                                                                                                                                                     ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáç
                                                                                                                  ¿×äßÓàë                      ÍÃ    ÇæÚ×äåa         ÌáæÓÞ
                                                                                                                                                                                  ÛàÕáß×éÚáå×áè×äÓÞÞ
                                                                                                                                                                                 ÁàÕáàæäÓåæÓÞáéä×Þ×èÓ
             lj¼×Õ×ßÔ×äkikk
             ½ãçÛæÛ×å                                                                                                   426                     57      636           ```h      áàåæÓüÕáåæåÓàÖà×æý
             ¾Ûê×ÖÛàÕáß×å×ÕçäÛæÛ×å                                                                                    855                   3,053    1,018          chae      ÓââÞÛ×ÖÖ×â×àÖÛàÙáàæ
             Real estate                                                                                              1,821                    272      329           acaa
             ¹Þæ×äàÓæÛè×å`                                                                                             481                    255        50            fge      INTEREST RATE RISK
             ÁàåçäÓàÕ×å                                                                                                 510                      0      132             eca      ¹Ö×Õä×Óå×*ÛàÕä×Óå×+Ûà
             »ÓåÚ                                                                                                     1,552                     83        40          `efd      æáÓàÛàÕä×Óå×*Ö×Õä×Óå
             ÇæÚ×ä                                                                                                       20                    334        53            c_f      ÙÓæÛáàÓàÖéáçÞÖÛàâä
             ¾ÓÛäèÓÞç×áØâÞÓàÓåå×æå                                                                               deed                    c_dc   aadg          ``hff      *Ö×Õä×Óå×+ÛàæÚ×ØÓÛäè
             lj¼×Õ×ßÔ×äkikj                                                                                                                                                    æÓÛà×ÖÛàæÚ×âÞÓàÓåå×æå
             ½ãçÛæÛ×å                                                                                                 1,153                    564      783           ad__      Ûàåáß×ÕÓå×åçåÛàÙÖ×ä
             ¾Ûê×ÖÛàÕáß×å×ÕçäÛæÛ×å                                                                                  2,080                   4,554    1,237          fgf`
             Real estate                                                                                              1,785                    309      357           acd`      INFLATION RISK
             ¹Þæ×äàÓæÛè×å`                                                                                             434                    277        57            feg      È×àåÛáàáÔÞÛÙÓæÛáàå(×å
             ÁàåçäÓàÕ×å                                                                                                 519                      0      158             eff      áäåÕÚ×ß×åÛàèáÞèÛàÙÛ
             »ÓåÚ                                                                                                       230                    151        25            c_e
                                                                                                                                                                                 âÚÓå×(ÕÓàÔ×ÞÛàÝ×ÖÖÛ
             ÇæÚ×ä                                                                                                       28                     40        44            ``a
                                                                                                                                                                                 ÌÚ×äÛåÝáØÛàÕä×ÓåÛàÙÛà
             ¾ÓÛäèÓÞç×áØâÞÓàÓåå×æåa                                                                             eaah                    dghd   aee`          `cfgd
                                                                                                                                                                                 èÓÞç×áØæÚ×Ö×ýà×ÖÔ×à
          ÈäÛßÓäÛÞëÛàÕÞçÖ×åÓÔåáÞçæ×ä×æçäàâäáÖçÕæåÓàÖâäÛèÓæ××ãçÛæëÛàè×åæß×àæå
         `                                                                                                                                                                       ÕÓå×áØ¿×äßÓàëØáä×êÓ
          ÁàæÚ×kikjÓààçÓÞä×âáäæØáäåÛßâÞÛý×Öâä×å×àæÓæÛáàæÚ×ØÓÛäèÓÞç×áØâÞÓàÓåå×æåéÓåä×ÖçÕ×ÖÔëæÚ××ü×ÕæåáØÓåå×æÕ×ÛÞÛàÙå
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                                                                                                                                                                                 ÔëÕÞáåÛàÙæÚ×Ö×ýà×Ö
         Éçáæ×ÖßÓäÝ×æâäÛÕ×åÛàÓàÓÕæÛè×ßÓäÝ×æ×êÛåæØáäÓäáçàÖnq´                                        Áà æÚ× ë×Óä çàÖ×ä ä×èÛ×é Ú×ÖÙÛàÙ ß×Óåçä×å æäÛÙÙ×ä×Ö     äÓæ×åáØÛàÕä×Óå×ÚÓè×Ô
         *âä×èÛáçåë×Óäoq´+áØæÚ×æáæÓÞØÓÛäèÓÞç×åáØâÞÓàÓåå×æåÌÚ×                             ÔëÖ×è×Þáâß×àæåáàæÚ×ÕÓâÛæÓÞßÓäÝ×æåÛàkikkä×åçÞæ×ÖÛàÓ           ÓàÖ,áäÞçßâ%åçßâÓëß
         ä×ßÓÛàÛàÙÓåå×æåØáäéÚÛÕÚàáåçÕÚãçáæ×ÖßÓäÝ×æâäÛÕ×å×êÛåæ                                  Ö×Õä×Óå×ÛàæÚ×âäáâáäæÛáàáØ×ãçÛæëÓàÖýê×Ö%ÛàÕáß×ÚáÞÖÛàÙå          ÓÞåáÓâáåÛæÛè×Õáää×ÞÓæÛá
         Óä×ÓææäÛÔçæÓÔÞ×ÓåØáÞÞáéåjq´*âä×èÛáçåë×Óäjm´+æáä×ÓÞ                                ÓàÖÓàÛàÕä×Óå×ÛàæÚ×âäáâáäæÛáàáØæÚ×ÕÓåÚÚáÞÖÛàÙå
         ×åæÓæ×jk´*âä×èÛáçåë×Óäji´+æáýê×ÖÛàÕáß×å×ÕçäÛæÛ×åo´                                     ¹åå×æ(ÞÛÓÔÛÞÛæëåæçÖÛ×åÓä×â×äØáäß×ÖÓæä×ÙçÞÓäÛàæ×äèÓÞå
         *âä×èÛáçåë×Óän´+æáÛàåçäÓàÕ×ål´*âä×èÛáçåë×Óäk´+æá                                Ûà¿×äßÓàëæÚ×ÍàÛæ×ÖÃÛàÙÖáßÓàÖÓßáàÙåæáæÚ×äâÞÓÕ×åæÚ×
         ÓÞæ×äàÓæÛè×åÓàÖl´*âä×èÛáçåë×Óäj´+æááæÚ×äÌÚ×ßÓÜáäÛæëáØ                            Æ×æÚ×äÞÓàÖåËéÛæì×äÞÓàÖÓàÖæÚ×ÍàÛæ×ÖËæÓæ×åØáäæÚ×âçäâáå×
         æÚ×Ûàè×åæß×àæåáàæÚ×ÓÕæÛè×ßÓäÝ×æåÓä×ÙÞáÔÓÞÞëÖÛè×äåÛý×Ö                                 áØßÓæÕÚÛàÙÓåå×æåÓàÖÞÛÓÔÛÞÛæÛ×åæÚ×åæäÓæ×ÙÛÕÓÞÞáÕÓæÛáàáØâÞÓà
         éÛæÚÕ×äæÓÛàÕáçàæäë%åâ×ÕÛýÕØáÕçåÓä×Óå                                                      Óåå×æåÛåÓÖÜçåæ×ÖÓÕÕáäÖÛàÙÞë
               Ê×ÓÞ×åæÓæ×ÛàÕÞçÖ×ÖÛàâÞÓàÓåå×æåÛà¿×äßÓàëéÛæÚÓØÓÛä                                     ËçåæÓÛàÓÔÞ×ÓââäáÓÕÚ×åÔÓå×ÖßÓÛàÞëáàÓàÛàæ×ÙäÓæÛáà
         èÓÞç×áØxjoqrßÛÞÞÛáà*âä×èÛáçåë×ÓäxjonlßÛÞÞÛáà+ÛåáÕÕç-                                áØ½Ë¿ÕäÛæ×äÛÓÓä×ÛàÕä×ÓåÛàÙÞëÔ×ÛàÙçå×ÖéÚ×àÛàè×åæÛàÙâÞÓà
         âÛ×ÖÔë¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ                                                            assets.




                                                                                                      SER-1022
(123 of 262), Page 123 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 123 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       933 of 1025
                                                                                                     POST AG                                                    ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




         INVESTMENT RISK                                                              ßÛæÛÙÓæ×ÖÛàâÓäæÛÕçÞÓäÔëçåÛàÙÕçää×àæåæÓàÖÓäÖßáäæÓÞÛæëæÓÔÞ×å
        ÌÚ×Ûàè×åæß×àæÛåÛàâäÛàÕÛâÞ×åçÔÜ×ÕææáÓÞÓäÙ×àçßÔ×äáØäÛåÝå           éÚ×àÕÓÞÕçÞÓæÛàÙæÚ×âä×å×àæèÓÞç×áØæÚ×Ö×ýà×ÖÔ×à×ýæáÔÞÛ-
        ÛàâÓäæÛÕçÞÓäÛæÛå×êâáå×ÖæáæÚ×äÛåÝæÚÓæßÓäÝ×æâäÛÕ×åßÓë              ÙÓæÛáàåÌÚ×ßáäæÓÞÛæëæÓÔÞ×åçå×ÖÛà¿×äßÓàëÓàÖæÚ×ÍàÛæ×Ö
        ÕÚÓàÙ×ÌÚÛåÛåßÓàÓÙ×ÖâäÛßÓäÛÞëÔë×àåçäÛàÙÔäáÓÖÖÛè×äåÛý-                 ÃÛàÙÖáßØáä×êÓßâÞ×ÛàÕÞçÖ×ÓàÓÞÞáéÓàÕ×Øáä×êâ×Õæ×ÖØçæçä×
        ÕÓæÛáàÓàÖæÚ×çå×áØÚ×ÖÙÛàÙÛàåæäçß×àæå                                   ÛàÕä×Óå×åÛàÞÛØ××êâ×ÕæÓàÕë

         LONGEVITY RISK                                                               lq ÇæÚ×äâäáèÛåÛáàå
         ÄáàÙ×èÛæëäÛåÝßÓëÓäÛå×ÛàÕáàà×ÕæÛáàéÛæÚæÚ×Ô×à×ýæåâÓëÓÔÞ×             ÇæÚ×äâäáèÛåÛáàåÔä×ÓÝÖáéàÛàæáæÚ×ØáÞÞáéÛàÙßÓÛàæëâ×åáØ
         ÛàæÚ×Øçæçä×Öç×æáÓØçæçä×ÛàÕä×Óå×ÛàÞÛØ××êâ×ÕæÓàÕëÌÚÛåÛå          âäáèÛåÛáà


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                                                                                                       2021                   2022                    2021                    2022
         ÇæÚ×ä×ßâÞáë××Ô×à×ýæå                                                                         799                     670                    160                     114
         Ì×ÕÚàÛÕÓÞä×å×äè×å*ÛàåçäÓàÕ×+                                                                 517                     571                    250                     178
         ¹ÛäÕäÓØæßÓÛàæ×àÓàÕ×                                                                           209                     200                      98                      73
         ÌÓêâäáèÛåÛáàå                                                                                    –                       –                   275                     278
         Ê×åæäçÕæçäÛàÙâäáèÛåÛáàå                                                                        25                      10                      50                      45
         ÅÛåÕ×ÞÞÓà×áçåâäáèÛåÛáàå                                                                       396                     450                    375                     471
         ÇæÚ×äâäáèÛåÛáàå                                                                             `hce                   `h_`                   `a_g                  ``dh




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                                                                  ÇæÚ×ä×ßâÞáë××              Ê×åæäçÕæçäÛàÙ     Ì×ÕÚàÛÕÓÞä×å×äè×å
                                                                         Ô×à×ýæå                  âäáèÛåÛáàå            *ÛàåçäÓàÕ×+     ¹ÛäÕäÓØæßÓÛàæ×àÓàÕ×          ÌÓêâäáèÛåÛáàå
          ºÓÞÓàÕ×ÓåÓæjÂÓàçÓäëkikk                                         959                       75                     767                     307                    275
          »ÚÓàÙ×åÛàÕáàåáÞÛÖÓæ×ÖÙäáçâ                                          3                         0                       0                     –9                       1
          ÍæÛÞÛåÓæÛáà                                                      – 596                        –34                     – 68                    – 91                    –33
          »çää×àÕëæäÓàåÞÓæÛáàÖÛü×ä×àÕ×å                                       29                         1                       4                        8                     3
          Reversal                                                             – 50                     –21                     –25                      –5                    – 50
          ÍàéÛàÖÛàÙáØ,ÕÚÓàÙ×åÛàÖÛåÕáçàæäÓæ×                              – 51                        0                    –30                      –1                       0
          Ê×ÕÞÓååÛýÕÓæÛáà                                                        3                         0                       0                        0                     0
          ¹ÖÖÛæÛáà                                                             487                       34                     101                      64                      82
          ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×äkikk                                       fgc                       dd                     fch                     afb                    afg




                                                                                 SER-1023
(124 of 262), Page 124 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 124 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
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                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       934 of 1025
                                                                                                     POST AG                                                             ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




        ÌÚ×âäáèÛåÛáàØáäáæÚ×ä×ßâÞáë××Ô×à×ýæåâäÛßÓäÛÞëÕáè×äåéáäÝ-                     ÅÛåÕ×ÞÞÓà×áçåâäáèÛåÛáàåéÚÛÕÚÛàÕÞçÖ×ÓÞÓäÙ×àçßÔ×äáØ
        ØáäÕ×ä×ÖçÕæÛáà×êâ×àå×ååçÕÚÓåå×è×äÓàÕ×âÓëß×àæåâÓäæÛÓÞ                 ÛàÖÛèÛÖçÓÞÛæ×ßåÔä×ÓÝÖáéàÓåØáÞÞáéå
        ä×æÛä×ß×àæ×ÓäÞëä×æÛä×ß×àæåæáÕÝÓââä×ÕÛÓæÛáàäÛÙÚæå*Ë¹Êå+
        ÓàÖÜçÔÛÞ××âÓëß×àæåÌÚ×Ö×Õä×Óå×ä×åçÞæåâäÛßÓäÛÞëØäáßÚÛÙÚ×ä             xß
        çæÛÞÛåÓæÛáàÕáßâÓä×ÖæáæÚ×âä×èÛáçåë×ÓäÓàÖÞáé×äÓÖÖÛæÛáàåæá                                                                    2021           2022
        æÚ×áÔÞÛÙÓæÛáàåØáäâÓäæÛÓÞä×æÛä×ß×àæÓàÖâ×àåÛáàâÞÓàåÛàæÚ×              ÄÛæÛÙÓæÛáàÕáåæå
                                                                                      áØéÚÛÕÚàáà%Õçää×àænl*âä×èÛáçåë×Óäno+            114            130
        ÍàÛæ×ÖËæÓæ×å
                                                                                      ÊÛåÝåØäáßÔçåÛà×ååÓÕæÛèÛæÛ×å
              Ì×ÕÚàÛÕÓÞä×å×äè×å*ÛàåçäÓàÕ×+ßÓÛàÞëÕáàåÛåæáØáçæåæÓàÖ-              áØéÚÛÕÚàáà%Õçää×àæln*âä×èÛáçåë×Óäo+              45            129
        ÛàÙÞáååä×å×äè×åÓàÖÁºÆÊ*ÛàÕçää×ÖÔçæàáæä×âáäæ×Ö+ä×å×äè×å             ÅÛåÕ×ÞÞÓà×áçåáæÚ×äâäáèÛåÛáàå
           Æáæ×p                                                                   áØéÚÛÕÚàáà%Õçää×àælok*âä×èÛáçåë×Óällm+          612            662
               ÌÚ×âäáèÛåÛáàØáäÓÛäÕäÓØæßÓÛàæ×àÓàÕ×ä×ÞÓæ×åæááÔÞÛÙÓ-              ÅÛåÕ×ÞÞÓà×áçåâäáèÛåÛáàå                                ff`            ha`
         æÛáàåØáäßÓÜáäÓÛäÕäÓØæÓàÖ×àÙÛà×ßÓÛàæ×àÓàÕ×ÔëæÚÛäÖ%âÓäæë
         ÕáßâÓàÛ×å
                ÇØæÚ×æÓêâäáèÛåÛáàåxjmißÛÞÞÛáà*âä×èÛáçåë×ÓäxjljßÛÞ-         lqk ÅÓæçäÛæëåæäçÕæçä×
         ÞÛáà+ä×ÞÓæ×åæáÎ¹ÌxljßÛÞÞÛáà*âä×èÛáçåë×ÓäxmnßÛÞÞÛáà+æá           ÌÚ×ßÓæçäÛæëåæäçÕæçä×áØæÚ×âäáèÛåÛáàåä×ÕáÙàÛå×ÖÛàæÚ×kikk
         ÕçåæáßåÓàÖÖçæÛ×åÓàÖxjipßÛÞÞÛáà*âä×èÛáçåë×ÓäxrrßÛÞ-                ýàÓàÕÛÓÞë×ÓäÛåÓåØáÞÞáéå
         ÞÛáà+æááæÚ×äæÓêâäáèÛåÛáàå


         xß
                                                                                                    Åáä×æÚÓà                Åáä×æÚÓà                   Åáä×æÚÓà              Åáä×æÚÓà
                                                                      Íâæá`ë×Óä            `ë×Óäæáaë×Óäå        aë×Óäåæábë×Óäå           bë×Óäåæácë×Óäå      cë×Óäåæádë×Óäå

          kikk
          ÇæÚ×ä×ßâÞáë××Ô×à×ýæå                                                114                        130                          48                         33                     34
          Ì×ÕÚàÛÕÓÞä×å×äè×å*ÛàåçäÓàÕ×+                                        178                        243                          82                         38                     28
          ¹ÛäÕäÓØæßÓÛàæ×àÓàÕ×                                                   73                        120                          20                         13                       9
          ÌÓêâäáèÛåÛáàå                                                        278                          0                           0                          0                       0
          Ê×åæäçÕæçäÛàÙâäáèÛåÛáàå                                               45                          4                           4                          2                       0
          ÅÛåÕ×ÞÞÓà×áçåâäáèÛåÛáàå                                              471                        183                         70                          47                     34
          Total                                                             ``dh                          eg_                         aac                       `bb                     `_d




                                                                                  SER-1024
(125 of 262), Page 125 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 125 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       935 of 1025
                                                                                                     POST AG                                                                                        ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




         lr ¾ÛàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å

         xß
                                                                                                                                                         Æáà%Õçää×àæ                                            »çää×àæ


                                                                                                                                    2021                        2022                        2021                  2022
         ºáàÖå                                                                                                                     6,167                       5,680                         502                      500
         ¹ßáçàæåÖç×æáÔÓàÝå                                                                                                         356                        342                         188                      188
         Ä×Óå×ÞÛÓÔÛÞÛæÛ×å`                                                                                                       9,841                      11,316                        1,964                2,198
         ÄÛÓÔÛÞÛæÛ×åÓæØÓÛäèÓÞç×æÚäáçÙÚâäáýæáäÞáåå                                                                                 1                            5                       12                      129
         ÇæÚ×äýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                                                                                   249                        316                         617                 1,144
         ¾ÛàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                                                                                    `ee`c                      `fedh                        bagb                c`dh


          ½êâÞÓàÓæÛáàåçàÖ×ä Æáæ×mj
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        ÌÚ×ÓßáçàæåÖç×æáÔÓàÝåÕáßâäÛå×ßÓÛàÞëÕçää×àæáè×äÖäÓØæ                                          áØxjlqßÛÞÞÛáàØáäæÚ×ÓÕãçÛåÛæÛáàáØæÚ×ä×ßÓÛàÛàÙåÚÓä×åÛàæÚ×
        ØÓÕÛÞÛæÛ×åÓàÖÞáàÙ%æ×äßÞáÓàåÖç×æáèÓäÛáçåÔÓàÝåÌÚ×Óßáçàæå                                    ÅáàæÓ¿äáçâ
        ä×âáäæ×Ö çàÖ×ä ÞÛÓÔÛÞÛæÛ×å Óæ ØÓÛä èÓÞç× æÚäáçÙÚ âäáýæ áä Þáåå
        ä×ÞÓæ×ßÓÛàÞëæáæÚ×à×ÙÓæÛè×ØÓÛäèÓÞç×åáØÖ×äÛèÓæÛè×ýàÓàÕÛÓÞ                                    ºáàÖå
        Ûàåæäçß×àæåÇæÚ×äýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×åÛàÕÞçÖ×åæÚ×áÔÞÛÙÓæÛáà                                     ÌÚ×kijk,kikkÔáàÖáØ¼×çæåÕÚ×Èáåæ¾ÛàÓàÕ×ºÎéÓåØçÞÞë
        áØxkpnßÛÞÞÛáàØáäæÚ×ä×âçäÕÚÓå×ååæÛÞÞæáÔ×ÕÓääÛ×ÖáçæØäáß                                    ä×âÓÛÖÛàÂçà×kikk
        æäÓàÕÚ×ÁÁáØæÚ×åÚÓä×Ôçë%ÔÓÕÝâäáÙäÓßß×ÓàÖæÚ×áÔÞÛÙÓæÛáà

         ËÛÙàÛýÕÓàæÔáàÖå



                                                                                                         ÆáßÛàÓÞÕáçâáà                      ÆáæÛáàÓÞèáÞçß× Áååç×ä                                 »ÓääëÛàÙÓßáçàæ         ¾Ó
                                                                                                                      %                                   xß                                                   xß
         ºáàÖkijk,kikk                                                                                            2.950                              500 ¼×çæåÕÚ×Èáåæ¾ÛàÓàÕ×ºÎ                      500
         ºáàÖkijk,kikm                                                                                            2.875                              700 ¼×çæåÕÚ×Èáåæ¹¿                                 699
         ºáàÖkijl,kikl                                                                                            2.750                              500 ¼×çæåÕÚ×Èáåæ¹¿                                 499
         ºáàÖkijo,kiko                                                                                            1.250                              500 ¼×çæåÕÚ×Èáåæ¹¿                                 498
         ºáàÖkijp,kikp                                                                                            1.000                              500 ¼×çæåÕÚ×Èáåæ¹¿                                 497
         ºáàÖkijq,kikq                                                                                            1.625                              750 ¼×çæåÕÚ×Èáåæ¹¿                                 743
         ºáàÖkiki,kiko                                                                                            0.375                              750 ¼×çæåÕÚ×Èáåæ¹¿                                 746
         ºáàÖkiki,kikr                                                                                            0.750                              750 ¼×çæåÕÚ×Èáåæ¹¿                                 748
         ºáàÖkiki,kilk                                                                                            1.000                              750 ¼×çæåÕÚ×Èáåæ¹¿                                 747
         »áàè×äæÛÔÞ×ÔáàÖkijp,kikn`                                                                              0.050                             1,000 ¼×çæåÕÚ×Èáåæ¹¿                                974

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              ¾ÓÛäèÓÞç×áØæÚ×Ö×ÔæÕáßâáà×àææÚ×ØÓÛäèÓÞç×áØæÚ×Õáàè×äæÛÔÞ×ÔáàÖkijp,kiknÛåxrnoßÛÞÞÛáà*âä×èÛáçåë×ÓäxjkiißÛÞÞÛáà+




                                                                                                          SER-1025
(126 of 262), Page 126 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 126 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       936 of 1025
                                                                                                     POST AG                                                        ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




        »áàè×äæÛÔÞ×ÔáàÖ                                                                       mi ÇæÚ×äÞÛÓÔÛÞÛæÛ×å                                                ÇØæÚ×æÓêÞÛÓÔÛÞÛæÛ×åxp
        ÌÚ× Õáàè×äæÛÔÞ× ÔáàÖ Ûååç×Ö ÕÓääÛ×å Ó Õáàè×äåÛáà äÛÙÚæ æÚÓæ                                                                                        ä×ÞÓæ×åæáÎ¹ÌxpopßÛÞ
        ÓÞÞáéåÚáÞÖ×äåæáÕáàè×äææÚ×ÔáàÖÛàæáÓâä×Ö×æ×äßÛà×ÖàçßÔ×ä                        xß                                                                  æáßåÓàÖÖçæÛ×åÓàÖxk
        áØ¼×çæåÕÚ×Èáåæ¹¿åÚÓä×å                                                                                                              2021    2022    æááæÚ×äæÓêÞÛÓÔÛÞÛæÛ×å
              ÁàÓÖÖÛæÛáà¼×çæåÕÚ×Èáåæ¹¿éÓåÙäÓàæ×ÖÓÕÓÞÞáâæÛáà                       ÌÓêÞÛÓÔÛÞÛæÛ×å                                      1,622   1,709         ÅÛåÕ×ÞÞÓà×áçåáæÚ
        ÓÞÞáéÛàÙÛææáä×âÓëæÚ×ÔáàÖ×ÓäÞëÓæØÓÕ×èÓÞç×âÞçåÓÕÕäç×Ö                        ÁàÕ×àæÛè×Ôáàçå×å                                    1,157   1,267   ÛàÖÛèÛÖçÓÞÛæ×ßå
        Ûàæ×ä×åæÛØ¼×çæåÕÚ×Èáåæ¹¿ ååÚÓä×âäÛÕ×ßáä×æÚÓàæ×ßâáäÓäÛÞë                    »áßâ×àåÓæ×ÖÓÔå×àÕ×å                                  446     517
                                                                                               »áàæäÓÕæÞÛÓÔÛÞÛæÛ×å
        ×êÕ××Öåjli´áØæÚ×Õáàè×äåÛáàâäÛÕ×ÓââÞÛÕÓÔÞ×ÓææÚÓææÛß×ÌÚ×                                                                                         ÅÓæçäÛæëåæäçÕæçä×
                                                                                               áØéÚÛÕÚàáà%Õçää×àæok*âä×èÛáçåë×Óäli+          360     516
        Õáàè×äæÛÔÞ×ÔáàÖÚÓåÓÖ×ÔæÕáßâáà×àæÓàÖÓà×ãçÛæëÕáßâá-                                                                                                  ÌÚ×ä×ÛåàáåÛÙàÛýÕÓàæÖ
                                                                                               ÏÓÙ×ååÓÞÓäÛ×åå×è×äÓàÕ×âÓëß×àæå                   342     343
        à×àæÁàåçÔå×ãç×àæë×ÓäåÛàæ×ä×åæéÛÞÞÔ×ÓÖÖ×ÖæáæÚ×ÕÓääëÛàÙ                     ¼×Ø×ää×ÖÛàÕáß×
                                                                                                                                                                    ÓàÖæÚ×ØÓÛäèÓÞç×åáØæÚ×
        ÓßáçàæáØæÚ×ÔáàÖçâæáæÚ×Ûååç×ÓßáçàæçåÛàÙæÚ××ü×ÕæÛè×                        áØéÚÛÕÚàáà%Õçää×àæjlo*âä×èÛáçåë×Óärn+         210     274    ÛæÛ×åáäà×Óä%ßÓäÝ×æÛàæ×
        Ûàæ×ä×åæß×æÚáÖÓàÖä×ÕáÙàÛå×ÖÛàâäáýæáäÞáåå                                       ÈÓëÓÔÞ×åæá×ßâÞáë××åÓàÖß×ßÔ×äåáØ                                äÓæ×äÛåÝÔ×ÕÓçå×ßáåæ
                                                                                               ×ê×ÕçæÛè×ÔáÖÛ×å                                      241     240    áØÛàæ×ä×åæÓæßÓäÝ×æäÓæ
         »áàè×äæÛÔÞ×ÔáàÖ                                                                      ËáÕÛÓÞå×ÕçäÛæëÞÛÓÔÛÞÛæÛ×å                           210     212
                                                                                               ÈáåæÓÙ×åæÓßâå*ÕáàæäÓÕæÞÛÓÔÛÞÛæÛ×å+                 107     144
                                                                                                                                                                    xß
                                                                                               Çè×äæÛß×ÕÞÓÛßå                                       128     138
                                                                               a_`f,a_ad
         Áååç×ÖÓæ×                                                           `b¼×Õa_`f     ¼×ÔæáäåéÛæÚÕä×ÖÛæÔÓÞÓàÕ×å                          149     135
                                                                                                                                                                    Íâæájë×Óä
         Áååç×èáÞçß×                                                             x`ÔÛÞÞÛáà   ÁàåçäÓàÕ×ÞÛÓÔÛÞÛæÛ×å                                  58     113
                                                                                                                                                                    Åáä×æÚÓàjë×Óäæákë×Óäå
         ÇçæåæÓàÖÛàÙèáÞçß×                                                       x`ÔÛÞÞÛáà   ÄÛÓÔÛÞÛæÛ×åØäáßÕÚ×ãç×åÛååç×Ö                        43      77
                                                                                                                                                                    Åáä×æÚÓàkë×Óäåæálë×Óäå
         ½ê×äÕÛå×â×äÛáÖÕáàè×äåÛáàäÛÙÚæ                                 `b¼×Õa_a_æá    ÄÛÓÔÛÞÛæÛ×åØáäÖÓßÓÙ×å
                                                                                                                                                                    Åáä×æÚÓàlë×Óäåæámë×Óäå
                                                                            `bÂçà×a_ad`     áØéÚÛÕÚàáà%Õçää×àæk*âä×èÛáçåë×Óäi+             45      62
                                                                                                                                                                    Åáä×æÚÓàmë×Óäåæánë×Óäå
         ½ê×äÕÛå×â×äÛáÖÕÓÞÞáâæÛáà                                        aÂÓàa_abæá   ÇæÚ×äÕáßâ×àåÓæ×ÖÓÔå×àÕ×å                             45      49
                                                                                                                                                                    Åáä×æÚÓànë×Óäå
                                                                             `_Âçà×a_ad      »Ç¼ÞÛÓÔÛÞÛæÛ×å                                        54      43
                                                                                                                                                                    ÇæÚ×äÞÛÓÔÛÞÛæÛ×å
         ÎÓÞç×áØÖ×ÔæÕáßâáà×àæÓæÛååç×ÖÓæ×      a
                                                                              xhceßÛÞÞÛáà     ÄÛÓÔÛÞÛæÛ×åØäáßæÚ×åÓÞ×áØä×åÛÖ×àæÛÓÞÔçÛÞÖÛàÙ
         ÎÓÞç×áØ×ãçÛæëÕáßâáà×àæÓæÛååç×ÖÓæ×b                              xdbßÛÞÞÛáà    loans
         ÌäÓàåÓÕæÛáàÕáåæå*Ö×Ôæ,×ãçÛæëÕáßâáà×àæ+                     xcf,x_bßÛÞÞÛáà   áØéÚÛÕÚàáà%Õçää×àækk*âä×èÛáçåë×Óäli+           40      31
         »áàè×äåÛáàâäÛÕ×ÓæÛååç×                                                   €55.69    ¹ÕÕäç×ÖÛàåçäÓàÕ×âä×ßÛçßåØáäÖÓßÓÙ×å
                                                                                               ÓàÖåÛßÛÞÓäÞÛÓÔÛÞÛæÛ×å                                18      21
         »áàè×äåÛáàâäÛÕ×ÓØæ×äÓÖÜçåæß×àæc                                                   ¹ÕÕäç×Öä×àæÓÞå                                        14      16
         Ûàkijq                                                                     €55.61
                                                                                               ÅÛåÕ×ÞÞÓà×áçåáæÚ×äÞÛÓÔÛÞÛæÛ×å
         Ûàkijr                                                                     €55.63
                                                                                               áØéÚÛÕÚàáà%Õçää×àærr*âä×èÛáçåë×Óäjmr+        1,153    926
         Ûàkiki                                                                     €55.74
                                                                                               ÇæÚ×äÞÛÓÔÛÞÛæÛ×å                                    ecca   egbb
         Ûàkikj                                                                     €55.66
                                                                                               áØéÚÛÕÚ Õçää×àæ                                    6,138   6,512
         Ûàkikk                                                                     €55.00
                                                                                                        àáà%Õçää×àæ                                 304     321
         `
           ½êÕÞçÖÛàÙâáååÛÔÞ×ÕáàæÛàÙ×àæÕáàè×äåÛáàâ×äÛáÖåÓÕÕáäÖÛàÙæáæÚ×ÔáàÖæ×äßå
         a
           ÁàÕÞçÖÛàÙæäÓàåÓÕæÛáàÕáåæåÓàÖÕÓÞÞáâæÛáàÙäÓàæ×Ö
         b
           Ê×ÕáÙàÛå×ÖÛàÕÓâÛæÓÞä×å×äè×å
         c
           ¹Øæ×äÖÛèÛÖ×àÖâÓëß×àæ




                                                                                               SER-1026
(127 of 262), Page 127 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 127 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       937 of 1025
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         Lease disclosures                                                                                                                ÁàæÚ×ä×ÓÞ×åæÓæ×Óä×Ó
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        mj Ä×Óå×ÖÛåÕÞáåçä×å                                                                                                             Óä×âä×ÖáßÛàÓàæÞëÖ×â
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        *âä×èÛáçåë×ÓäxjinßÛÞÞÛáà+éÛæÚxlrßÛÞÞÛáà*âä×èÛáçåë×Óä                                                                   áØßáä×æÚÓàkië×ÓäåÓ
        xroßÛÞÞÛáà+ÓææäÛÔçæÓÔÞ×æáä×ÓÞ×åæÓæ×Ö×è×Þáâß×àæâäáÜ×Õæå                                                                   prÞ×Óå×å+¹ÛäÕäÓØæÞ×Óå
        ÌÚ×äÛÙÚæ%áØ%çå×Óåå×æåÕÓääÛ×ÖÓåàáà%Õçää×àæÓåå×æåä×åçÞæÛàÙ                                                                  jmë×ÓäåÄ×Óå×åßÓëÛàÕ
        ØäáßÞ×Óå×åÓä×âä×å×àæ×Öå×âÓäÓæ×ÞëÛàæÚ×ØáÞÞáéÛàÙæÓÔÞ×                                                                        Æáæ×pÌÚ×Þ×Óå×åÓä×
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         ÊÛÙÚæ%áØ%çå×Óåå×æå                                                                                                              ÛàæÚ×ØáÞÞáéÛàÙæÓÔÞ×
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                                    ÔçÛÞÖÛàÙå       ßÓÕÚÛà×äë áÿÕ××ãçÛâß×àæ           ¹ÛäÕäÓØæ   ×ãçÛâß×àæ      Ö×è×Þáâß×àæ      ÌáæÓÞ   Æáà%Õçää×àæÞ×Óå×ÞÛÓÔÛÞÛæÛ×å
         lj¼×Õ×ßÔ×äkikj                                                                                                                 »çää×àæÞ×Óå×ÞÛÓÔÛÞÛæÛ×å
         ¹ÕÕçßçÞÓæ×ÖÕáåæ            12,472              236                  9        3,016          1,098             251     `f_ga    Total
         áØéÚÛÕÚÓÖÖÛæÛáàå            2,116              24                  1          543            310               86     b_g_
         ¹ÕÕçßçÞÓæ×Ö
         Ö×âä×ÕÛÓæÛáàÓàÖ
         ÛßâÓÛäß×àæÞáåå×å             4,318             117                  7          961            511                0     dh`c    ¾çæçä×ÕÓåÚáçæþáéåÓ
         »ÓääëÛàÙÓßáçàæ               g`dc             ``h                  a        a_dd            dgf             ad`     ```eg    xjmÔÛÞÞÛáà+ÓåÓææÚ×ä×
                                                                                                                                          ÕÓåÚáçæþáéåÓßáçàæÛà
         lj¼×Õ×ßÔ×äkikk
                                                                                                                                          ÞÛáà+é×ä×àáæÛàÕÞçÖ×Ö
         ¹ÕÕçßçÞÓæ×ÖÕáåæ            14,344              244                 11        4,096          1,297             264     a_ade    åáàÓÔÞëÕ×äæÓÛàæÚÓææÚ
         áØéÚÛÕÚÓÖÖÛæÛáàå            2,260              40                  3          987            366               83     bfbh    àÓæ×Ö+Ä×Óå×åæÚÓææÚ×
         ¹ÕÕçßçÞÓæ×Ö                                                                                                                     æÚÓæÚÓè×àáæë×æÕáßß
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                                                                                                                                          áçæþáéåæáæÓÞÞÛàÙxkoÔ
         ÛßâÓÛäß×àæÞáåå×å             5,462             132                  7        1,202            613                0     fc`e
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         »ÓääëÛàÙÓßáçàæ               ggga             ``a                 c         aghc            egc             aec     `agc_
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(128 of 262), Page 128 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 128 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       938 of 1025
                                                                                                     POST AG                                                                                            ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




         »ÓåÚþáéÖÛåÕÞáåçä×å                                                                                                                                                                           ¹åÓææÚ×ä×âáäæÛàÙÖÓæ×
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        mk »ÓåÚþáéÖÛåÕÞáåçä×å                                                                                                                                                                        ÕÓåÚþáéåØäáßÚ×ÖÙ×
        ÌÚ×ØáÞÞáéÛàÙæÓÔÞ×åÚáéåæÚ×ä×ÕáàÕÛÞÛÓæÛáàáØÕÚÓàÙ×åÛàÞÛÓ-                                                                                                                                 ÓÕæÛèÛæÛ×å#ÕÓåÚþáéÛæ×ß
        ÔÛÞÛæÛ×åÓäÛåÛàÙØäáßýàÓàÕÛàÙÓÕæÛèÛæÛ×åÛàÓÕÕáäÖÓàÕ×éÛæÚæÚ×
        Á¾ÊËä×ãçÛä×ß×àæå                                                                                                                                                                              mkj Æ×æÕÓåÚØäáßáâ
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         ÄÛÓÔÛÞÛæÛ×åÓäÛåÛàÙØäáßýàÓàÕÛàÙÓÕæÛèÛæÛ×å                                                                                                                                                   xrpkßÛÞÞÛáà ÚÛÙÚ×ä æÚ
         xß                                                                                                                                                                                            ÞÛáàÁàÕáß×æÓê×åâÓÛÖ
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                                                                                                ºáàÖå              banks           Ä×Óå×ÞÛÓÔÛÞÛæÛ×å           ÞÛÓÔÛÞÛæÛ×å`                 ÌáæÓÞ      »ÓåÚÛàþáéØäáßæÚ×Õ
             ºÓÞÓàÕ×ÓåÓæjÂÓàçÓäëkikj                                                        7,410                    479               10,459                     324               `gefa         xkjnßÛÞÞÛáàÕáßâÓä×Ö
             »ÓåÚÕÚÓàÙ×åa                                                                      – 845                     21               –2,395                       12               (ba_f        æÚ×âäÛáäë×Óä
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             Æáà%ÕÓåÚÕÚÓàÙ×å
               Leases                                                                                 0                      0                3,408                       0                bc_g
               »çää×àÕëæäÓàåÞÓæÛáà                                                                   1                    32                   309                       8                   bd_       Æáà%ÕÓåÚÛàÕáß×ÓàÖ×
               »ÚÓàÙ×åÛàÕáàåáÞÛÖÓæ×ÖÙäáçâ                                                          0                      0                    23                      3                    ae       xß
               ÇæÚ×äÕÚÓàÙ×å                                                                       103                     12                       1                    14                   `b_
             ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×äkikj,jÂÓàçÓäëkikk                                     eeeh                    dcc               ``g_d                     be`               `hbfh         ½êâ×àå×ØäáßæÚ×ä×ß×Óåçä
             »ÓåÚÕÚÓàÙ×åa                                                                      – 589                  –371                –2,735                     – 68               (bfeb        ÁàÕáß×ØäáßæÚ×ä×ß×Óåçä×
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               »ÚÓàÙ×åÛàÕáàåáÞÛÖÓæ×ÖÙäáçâ                                                          0                   322                   107                       4                   cbb       ÇæÚ×ä
               ÇæÚ×äÕÚÓàÙ×å                                                                         99                      8                      0                  447                    ddc       Æáà%ÕÓåÚÛàÕáß×*(+ÓàÖ×
             ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×äkikk                                                      e`g_                    db_               `bd`c                     fcd               a_heh

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             *âä×èÛáçåë×ÓäxnjqßÛÞÞÛáà+Óä×Öç×æáØÓÕæáäåâä×å×àæ×ÖÛàáæÚ×äÕÓåÚþáéÛæ×ßå×ÙÖ×äÛèÓæÛè×åáäáâ×äÓæÛàÙýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å
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             ÓÖÖÛæÛáàæáâÓëß×àæåä×ÞÓæÛàÙæá×ãçÛæëæäÓàåÓÕæÛáàåÌÚ×Ûàæ×ä×åæâÓëß×àæåä×âáäæ×ÖÛàæÚ×ÕÓåÚþáéåæÓæ×ß×àæÓÞåáÛàÕÞçÖ×âÓëß×àæåæÚÓæÖáàáæä×ÞÓæ×æáÞÛÓÔÛÞÛæÛ×åØäáßýàÓàÕ-
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                                                                                                          SER-1028
(129 of 262), Page 129 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 129 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       939 of 1025
                                                                                                     POST AG                                            ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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        Æ×æÕÓåÚçå×ÖÛàÛàè×åæÛàÙÓÕæÛèÛæÛ×åØ×ÞÞØäáßxmqkmßÛÞÞÛáàæá     ¹æxpmjjßÛÞÞÛáàà×æÕÓåÚçå×ÖÛàýàÓàÕÛàÙÓÕæÛèÛæÛ×åÕÓß×Ûà         åÚÛâåÈáäæØáÞÛáåáØÖ×äÛè
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        ÓÕãçÛåÛæÛáàáØåçÔåÛÖÛÓäÛ×åÓàÖáæÚ×äÔçåÛà×ååçàÛæåâäÛßÓäÛÞëØáä   ÞÛáàÌÚ×ä×âÓëß×àæáØàáà%Õçää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×åÛàÕä×Óå×Ö             ÌáÞÛßÛæÕáçàæ×äâÓ
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        ÓÕæÛèÛæÛ×åØáÕçå×ÖáàØáä×êÓßâÞ×æÚ×áàÙáÛàÙ×êâÓàåÛáàÓàÖ         ÞÛáàæáxkkinßÛÞÞÛáàËÚÓä×Ôçë%ÔÓÕÝåÞ×ÖæáâÓëß×àæåÛàæÚ×          ºáÓäÖáØÅÓàÓÙ×ß×àæ
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        ÞÛàÙxrnißÛÞÞÛáàéÓåæÚ×âäÛßÓäëÕáàæäÛÔçæáäæáÕÓåÚáçæþáé                                                                                         ¼ÛåÕÞáåçä×åä×ÙÓä
        Øáä æÚ× ÓÕãçÛåÛæÛáà áØ Õçää×àæ ýàÓàÕÛÓÞ Óåå×æå ÓßáçàæÛàÙ æá   Other disclosures                                                        Ö×ýà×ÖÔ×à×ýæä×æÛä×ß
        xjniqßÛÞÞÛáà                                                                                                                                 ØáçàÖÛà Æáæ×lpn
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        ÓÕãçÛåÛæÛáàåáØßÓæ×äÛÓÞÓàÖÛßßÓæ×äÛÓÞÕáßâÓàÛ×åçàÖ×äæÓÝ×à                                                                                   ÄÛãçÛÖÛæëßÓàÓÙ×ß×àæ
        ÛàæÚ×kikkýàÓàÕÛÓÞë×ÓäÓä×âä×å×àæ×ÖÛàæÚ×ØáÞÞáéÛàÙæÓÔÞ×        mlj ÊÛåÝßÓàÓÙ×ß×àæ                                                    ÌÚ×çÞæÛßÓæ×áÔÜ×ÕæÛè×á
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         ¹åå×æåÓÕãçÛä×ÖÓàÖÞÛÓÔÛÞÛæÛ×åÓååçß×Ö                               ýàÓàÕÛÓÞäÛåÝåæÚÓæßÓëÓäÛå×ØäáßÕÚÓàÙ×åÛà×êÕÚÓàÙ×äÓæ×å           »áàå×ãç×àæÞëÞÛãçÛÖÛæë
         xß                                                                   ÕáßßáÖÛæëâäÛÕ×åÓàÖÛàæ×ä×åæäÓæ×å¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ        âáååÛÔÞ×ÛàÕÓåÚâááÞåÓ
                                                                    2022       ßÓàÓÙ×åæÚ×å×äÛåÝåÕ×àæäÓÞÞëæÚäáçÙÚæÚ×çå×áØàáà%Ö×äÛèÓæÛè×                ÌÚ×Õ×àæäÓÞÞëÓèÓÛÞ
         Æáà%Õçää×àæÓåå×æå                                           283      ÓàÖÖ×äÛèÓæÛè×ýàÓàÕÛÓÞÛàåæäçß×àæå¼×äÛèÓæÛè×åÓä×çå×Ö×êÕÞç-         Ûæë+ÕáàåÛåæÛàÙáØÕ×àæäÓ
         »çää×àæÓåå×æå*×êÕÞçÖÛàÙÕÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæå+         547      åÛè×ÞëæáßÛæÛÙÓæ×àáà%Ö×äÛèÓæÛè×ýàÓàÕÛÓÞäÛåÝåÓàÖþçÕæçÓæÛáàå       ÕáßßÛææ×ÖÕä×ÖÛæÞÛà×åÓ
         »ÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæå                                     82      ÛàæÚ×ÛäØÓÛäèÓÞç×åÚáçÞÖàáæÔ×Óåå×åå×Öå×âÓäÓæ×ÞëØäáßæÚ×          ÛåæáÚÓè×ÓæÞ×ÓåæxkÔÛÞ
         Æáà%Õçää×àæâäáèÛåÛáàåÓàÖÞÛÓÔÛÞÛæÛ×å                     – 422
                                                                               çàÖ×äÞëÛàÙæäÓàåÓÕæÛáà                                                         ¹åÓælj¼×Õ×ßÔ×
         »çää×àæâäáèÛåÛáàåÓàÖÞÛÓÔÛÞÛæÛ×å                         – 557
                                                                                     ÌÚ×¿äáçâ åÛàæ×äàÓÞäÛåÝÙçÛÖ×ÞÛà×åÙáè×äàæÚ×çàÛè×äå×áØ       ä×å×äè×åáØxmÔÛÞÞÛáà*â
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                                                                               SER-1029
(130 of 262), Page 130 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 130 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       940 of 1025
                                                                                                     POST AG                                                   ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




              ÌÚ×ßÓæçäÛæëåæäçÕæçä×áØàáà%Ö×äÛèÓæÛè×ýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å
         éÛæÚÛàæÚ×åÕáâ×áØÁ¾ÊËpÔÓå×ÖáàÕÓåÚþáéåÛåÓåØáÞÞáéå

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             Æáà%Õçää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å`                                                                 60                847                1,215                   1,327
             Æáà%Õçää×àæÞ×Óå×ÞÛÓÔÛÞÛæÛ×å                                                                       0              2,244                1,916                   1,610
             ÇæÚ×äàáà%Õçää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                                              0                   7                    6                       4
             Æáà%Õçää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                                                   e_              b_hg                b`bf                   ahc`
             »çää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                                                    1,846
             »çää×àæÞ×Óå×ÞÛÓÔÛÞÛæÛ×å                                                                       2,662
             ÌäÓÖ×âÓëÓÔÞ×å                                                                                  9,933
             ÇæÚ×äÕçää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                                               409
             »çää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                                                   `cgd_

             ¹åÓælj¼×Õ×ßÔ×äkikj
             Æáà%Õçää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å`                                                                 74                745                  798                   1,076
             Æáà%Õçää×àæÞ×Óå×ÞÛÓÔÛÞÛæÛ×å                                                                       0              1,993                1,603                   1,350
             ÇæÚ×äàáà%Õçää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                                              0                   8                    7                       6
             Æáà%Õçää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                                                   fc              afce                ac_g                   acba
             »çää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                                                    1,321
             »çää×àæÞ×Óå×ÞÛÓÔÛÞÛæÛ×å                                                                       2,355
             ÌäÓÖ×âÓëÓÔÞ×å                                                                                  9,556
             ÇæÚ×äÕçää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                                               339
             »çää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                                                   `bdf`

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                                                                                                 SER-1030
(131 of 262), Page 131 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 131 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       941 of 1025
                                                                                                     POST AG                              ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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         »ÓåÚáçæþáéå                                                                  –2,299               –141                  –20                     –14
         »ÓåÚÛàþáéå                                                                    2,369                168                   29                      23

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         »ÓåÚÛàþáéå                                                                        3                   0                    0                       0

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         »ÓåÚáçæþáéå                                                                  – 4,505                –1                   –1                        0
         »ÓåÚÛàþáéå                                                                    4,399                   1                    1                       0

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         »ÓåÚáçæþáéå                                                                     –12                 –4                     0                       0

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         »ÓåÚáçæþáéå                                                                  –2,944                –15                   –1                        0
         »ÓåÚÛàþáéå                                                                    3,008                 16                     1                       0

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         »ÓåÚÛàþáéå                                                                        8                   0                    0                       0

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         »ÓåÚáçæþáéå                                                                  –1,195                –20                  –19                      –6
         »ÓåÚÛàþáéå                                                                    1,183                 21                   21                        7

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         »ÓåÚáçæþáéå                                                                       0                   0                    0                       0




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                                                                            SER-1031
(132 of 262), Page 132 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 132 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       942 of 1025
                                                                                                     POST AG                                                                    ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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(133 of 262), Page 133 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 133 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                               SER-1033
(134 of 262), Page 134 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 134 of 262
                   Case 3:22-cv-07182-WHATO THE
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                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       944 of 1025
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                                                                                     ÁàæÚ×kikkýàÓàÕÛÓÞë×ÓäæÚ×ä×é×ä×ØÓÕæáäÛàÙÓÙä××ß×àæå       ÌÚ×ÕáÞÞÓæ×äÓÞâäáèÛÖ×Ö
         »ÚÓàÙ×åÛàä×Õ×ÛèÓÔÞ×å                                               ÛàâÞÓÕ×æÚÓæáÔÞÛÙ×ÖæÚ×ÔÓàÝåæáâçäÕÚÓå××êÛåæÛàÙÓàÖØçæçä×         ä×åæäÛÕæ×ÖÕÓåÚ
         xß                                                                  æäÓÖ×ä×Õ×ÛèÓÔÞ×åÌÚ×ÔÓàÝå âçäÕÚÓå×áÔÞÛÙÓæÛáàåé×ä×ÞÛßÛæ×Ö
                                                       2021        2022       æáÓßÓêÛßçßâáäæØáÞÛááØä×Õ×ÛèÓÔÞ×åáØxnijßÛÞÞÛáà*âä×èÛáçå         mll ¼×äÛèÓæÛè×ýàÓàÕ
         ¿äáååä×Õ×ÛèÓÔÞ×å
                                                                              ë×ÓäxojoßÛÞÞÛáà+¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâÕÓàÖ×ÕÛÖ×ÓæÛæå
         ºÓÞÓàÕ×ÓåÓæjÂÓàçÓäë                      9,213       11,971      ÖÛåÕä×æÛáàéÚ×æÚ×äÓàÖæáéÚÓæ×êæ×àææÚ×ä×èáÞèÛàÙàáæÛáàÓÞ          FAIR VALUE HEDGES
         »ÚÓàÙ×å                                      2,758          610      èáÞçß×ÛåçæÛÞÛå×ÖÌÚ×äÛåÝåä×Þ×èÓàææáæÚ×Ö×ä×ÕáÙàÛæÛáàáØæÚ×      ÌÚ×ä×é×ä×àáØÓÛäèÓÞç
         ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×ä                   ``hf`       `adg`      ä×Õ×ÛèÓÔÞ×åÛàÕÞçÖ×Õä×ÖÛæäÛåÝÓàÖæÚ×äÛåÝáØÖ×ÞÓë×ÖâÓëß×àæ         æÚ×âä×èÛáçåë×Óä
         ÄáååÓÞÞáéÓàÕ×å
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         ºÓÞÓàÕ×ÓåÓæjÂÓàçÓäë                       –228        –288              »ä×ÖÛæäÛåÝä×âä×å×àæåâäÛßÓäÛÞëÓÞÞæÚ×äÛåÝåÓàÖä×éÓäÖå       CASH FLOW HEDGES
         »ÚÓàÙ×å                                        – 60         – 40     ÓååáÕÛÓæ×Ö éÛæÚ áéà×äåÚÛâ áØ æÚ× ä×Õ×ÛèÓÔÞ×å ÌÚÛå äÛåÝ Ûå      ÌÚ×¿äáçâçå×åÕçää×àÕ
         ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×ä                     (agg        (bag       æäÓàåØ×ää×ÖÛàØçÞÞæáæÚ×ÔÓàÝÓÙÓÛàåæâÓëß×àæáØÓýê×ÖØ××           æÚ×ÕÓåÚþáéäÛåÝØäáß
         »ÓääëÛàÙÓßáçàæÓåÓælj¼×Õ×ßÔ×ä           ``egb       `aadb      ØáäÖáçÔæØçÞÓÕÕáçàæå¹åÛÙàÛýÕÓàæÞÓæ×âÓëß×àæäÛåÝÖá×åàáæ          àç×ÓàÖ×êâ×àå×åÌÚ×
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                                                                              æÚ×kikkýàÓàÕÛÓÞë×ÓäæÚ×¿äáçâä×ÕáÙàÛå×ÖâäáÙäÓßß×Ø××å             ë×ÓäxjrkßÛÞÞÛáà+ÓæÓ
        ÌÚ×ØáÞÞáéÛàÙæÓÔÞ×âäáèÛÖ×åÓàáè×äèÛ×éáØÞáååäÓæ×åÔëÓÙ×        *Ûàæ×ä×åæ ÓÞÞáéÓàÕ×å Øáä ÖáçÔæØçÞ ÓÕÕáçàæå+ áØ xinßÛÞÞÛáà      xlßÛÞÞÛáà+ÌÚ×Ú×ÖÙ×Ö
        ÔÓàÖæÚÓæé×ä×çå×ÖÛàæÚ×¿äáçâØáäæÚ×ýàÓàÕÛÓÞë×ÓäçàÖ×ä         *âä×èÛáçåë×ÓäxkßÛÞÞÛáà+ÓåÓà×êâ×àå×ÛàæÚ×Õáàæ×êæáØÛæåÕáà-    Ôëkikq
        ä×èÛ×é                                                              æÛàçÛàÙ×êâáåçä×ÌÚ×àáæÛáàÓÞèáÞçß×áØä×Õ×ÛèÓÔÞ×åØÓÕæáä×ÖÓå              ÌÚ×ØáÞÞáéÛàÙæÓÔÞ
                                                                              Óælj¼×Õ×ßÔ×äkikkÓßáçàæ×ÖæáxjnßÛÞÞÛáà*âä×èÛáçåë×Óä             ÓææÚ×ä×âáäæÛàÙÖÓæ×Ûà
                                                                              xrißÛÞÞÛáà+                                                            âáåÛæÛáàåÓàÖæÚ×Ûäé×ÛÙ




                                                                              SER-1034
(135 of 262), Page 135 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 135 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       945 of 1025
                                                                                                     POST AG                                                ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




         ÆáæÛáàÓÞèáÞçß×áØÚ×ÖÙÛàÙÛàåæäçß×àæå
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          lj¼×Õ×ßÔ×äkikk
          À×ÖÙ×åáØÕçää×àÕëäÛåÝ
          »çää×àÕëØáäéÓäÖåÔçë½ÍÊ,¿ºÈ                                                                                             546           546
          »çää×àÕëØáäéÓäÖåå×ÞÞ½ÍÊ,»ÒÃ                                                                                            364           204                     158
          »çää×àÕëØáäéÓäÖåÔçë½ÍÊ,ÀÍ¾                                                                                              47             47
          lj¼×Õ×ßÔ×äkikj
          À×ÖÙ×åáØÕçää×àÕëäÛåÝ
          »çää×àÕëØáäéÓäÖåÔçë½ÍÊ,»ÒÃ                                                                                             132             65                      66
          »çää×àÕëØáäéÓäÖåå×ÞÞ½ÍÊ,ÍË¼                                                                                             21             21
          »çää×àÕëØáäéÓäÖåÔçëÍË¼,»ÆÑ                                                                                              16             16




         Áàæ×ä×åæäÓæ×äÛåÝåØäáßæÚ×âÞÓàà×Öä×ýàÓàÕÛàÙáØÓßÓæçäÛàÙ            Ê×å×äè×ØáäÕÓåÚþáéÚ×ÖÙ×å
         ÔáàÖé×ä×Ú×ÖÙ×ÖèÛÓâÓë×äÛàæ×ä×åæäÓæ×åéÓâåéÛæÚÓæ×äßçàæÛÞ         xß
         kiljÌÚ×àáæÛáàÓÞÓßáçàæáØæÚ×åéÓâåÓåÓææÚ×ä×âáäæÛàÙÖÓæ×                                                                                                  Ç»ÁÁ
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         éÓåxniißÛÞÞÛáà*âä×èÛáçåë×ÓäxißÛÞÞÛáà+ÓæÓØÓÛäèÓÞç×áØ                                                                          2021            áØæÚ×Ú×ÖÙ×
         xnpßÛÞÞÛáà*âä×èÛáçåë×ÓäxißÛÞÞÛáà+                                  ºÓÞÓàÕ×ÓåÓæjÂÓàçÓäë                                          –20                       12
               Áà ÓÖÖÛæÛáà Óå âÓäæ áØ ÕÓåÚ þáé Ú×ÖÙÛàÙ Øç×Þ ÓàÖ àÓæ-   ¿ÓÛàåÓàÖÞáåå×åáà×ü×ÕæÛè×Ú×ÖÙ×å                                28                      70
         çäÓÞ ÙÓå âäÛÕ× äÛåÝå é×ä× Ú×ÖÙ×Ö éÛæÚ Õáää×åâáàÖÛàÙ åéÓâ         Ê×ÕÞÓååÛýÕÓæÛáàÖç×æáæÚ×ä×ÕáÙàÛæÛáàáØÚ×ÖÙ×Ö
         æäÓàåÓÕæÛáàåÛàæÚ×àáæÛáàÓÞÓßáçàæáØxknßÛÞÞÛáà*âä×èÛáçå             Ûæ×ßå                                                               2                    –10

         ë×ÓäxjlßÛÞÞÛáà+ÓàÖÓØÓÛäèÓÞç×áØx(qßÛÞÞÛáà*âä×èÛáçåë×Óä       ºÓÞÓàÕ×ÓåÓælj¼×Õ×ßÔ×ä`                                        `_                      fa

         xpßÛÞÞÛáà+äçààÛàÙçàæÛÞæÚ××àÖáØkikmÇàÞëæÚ×âäáÖçÕæâäÛÕ×        `
                                                                                        ½êÕÞçÖÛàÙÖ×Ø×ää×ÖæÓê×å
         Õáßâáà×àæáØæÚ×Øç×ÞâäÛÕ×éÓåÖ×åÛÙàÓæ×ÖÓåæÚ×Ú×ÖÙ×ÖÛæ×ß
         ÁàæÚ×ýàÓàÕÛÓÞë×ÓäçàÖ×ää×èÛ×éxjpßÛÞÞÛáàÛàä×ÓÞÛå×ÖÙÓÛàå
         ØäáßÕÓåÚþáéÚ×ÖÙ×åØáäØç×ÞÓàÖàÓæçäÓÞÙÓåâäÛÕ×äÛåÝé×ä×            Ûà×ü×ÕæÛè×à×ååéÛæÚÛàæÚ×â×äÛáÖÌÚÛåÛåÔ×ÕÓçå×æÚ×ÕÚÓàÙ×å           Ûàè×åæß×àæÚ×ÖÙ×åÛàæÚ
         ä×ÕáÙàÛå×ÖÛàßÓæ×äÛÓÞå×êâ×àå×                                          ÛàæÚ×ØÓÛäèÓÞç×áØæÚ×Ú×ÖÙ×ÖÛæ×ßå*x(oißÛÞÞÛáà+ÓàÖÚ×ÖÙ-           âä×èÛáçåë×Óä
               ÌÚ×æáæÓÞÙÓÛàåÓàÖÞáåå×åáàáâ×àÚ×ÖÙÛàÙÛàåæäçß×àæå             ÛàÙæäÓàåÓÕæÛáàå*xoißÛÞÞÛáà+áüå×æ×ÓÕÚáæÚ×ä*âä×èÛáçåë×Óä
         ä×ÕáÙàÛå×ÖÛà×ãçÛæëÓææÚ×ä×âáäæÛàÙÖÓæ×Óßáçàæ×ÖæáxqkßÛÞ-           xlißÛÞÞÛáàÓàÖx(lißÛÞÞÛáàä×åâ×ÕæÛè×Þë+                             mlm ¹ÖÖÛæÛáàÓÞÖÛåÕÞáå
         ÞÛáà*âä×èÛáçåë×ÓäxjißÛÞÞÛáà+                                                                                                                       çå×ÖÛàæÚ×¿äáçâ
               ¹å Ûà æÚ× âä×èÛáçå ë×Óä ÕÓääëÛàÙ Óßáçàæå áØ Ö×äÛèÓæÛè×    NET INVESTMENT HEDGES                                                    ÌÚ×¿äáçâÕÞÓååÛý×åýàÓ
         Óåå×æå ÓßáçàæÛàÙ æá xrjßÛÞÞÛáà *âä×èÛáçå ë×Óä xjjßÛÞÞÛáà+       »çää×àÕëäÛåÝåä×åçÞæÛàÙØäáßæÚ×æäÓàåÞÓæÛáàáØØáä×ÛÙàáâ×ä-           ÔÓÞÓàÕ×åÚ××æÛæ×ßåÌ
         ÓàÖÖ×äÛèÓæÛè×ÞÛÓÔÛÞÛæÛ×åÓßáçàæÛàÙæáx(jißÛÞÞÛáà*âä×èÛáçå           ÓæÛáàåé×ä×àáæÚ×ÖÙ×ÖÛàkikk¹ææÚ×ä×âáäæÛàÙÖÓæ×æÚ×ä×            ÕÛÓÞÛàåæäçß×àæåæáæÚ×Õ
         ë×Óäx(jßÛÞÞÛáà+ÛàÕÞçÖ×ÖÛàÕÓåÚþáéÚ×ÖÙ×åÖÛÖàáæä×åçÞæÛà         éÓååæÛÞÞÓâáåÛæÛè×ÓßáçàæáØxknßÛÞÞÛáàØäáßæ×äßÛàÓæ×Öà×æ          ä×âáäæÛàÙÖÓæ×




                                                                                   SER-1035
(136 of 262), Page 136 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 136 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       946 of 1025
                                                                                                     POST AG                                                      ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




         Ê×ÕáàÕÛÞÛÓæÛáàáØÕÓääëÛàÙÓßáçàæåÛàÓÕÕáäÖÓàÕ×éÛæÚÁ¾ÊËrÓàÖÞ×è×ÞÕÞÓååÛýÕÓæÛáà
         xß
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                                                                                       ¾ÛàÓàÕÛÓÞ        ÇæÚ×ä                                                           ¾ÛàÓàÕÛÓÞ        Çæ
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                                                                          »ÓääëÛàÙ     åÕáâ×áØ      áçæåÛÖ×    Á¾ÊËfØÓÛä                              »ÓääëÛàÙ     åÕáâ×áØ      áçæå
                                                                           Óßáçàæ         Á¾ÊËh        Á¾ÊËh`        value Level 1 Level 2 Level 3         Óßáçàæ         Á¾ÊËh        Á¾Ê

         ASSETS
         ¼×ÔæÛàåæäçß×àæåß×Óåçä×ÖÓæÕáåæ                                 `ffac        `f`df            def          gce                 cbe               `gdfh       `fggh           e
         Æáà%Õçää×àæýàÓàÕÛÓÞÓåå×æå                                          834           424            410          846                 436                  788           263          5
         »çää×àæýàÓàÕÛÓÞÓåå×æåa                                          1,257         1,100            157          àÓ                                  1,272         1,106          1
         ÇæÚ×äÕçää×àæÓåå×æåa                                               419           419                         àÓ                                    476           476
         ÌäÓÖ×ä×Õ×ÛèÓÔÞ×åa                                               11,683        11,683                         àÓ                                 12,253        12,253
         »ÓåÚÓàÖÕÓåÚ×ãçÛèÓÞ×àæåa                                        3,531         3,531                         àÓ                                  3,790         3,790

         ½ãçÛæëÛàåæäçß×àæåÓæØÓÛäèÓÞç×æÚäáçÙÚáæÚ×äÕáßâä×Ú×àåÛè×
         income                                                                ce             ce                         ce         ce                            ed            ed
         Æáà%Õçää×àæýàÓàÕÛÓÞÓåå×æå                                           46             46                         46         46                            65            65
            Ê×å×äè×Øáä×ãçÛæëÛàåæäçß×àæåéÛæÚáçæä×ÕëÕÞÛàÙ                   46             46                         46         46                            65            65
         »çää×àæýàÓàÕÛÓÞÓåå×æå
            Ê×å×äè×Øáä×ãçÛæëÛàåæäçß×àæåéÛæÚáçæä×ÕëÕÞÛàÙ

         ¼×ÔæÛàåæäçß×àæåÓàÖ×ãçÛæëÛàåæäçß×àæåÓæØÓÛäèÓÞç×æÚäáçÙÚ
         âäáýæáäÞáåå                                                      a`c`         a`c`                       a`c`      a_fa       eh                  cce           cce
         Æáà%Õçää×àæýàÓàÕÛÓÞÓåå×æå                                          310           310                         310        310         0                 363           363
            ¼×ÔæÛàåæäçß×àæå                                                  309           309                         309        309                           261           261
            ½ãçÛæëÛàåæäçß×àæå                                                   1             1                           1         1                              1            1
            ¾ÓÛäèÓÞç×áâæÛáà
            ÌäÓÖÛàÙÖ×äÛèÓæÛè×å                                                                                                                                   33            33
            ¼×äÛèÓæÛè×åÖ×åÛÙàÓæ×ÖÓåÚ×ÖÙ×å                                     0             0                           0                   0                  68            68
         »çää×àæýàÓàÕÛÓÞÓåå×æå                                            1,831         1,831                       1,831      1,762       69                   83            83
            ¼×ÔæÛàåæäçß×àæå                                                1,762         1,762                       1,762      1,762                            23            23
            ÌäÓÖÛàÙÖ×äÛèÓæÛè×å                                                58             58                         58                  58                   37            37
            ¼×äÛèÓæÛè×åÖ×åÛÙàÓæ×ÖÓåÚ×ÖÙ×å                                   11             11                         11                  11                   23            23

         ÆáæÁ¾ÊËp                                                         bfde                                       àÓ                                  bedc
         ÇæÚ×äàáà%Õçää×àæÓåå×æå                                             587                                       àÓ                                    581
         ÇæÚ×äÕçää×àæÓåå×æå                                               3,169                                       àÓ                                  3,073
         TOTAL ASSETS                                                      abeef        `hbcc            def        b_bb      a``g      d_d               aafcc       `gc__           e




                                                                                 SER-1036
(137 of 262), Page 137 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 137 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       947 of 1025
                                                                                                     POST AG                                                                                             ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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                                                                                                                                                                 Ä×è×ÞÕÞÓååÛýÕÓæÛáà
                                                                                                                                                                ýàÓàÕÛÓÞÛàåæäçß×àæå
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                                                                                                          ¾ÛàÓàÕÛÓÞ        ÇæÚ×ä                                                                             ¾ÛàÓàÕÛÓÞ        Çæ
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                                                                                             »ÓääëÛàÙ     åÕáâ×áØ      áçæåÛÖ×            Á¾ÊËfØÓÛä                                        »ÓääëÛàÙ     åÕáâ×áØ      áçæå
                                                                                              Óßáçàæ         Á¾ÊËh        Á¾ÊËh`                value Level 1 Level 2 Level 3                   Óßáçàæ         Á¾ÊËh        Á¾Ê

         EQUITY AND LIABILITIES
         ÄÛÓÔÛÞÛæÛ×åß×Óåçä×ÖÓæÕáåæ                                                          ahgdb          `g_cg           ``g_d             fbcb       eegh       edb                     ba_ch           `gdbd           `bd
         Æáà%Õçää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×åb                                                    16,613            6,772            9,841            7,313       6,689       623                      17,655            6,339          11,3
         ÇæÚ×äàáà%Õçää×àæÞÛÓÔÛÞÛæÛ×å                                                              30               30                                30                    30                          22               22
         »çää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×åa                                                         3,271            1,307            1,964               àÓ                                          4,030            1,832            2,1
         ÌäÓÖ×âÓëÓÔÞ×åa                                                                       9,556            9,556                                àÓ                                          9,933            9,933
         ÇæÚ×äÕçää×àæÞÛÓÔÛÞÛæÛ×åa                                                               383             383                                àÓ                                            409              409

         ÄÛÓÔÛÞÛæÛ×åÓæØÓÛäèÓÞç×æÚäáçÙÚâäáýæáäÞáåå                                            `b               `b                                `b                    `b                        `bc              `bc
         Æáà%Õçää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×åb                                                           1                1                                 1                     1                           5                5
             ½Óäà%áçæáÔÞÛÙÓæÛáà
             ÌäÓÖÛàÙÖ×äÛèÓæÛè×å
             ¼×äÛèÓæÛè×åÖ×åÛÙàÓæ×ÖÓåÚ×ÖÙ×å                                                         1                1                                 1                     1                           5                5
         »çää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                                               12               12                                12                    12                        129              129
             ½Óäà%áçæáÔÞÛÙÓæÛáà
             ÌäÓÖÛàÙÖ×äÛèÓæÛè×å                                                                    12               12                                12                    12                        123              123
             ¼×äÛèÓæÛè×åÖ×åÛÙàÓæ×ÖÓåÚ×ÖÙ×å                                                         0                0                                 0                     0                           6                6

         ÆáæÁ¾ÊËp                                                                             e_ah                                                àÓ                                           ec_a
         ÇæÚ×äàáà%Õçää×àæÞÛÓÔÛÞÛæÛ×å                                                             274                                                àÓ                                            299
         ÇæÚ×äÕçää×àæÞÛÓÔÛÞÛæÛ×å                                                              5,755                                                 àÓ                                          6,103
         TOTAL EQUITY AND LIABILITIES                                                          bdghd          `g_e`           ``g_d             fbde       eegh       eee                     bgdgd           `geeh           `bd

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         a

          ÌÚ×¼×çæåÕÚ×Èáåæ¹¿ÓàÖ¼×çæåÕÚ×Èáåæ¾ÛàÓàÕ×ºÎÔáàÖåÛàÕÞçÖ×ÖÛààáà%Õçää×àæýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×åÓä×ÕÓääÛ×ÖÓæÓßáäæÛå×ÖÕáåæÌÚ×Õáàè×äæÛÔÞ×ÔáàÖÛååç×ÖÔë¼×çæåÕÚ×Èáåæ¹¿Ûà¼×Õ×ßÔ×äkijpÚÓÖÓØÓÛäèÓÞç×á
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(138 of 262), Page 138 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 138 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       948 of 1025
                                                                                                     POST AG                                                   ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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                                                                                      SER-1038
(139 of 262), Page 139 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 139 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       949 of 1025
                                                                                                     POST AG                                         ¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâ(




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         ¹åÓælj¼×Õ×ßÔ×äkikk
         ¼×äÛèÓæÛè×ýàÓàÕÛÓÞÓåå×æå                                                            128                   0                      128                          64
         ÌäÓÖ×ä×Õ×ÛèÓÔÞ×å                                                                 12,281                   28                   12,253                            0
         Funds                                                                                 578                 562                       16                            0
         ¹åÓælj¼×Õ×ßÔ×äkikj
         ¼×äÛèÓæÛè×ýàÓàÕÛÓÞÓåå×æå                                                             69                   0                       69                          12
         ÌäÓÖ×ä×Õ×ÛèÓÔÞ×å                                                                 11,793                  110                   11,683                          12
         Funds                                                                                 550                 462                       88                            0




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         ¹åÓælj¼×Õ×ßÔ×äkikk
         ¼×äÛèÓæÛè×ýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                                       134                   0                      134                          64
         ÌäÓÖ×âÓëÓÔÞ×å                                                                      9,961                  28                    9,933                            0
         Funds                                                                                 562                 562                         0                           0
         ¹åÓælj¼×Õ×ßÔ×äkikj
         ¼×äÛèÓæÛè×ýàÓàÕÛÓÞÞÛÓÔÛÞÛæÛ×å                                                        13                   0                       13                          12
         ÌäÓÖ×âÓëÓÔÞ×å                                                                      9,666                 110                    9,556                          18
         Funds                                                                                 462                 462                         0                           0




                                                                              SER-1039
(140 of 262), Page 140 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 140 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
                                                       CONSOLIDATED39-1     Filed
                                                                    FINANCIAL      10/18/23
                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       950 of 1025
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(141 of 262), Page 141 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 141 of 262
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                                                                                  SER-1041
(142 of 262), Page 142 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 142 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                                         OF DEUTSCHE       952 of 1025
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             ÅÓæÕÚÛàÙåÚÓä×åÓéÓäÖ×ÖØáäÛàè×åæß×àæåÚÓä×å                                      €                     34.97                    27.30                 23.83                  46.52
         ÆçßÔ×äáØÖ×Ø×ää×ÖÛàÕ×àæÛè×åÚÓä×å                                            æÚáçåÓàÖå                      256                       àÓ                369                    246

         ÆçßÔ×äáØßÓæÕÚÛàÙåÚÓä×å×êâ×Õæ×Ö
           ¼×Ø×ää×ÖÛàÕ×àæÛè×åÚÓä×å                                                    æÚáçåÓàÖå                       230                       àÓ                332                    222
             Áàè×åæß×àæåÚÓä×å                                                          æÚáçåÓàÖå                       864                      854                 1,343                  1,007
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(143 of 262), Page 143 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 143 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                              STATEMENTS          Page
                                                                                         OF DEUTSCHE       953 of 1025
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                                                                              SER-1043
(144 of 262), Page 144 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 144 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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                                                                              STATEMENTS          Page
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         ½ê×äÕÛå×âäÛÕ×                                                                                                  b`_gx                agggx                  bfgbx
         ÏÓÛæÛàÙâ×äÛáÖ×êâÛä×å                                                                                  b`¹çÙçåæa_aa         b`¹çÙçåæa_ab            b`¹çÙçåæa_ac
         ÊÛåÝ%Øä××Ûàæ×ä×åæäÓæ×                                                                                        ( _bh´                ( _h_´                 ( _fa´
         ÁàÛæÛÓÞÖÛèÛÖ×àÖëÛ×ÞÖáØ¼×çæåÕÚ×ÈáåæåÚÓä×å                                                                 bf_´                 bhg´                    bdf´
         ÑÛ×ÞÖèáÞÓæÛÞÛæëáØ¼×çæåÕÚ×ÈáåæåÚÓä×å                                                                      aabh´                a`bg´                  acgh´
         ÑÛ×ÞÖèáÞÓæÛÞÛæëáØ¼áéÂáà×å½ÍÊÇËÌÇÐÐoiiÁàÖ×ê                                                              `eah´                `cfh´                  `eea´
         »áèÓäÛÓàÕ×áØ¼×çæåÕÚ×ÈáåæåÚÓä×åæá¼áéÂáà×å½ÍÊÇËÌÇÐÐoiiÁàÖ×ê                                           aee´                 aa`´                    b_d´

         ÆçßÔ×ä
         ÊÛÙÚæåáçæåæÓàÖÛàÙÓåÓæjÂÓàçÓäëkikk                                                                      2,952,402              3,326,664                 2,596,194
         ÊÛÙÚæåÙäÓàæ×Ö                                                                                                       0                          0                     0
         ÊÛÙÚæåÞÓâå×Ö                                                                                                1,500,240                114,534                    91,956
         ÊÛÙÚæåå×ææÞ×ÖÓææÚ××àÖáØæÚ×éÓÛæÛàÙâ×äÛáÖ                                                              1,452,162                          0                     0
         ÊÛÙÚæåáçæåæÓàÖÛàÙÓåÓælj¼×Õ×ßÔ×äkikk                                                                            0              3,212,130                 2,504,238




        mom ½ßâÞáë××ËÚÓä×ÈÞÓà*½ËÈ+Øáä×ê×ÕçæÛè×å                            mp Ê×ÞÓæ×Ö%âÓäæëÖÛåÕÞáåçä×å                                               RELATIONSHIPS WITH K
        ÌÚ× ½ßâÞáë×× ËÚÓä× ÈÞÓà *½ËÈ+ éÓå ÛàæäáÖçÕ×Ö Øáä ÓàáæÚ×ä                                                                                     ÃØÏåçââáäæåæÚ×¾×Ö×
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        xjniiiÖ×â×àÖÛàÙáàæÚ×ÛäÞ×è×ÞÌÚ×½ËÈÛåáü×ä×ÖãçÓäæ×äÞë          åÛÙàÛýÕÓàæÛàþç×àÕ×Óä×ä×ÕáäÖ×ÖÛàæÚ× ÄÛåæáØåÚÓä×ÚáÞÖÛàÙå           âÓäæáØÛæåÛàè×åæß×àæå
        ÈäÛáäæá×è×äëåÓèÛàÙåâ×äÛáÖæÚ×âÓäæÛÕÛâÓæÛàÙ×ê×ÕçæÛè×åÕÓà                 ¼×çæåÕÚ×Èáåæ¹¿ßÓÛàæÓÛàåÓèÓäÛ×æëáØä×ÞÓæÛáàåÚÛâåéÛæÚ         æÚ×å× åæÓæ×%áéà×Ö Õá
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        çàÖ×äæÚ×½ËÈÓä×åçÔÜ×ÕææáÓæéá%ë×ÓäÞáÕÝ%çââ×äÛáÖ                  ÖÛä×ÕæÔçåÛà×ååä×ÞÓæÛáàåÚÛâåéÛæÚæÚ×ÛàÖÛèÛÖçÓÞâçÔÞÛÕÓçæÚáä-             ÛåæÚçåÕáàåÛÖ×ä×ÖæáÔ×
               ÁàæÚ×ÕáàåáÞÛÖÓæ×ÖýàÓàÕÛÓÞåæÓæ×ß×àæåÓåÓælj¼×Õ×ß-            ÛæÛ×åÓàÖáæÚ×äÙáè×äàß×àæÓÙ×àÕÛ×åÓåÛàÖ×â×àÖ×àæÛàÖÛèÛÖçÓÞ
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        Ô××àÓââäáâäÛÓæ×ÖæáÕÓâÛæÓÞä×å×äè×åØáäæÚ×âçäâáå×åáØæÚ×            àÛýÕÓàæÛàä×åâ×ÕæáØ¼×çæåÕÚ×Èáåæ¹¿ åáè×äÓÞÞä×è×àç×
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(145 of 262), Page 145 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 145 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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         RELATIONSHIPS WITH THE BUNDESANSTALT FÜR POST UND                       RELATIONSHIPS WITH THE GERMAN FEDERAL                                                              æÚ×¿äáçâèÛÓ¼×çæåÕÚ×
         TELEKOMMUNIKATION@º¹ÆËÌÈÌA                                            EMPLOYMENT AGENCY                                                                                  ß×àæå Þ×Ö æá Þ×Óå× ÞÛÓÔ
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        ÈÌÕáàæÛàç×åæáßÓàÓÙ×æÚ×åáÕÛÓÞØÓÕÛÞÛæÛ×ååçÕÚÓåæÚ×âáåæÓÞ          ½ßâÞáëß×àæ¹Ù×àÕëÁàkikkæÚÛåÛàÛæÛÓæÛè×ä×åçÞæ×ÖÛààáâ×ä-                                   ÞÛáà*âä×èÛáçåë×Óäxjn
        ÕÛèÛÞå×äèÓàæÚ×ÓÞæÚÛàåçäÓàÕ×ØçàÖæÚ×ä×Õä×ÓæÛáàâäáÙäÓßß×          ßÓà×àææäÓàåØ×ä*âä×èÛáçåë×Óäj+                                                                åÛáàå%Ìä×çÚÓàÖ¿ßÔÀ
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        *Î¹È(¼×çæåÕÚ×ºçàÖ×åâáåæÛàåæÛæçæÛáàØáäåçââÞ×ß×àæÓäëä×æÛä×-         ¼×çæåÕÚ× ºÓÚà¹¿ Ûå éÚáÞÞë áéà×Ö Ôë æÚ× ¾×Ö×äÓÞ Ê×âçÔÞÛÕ
        ß×àæâ×àåÛáàå+ÓàÖæÚ×é×ÞØÓä×å×äèÛÕ×Øáä¼×çæåÕÚ×Èáåæ¹¿          ÇéÛàÙæáæÚÛåÕáàæäáÞä×ÞÓæÛáàåÚÛâ¼×çæåÕÚ×ºÓÚà¹¿ÛåÓä×ÞÓæ×Ö                                 Ê½Ä¹ÌÁÇÆËÀÁÈËÏÁÌÀÍ
        ¼×çæåÕÚ×ºÓàÝ¹¿*ÓåÞ×ÙÓÞåçÕÕ×ååáäæá¼×çæåÕÚ×ÈáåæÔÓàÝ¹¿+         âÓäæëæá¼×çæåÕÚ×Èáåæ¹¿¼×çæåÕÚ×Èáåæ¼ÀÄ¿äáçâÚÓåèÓäÛ-                                 INVESTMENTS ACCOUNT
        ÓàÖ¼×çæåÕÚ×Ì×Þ×Ýáß¹¿ÌÓåÝåÓä×â×äØáäß×ÖáàæÚ×ÔÓåÛåáØ            áçåÔçåÛà×ååä×ÞÓæÛáàåÚÛâåéÛæÚæÚ×¼×çæåÕÚ×ºÓÚà¿äáçâÌÚ×å×                                    AND JOINT OPERATIONS
        ÓÙ×àÕëÓÙä××ß×àæåÁàkikk¼×çæåÕÚ×Èáåæ¹¿éÓåÛàèáÛÕ×ÖØáä         ßÓÛàÞëÕáàåÛåæáØæäÓàåâáäæå×äèÛÕ×ÓÙä××ß×àæå                                                    ÁàÓÖÖÛæÛáàæáæÚ×Õáàåá
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(146 of 262), Page 146 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 146 of 262
                   Case 3:22-cv-07182-WHATO THE
              »ÇÆËÇÄÁ¼¹Ì½¼¾ÁÆ¹Æ»Á¹ÄËÌ¹Ì½Å½ÆÌËNOTES Document
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(148 of 262), Page 148 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 148 of 262
                   Case 3:22-cv-07182-WHA
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(149 of 262), Page 149 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 149 of 262
                   Case 3:22-cv-07182-WHA Document
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(150 of 262), Page 150 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 150 of 262
                   Case 3:22-cv-07182-WHA Document
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(151 of 262), Page 151 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 151 of 262
                   Case 3:22-cv-07182-WHA Document
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(152 of 262), Page 152 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 152 of 262
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(154 of 262), Page 154 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 154 of 262
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(156 of 262), Page 156 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 156 of 262
                   Case 3:22-cv-07182-WHA Document
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(157 of 262), Page 157 of 262    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 157 of 262
                   Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 967 of 1025
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(158 of 262), Page 158 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 158 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 968 of 1025




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(159 of 262), Page 159 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 159 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 969 of 1025




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(160 of 262), Page 160 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 160 of 262
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                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 971 of 1025
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          ÿÿ942ÿ487ÿ%ÿ33ÿ4ÿ93ÿ323ÿ6ÿ 463$ÿ856ÿ543ÿ467ÿ464992ÿ4ÿ6
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         47ÿÿÿ934992ÿ5837ÿ5ÿ539346ÿ!3ÿ535
         H347ÿ455632$ÿL!%0ÿ53M3ÿ467ÿ83ÿ35636$ÿ5363
         P-QRSTÿ,**-./*0ÿ035ÿ696ÿ8ÿ335ÿ467ÿ455$ÿ9349ÿ34ÿ3ÿ9345637ÿ83ÿB34536ÿ
         D45ÿ84ÿ43ÿÿ!4ÿ744ÿ5ÿ3ÿ 463ÿÿ467ÿ693ÿ83ÿ!4ÿ6ÿ373549ÿ43ÿ45ÿ83
         B!Dÿ5ÿ539346ÿ83ÿ535
            3ÿ53937ÿ83ÿL!%0ÿ53M3ÿÿ83ÿB34536ÿÿD45ÿ6ÿ5ÿ3ÿ1233ÿ%ÿÿ53ÿ846ÿ4ÿ2345ÿ5
         84ÿ53M3ÿÿ3ÿ5337
         !6ÿB3ÿKÿ1231ÿ3ÿ64992ÿ53337ÿ83ÿ744ÿÿ5ÿ692ÿ3ÿ 463ÿ4ÿC4"4!EÿB399ÿ3U42
         CU0VEÿ%654ÿ 5ÿ467ÿ%639
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         F83ÿD45ÿB34536ÿ84ÿ6ÿ4852ÿÿ539343ÿ!3ÿ535ÿ5ÿ 463ÿ84ÿ4536$ÿ373549
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                                                   SER-1061
(162 of 262), Page 162 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 162 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 972 of 1025
         012ÿ4546ÿ786297289ÿ ÿ87ÿ24ÿ944 4ÿ8ÿ249ÿ2ÿ4ÿÿ884ÿÿ4!422"
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         422866ÿ24ÿ*492462ÿ8ÿ89ÿ89ÿ249ÿ2ÿ28ÿ4ÿ4+714ÿ86ÿ24ÿ ÿ22ÿ86ÿ8ÿ!81
         714ÿ,78 42254ÿ9 ,
         (84ÿ54ÿ78 64ÿ4764ÿ89ÿ6894ÿ-..%864/ÿ940142ÿ89ÿ78 462ÿ86ÿ249ÿ16!664
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          2ÿ24ÿA65492ÿ8ÿ24ÿ77ÿ,B68!6ÿ8!ÿ 6ÿ!24ÿ 4ÿ 4ÿ!8949ÿÿ78 6ÿ ÿÿ
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         & ÿ0142864ÿ!ÿ54ÿ78 64ÿ78649ÿ244ÿ94892ÿ294ÿ47942ÿ!4ÿ24ÿ8249ÿ54ÿ8!4
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         984 ,ÿ 6ÿ288ÿ4!ÿ68924ÿ6ÿ!8 46ÿ94ÿ9126ÿ!2ÿ24767ÿ4944ÿ249ÿ914
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         5492ÿÿ8ÿ682ÿ64ÿ!2ÿ!2ÿ24ÿ947,
         (4ÿ*492462ÿ8ÿ89ÿ ÿ2ÿ84ÿ8 424ÿ8ÿ7ÿ28ÿ78 64ÿ6ÿ4 6ÿ4464ÿ8ÿ249
         7 
         $6ÿ,994,ÿ21286ÿ24ÿ*ÿ ÿ2ÿ76ÿ4724ÿ628ÿ! 12ÿ42!446ÿ24ÿ85496 462ÿ6ÿ24
         78 64
         012ÿ! 12ÿ6ÿ4ÿ24ÿ24ÿ6ÿ864ÿ6ÿ2494/ÿ68ÿ196244ÿ8ÿ2ÿ! 26ÿ2ÿ24ÿ46ÿ8
         24ÿ98ÿ%4ÿ&!2ÿÿ9489249ÿ!2ÿ24ÿFGHÿJKLMÿNMOPQORÿSMTLUÿ46ÿ986ÿ24ÿ287ÿ6ÿVWWXÿ
          466ÿ9ÿ'$ÿ940142ÿ89ÿ2ÿ98 ÿ24ÿ9486/ÿYZÿ942ÿ4 849
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         1678549ÿ5492ÿ2ÿ2ÿ )89ÿ78 64ÿ12ÿ82ÿ8ÿ284ÿ940142ÿ54ÿ21964ÿ1ÿ224ÿ689 286
         ,-8 64ÿ94ÿÿ28ÿ4ÿ46ÿÿ!ÿ22ÿ9854ÿ8ÿ224ÿ774 ÿ28ÿ2ÿ2,ÿ ÿ& ÿ24
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                                                  SER-1062
(163 of 262), Page 163 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 163 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 973 of 1025



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         1ÿ1ÿ 345ÿ 8115ÿ934ÿ ÿ 34ÿ 743ÿ844ÿ4ÿ91 4ÿ 24ÿ ÿ!" 178
         #441 ÿ1ÿ$1 71ÿ7734ÿ78ÿ784ÿ49%ÿ&45ÿ9192ÿ443ÿ42%371ÿ81ÿ9133497ÿ784
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         7742ÿ71ÿ91 4771ÿÿ)78ÿ91 5ÿ*43477"+95ÿ1%287ÿ784ÿ4344ÿ ÿ317
         ,%7ÿ ÿ1ÿ784ÿ%7ÿ44ÿ44ÿ784ÿ%4ÿ4473ÿ84ÿ49%ÿ&4ÿ733ÿ47ÿ1%7ÿ71ÿ17
         94ÿ ÿ244ÿ7ÿ1ÿ784ÿ334ÿ-ÿ3247ÿ91 45ÿ ÿ4ÿ.ÿ93%2ÿ$7435ÿ/91ÿ74 5
         4, 5ÿ05ÿ  ÿ ÿ%ÿ9174 ÿ.ÿ244ÿ71ÿ331ÿ784ÿ1ÿ04 747ÿ1ÿ21ÿ71
           14ÿ7
         '844ÿ1782ÿ71ÿ845ÿÿ1%ÿ45(ÿÿ/8%9ÿ%3315ÿÿ14 ÿ1ÿ$7435ÿ898ÿ917974ÿ784
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         784ÿ417ÿ4ÿ%7ÿ1785ÿ ÿ4ÿ17ÿ84ÿ ÿ71%34ÿ82ÿ7(
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         94ÿÿ2ÿ7498ÿ91 ÿ%4ÿ7742ÿÿ224ÿ%45ÿ784ÿ5ÿÿ784ÿ193ÿ917ÿ1ÿ3312
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         43 72ÿ9 715ÿÿ74 ÿ1ÿ1 172ÿ475ÿÿÿ3112ÿ7ÿ77795(ÿÿ<98
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         =18ÿ5ÿÿ3ÿ141ÿ7ÿ784ÿ1 47ÿ1ÿ784ÿ+99ÿ ÿ ÿ4)47ÿÿ#$ÿ35ÿ9334ÿ784
         174971ÿ1ÿ0112345ÿ 34ÿ ÿ1784ÿ91 4ÿ'%(
         '84ÿ8134ÿ474ÿ1ÿ 74ÿ971ÿÿ4ÿ1ÿ784ÿ3%4715ÿ>$ÿ93ÿ9 71ÿÿ782ÿ1
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         4)7ÿ-5ÿ4ÿ21(
         84ÿ21ÿ04 747ÿ7ÿ%37 743ÿ174ÿÿ784ÿ49%ÿ&4ÿ81ÿ787ÿ834ÿ784ÿ91334974
         1ÿ194ÿ1ÿ5ÿ1ÿ784ÿ334ÿ3247ÿ91 4ÿ24ÿÿ@ÿ4947ÿ1 ÿAAAÿ71ÿ455-5ÿ ÿ34
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           5ÿ91 4ÿ44ÿ39ÿ1ÿ* 9
         $ÿ715ÿ 12ÿ784ÿ1%283ÿ-5A55ÿ 24ÿ7ÿ7814ÿ91 4ÿÿ455-5ÿ1%7ÿB55ÿ44ÿ4784
         39ÿ1ÿ* 9ÿ.ÿÿ45ÿ4947ÿÿ1 ÿ4ÿ4ÿ434ÿ61 4ÿ3 4ÿ71ÿ4@ÿ4947ÿ1ÿ 24
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                                                  SER-1063
(164 of 262), Page 164 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 164 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 974 of 1025
         012345678ÿ8 ÿ48ÿ117ÿ45ÿ337ÿ47ÿ346 4ÿ 64ÿ1ÿ8ÿ1ÿ846ÿ7487ÿ245ÿ1ÿ7
         546158ÿ66ÿ68ÿ48ÿ77ÿ675ÿ65ÿ7ÿ8ÿ1ÿ4ÿ6775ÿ1347ÿ45ÿ7ÿ65124615!
         675ÿ"18ÿ1ÿ14#
         $ 7ÿ%7 ÿ&78ÿ65664ÿ487ÿ7ÿ'41ÿ(734275ÿ1ÿ77487ÿ81!47ÿ))*!ÿ47ÿ45ÿ757
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         5 ÿ7ÿ'41ÿ(734275ÿ4 737ÿ42758ÿ67ÿÿ478ÿ1ÿ117ÿ337ÿ6411ÿ*47ÿ45
         3367ÿ%47648ÿ4ÿ77487ÿ1ÿ7ÿ65124615ÿ1ÿ487ÿ122764ÿ42#ÿ$ 7ÿ734275
         7657ÿ1ÿ847ÿ7ÿ7/ÿ1ÿ7ÿ7467ÿ42758ÿ247ÿÿ7ÿ12345678#
         2, ÿ44ÿ45ÿ7215847ÿ4ÿ123458ÿ7165ÿ865788ÿ8474ÿ76642ÿ7#ÿ$ 123815ÿ..ÿ45
         4881647ÿ81661ÿ6ÿ7ÿ'41ÿ(734275ÿ17ÿ65ÿ7ÿ4758ÿ51664615ÿ1ÿ68ÿ654ÿ4615#
         2$ 7ÿ12345678ÿ47ÿ46 47ÿ1ÿ8ÿ4ÿ7ÿ47ÿ65ÿ4ÿ6ÿ1237667ÿ75615275ÿ65ÿ 6 ÿ788
         247ÿ13146158ÿ45ÿ87ÿ68ÿ))*!ÿ44ÿ1ÿ48868ÿ65ÿ8 65ÿ76ÿ865788ÿ13746158ÿ1ÿ77
          12377ÿ44658ÿ217ÿ784687ÿ1237618#4
           117ÿ775ÿ455157ÿ4ÿ6ÿ1547ÿ89ÿ26615ÿ17ÿ7ÿ48ÿ1ÿ778ÿ1ÿ:ÿ1ÿ73
          577378757ÿ26516678ÿ11ÿ4778ÿ65ÿ7 511ÿ6565ÿ7ÿ154615ÿ1ÿ43138ÿ1ÿ217
         45ÿÿ6ÿ8 118ÿ45ÿ1546158ÿ1ÿ138ÿ8 ÿ48ÿ7ÿ&46154ÿ,167ÿ1ÿ54 ÿ)565778#
         ,6ÿ7ÿ12345ÿ7657ÿ1ÿ77487ÿ45ÿ464ÿ1ÿ757ÿ7415ÿ1ÿ68ÿ:ÿ178#
         28ÿ77ÿ37618ÿ846ÿ7ÿ15ÿ77487ÿ68ÿ65124615ÿ1ÿ1237667ÿ7481584ÿ4ÿ831781245
         846#
         0154ÿ%67ÿ,6ÿ4ÿ;9!:<!=;9#ÿ11ÿ62ÿ4ÿ$67#12>8681678ÿ45ÿ67ÿ68ÿ117?
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                                                   SER-1064
(165 of 262), Page 165 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 165 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 975 of 1025



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         1ÿ1ÿ 345ÿ 8115ÿ934ÿ ÿ 34ÿ 743ÿ844ÿ4ÿ91 4ÿ 24ÿ ÿ!" 178
         #441 ÿ1ÿ$1 71ÿ7734ÿ78ÿ784ÿ49%ÿ&45ÿ9192ÿ443ÿ42%371ÿ81ÿ9133497ÿ784
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         94ÿ ÿ244ÿ7ÿ1ÿ784ÿ334ÿ-ÿ3247ÿ91 45ÿ ÿ4ÿ.ÿ93%2ÿ$7435ÿ/91ÿ74 5
         4, 5ÿ05ÿ  ÿ ÿ%ÿ9174 ÿ.ÿ244ÿ71ÿ331ÿ784ÿ1ÿ04 747ÿ1ÿ21ÿ71
           14ÿ7
         '844ÿ1782ÿ71ÿ845ÿÿ1%ÿ45(ÿÿ/8%9ÿ%3315ÿÿ14 ÿ1ÿ$7435ÿ898ÿ917974ÿ784
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         34ÿÿ43ÿ455!ÿ'64ÿ7%7ÿ437ÿ787ÿ44ÿ4ÿ1%ÿ1ÿ784ÿ8479ÿ12 ÿ4ÿ84ÿÿ394ÿ 
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         3245ÿ3%473ÿ91171ÿ71ÿ84ÿ784ÿ94ÿ ÿ244ÿ7
         ' 4ÿ1ÿ784ÿ ÿ ÿ787ÿ4ÿ79ÿ81ÿ1947ÿÿ12ÿÿ74 ÿ1ÿ94ÿ43715ÿÿ74 ÿ1
         43 72ÿ9 715ÿÿ74 ÿ1ÿ1 172ÿ475ÿÿÿ3112ÿ7ÿ77795(ÿÿ<98
         #15ÿÿ7 1ÿ1 47ÿ3ÿ141ÿ81ÿÿ ÿ4)47ÿÿ93ÿ287ÿ ÿ 7"9 71ÿ3
         ',%7ÿÿ4ÿ9 7ÿ247ÿ784ÿ75ÿ4ÿ9 7ÿ1ÿÿ7ÿÿ134 ÿ1ÿ17(
         =18ÿ5ÿÿ3ÿ141ÿ7ÿ784ÿ1 47ÿ1ÿ784ÿ+99ÿ ÿ ÿ4)47ÿÿ#$ÿ35ÿ9334ÿ784
         174971ÿ1ÿ0112345ÿ 34ÿ ÿ1784ÿ91 4ÿ'%(
         '84ÿ8134ÿ474ÿ1ÿ 74ÿ971ÿÿ4ÿ1ÿ784ÿ3%4715ÿ>$ÿ93ÿ9 71ÿÿ782ÿ1
         784ÿ 75ÿ1ÿÿ7ÿ733ÿ212ÿ1?ÿ(ÿÿÿ'844ÿ91 4ÿ4ÿ4ÿ74472ÿ71ÿ311ÿ75ÿ49%4
         784ÿ4ÿ4ÿ ÿ784ÿ4ÿ17ÿ7%7ÿÿ784ÿ%7ÿ1ÿ87ÿ784ÿ44ÿ12ÿ-5ÿ4ÿ215ÿ49%4ÿ784ÿ7
         4)7ÿ-5ÿ4ÿ21(
         84ÿ21ÿ04 747ÿ7ÿ%37 743ÿ174ÿÿ784ÿ49%ÿ&4ÿ81ÿ787ÿ834ÿ784ÿ91334974
         1ÿ194ÿ1ÿ5ÿ1ÿ784ÿ334ÿ3247ÿ91 4ÿ24ÿÿ@ÿ4947ÿ1 ÿAAAÿ71ÿ455-5ÿ ÿ34
          33ÿ1%371ÿ1ÿ39ÿ14ÿ1 4ÿÿ@ÿ49475ÿ834ÿ784ÿ% 4ÿ1ÿ* 9ÿ14
         4934ÿÿ ÿ4947ÿ,ÿ455-5ÿ13ÿ1%7ÿ45455ÿ1ÿ784ÿB55555ÿ391ÿC334"4ÿ14ÿ7ÿ7814
           5ÿ91 4ÿ44ÿ39ÿ1ÿ* 9
         $ÿ715ÿ 12ÿ784ÿ1%283ÿ-5A55ÿ 24ÿ7ÿ7814ÿ91 4ÿÿ455-5ÿ1%7ÿB55ÿ44ÿ4784
         39ÿ1ÿ* 9ÿ.ÿÿ45ÿ4947ÿÿ1 ÿ4ÿ4ÿ434ÿ61 4ÿ3 4ÿ71ÿ4@ÿ4947ÿ1ÿ 24
         ÿ455-5ÿ1 ÿ4!ÿ4947ÿÿ4555

                                                  SER-1065
(166 of 262), Page 166 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 166 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 976 of 1025
         012345678ÿ8 ÿ48ÿ117ÿ45ÿ337ÿ47ÿ346 4ÿ 64ÿ1ÿ8ÿ1ÿ846ÿ7487ÿ245ÿ1ÿ7
         546158ÿ66ÿ68ÿ48ÿ77ÿ675ÿ65ÿ7ÿ8ÿ1ÿ4ÿ6775ÿ1347ÿ45ÿ7ÿ65124615!
         675ÿ"18ÿ1ÿ14#
         $ 7ÿ%7 ÿ&78ÿ65664ÿ487ÿ7ÿ'41ÿ(734275ÿ1ÿ77487ÿ81!47ÿ))*!ÿ47ÿ45ÿ757
         44ÿ1ÿ7ÿ+ÿ478ÿ12345678ÿ457ÿÿ8478ÿ65ÿ7ÿ57834378ÿ,-+ÿ.57/#
         1165ÿ45ÿ43374ÿ17ÿÿ7ÿ%7 ÿ&78ÿ44658ÿ7ÿ86/ÿ12345678ÿ4ÿ1"77ÿ7ÿ'41
         (734275ÿ77487ÿ077!14 48ÿ44ÿ47ÿ7ÿ12345ÿ467ÿ175275ÿ478ÿ846ÿ1
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         5 ÿ7ÿ'41ÿ(734275ÿ4 737ÿ42758ÿ67ÿÿ478ÿ1ÿ117ÿ337ÿ6411ÿ*47ÿ45
         3367ÿ%47648ÿ4ÿ77487ÿ1ÿ7ÿ65124615ÿ1ÿ487ÿ122764ÿ42#ÿ$ 7ÿ734275
         7657ÿ1ÿ847ÿ7ÿ7/ÿ1ÿ7ÿ7467ÿ42758ÿ247ÿÿ7ÿ12345678#
         2, ÿ44ÿ45ÿ7215847ÿ4ÿ123458ÿ7165ÿ865788ÿ8474ÿ76642ÿ7#ÿ$ 123815ÿ..ÿ45
         4881647ÿ81661ÿ6ÿ7ÿ'41ÿ(734275ÿ17ÿ65ÿ7ÿ4758ÿ51664615ÿ1ÿ68ÿ654ÿ4615#
         2$ 7ÿ12345678ÿ47ÿ46 47ÿ1ÿ8ÿ4ÿ7ÿ47ÿ65ÿ4ÿ6ÿ1237667ÿ75615275ÿ65ÿ 6 ÿ788
         247ÿ13146158ÿ45ÿ87ÿ68ÿ))*!ÿ44ÿ1ÿ48868ÿ65ÿ8 65ÿ76ÿ865788ÿ13746158ÿ1ÿ77
          12377ÿ44658ÿ217ÿ784687ÿ1237618#4
           117ÿ775ÿ455157ÿ4ÿ6ÿ1547ÿ89ÿ26615ÿ17ÿ7ÿ48ÿ1ÿ778ÿ1ÿ:ÿ1ÿ73
          577378757ÿ26516678ÿ11ÿ4778ÿ65ÿ7 511ÿ6565ÿ7ÿ154615ÿ1ÿ43138ÿ1ÿ217
         45ÿÿ6ÿ8 118ÿ45ÿ1546158ÿ1ÿ138ÿ8 ÿ48ÿ7ÿ&46154ÿ,167ÿ1ÿ54 ÿ)565778#
         ,6ÿ7ÿ12345ÿ7657ÿ1ÿ77487ÿ45ÿ464ÿ1ÿ757ÿ7415ÿ1ÿ68ÿ:ÿ178#
         28ÿ77ÿ37618ÿ846ÿ7ÿ15ÿ77487ÿ68ÿ65124615ÿ1ÿ1237667ÿ7481584ÿ4ÿ831781245
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                                                   SER-1066
(167 of 262), Page 167 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 167 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 977 of 1025




                            EXHIBIT A)




                                             SER-1067
(168 of 262), Page 168 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 168 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 978 of 1025




                                             SER-1068
(169 of 262), Page 169 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 169 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 979 of 1025




                                             SER-1069
(170 of 262), Page 170 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 170 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 980 of 1025




                                             SER-1070
(171 of 262), Page 171 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 171 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 981 of 1025




                                             SER-1071
(172 of 262), Page 172 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 172 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 982 of 1025




                           EXHIBIT AG




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(173 of 262), Page 173 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 173 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 983 of 1025




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                                                        SER-1073
(174 of 262), Page 174 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 174 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 984 of 1025




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         659ÿ5 ÿ!95 9ÿ251ÿ52ÿÿ 23ÿ"ÿ232 8ÿ7ÿÿ76622ÿ359ÿ5 ÿ251ÿ76628ÿ2 23ÿ815 ÿ"ÿ232 8
        7ÿ23229ÿÿ#ÿ5$739ÿ7ÿ2%&2ÿ&2982ÿ5ÿ678ÿ7ÿ82ÿ5 ÿ2 23 ÿÿ2587 
        '7 ÿ78123ÿ819ÿ92ÿ(""ÿ2%&2ÿ&2 ÿ732ÿ815 ÿ)*"ÿ667 ÿ87ÿ735 +587 9ÿ73ÿ87ÿ,3ÿ7823
        92 2ÿ2587 ÿ87ÿ72 ÿ5 ÿ369ÿ' ÿ2%&2ÿ,22 ÿ73ÿ81ÿ19873566ÿ,65ÿ766229ÿ5 ÿ &239829ÿ87
        262&582ÿ7392 73ÿ5 ÿ5882 5 2ÿÿ7823ÿ92 2ÿ73ÿ2562ÿ819ÿ253ÿ7762ÿ2 223ÿ#153629ÿ-3588
          59ÿ.3292 2ÿ58ÿ!7 53ÿ &2398ÿ1232ÿ12ÿ32&52ÿ812ÿ91776%9ÿ/837ÿ87ÿ#ÿ336
         8ÿ2%32ÿ812ÿ398ÿ87ÿ58ÿ8158ÿ7762ÿ9ÿ629ÿ37ÿ1232ÿ2ÿ5 8ÿ87ÿ,205 ÿ8158ÿ,2ÿ878566ÿ6253ÿ5,78ÿ812
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                                                        SER-1074
(175 of 262), Page 175 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 175 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 985 of 1025
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                                             SER-1075
(176 of 262), Page 176 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 176 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 986 of 1025




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                                             SER-1076
(177 of 262), Page 177 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 177 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 987 of 1025




                                        Behind the EEO Curtain∗
                    Thomas Bourveau†                   Rachel W. Flam‡                   Anthony Le§


                                                      July 14, 2023


                                                          Abstract


                  We leverage the release of standardized Equal Employment Opportunity (EEO-1) re-
                  ports for over 800 federal contractors to provide empirical evidence on public ﬁrms’
                  diversity practices. Using unique data for 2016-2020, we ﬁrst document that public
                  ﬁrms signiﬁcantly lack diversity, especially in their ﬁrst and middle managerial ranks.
                  Second, we ﬁnd robust evidence that imbalances in workforce diversity are associated
                  with the decision to withhold the public release of ﬁrms’ EEO-1 forms. Overall our
                  results suggest that market forces have not achieved unraveling and that a disclosure
                  mandate may be necessary for investors to observe the DEI practices of all ﬁrms, rather
                  than just the more diverse ones.

                                                          Abstract




           Keywords: EEO Form; Diversity Metrics; Strategic Disclosure

           JEL Classiﬁcation: J15, M14, M51




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                                Electronic copy available at: https://ssrn.com/abstract=4452298
                                                         SER-1077
(178 of 262), Page 178 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 178 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 988 of 1025




           1         Introduction

                   Rising interest in diversity, equity, and inclusion (DEI) practices has increased calls from
           investors and other stakeholders for ﬁrms to publicly disclose workforce composition and
           DEI metrics. Regulators are also taking notice, as the lack of consistency across existing

           disclosures has led the SEC to consider “further enhancements” to its rules on human capital
           disclosures (Gensler, 2022).1 In this paper, we leverage the April 2023 release of standardized
           EEO-1 reports for a large sample of federal contractors to provide empirical evidence on
           public ﬁrms’ diversity practices across various levels, particularly middle management. We

           use this data to answer two questions: (1) how diverse are U.S. public ﬁrms, and (2) do ﬁrms

           strategically disclose diversity metrics based on their underlying level of diversity?
                   In the United States, all ﬁrms with more than 100 employees must annually ﬁle compre-
           hensive data on their workforce diversity with the Equal Employment Opportunity Com-
           mission (EEOC) in a standardized EEO-1 report. While the EEOC requires certain ﬁrm

           disclosures (see Leibbrandt and List, 2018), EEO-1 reports are ﬁled conﬁdentially. Some

           ﬁrms voluntarily disclose these reports to the public, but the vast majority do not. Firms
           have typically resisted the call to share their EEO-1 reports on the grounds that their work-
           force composition is akin to a trade secret and its disclosure could hurt their competitive
           position (Williams, 2019), similar to the proprietary costs argument documented in the con-
           text of ﬁnancial information (Verrecchia, 1983). This behavior has contributed to a lack
           of publicly available information about DEI practices (e.g., Dobbin and Kalev, 2022).2 In-
           vestors also face data constraints, with over two-thirds of U.S. public ﬁrms not disclosing a
           single diversity-related metric in their 10-K ﬁlings (Bourveau et al., 2022).

                   The universe of publicly available ﬁrm diversity-related information expanded signiﬁ-
               1
                Legal scholars have argued that pursuing DEI policies is consistent with the traditional ﬁduciary duties
           of executives and directors (e.g., Brummer and Strine, 2022).
              2
                To study workforce diversity outside of senior management, scholars have had to rely on data provided
           by employers (e.g., Holzer et al., 2006), occasional conﬁdential agreements with the Equal Employment
           Opportunity Commission (e.g., Kalev et al., 2006; Tomaskovic-Devey et al., 2006), or third-party information
           providers such as Glassdoor and Revelio Labs (e.g., Baker et al., 2022; Cai et al., 2022).



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                                  Electronic copy available at: https://ssrn.com/abstract=4452298
                                                           SER-1078
(179 of 262), Page 179 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 179 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 989 of 1025




           cantly with the recent release of EEO-1 reports for over 18,000 federal contractors. Although
           EEO-1 reports are conﬁdential, ﬁrms with federal contracts can be subject to the Freedom
           of Information Act (FOIA). In 2018, a reporter from The Center for Investigative Report-

           ing submitted FOIA requests for the EEO-1 reports of all ﬁrms with federal contracts from
           2016–2020. After extended litigation, these data were released in April 2023 for all ﬁrms that
           did not object to disclosure. Because these forms were initially ﬁled conﬁdentially and are
           subject to regulatory oversight (and hence less prone to manipulation), the release presents
           a uniquely powerful setting for examining ﬁrm diversity (see Bailey et al., 2022). Focusing
           on a constant panel of the 2,500 largest public ﬁrms from 2016–2020, we identify federal con-

           tractors in this sample and determine which of them permitted or objected to the release of
           their EEO-1 reports. We ﬁnd that EEO-1 forms were released for approximately two-thirds
           of the government contractors in our sample, indicating that one in three objected to the
           release of their EEO-1 reports. Using these data, we seek to achieve two objectives.

              The ﬁrst aim of our study is to depict the landscape of workforce diversity (or lack
           thereof) among public ﬁrms that are federal contractors. These ﬁrms are important economic

           players and employ millions of people in the United States. EEO-1 forms typically include a
           breakdown of gender and race by occupation types, including executives, managers, and sales
           workers, among other categories. This breakdown is unique, as other sources of data (e.g.,
           Bureau of Labor Statistics and the U.S. Census) are typically pooled across all employees.
           We primarily focus on the ﬁrst- and middle-manager levels because studies have argued that

           managerial diversity is ﬁrms’ primary diversity challenge (Dobbin and Kalev, 2022).
              Our data quantify the lack of diversity in our sample. With respect to gender diversity, we
           ﬁnd that women hold 35% of the ﬁrst- and middle-level managerial positions while accounting
           for 39% of the workforce. The racial composition of the workforce presents even more striking
           patterns. White individuals hold 71% of the ﬁrst- and middle-level manager positions, while

           they only account for 63% of the total workforce. Asian individuals hold 8% of the ﬁrst- and
           middle-level positions while accounting for 9% of the workforce. On the other hand, Hispanic


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                             Electronic copy available at: https://ssrn.com/abstract=4452298
                                                      SER-1079
(180 of 262), Page 180 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 180 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 990 of 1025




           and Black employees only account for 6% and 4% of the ﬁrst- and middle-level managers
           while accounting for 10% and 8% of the total workforce in our sample. We also observe
           signiﬁcant heterogeneity in the distribution of minority employees across ﬁrms: while 17%

           of the ﬁrms in our sample employ fewer than 10% minority managers, half of them employ
           less than 20% minority managers. This ﬁnding conﬁrms longstanding results in sociology
           that ﬁrm-initiated diversity training has not led to increased representation of minorities in
           managerial roles (Dobbin and Kalev, 2022).
                  After providing descriptive evidence on workforce diversity, we turn to our second objec-
           tive: examining whether a ﬁrm’s decision to voluntarily disclose its EEO-1 form is associated

           with the diversity of its workforce. Around 7% of the EEO-1 reports in our sample were
           voluntarily disclosed by the ﬁrm, and the number of ﬁrms disclosing in our sample rose from
           0.8% in 2016 to 15% in 2020.3 By revealed preferences, ﬁrms operate in a partial disclo-
           sure equilibrium where only some ﬁrms disclose their EEO-1 form publicly. This indicates

           that ﬁrms play a strategic disclosure game, trading oﬀ costs and beneﬁts associated with
           disclosure. On the beneﬁt side, EEO-1 forms can inform investors about a ﬁrm’s material
           risks (Balakrishnan et al., 2023a), as well as consumers (Balakrishnan et al., 2023b) and

           prospective employees (Choi et al., 2023). Conversely, revealing a lack of workforce diversity
           might have adverse consequences for ﬁrms in capital, labor, and consumer markets.

                  Our setting is unique in that we are able to observe the underlying performance of the
           ﬁrm (here about workforce diversity) regardless of the voluntary disclosure choice. This
           feature departs from the typical voluntary disclosure setting where ﬁrms’ underlying data

           is inferred from public disclosure. We examine ﬁrms’ disclosure decision with a focus on
           employees in ﬁrst- and middle-level managerial positions (Dobbin and Kalev, 2022; Richard
           et al., 2021). Our results reveal that a ﬁrm’s gender imbalance in managerial ranks does
           not seem to correlate with the decision to publicly disclose its EEO-1 form. In contrast,
           racial composition seems to play a major role. A 10 percentage point increase in the share
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               For clarity, we refer to voluntary disclosure by the ﬁrm as “disclosure” and the release of the data under
           the FOIA request as “release.”


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                                 Electronic copy available at: https://ssrn.com/abstract=4452298
                                                           SER-1080
(181 of 262), Page 181 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 181 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 991 of 1025




           of minority managers increases a ﬁrm’s probability of sharing its EEO-1 report by just over
           one percentage point, or 16.4% of the mean disclosure rate.
              We next test whether the decision to publicly disclose an EEO-1 report is associated

           with ﬁrms’ managerial diversity relative to the diversity of lower rank employees. While
           we again ﬁnd no evidence that gender diversity inﬂuences disclosure, our results indicate
           that ﬁrms are more likely to disclose as the ratio of racial minority managers to lower-
           level racial minority employees increases. Firms with above-median proportions of racial
           minority managers relative to lower-level racial minority employers are 4 percentage points
           more likely to disclose their EEO-1 reports voluntarily, an economically sizeable eﬀect of

           60% of the sample mean.4
              Finally, we re-run our analyses benchmarking ﬁrms’ levels of managerial diversity against
           their industry’s average level of managerial diversity. We assess whether a ﬁrm being above

           or below its industry’s average diversity level correlates with its disclosure decision. We
           again fail to ﬁnd any association based on gender. However, our results suggest that having
           a higher share of diverse managers than the industry average increases the likelihood of the

           public disclosure of the EEO-1 report by close to 5 percentage points. This association is
           robust and statistically signiﬁcant for all Blacks and Hispanics. Our ﬁndings are consistent

           with recent research suggesting that ﬁrms both learn and are inﬂuenced by the non-ﬁnancial
           disclosures of industry peers (e.g., Bochkay et al., 2022; Keeve, 2022; Tomar, 2023).
              Our paper makes two contributions to the literature. First, it contributes to the literature
           on workforce diversity. Scholars in sociology and management have studied how to improve
           workforce diversity (e.g., Barrios et al., 2020; Benson et al., 2022; Dobbin and Kalev, 2022).
           Following the seminal work of Becker (1957), a cross-disciplinary body of research focuses on

           the (positive) externalities created by having either a more diverse workforce overall (e.g.,
           Nishii, 2013; Edmans et al., 2023) or more diversity within ﬁrms’ governance institutions
             4
               When we consider speciﬁc ethnicities, we ﬁnd that these results hold for both Black and Hispanic
           employees. We do not ﬁnd evidence that this association holds for the share of Asian managers to total
           employees, perhaps because this distribution exhibits less variation.



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                               Electronic copy available at: https://ssrn.com/abstract=4452298
                                                        SER-1081
(182 of 262), Page 182 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 182 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 992 of 1025




           (e.g., Cai et al., 2022).Our study contributes to this literature by providing unique, up-to-
           date statistics on the workforce diversity of some of the largest publicly traded U.S. federal
           contractors. Despite past eﬀorts and increased attention by various stakeholders, our data

           reveals that under-representation of racial minorities persists, especially among Black and
           Hispanic employees at the managerial level.
                  Second, our paper contributes to the literature on strategic disclosure. A growing body
           of work studies ﬁrms’ decision to voluntarily disclose information on the social aspects of
           their actions.5 In a recent survey, Christensen et al. (2021) argue that similar market forces
           are driving the strategic voluntary disclosure of both ﬁnancial and non-ﬁnancial information.

           Since ﬁrms disclose this information privately to the government, our results do not reﬂect
           an information endowment friction (Dye, 1985). We ﬁnd that ﬁrms with below-average rep-

           resentation of minority managers are signiﬁcantly less likely to disclose their EEO-1 form,
           consistent with the potential costs of disclosure inﬂuencing this decision (Verrecchia, 1983).
           Our paper also complements two recent studies. Balakrishnan et al. (2023b) ﬁnd that con-
           sumers perceive ﬁrms that disclose their EEO-1 forms more positively, while Baker et al.

           (2022) ﬁnd that companies engage in “diversity washing.” That is, they disclose ambitious

           public commitments about diversity targets but fall short of reaching those targets in their
           hiring practices. In contrast, our results show that private knowledge about their lack of
           workforce diversity leads ﬁrms to withhold the EEO-1 form.
                  Finally, our results have clear policy implications. Investors increasingly view the lack

           of diversity as a material source of risk for public companies (Balakrishnan et al., 2023a;
           Shelby, 2023) and have called for the SEC to mandate disclosure to obtain comprehensive
           and comparable public data on DEI practices (Augustine et al., 2021; Mennie, 2021). Our
           ﬁndings based on a sample of public federal contractors oﬀer useful insights for this discussion.
           First, we provide timely information about the distribution of diversity metrics that would
              5
              Topics range from human capital broadly deﬁned (Bourveau et al., 2022) and general social policies
           (Cyr-Jones et al., 2022) to more speciﬁc topics, including the gender pay gap (e.g., Bennedsen et al., 2022;
           Huang and Lu, 2022), workplace safety (Christensen et al., 2017), and forced labor (e.g., She, 2022).



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                                 Electronic copy available at: https://ssrn.com/abstract=4452298
                                                          SER-1082
(183 of 262), Page 183 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 183 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 993 of 1025




           be observable to investors with a mandate in place. This is important because actual DEI
           practices cannot be derived from commonly observable diversity characteristics of boards
           (Edmans et al., 2023). Second, our results quantify the diﬀerences in workforce diversity

           between the growing sample of ﬁrms that choose to voluntarily release this data and those
           that remain silent. In the short term, market forces seem unable to achieve unraveling,
           allowing ﬁrms with less workforce diversity to stay silent. If investors continue to want
           information on workforce diversity, our results suggest that a disclosure mandate may be
           necessary (Leuz and Wysocki, 2016).



           2         Data

                   Obtaining data on the workforce composition of U.S. ﬁrms is very challenging. Employers
           with at least 100 employees must annually submit EEO-1 reports to the Equal Employment

           Opportunity Commission (EEOC) and the U.S. Department of Labor (DOL).6 EEO-1 re-
           ports contain data on the gender and racial/ethnic composition of the ﬁrm’s workforce by

           job category. These forms are ﬁled conﬁdentially, and the EEOC does not make them public.
                   In 2018, The Center for Investigative Reporting (CIR) submitted Freedom of Information

           Act (FOIA) requests for the oﬃcial EEO-1 reports of several technology ﬁrms that had
           qualiﬁed as federal contractors. Most ﬁrms requested that the FOIA requests be blocked,
           arguing that their diversity data qualiﬁed as a trade secret and was therefore exempt. When
           the federal government agreed with these arguments, CIR sued, alleging a violation of FOIA.
           It won the suit in 2019 and subsequently requested EEO-1 reports from 2016-2020 for all

           federal contractors. In April 2023, this data was released publicly for approximately 18,000
           companies that agreed to the disclosure or simply did not object.
                   We use the CRSP-Compustat universe as of December 31, 2022, as the basis for our
           sample. We require that ﬁrms be present in the sample for all ﬁscal years between 2016 and

           2020, and we restrict our sample to a balanced panel of the 2,500 largest ﬁrms that ﬁt these
               6
                   Facing a lower threshold, federal contractors must submit reports if they have at least 50 employees.


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                                    Electronic copy available at: https://ssrn.com/abstract=4452298
                                                              SER-1083
(184 of 262), Page 184 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 184 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 994 of 1025




           criteria. We then manually match federal contractors whose EEO-1 reports were released
           with our sample of public ﬁrms, obtaining 830 unique ﬁrms. Of the remaining 1,670 ﬁrms,
           we identify 482 federal contractors using USAspending.gov, suggesting that approximately

           one-third of the federal contractors in our sample objected to the release of their data.
              We face two potential forms of bias in our sample of EEO-1 reports relative to the
           population of public ﬁrms. First, there may be systemic diﬀerences between government
           contractors that object and do not object to the release of their EEO-1 reports. Second,
           given that ﬁrms choose to bid to obtain federal contracts, there may be diﬀerences between
           government contractors and other ﬁrms. To help us assess potential concerns about selection

           bias, we quantify the similarities and diﬀerences along various dimensions across our group
           of federal contractors with EEO-1 reports available, our group of federal contractors without
           EEO-1 reports available, and our group of other ﬁrms.
              As shown in Figure 1, the geographical distribution of the three groups is largely similar.

           Table 1 Panel A reveals some diﬀerences in industry composition. For example, government
           contractors in ﬁnance and insurance are more likely to permit the release of their EEO-1

           reports, while those in the information industry are more likely to object. Compared to non-
           contractors, manufacturers and utilities are more likely to be federal contractors, while ﬁrms
           in the mining, oil and gas, and real estate industries are less likely to be federal contractors.
              Table 1 Panel B displays descriptive statistics by groups. We ﬁrst examine the diﬀerences
           between federal contractors that permitted the disclosure of their EEO-1 forms and those

           that objected. Our data reveal that contractors permitting the release of their EEO-1 ﬁlings
           are slightly smaller and more proﬁtable than those that objected. We next consider the
           diﬀerences between federal contractors and other ﬁrms. Federal contractors that permit the
           release of their EEO-1 reports are larger, more proﬁtable, and have a higher market-to-book
           ratio and percentage of institutional ownership, relative to the other ﬁrms. Federal contrac-

           tors further exhibit a lower leverage ratio and a lower ratio of capital expenditures. These
           descriptive statistics are largely consistent with those in the recent study of federal contrac-


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                              Electronic copy available at: https://ssrn.com/abstract=4452298
                                                       SER-1084
(185 of 262), Page 185 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 185 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 995 of 1025




           tors by Samuels (2021).7 On average, the diﬀerences are more signiﬁcant between federal
           contractors and other ﬁrms than between objecting and non-objecting federal contractors.
           Further, our ﬁnding that federal contractors that permit the release of their EEO-1 reports

           are more proﬁtable than objecting contractors is more consistent with objectors hiding poor
           DEI practices rather than protecting valuable trade secrets (Williams, 2019).
                   While EEO-1 reports are ﬁled conﬁdentially, a growing number of ﬁrms choose to sepa-
           rately disclose their EEO-1 reports to the public.8 We exploit this dimension by manually
           searching companies’ websites using the WayBack machine to identify whether ﬁrms dis-
           closed their EEO-1 form annually throughout our sample period.9 We ﬁnd that, on average,
           7% of the federal contractors in our sample disclosed their EEO-1 report voluntarily (See

           Table 2). This rate increased from 0.8% to 15% between 2016 and 2020.
                   Equipped with our data, we turn to our two empirical objectives. First, we use EEO-

           1 report data to comprehensively depict the degree of workforce diversity among federal
           contractors (Section 3). Next we assess whether ﬁrms’ decision to publicly disclose their
           EEO ﬁlings on their websites relates to their degree of workforce diversity (Section 4).



           3         Workforce Composition

                   Table 2 presents descriptive statistics for the EEO data for ﬁrms in our sample. From

           2016–2020, we obtain just over 3,000 EEO-1 reports for our sample of Compustat ﬁrms.
           Only 7% of the reports in our sample were voluntarily disclosed by the ﬁrms directly (i.e.,
           made available on their websites). Thus the majority of our data were not publicly available
           prior to the mass release of the EEO-1 reports in April 2023.
                   When we consider employees at all levels, we observe that 37% of them belong to a racial
               7
                The two dimensions along which our sample diﬀers from that of Samuels (2021), leverage and market-
           to-book ratio, are due to the diﬀerent sample periods. Samuels (2021) uses the period of FY 2000 - 2016,
           while our sample spans from FY 2016 - 2020.
              8
                The number of ﬁrms in the Russell 1000 disclosing an EEO-1 report tripled from 11% in 2021 to 34% in
           2022. See the 2023 Just Capital Report.
              9
                The use of the WayBack machine is becoming popular to collect information disclosed on public and
           private ﬁrms’ websites (e.g., Boulland et al., 2021).


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                                 Electronic copy available at: https://ssrn.com/abstract=4452298
                                                          SER-1085
(186 of 262), Page 186 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 186 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 996 of 1025




           minority group while 63% are nonminority White. For the purposes of comparison, the 2020
           U.S. Census identiﬁed 59.3% of the U.S. population as White (U.S. Census Bureau, 2020).
           We present data for Black, White, Hispanic, and Asian employees, as these ethnic groups are

           disclosed in EEO metrics. Black employees comprise 8% of the workforce, Hispanic employees
           10%, and Asian employees 9%. When we compare the labor force to the population, we ﬁnd
           that Black and Hispanic employees are most underrepresented relative to their representation
           in the population: 18.9% (13.6%) of the population is Hispanic (Black), but only 10% (8%)
           of public ﬁrm employees are Hispanic (Black).
              The last section of Table 2 presents the diversity of managers in our sample. Here

           we observe that diversity in managerial roles declines compared to the full sample. For
           example, 39% of all employees are female, but only 35% of managers are female. Racial
           minorities show an even steeper decline: they comprise 37% of all employees but only 29%
           of managers. Further, ethnic minorities are less represented in managerial positions across

           all minority ethnic groups in our data. The most signiﬁcant underrepresentation occurs
           for Black managers, as the share of Black employees in managerial roles declines by half

           compared to the share of Black employees in all roles.
              The data presented in Table 2 demonstrate a lack of workplace diversity on average,
           particularly at the managerial level. However, these averages mask signiﬁcant heterogeneity
           across ﬁrms, so we turn to Figure 2 to explore the data in more detail.
              Figure 2 presents shares of female and minority employees across the various job titles.

           The distributions for both females and ethnic minorities are right-skewed, with many ﬁrms
           employing a lower proportion of female and ethnic minority employees. The skewness of
           the distributions becomes much more pronounced as we move up the hierarchy from all
           employees (Panel A) to ﬁrst- and middle-level managers (Panel B) to executives (Panel
           C). For example, very few ﬁrms employ fewer than 5% women across all job titles, but

           approximately one in 20 ﬁrms employ fewer than 5% women at the executive level. These
           patterns become even more striking when we examine ethnic diversity. Considering all levels


                                                           9

                             Electronic copy available at: https://ssrn.com/abstract=4452298
                                                      SER-1086
(187 of 262), Page 187 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 187 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 997 of 1025




           of employment, around 3% of ﬁrms employ fewer than 5% ethnic minority employees. This
           proportion rises to over 5% for ﬁrst- and middle-level managers. However, the most drastic
           disparities are at the executive level, where one-quarter of ﬁrms employ fewer than 5%

           minority executives. Our data also reveal that 17% of ﬁrms employ zero ethnic minorities at
           the executive level (untabulated). This lack of diversity at the executive level is consistent
           with the ﬁndings of prior research (Hekman et al., 2017).
              Given the granularity of our data, we consider variation in the diversity of speciﬁc ethnic
           groups. Figure 3 presents the distribution of ethnic minority groups across the public ﬁrms
           in our sample. We observe a left-skewed distribution for White employees, where more ﬁrms

           employ a higher proportion of White employees (Panel A). We also observe severe skewness
           at the executive level: at least 85% of executives are white for most ﬁrms in our sample.
              In contrast, we observe right-skewed distributions for Black, Hispanic, and Asian em-
           ployees (Panels B–D). The skewness of the distributions for individual ethnic minorities is

           consistent with the distributions for pooled ethnic minorities in Figure 2. Black employ-
           ees experience the lowest levels of representation at the managerial and executive levels,

           with nearly 70% of ﬁrms employing fewer than 5% Black managers and over 85% of ﬁrms
           employing fewer than 5% Black executives (Panel B). Similarly, slightly less than half of
           ﬁrms employ fewer than 5% Hispanic managers, and over 70% of ﬁrms employ less than 5%
           Hispanic executives. The center of these distributions for management and executive roles
           is also quite far from the population average. The distribution of Asian employees (Panel

           D) is also skewed but slightly diﬀerently. Just under half of ﬁrms employ fewer than 5%
           Asian employees. However, the disparities between the percentage of all employees and the
           percentage of employees in managerial roles are less severe for this ethnic group.
              Overall we ﬁnd the ﬁrms in our sample exhibit a lack of diversity which becomes more
           pronounced as we move up the managerial hierarchy. Our ﬁndings conﬁrm longstanding re-

           sults in sociology that ﬁrm-initiated diversity training has not led to minority representation
           in managerial roles in proportions similar to their proportions in the population (Dobbin and


                                                            10

                              Electronic copy available at: https://ssrn.com/abstract=4452298
                                                       SER-1087
(188 of 262), Page 188 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 188 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 998 of 1025




           Kalev, 2022). However, our ﬁndings are subject to the caveat that EEO-1 form data does
           not account for pre-market diﬀerences (e.g., education or skill) or selection in employees’
           decisions to enter the labor market and subsequently obtain a job in a large public company,

           both of which may be correlated with minority status (Neal and Johnson, 1996).



           4     The Strategic Disclosure of EEO-1 Reports

               Having established the landscape of diversity for public ﬁrms, we next turn to whether
           a ﬁrm’s absolute or relative diversity inﬂuences its decision to publicly disclose its EEO-1

           report. We focus on managers for the remainder of our tests because research argues that
           diversifying at the management level is the primary diversity challenge for ﬁrms (Dobbin

           and Kalev, 2022). As discussed in Section 2, public disclosure of EEO-1 reports has risen
           drastically in recent years, as investors and other stakeholders have demanded more infor-
           mation on DEI practices and outcomes. For the ﬁrms in our sample, the number publicly
           disclosing the EEO-1 report rose from 0.8% in 2016 to 15% in 2020. This drastic increase

           notwithstanding, the vast majority of ﬁrms continue not to disclose their EEO-1 reports.

           The release of this data to the public permits us to investigate whether ﬁrms that disclose
           their EEO-1 reports do so strategically as well as to explore which diversity metrics appear
           to have the greatest inﬂuence on the decision to disclose.
               Table 3 presents the results of these tests. In Panel A, we ﬁrst investigate whether the

           proportion of female or minority managers inﬂuences the choice to disclose. We ﬁrst examine
           the proportion of female managers in Column (1), ﬁnding no evidence that the proportion
           of female managers is associated with public disclosure of EEO-1 reports. This result likely
           reﬂects that the imbalances across gender are less severe relative to imbalances across eth-
           nicity, as shown in Figure 2. We next turn to the proportion of ethnic minority managers. In
           Column (2), our independent variable of interest is the proportion of employees belonging to
           any racial minority. We ﬁnd a positive and signiﬁcant coeﬃcient on the proportion of racial



                                                           11

                             Electronic copy available at: https://ssrn.com/abstract=4452298
                                                      SER-1088
(189 of 262), Page 189 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 189 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 999 of 1025




           minority employees, indicating that ﬁrms are more likely to disclose as the percentage of
           racial minority managers increases. Economically, a one standard deviation increase in the
           proportion of racial minority managers is associated with a 36% increase in the probability

           of disclosure relative to the mean.10 When we consider speciﬁc ethnic groups in Columns
           (3)–(5), our results suggest that this association is partially driven by Black and Hispanic
           managers. However, we do not ﬁnd evidence that this association holds for the share of Asian
           managers to total employees (although the sign is also positive), perhaps because there is

           less variation in this distribution.11
                  Next we test whether the representation of minority managers relative to lower-rank
           minority employees inﬂuences the decision to publicly disclose an EEO-1 report. Table 3

           Panel B presents the results of these tests. As in Panel A, we again ﬁnd no evidence
           that gender diversity inﬂuences the disclosure decision. However, our results indicate that

           ﬁrms are more likely to disclose as the representation of racial minority employees who are
           managers increases. When we consider speciﬁc ethnicities, we again ﬁnd that these results
           hold for both Black and Hispanic employees.
                  With Table 3 Panel C, we move from absolute to relative workforce diversity. Speciﬁcally,

           we consider whether a ﬁrm’s decision to disclose relates to its workforce diversity versus its

           industry peers (deﬁned using four-digit NAICS codes).12 As with our tests of absolute
           workforce diversity, we ﬁnd no evidence in Column (1) that gender diversity inﬂuences the

           disclosure decision. However, the results presented in Columns (2)–(5) indicate that a ﬁrm’s
           relative ethnic diversity among industry peers is associated with the choice to disclose, and
           these results are driven by the proportion of Black and Hispanic managers.
             10
                 We acknowledge that the economic magnitude of our results is large. We believe that this is due to (i)
           a relatively small (though growing) sample mean and (ii) the fact that we likely capture a ﬁrst-order factor
           (i.e. ﬁrms’ underlying workforce diversity) in ﬁrms’ decision to disclose their EEO-1 forms publicly.
              11
                 Our results also reveal a positive and robust correlation between a ﬁrm’s size and its probability of
           releasing its EEO-1 form, consistent with the argument that large public ﬁrms face more scrutiny on ESG
           issues than do smaller ones (Christensen et al., 2021) and that proﬁtability is associated with more public
           disclosure (Miller, 2002). The positive association between proﬁtability and EEO-1 form disclosure is incon-
           sistent with the argument that EEO-1 data are kept conﬁdential to hide valuable trade secrets (Williams,
           2019).
              12
                 These ﬁndings are robust to using GICS industry codes to deﬁne industry peers.


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                                 Electronic copy available at: https://ssrn.com/abstract=4452298
                                                          SER-1089
(190 of 262), Page 190 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 190 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1000 of 1025




               Taken together, our results are consistent with ﬁrms strategically disclosing their di-
           versity metrics when they appear more ethnically diverse, particularly compared to their
           industry peers. We view our results as responding to the call from Gow et al. (2016) for

           descriptive studies on ﬁrst-order questions. Our partial disclosure equilibrium reveals that
           full unravelling has not been achieved yet through market forces (Grossman, 1981; Milgrom,
           1981). While we do not formally test a disclosure theory, we argue that our disclosure equi-
           librium is not driven by uncertainty about the information endowment since ﬁrms must ﬁle
           this information privately to the government Dye (1985). Instead, our partial equilibrium
           is consistent with diversity disclosure being costly (Verrecchia, 1983). This cost could arise

           from reputational concerns if investors and other stakeholders notice ﬁrms’ lack of workforce
           diversity. Given that the number of ﬁrms publicly disclosing their EEO-1 forms is growing
           steadily in recent years, this could provide a valuable setting for future research to test a
           dynamic disclosure game.



           5     Conclusion

               Using a recently released dataset based on government contractors’ EEO-1 reports, we
           provide evidence on the lack of racial diversity among U.S. public ﬁrms, particularly among

           the ﬁrst and middle managerial ranks. We further document that the lack of workforce
           diversity at the middle management level is negatively associated with the public disclosure
           of ﬁrms’ EEO-1 reports, suggesting that ﬁrms with greater imbalances hide their lack of

           diversity from investors and other stakeholders. To the extent that this information is mate-
           rial to shareholders, the lack of unraveling through market forces suggests that a disclosure
           mandate might be necessary to inform and protect investors (Leuz and Wysocki, 2016).




                                                           13

                             Electronic copy available at: https://ssrn.com/abstract=4452298
                                                      SER-1090
(191 of 262), Page 191 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 191 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1001 of 1025




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                                                           14

                             Electronic copy available at: https://ssrn.com/abstract=4452298
                                                      SER-1091
(192 of 262), Page 192 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 192 of 262
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                             Electronic copy available at: https://ssrn.com/abstract=4452298
                                                      SER-1092
(193 of 262), Page 193 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 193 of 262
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                                                           16

                             Electronic copy available at: https://ssrn.com/abstract=4452298
                                                      SER-1093
(194 of 262), Page 194 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 194 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1004 of 1025



                                     Figure 1: Geographic Distribution of Sample
           This ﬁgure shows the geographic distribution across the United States for three groups of ﬁrms in our
           sample: CRSP-Compustat ﬁrms which are not government contractors, CRSP-Compustat ﬁrms which are
           government contractors and objected to the release of their EEO-1 data, and CRSP-Compustat ﬁrms which
           are government contractors and agreed to or did not object to the release of their EEO-1 data. Panel A shows
           the proportion of the non-government contractor CRSP-Compustat ﬁrms in each state. Panel B shows the
           proportion of ﬁrms that refused disclosure of their EEO-1 data in each state. Panel C shows the proportion
           of ﬁrms that agreed to or did not object to the release of their EEO-1 data in each state.




                                 Panel A: Share of Non-Government Contractors in Each State




                           Panel B: Share of Government Contractors that Withheld in Each State




                           Panel C: Share of Government Contractors that Disclosed in Each State




                                                               17

                                Electronic copy available at: https://ssrn.com/abstract=4452298
                                                          SER-1094
(195 of 262), Page 195 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 195 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1005 of 1025



                  Figure 2: Histograms of Female and Racial Minority Shares for Public Firms
           This ﬁgure shows the distribution of racial minority shares and female shares across the CRSP-Compustat
           ﬁrms that permitted the release of their EEO-1 data. The distribution of the share of racial minorities is
           shaded in blue, while the distribution of the share of women is shaded in red. Panel A shows the distributions
           across all employees. Panel B shows the distributions across ﬁrst- and middle-level managers. Panel C shows
           the distributions across executives.




                          Panel A: All Employees                     Panel B: First- and Middle-Level Managers




                                                       Panel C: Executives




                                                                18

                                 Electronic copy available at: https://ssrn.com/abstract=4452298
                                                           SER-1095
(196 of 262), Page 196 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 196 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1006 of 1025



                        Figure 3: Distribution of Racial Minority Groups in Public Firms
             This ﬁgure shows the distribution of racial groups across the CRSP-Compustat ﬁrms that permitted
             the release of their EEO data. Panel A shows the distribution of White employee shares within ﬁrms.
             Panel B shows the distribution of Black employee shares within ﬁrms. Panel C shows the distribution of
             Hispanic employee shares within ﬁrms. Panel D shows the distribution of Asian employee shares within
             ﬁrms. In each panel, the blue-shaded bars denote the representation of that group among all employees,
             the red-shaded bars denote the representation of that group among ﬁrst and middle-level managers,
             and the green-shaded bars denote the representation of that group among executives. In each panel,
             the dashed black line represents the proportion of that racial group across the U.S. population in 2020.




                       Panel A: White Employees                              Panel B: Black Employees




                      Panel C: Hispanic Employees                            Panel D: Asian Employees




                                                               19

                                Electronic copy available at: https://ssrn.com/abstract=4452298
                                                          SER-1096
                                                                                                                       Table 1: Descriptive Statistics of FOIA Sample
                                                                           This table shows the descriptive statistics for the ﬁrms that did not object to or agreed to release their EEO-1 data relative to the ﬁrms that either
                                                                           refused to disclose their data or were not federal contractors. Panel A shows the industry breakdown of the ﬁrms in each sample. “Gov’t Contractors
                                                                           who Disclosed” refers to ﬁrms that did not object to, or agreed to release their EEO-1 data. “Gov’t Conntractors who Withheld” refer to ﬁrms that
                                                                                                                                                                                                                                            (197 of 262), Page 197 of 262




                                                                           refused to disclose their data and were government contractors. “Non-Gov’t Contractors” refers to ﬁrms that were not federal contractors. Panel B
                                                                           compares these two groups along key ﬁnancial dimensions. All continuous variables are winsorized at the 1st and 99th percentile. Detailed variable
                                                                           deﬁnitions are provided in Appendix 2.


                                                                             Panel A: Industry Distribution of Financial Characteristics Of Contractor Disclosers, Contractor Non-Disclosers, and Non-Contractors

                                                                             2-Digit NAICS                                            Gov’t Contractors who Disclosed           Gov’t Contractors who Withheld      Non-Gov’t Contractors
                                                                             11: Agriculture, Forestry, Fishing, and Hunting                           0.12                                      0.00                        0.42
                                                                             21: Mining, Quarrying, and Oil and Gas Extraction                         3.38                                      1.45                        7.07
                                                                             22: Utilities                                                            4.47                                      5.19                        1.35
                                                                             23: Construction                                                          1.69                                     1.45                        1.68
                                                                             31: Manufacturing                                                         3.74                                     3.53                        3.28




                                                                      20
                                                                             32: Manufacturing                                                        10.74                                     15.77                        8.41
                                                                             33: Manufacturing                                                        28.35                                     23.86                       11.77




SER-1097
                                                                             42: Wholesale Trade                                                      2.05                                      5.19                        2.44
                                                                             44: Retail Trade                                                          1.57                                     1.24                        3.45
                                                                             45: Retail Trade                                                          0.36                                     0.83                        2.35
                                                                             48: Transportation and Warehousing                                        3.26                                      2.28                        4.96
                                                                             49: Transportation and Warehousing                                        0.36                                      0.00                        0.00
                                                                             51: Information                                                           6.63                                     10.79                        7.82
                                                                             52: Finance and Insurance                                                20.63                                     9.34                        28.34
                                                                             53: Real Estate and Rental and Leasing                                    4.10                                      5.81                        9.08
                                                                             54: Professional, Scientiﬁc, and Technical Services                      3.62                                      4.77                        1.68
                                                                             56: Administrative and Support and Waste Management                       1.81                                      2.70                        0.93
                                                                             61: Educational Services                                                 0.24                                      1.45                         0.42




    Electronic copy available at: https://ssrn.com/abstract=4452298
                                                                             62: Health Care and Social Assistance                                     1.33                                     2.07                        0.93
                                                                             71: Arts, Entertainment, and Recreation                                   0.24                                      0.21                        0.59
                                                                                                                                                                                                                                                                        Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 197 of 262




                                                                             72: Accommodation and Food Services                                       1.09                                      0.83                        2.52
                                                                             81: Other Services (except Public Administration)                         0.12                                     0.41                        0.34
                                                                             99: Public Administration                                                 0.12                                     0.83                        0.17
                                                                             Total                                                                    100.00                                   100.00                      100.00
                                                                                                                                                                                                                                                             Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1007 of 1025
                                                                                                                                                                                                                                                                                             (198 of 262), Page 198 of 262




                                                                            Panel B: Comparison of Financial Characteristics Of Contractor Disclosers, Contractor Non-Disclosers, and Non-Contractors

                                                                                                     (1) Gov’t Contractors who Disclosed        (2) Gov’t Contractors who Withheld               (3) Non-Gov’t Contractors                 t-test of (2) - (1)      t-test of (3) - (1)

                                                                           Variables                 Obs     Mean   SD     p25    p50    p75     Obs    Mean    SD    p25    p50    p75       Obs       Mean   SD     p25    p50   p75   Diﬀ. in Means   p-value   Diﬀ. in Means   p-value

                                                                           Log(Total Assets)         4,145   8.26   1.82   6.98   8.03   9.37   2,410   8.53   2.02   7.07   8.41   9.95     5,944      7.94   1.82   6.59   7.80 9.12       0.27        <0.01         -0.32       <0.01
                                                                           Return on Assets          4,145   0.03   0.09   0.01   0.03   0.07   2,410   0.01   0.12   0.00   0.03   0.06     5,943      0.02   0.09   0.00   0.02 0.06       -0.01       <0.01         -0.01       <0.01




                                                                      21
                                                                           Market to Book            3,944   3.25   6.71   1.34   2.25   3.91   2,091   3.42   7.09   1.46   2.42   4.17     4,869      2.61   6.86   1.01   1.69 3.14       0.17         0.36         -0.63       <0.01
                                                                           Capex to Sales            4,136   0.07   0.11   0.02   0.03   0.06   2,408   0.07   0.11   0.01   0.03   0.07     5,909      0.09   0.18   0.01   0.03 0.07       -0.00        0.32         0.02        <0.01




SER-1098
                                                                           COGS to Sales             4,145   0.55   0.35   0.33   0.58   0.73   2,410   0.67   0.54   0.45   0.64   0.77     5,943      0.59   0.44   0.34   0.58 0.75       0.12        <0.01         0.03        <0.01
                                                                           Leverage                  4,128   0.27   0.20   0.10   0.25   0.39   2,402   0.30   0.21   0.14   0.28   0.42     5,919      0.29   0.24   0.08   0.26 0.46       0.03        <0.01         0.03        <0.01
                                                                           Institutional Ownership   3,990   0.74   0.25   0.63   0.82   0.92   2,294   0.70   0.29   0.55   0.78   0.92     5,489      0.61   0.32   0.34   0.69 0.89       -0.04       <0.01         -0.13       <0.01




    Electronic copy available at: https://ssrn.com/abstract=4452298
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                                                                                                                                                                                                                                                                                                              Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1008 of 1025
(199 of 262), Page 199 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 199 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1009 of 1025




                               Table 2: Descriptive Statistics of EEO Variables
           This table shows the descriptive statistics for various workforce diversity metrics obtained from ﬁrms’ dis-
           closed EEO-1 data for the sample of Compustat ﬁrms who did not object to, or agreed to release their EEO-1
           data. All continuous variables are winsorized at the 1st and 99th percentile. Detailed variable deﬁnitions
           are provided in Appendix 2.

                                                                                              Obs     Mean   SD     p25    p50    p75

                Disclosure Decision
                Public EEO Disclosure                                                         3,076   0.07   0.25   0.00   0.00   0.00


                Overall Diversity
                Proportion of Female Employees                                                3,076   0.39   0.19   0.00   0.00   1.00
                Proportion of Racial Minority Employees                                       3,076   0.37   0.21   0.00   0.00   0.00
                Proportion of White Employees                                                 3,076   0.63   0.21   1.00   1.00   1.00
                Proportion of Black Employees                                                 3,076   0.08   0.06   0.00   0.00   0.00
                Proportion of Hispanic Employees                                              3,076   0.10   0.08   0.00   0.00   0.00
                Proportion of Asian Employees                                                 3,076   0.09   0.11   0.00   0.00   0.00


                Diversity of Managers
                Proportion of Female Managers                                                 3,076   0.35   0.18   0.21   0.30   0.47
                Proportion of Racial Minority Managers                                        3,076   0.29   0.22   0.13   0.21   0.37
                Proportion of White Managers                                                  3,076   0.71   0.22   0.63   0.79   0.87
                Proportion of Black Managers                                                  3,076   0.04   0.04   0.02   0.04   0.06
                Proportion of Hispanic Managers                                               3,076   0.06   0.05   0.03   0.05   0.08
                Proportion of Asian Managers                                                  3,076   0.08   0.09   0.02   0.05   0.10


                Diversity of Lower-Level Employees
                Proportion of Female Lower-Level Employees                                    3,076   0.41   0.21   0.00   0.00   1.00
                Proportion of Racial Minority Lower-Level Employees                           3,076   0.39   0.22   0.00   0.00   1.00
                Proportion of White Lower-Level Employees                                     3,076   0.61   0.22   0.00   1.00   1.00
                Proportion of Black Lower-Level Employees                                     3,076   0.09   0.07   0.04   0.08   0.12
                Proportion of Hispanic Lower-Level Employees                                  3,076   0.11   0.09   0.05   0.09   0.14
                Proportion of Asian Lower-Level Employees                                     3,076   0.09   0.11   0.02   0.05   0.12


                Other Variables
                Female Manager Share to Female Lower-Level Employee Share                     3,076   0.90   0.26   0.74   0.87   1.01
                Racial Minority Manager Share to Racial Minority Lower-Level Employee Share   3,061   0.70   0.32   0.51   0.67   0.86
                Black Manager Share to Black Lower-Level Employee Share                       3,018   0.53   0.38   0.31   0.46   0.66
                Hispanic Manager Share to Hispanic Lower-Level Employee Share                 3,022   0.62   0.36   0.41   0.59   0.78
                Asian Manager Share to Asian Lower-Level Employee Share                       3,012   0.97   0.77   0.57   0.83   1.13




                                                                      22

                                    Electronic copy available at: https://ssrn.com/abstract=4452298
                                                                 SER-1099
(200 of 262), Page 200 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 200 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1010 of 1025




                                     Table 3: Strategic Disclosure of EEO Reports
           This table reports the estimates for the associations between ﬁrms’ underlying workforce diversity and their
           decision to publicly disclose their EEO-1 form. Panel A reports the results for measures of manager diversity
           on the public disclosure decision. Panel B reports the results for whether a ﬁrm’s minority manager share
           relative to its lower-level workforce minority share is associated with their disclosure decision. Panel C
           reports the results for whether a ﬁrm being above or below the industry average level of manager diversity
           is associated with their decision to disclose their EEO-1 form publicly. All columns include industry and
           year ﬁxed eﬀects. Standard errors are clustered on the industry level. ***, **, and * indicate statistical
           signiﬁcance at the 1%, 5%, and 10% level, respectively.

                       Panel A: Proportion of Minority Managers and Public Disclosure of EEO-1 Reports

                                                                                                         Public EEO Disclosure
                                                                                           (1)        (2)         (3)       (4)        (5)

                       Proportion of Female Managers                                       0.061
                                                                                         (0.075)
                       Proportion of Female Lower-Level Employees                         -0.071
                                                                                         (0.076)

                       Proportion of Racial Minority Managers                                       0.115∗∗
                                                                                                    (0.049)
                       Proportion of Racial Minority Lower-Level Employees                           -0.026
                                                                                                    (0.034)

                       Proportion of Black Managers                                                             0.478∗∗
                                                                                                                (0.208)
                       Proportion of Black Lower-Level Employees                                                 -0.166
                                                                                                                (0.156)

                       Proportion of Hispanic Managers                                                                     0.354∗∗
                                                                                                                          (0.157)
                       Proportion of Hispanic Lower-Level Employees                                                       -0.150∗∗
                                                                                                                          (0.075)

                       Proportion of Asian Managers                                                                                   0.144
                                                                                                                                     (0.135)
                       Proportion of Asian Lower-Level Employees                                                                      0.089
                                                                                                                                     (0.152)

                       Log(Total Assets)                                                 0.053∗∗∗   0.052∗∗∗   0.052∗∗∗   0.052∗∗∗   0.051∗∗∗
                                                                                         (0.007)    (0.007)    (0.007)    (0.007)    (0.006)
                       ROA                                                               0.137∗     0.137∗      0.135∗    0.137∗     0.134∗
                                                                                         (0.076)    (0.076)     (0.075)   (0.076)    (0.076)
                       Market to Book                                                     0.001      0.001       0.001     0.001      0.001
                                                                                         (0.002)    (0.002)     (0.002)   (0.002)    (0.002)
                       Capex to Sales                                                     0.036      0.038       0.043     0.041      0.032
                                                                                         (0.093)    (0.096)     (0.094)   (0.096)    (0.097)
                       COGS to Sales                                                      -0.016     -0.018     -0.019     -0.018     -0.015
                                                                                         (0.033)    (0.031)     (0.031)   (0.032)    (0.028)
                       Inst. Ownership                                                    -0.071     -0.073      -0.068   -0.072∗     -0.072
                                                                                         (0.044)    (0.044)     (0.044)   (0.043)    (0.044)

                       N                                                                  2,834      2,834       2,834     2,834      2,834
                       Adj. R-squared                                                     0.183      0.185       0.184     0.184      0.188

                       Year FE                                                             Yes        Yes        Yes        Yes        Yes
                       Industry FE                                                         Yes        Yes        Yes        Yes        Yes
                       Clusters                                                          Industry   Industry   Industry   Industry   Industry



                                                                              23

                                     Electronic copy available at: https://ssrn.com/abstract=4452298
                                                                        SER-1100
(201 of 262), Page 201 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 201 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1011 of 1025



             Panel B: Above Median Ratio of Minority Managers to Minority Employees and Public Disclosure of EEO-1 Reports

                                                                                                Public EEO Disclosure
                                                                                    (1)        (2)        (3)        (4)        (5)

             Above Median Female Manager to Lower-Level Employee Share              0.010
                                                                                  (0.012)
             Proportion of Female Lower-Level Employees                            -0.024
                                                                                  (0.056)

             Above Median Racial Minority Manager to Lower-Level Employee Share              0.041∗∗
                                                                                             (0.016)
             Proportion of Racial Minority Lower-Level Employees                             0.046∗
                                                                                             (0.026)

             Above Median Black Manager to Lower-Level Employee Share                                   0.022∗
                                                                                                        (0.013)
             Proportion of Black Lower-Level Employees                                                   0.059
                                                                                                        (0.130)

             Above Median Hispanic Manager to Lower-Level Employee Share                                           0.027∗∗
                                                                                                                   (0.012)
             Proportion of Hispanic Lower-Level Employees                                                           0.046
                                                                                                                   (0.039)

             Above Median Asian Manager to Lower-Level Employee Share                                                          0.011
                                                                                                                              (0.012)
             Proportion of Asian Lower-Level Employees                                                                        0.207∗∗
                                                                                                                              (0.095)

             Log(Total Assets)                                                    0.053∗∗∗   0.052∗∗∗   0.052∗∗∗   0.053∗∗∗   0.052∗∗∗
                                                                                  (0.007)    (0.007)    (0.007)    (0.007)    (0.007)
             ROA                                                                   0.137∗    0.135∗     0.133∗     0.131∗      0.121
                                                                                  (0.076)    (0.076)    (0.077)    (0.077)    (0.074)
             Market to Book                                                        0.001      0.001      0.001      0.001      0.001
                                                                                  (0.002)    (0.002)    (0.002)    (0.002)    (0.002)
             Capex to Sales                                                        0.036      0.034      0.035      0.035      0.030
                                                                                  (0.093)    (0.092)    (0.096)    (0.096)    (0.100)
             COGS to Sales                                                         -0.016     -0.016     -0.017     -0.017     -0.016
                                                                                  (0.033)    (0.030)    (0.032)    (0.032)    (0.027)
             Inst. Ownership                                                       -0.071     -0.070     -0.067     -0.065     -0.063
                                                                                  (0.043)    (0.044)    (0.044)    (0.043)    (0.043)
             N                                                                     2,834      2,824      2,786      2,788      2,780
             Adj. R-squared                                                        0.183      0.188      0.184      0.187      0.190

             Year FE                                                                Yes        Yes        Yes        Yes        Yes
             Industry FE                                                            Yes        Yes        Yes        Yes        Yes
             Clusters                                                             Industry   Industry   Industry   Industry   Industry




                                                                   24

                                 Electronic copy available at: https://ssrn.com/abstract=4452298
                                                              SER-1101
(202 of 262), Page 202 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 202 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1012 of 1025



              Panel C: Above Average Proportions of Minority Managers and Public Disclosure of EEO-1 Reports

                                                                                       Public EEO Disclosure
                                                                           (1)        (2)        (3)        (4)        (5)

              Above Average Proportion of Female Managers                 0.017
                                                                         (0.016)
              Proportion of Female Lower-Level Employees                  -0.080
                                                                         (0.076)

              Above Average Proportion of Minority Managers                         0.048∗∗
                                                                                    (0.024)
              Proportion of Racial Minority Lower-Level Employees                    -0.009
                                                                                    (0.035)

              Above Average Proportion of Black Managers                                       0.025∗∗∗
                                                                                               (0.010)
              Proportion of Black Lower-Level Employees                                         -0.089
                                                                                               (0.139)

              Above Average Proportion of Hispanic Managers                                               0.024∗∗
                                                                                                          (0.011)
              Proportion of Hispanic Lower-Level Employees                                                 -0.068
                                                                                                          (0.057)

              Above Average Proportion of Asian Managers                                                              0.018
                                                                                                                     (0.012)
              Proportion of Asian Lower-Level Employees                                                               0.148
                                                                                                                     (0.103)
              Log(Total Assets)                                          0.053∗∗∗   0.052∗∗∗   0.052∗∗∗   0.052∗∗∗   0.050∗∗∗
                                                                         (0.007)    (0.007)    (0.007)    (0.007)    (0.007)
              ROA                                                        0.134∗     0.141∗     0.137∗     0.140∗     0.136∗
                                                                         (0.075)    (0.075)    (0.076)    (0.076)    (0.075)
              Market to Book                                              0.001      0.001      0.001      0.001      0.001
                                                                         (0.002)    (0.002)    (0.002)    (0.002)    (0.002)
              Capex to Sales                                              0.032      0.032      0.043      0.043      0.040
                                                                         (0.093)    (0.097)    (0.093)    (0.095)    (0.098)
              COGS to Sales                                               -0.017     -0.018     -0.019     -0.017     -0.015
                                                                         (0.032)    (0.031)    (0.032)    (0.032)    (0.027)
              Inst. Ownership                                             -0.072     -0.069     -0.072     -0.070     -0.072
                                                                         (0.044)    (0.043)    (0.044)    (0.043)    (0.045)
              N                                                           2,834      2,834      2,834      2,834      2,834
              Adj. R-squared                                              0.184      0.187      0.185      0.184      0.188

              Year FE                                                     Yes         Yes        Yes        Yes        Yes
              Industry FE                                                 Yes         Yes        Yes        Yes        Yes
              Clusters                                                  Industry    Industry   Industry   Industry   Industry

                                                                25

                                  Electronic copy available at: https://ssrn.com/abstract=4452298
                                                             SER-1102
(203 of 262), Page 203 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 203 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1013 of 1025




           Appendix 1           Example of EEO-1 Report




                                                         26

                           Electronic copy available at: https://ssrn.com/abstract=4452298
                                                    SER-1103
                                                                           Appendix 2                                  Variable Deﬁnitions

                                                                           Variable                                                                Deﬁnition                                                                                                                                                      Source
                                                                                                                                                                                                                                                                                                                  Corporate Websites,
                                                                           Public EEO Disclosure                                                   An indicator variable that takes on the value of one if the ﬁrm publicly discloses their EEO-1 report
                                                                                                                                                                                                                                                                                                                  ESG Reports
                                                                                                                                                                                                                                                                                                                                        (204 of 262), Page 204 of 262




                                                                           Proportion of Female Employees                                          The total number of female employees divided by the total numbers of employees                                                                                 EEO-1 Forms
                                                                           Proportion of Racial Minority Employees                                 The total number of racial minorities (i.e., non-white employees) divided by the total numbers of employees                                                    EEO-1 Forms
                                                                           Proportion of Black Employees                                           The total number of Black employees divided by the total numbers of employees                                                                                  EEO-1 Forms
                                                                           Proportion of Hispanic Employees                                        The total number of Hispanic employees divided by the total numbers of employees                                                                               EEO-1 Forms
                                                                           Proportion of Asian Employees                                           The total number of Asian and Paciﬁc Islander employees divided by the total numbers of employees                                                              EEO-1 Forms
                                                                           Proportion of Female Lower-Level Employees                              The total number of female non-manager employees divided by the total number of non-manager employees                                                          EEO-1 Forms
                                                                           Proportion of Racial Minority Lower-Level Employees                     The total number of racial minority (i.e., non-white employees) non-managers divided by the total number of non-manager employees                              EEO-1 Forms
                                                                           Proportion of Black Lower-Level Employees                               The total number of Black non-manager employees divided by the total number of non-manager employees                                                           EEO-1 Forms
                                                                           Proportion of Hispanic Lower-Level Employees                            The total number of non-manager Hispanic employees divided by the total number of non-manager employees                                                        EEO-1 Forms
                                                                           Proportion of Asian Lower-Level Employees                               The total number of non-manager Asian and Paciﬁc Islander employees divided by the total number of non-manager employees                                       EEO-1 Forms
                                                                           Proportion of Female Managers                                           The total number of female ﬁrst/mid-level managers divided by the total numbers of ﬁrst/mid-level oﬃcials and managers                                         EEO-1 Forms
                                                                           Proportion of Racial Minority Managers                                  The total number of racial minority ﬁrst/mid-level managers, (i.e., non-white managers) divided by the total numbers of ﬁrst/mid-level oﬃcials and managers    EEO-1 Forms
                                                                           Proportion of Black Managers                                            The total number of Black ﬁrst/mid-level managers divided by the total numbers of ﬁrst/mid-level oﬃcials and managers                                          EEO-1 Forms
                                                                           Proportion of Hispanic Managers                                         The total number of Hispanic ﬁrst/mid-level managers divided by the total numbers of ﬁrst/mid-level oﬃcials and managers                                       EEO-1 Forms
                                                                           Proportion of Asian Managers                                            The total number of Asian and Paciﬁc Islander ﬁrst/mid-level managers divided by the total numbers of ﬁrst/mid-level oﬃcials and managers                      EEO-1 Forms




                                                                      27
                                                                           Female Manager to Female Lower-Level Employee Share                     An indicator that takes on a value of one if the ﬁrm has an above-median ratio of female managers to female employees. This ratio captures the share of        EEO-1 Forms
                                                                                                                                                   female managers relative to the share of women among all employees.
                                                                           Racial Minority Manager to Racial Minority Lower-Level Employee Share   An indicator that takes on a value of one if the ﬁrm has an above-median ratio of racial minority managers to racial minority employees. This ratio captures   EEO-1 Forms




SER-1104
                                                                                                                                                   the share of racial minority managers relative to the share of racial minorities among all employees.
                                                                           Black Manager to Black Lower-Level Employee Share                       An indicator that takes on a value of one if the ﬁrm has an above-median ratio of Black managers to Black employees. This ratio captures the share of          EEO-1 Forms
                                                                                                                                                   black managers relative to the share of Blacks among all employees.
                                                                           Hispanic Manager to Hispanic Lower-Level Employee Share                 An indicator that takes on a value of one if the ﬁrm has an above-median ratio of Hispanic managers to Hispanic employees. This ratio captures the share       EEO-1 Forms
                                                                                                                                                   of Hispanic managers relative to the share of Hispanics among all employees.
                                                                           Asian Manager to Asian Lower-Level Employee Share                       An indicator that takes on a value of one if the ﬁrm has an above-median ratio of Asian managers to Asian employees. This ratio captures the share of          EEO-1 Forms
                                                                                                                                                   Asian managers relative to the share of Asians among all employees.
                                                                           Above Average Proportion of Female Managers                             An indicator that takes on a value of one if the ﬁrm has a proportion of female managers that is above the average proportion in their 4-digit NACE industry   EEO-1 Forms
                                                                                                                                                   and zero otherwise
                                                                           Above Average Proportion of Racial Minority Managers                    An indicator that takes on a value of one if the ﬁrm has a proportion of racial minority managers that is above the average proportion in their 4-digit NACE   EEO-1 Forms
                                                                                                                                                   industry and zero otherwise
                                                                           Above Average Proportion of Black Managers                              An indicator that takes on a value of one if the ﬁrm has a proportion of Black managers that is above the average proportion in their 4-digit NACE industry    EEO-1 Forms
                                                                                                                                                   and zero otherwise




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                                                                           Above Average Proportion of Hispanic Managers                           An indicator that takes on a value of one if the ﬁrm has a proportion of Hispanic managers that is above the average proportion in their 4-digit NACE          EEO-1 Forms
                                                                                                                                                   industry and zero otherwise
                                                                                                                                                                                                                                                                                                                                                                    Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 204 of 262




                                                                           Above Average Proportion of Asian Managers                              An indicator that takes on a value of one if the ﬁrm has a proportion of Asian and Paciﬁc Islander managers that is above the average proportion in their      EEO-1 Forms
                                                                                                                                                   4-digit NACE industry and zero otherwise
                                                                           Return on Assets (ROA)                                                  Net income before extraordinary items divided by total assets                                                                                                  Compustat
                                                                           Market to Book (MTB)                                                    Market capitalization divided by total assets                                                                                                                  Compustat
                                                                           CapEx/Sales                                                             Capital expenditures divided by sales                                                                                                                          Compustat
                                                                           COGS/Sales                                                              Cost of goods sold divided by sales                                                                                                                            Compustat
                                                                                                                                                                                                                                                                                                                                                         Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1014 of 1025




                                                                           Leverage                                                                (Long Term Debt + Short-Term Debt)/Total Assets                                                                                                                Compustat
                                                                           Institutional Ownership                                                 Percentage of outstanding shares held by institutional investors                                                                                               Thomson Reuters 13F
(205 of 262), Page 205 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 205 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1015 of 1025



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                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 206 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1016 of 1025
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                                                  SER-1106
(207 of 262), Page 207 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 207 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1017 of 1025




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(208 of 262), Page 208 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 208 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1018 of 1025
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                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 213 of 262
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                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 214 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1024 of 1025
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(215 of 262), Page 215 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 215 of 262
                 Case 3:22-cv-07182-WHA Document 39-1 Filed 10/18/23 Page 1025 of 1025
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(216 of 262), Page 216 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 216 of 262
                    Case 3:22-cv-07182-WHA Document 39-3 Filed 10/18/23 Page 1 of 9



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              8                              UNITED STATES DISTRICT COURT

              9                             NORTHERN DISTRICT OF CALIFORNIA

             10                                      SAN FRANCISCO

             11   THE CENTER FOR INVESTIGATIVE                   Case No. 3:22-cv-07182-WHA
                  REPORTING and WILL EVANS,
             12
                              Plaintiffs,                        DECLARATION OF JAMILLAH
             13                                                  BOWMAN WILLIAMS IN SUPPORT OF
                        v.                                       OPPOSITION TO DEFENDANT’S
             14                                                  MOTION FOR SUMMARY JUDGMENT
                  UNITED STATES DEPARTMENT OF                    AND CROSS MOTION FOR SUMMARY
             15   LABOR,                                         JUDGMENT
             16               Defendant.
             17                                                  Date:         Dec 14, 2023
                                                                 Time:         8:00 a.m.
             18                                                  Judge:        Hon. William Alsup
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                                                 WILLIAMS DECL. IN SUPP. OF
                                                 OPP. & CROSS MOT. SUMM. J
                                                  Case No. 3:22-cv-07182-WHA
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(217 of 262), Page 217 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 217 of 262
                    Case 3:22-cv-07182-WHA Document 39-3 Filed 10/18/23 Page 2 of 9



              1                     DECLARATION OF JAMILLAH BOWMAN WILLIAMS

              2   I, Jamillah Bowman Williams, declare:

              3          1.    I am Dr. Jamillah Bowman Williams. I have personal knowledge of the matters stated

              4   in this declaration. If called upon to do so, I am competent to testify to all matters set forth herein.

              5                                            Professional Background

              6          2.    I am a Professor of Law and Faculty Director of the Workers’ Rights Institute at

              7   Georgetown University Law Center in Washington, D.C. Currently, I am in residence at the

              8   Harvard Business School, as part of the inaugural cohort of Visiting Faculty Fellows with the

              9   Institute for the Study of Business in Global Society. I completed my master’s degree in Higher

             10   Education from the University of Michigan, my J.D. at Stanford Law School, and my Ph.D. in

             11   Sociology at Stanford University.

             12          3.    My research focuses on contemporary bias and anti-discrimination law, including in

             13   the employment context. More specifically, I use social psychological theory and empirical data

             14   analysis to examine the impact of antidiscrimination laws and the effects of diversity and inclusion

             15   polices on individuals and companies across the workforce.

             16          4.    I have published articles in the Georgetown Law Journal, California Law Review,

             17   Boston College Law Review, University of Chicago Legal Forum, Washington Law Review, Iowa

             18   Law Review, William and Mary Law Review, the Employee Rights and Employment Policy

             19   Journal, and the ABA Journal of Labor and Employment Law. I have also authored several white

             20   papers and peer-reviewed articles that have been featured by a range of media outlets including

             21   Politico and the New York Times.

             22          5.    In 2021, I received the Michael J. Zimmer Memorial Award as a rising scholar who

             23   values workplace justice and community, and as someone who has made signiﬁcant contributions

             24   to labor & employment law scholarship.

             25          6.    As part of my research, many of the law review articles and news articles I have written

             26   detail how some companies incorrectly claim that the workforce demographic data they compile

             27   and submit to the Department of Labor in their EEO-1 Reports, amount to either trade secrets or

             28   otherwise confidential commercial information. I have written extensively on why workforce equal
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                                                      WILLIAMS DECL. IN SUPP. OF
                                                      OPP. & CROSS MOT. SUMM. J
                                                       Case No. 3:22-cv-07182-WHA
                                                       SER-1117
(218 of 262), Page 218 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 218 of 262
                    Case 3:22-cv-07182-WHA Document 39-3 Filed 10/18/23 Page 3 of 9



              1   employment opportunity (EEO) data should not be treated as a trade secret by the nation’s largest

              2   tech companies.

              3        The Problem: Lack of Transparency and Access to Workforce Demographic Data

              4          7.    Bias and lack of opportunity for women and racialized minorities have long been

              5   systemic problems in our nation’s most powerful and elite industries, including finance,

              6   technology, law, and film. Media outlets, members of Congress, social justice groups, and other

              7   stakeholders have repeatedly called on these industries to improve representation of women and

              8   racialized minorities, make their workplace environments more inclusive, and adopt more equitable

              9   employment practices. 1

             10          8.    A core purpose of the Civil Rights Act of 1964 is to open opportunities for women and

             11   racialized minorities, and to eliminate old patterns of inequality. In addition, Executive Order 11246

             12   requires employers with government contracts to take affirmative steps to increase the participation

             13   of women and racialized minorities if these groups are underrepresented, relative to the available

             14   labor pool. The Equal Employment Opportunity Commission (EEOC) and the Department of

             15   Labor (DOL) regularly collect workforce data to monitor employer compliance with these laws.

             16          9.    A significant challenge to those investigating and exploring solutions for continuing

             17   workplace inequality is that employers and government agencies possess the relevant information

             18
                  1
             19     San Jose Mercury News requested information in 2008 from the fifteen largest Silicon Valley
                  companies. See Mike Swift, Five Silicon Valley Companies Fought Release of Employment Data,
             20   and       Won,      MERCURY           NEWS         (Feb.     11,       2010,       4:52       AM),
                  https://www.mercurynews.com/2010/02/11/five-silicon-valleycompanies-fought-release-of-
             21   employment-data-and-won/; CNN requested information in 2011 from twenty U.S. technology
                  companies. See Diversity in Silicon Valley: The Fight to Uncover Data, CNN MONEY (Aug. 18,
             22   2011), https://money.cnn.com/interactive/technology/diversity-tech/; California Representative
             23   Barbara Lee and North Carolina Representative G.K. Butterfield met with tech leaders in 2015 and
                  2017 to request greater transparency and urge change. See Will Evans, Congresswoman to Tech
             24   Firms:     ‘You’re        Hiding      Something,’       REVEAL          (Dec.      11,       2017),
                  https://www.revealnews.org/blog/congresswoman-to-tech-firmsyoure-hiding-something/;
             25   Reverend Jesse Jackson and the Rainbow Push Coalition have pressured the tech industry for
                  change since 2014, most recently contacting “25 large technology companies, including Google,
             26   Facebook, Tesla and Oracle, calling on them to release information on their hiring practices, board
             27   diversity measures and employee retention statistics in addition to their latest diversity data.”
                  Sinduja Rangarajan, Jesse Jackson Calls Out Silicon Valley ‘Empty Promises’ on Diversity,
             28   REVEAL (Apr. 6, 2018), https://www.revealnews.org/blog/jessejackson-calls-out-silicon-valley-
                  empty-promises-on-diversity/.
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                                                       Case No. 3:22-cv-07182-WHA
                                                      SER-1118
(219 of 262), Page 219 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 219 of 262
                    Case 3:22-cv-07182-WHA Document 39-3 Filed 10/18/23 Page 4 of 9



              1   on workforce representation, hiring, promotion, compensation, and related employment policies

              2   and practices. Without access to this information, potential plaintiffs, civil rights advocates, and

              3   concerned members of the public are unable to properly assess the disparities, let alone strive for

              4   effective solutions. Two ways of controlling access to this kind of data have recently been gaining

              5   steam, particularly among companies resistant to workforce demographic transparency – the

              6   “diversity as trade secret” argument and the workforce data as sensitive “commercial business

              7   information” argument.

              8           10. When government agencies like the DOL collect information to monitor compliance

              9   with laws that are important to the public, such as EO 11246, there is a longstanding presumption

             10   favoring disclosure of that information. The Freedom of Information Act (FOIA) also requires the

             11   government agencies to proactively provide this data to keep citizens informed, which is a vital

             12   part of our democracy. Thus, exemption from disclosure requires a strong and compelling

             13   argument that such disclosure would lead to competitive harm to a person or a business. In the case

             14   of workforce demographic data, the legal arguments for exemption are very weak.

             15           11. My research has shown that there is no evidence that nondisclosure of workforce

             16   demographic data secures a company’s competitive advantage in a way that needs to be protected

             17   by trade secret law. Instead, these efforts to withhold basic workforce data seem to be aimed at

             18   concealing inequality and avoiding reputational harm that may occur if employees, competitors,

             19   and the public become more aware of discriminatory patterns. Calling something a “trade secret”

             20   to avoid possible embarrassment or legal risk abuses the purpose of intellectual property law and

             21   is in direct conflict with the purposes of Title VII and EO 11246. 2

             22       The Reasoning: EEO-1 Workforce Demographic Data Should Not be Treated as a Trade

             23                                 Secret or “Commercial” Information

             24
                  2
                    See Jamillah Bowman Williams, Diversity as a Trade Secret, 107 GEO. L.J. 1684, 1695-96
             25   (2019) (examining corporate claims that workforce diversity data and company diversity
                  strategies are trade secrets); Jamillah Bowman Williams, Why Companies Shouldn’t Be Allowed
             26   to Treat Their Diversity Numbers as Trade Secrets, HARV. BUS. REV. (Feb. 15, 2019),
                  https://hbr.org/2019/02/why-companies-shouldnt-be-allowed-to-treat-their-diversitynumbers-as-
             27   trade-secrets; see also Will Evans & Sinduja Rangarajan, Oracle and Palantir Said Diversity
                  Figures Were Trade Secrets. The Real Secret: Embarrassing Numbers, REVEAL (Jan. 7, 2019),
             28   https://www.revealnews.org/ article/oracle-and-palantir-said-diversity-figures-were-trade-secrets-
                  the-real-secretembarrassing-numbers/ [https://perma.cc/8WDG-VG4C].
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                                                       Case No. 3:22-cv-07182-WHA
                                                      SER-1119
(220 of 262), Page 220 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 220 of 262
                    Case 3:22-cv-07182-WHA Document 39-3 Filed 10/18/23 Page 5 of 9



              1          12. Public access to EEO-1 Report data would make it easier to study workforce

              2   demographic trends and address diversity deficiencies among federal contractors.

              3          13. The EEO-1 Reports collected and maintained by the Department of Labor are one of

              4   the few instances where the public has a right to access the workforce representation data of

              5   employers who are federal contractors, in a standardized format. The DOL requires all federal

              6   contractors with fifty or more employees and $50,000 in government contracts to submit EEO-1

              7   reports so that it can monitor compliance with nondiscrimination requirements under the Office of

              8   Federal Contract Compliance Programs (OFCCP). 3

              9          14. In my research, I have examined the workforce data compiled in the submitted EEO-

             10   1 reports and explained why this information does not constitute protected “commercial”

             11   information or “a trade secret.” Information that might appropriately be considered “commercial”

             12   includes information about revenue, pricing strategy, purchase records, and a company’s

             13   commercial assets. Information that might constitute “trade secrets” includes valuable intellectual

             14   property, such as proprietary inventions, formulas, or algorithms that the business must keep secret

             15   to protect a competitive advantage it has in the marketplace. Workforce EEO data does not fall

             16   under either category. 4

             17          15. Described in its simplest form, the workforce data from the EEO-1 Reports amounts

             18   to a straightforward count of the number of male and female employees, by race/ethnicity, in

             19   various roles at a specific company. This numerical “employee count” is simply not the product of
             20   a secret proprietary formula, it does not require significant internal effort or research investment to

             21   compile, and there is no competitive outcome that is threatened if these counts were to be known

             22   by competitors. Further, nothing in these aggregate counts of employees reveals any insights about

             23   a company’s inner workings – such as strategy, recruiting practices, operations, or costs. No secret

             24   intellectual property regarding core goods and services are divulged to competitors in these reports.

             25   Thus, these aggregate employee counts should not be treated as a trade secret or commercial

             26   information withheld under Exemption 4.

             27

             28   3
                    41 C.F.R. § 60-1.7(a) (2018).
                  4
                   Williams supra note 2.
                                                                    4
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                                                       Case No. 3:22-cv-07182-WHA
                                                       SER-1120
(221 of 262), Page 221 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 221 of 262
                    Case 3:22-cv-07182-WHA Document 39-3 Filed 10/18/23 Page 6 of 9



              1          16. In my research, I have shown how companies that disclose their EEO-1 reports and

              2   other workforce diversity data do not face competitive threats, financial disadvantage, or any other

              3   marketplace harm.      Rather, many companies that are transparent about their workforce

              4   demographic trends reap considerable benefits, including positive reputational effects for

              5   prioritizing diversity, greater accountability to the public and consumer trust, and ensuring

              6   compliance with anti-discrimination laws. For example, favoring transparency, a number of the

              7   leading tech companies now release workforce data voluntarily, and have not faced any competitive

              8   threats, financial disadvantage or other kind of commercial harm. 5 Many of the largest federal

              9   contractors—such as Lockheed Martin Corp., General Dynamics Corp., Oracle Corp., Exxon Mobil

             10   Corp., and Abbott Laboratories—have started regularly sharing their EEO-1 forms with investors

             11   and the public in 2020 with no quantifiable commercial consequences.

             12           The Harm: Denying Access to Workforce Demographic Data Harms the Individual

             13                      Employees that Antidiscrimination Laws are Meant to Protect.

             14          17. My research shows how the government’s withholding of EEO-1 reports and other

             15   workforce data exacerbates several problems surrounding equal employment opportunity. This is

             16   particularly an issue in industries with historical and continuing patterns of inequality, such as

             17   technology, which has systemic issues with hiring and retaining women and racialized minorities.

             18          18. If employers are claiming Exemption 4 protections to keep the count of their women

             19   and racialized minority employees secret, this not only conceals potential inequality, it is also
             20   commodification of the very workers who Title VII and EO 11246 were designed to protect. For

             21   example, some companies have claimed that if competitors knew the number of Black and Latinx

             22   employees they employ, the competitors would recruit them away, creating a competitive

             23   disadvantage, because diversity is a competitive asset. Companies making this argument assert

             24
                  5
             25    Id; see also Kavya Vaghul, Aleksandra Radeva, and Kim Ira, Workforce Diversity Data
                  Disclosure, Harvard Law School Forum on Corporate Governance, March 2022,
             26   https://corpgov.law.harvard.edu/2022/03/09/workforce-diversity-data-disclosure/. INTEL,
                  VISION & VALUES: GLOBAL CITIZENSHIP REPORT 2001, at 30 (2002), http://
             27   csrreportbuilder.intel.com/PDFfiles/archived_reports/Intel%202001%20CSR%20Report.pdf; The
                  UK Equality Act 2010 (Gender Pay Gap Information) requires all employers with 250 or more
             28   employees to publish aggregate pay data by sex on their websites and to make these data publicly
                  available for at least three years.
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                                                     OPP. & CROSS MOT. SUMM. J
                                                      Case No. 3:22-cv-07182-WHA
                                                      SER-1121
(222 of 262), Page 222 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 222 of 262
                    Case 3:22-cv-07182-WHA Document 39-3 Filed 10/18/23 Page 7 of 9



              1   ownership of employees from underrepresented backgrounds, seeking to profit from their racial

              2   identities in a way that they do not do to White employees. This is an intentional effort to restrict

              3   the visibility, professional prospects, and mobility, of women and racialized minorities, specifically

              4   because of their race or gender. This is ironic, because in many other cases, these same companies

              5   seek to showcase their underrepresented employees on websites, at conferences, in advertisements,

              6   etc., if they feel it is profitable or otherwise advantageous. This trend is consistent with the theory

              7   of “identity capitalism.” 6

              8           19. Identity capitalism has been defined as the derivation of social and economic value

              9   from the racial or gender identity of another person at that person’s expense. This phenomenon is

             10   particularly apparent in recent years as the social climate across many industries is preoccupied

             11   with the notion of diversity, and non-whiteness and non-maleness are essentially commodified and

             12   exploited for their perceived market value. Paradoxically, this argument is often used to the

             13   detriment of the underrepresented employees whose identities are supposed to provide the value.

             14           20.   My research has shown that if the counts of incumbent employees, by gender, race,

             15   and ethnicity, are considered trade secrets or confidential commercial information, this conceals

             16   inequality, interfering with the purpose of Title VII and EO 11246. The individuals from

             17   historically underrepresented groups, some of which suspect current discrimination, will not be

             18   able to assess whether their current or prospective employers are broadening access and opportunity

             19   over time consistent with goals of Title VII and EO 11246. The public will also remain uninformed

             20   about the compliance status and progress of major companies.

             21           21. Seeking to conceal this information through trade secret protections and commercial

             22   confidentiality, by arguing that the count of historically underrepresented talent is an asset that must

             23   be guarded is disingenuous, or at best misguided. This allows companies to continue with

             24   workplace practices that perpetuate barriers and bias, with little accountability.

             25           22. If employers continue to use competitive trade secret arguments to justify withholding

             26   critical EEO information, not only will inequalities remain concealed, but they are likely to remain

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                  6
                    See generally Nancy Leong, Racial Capitalism, 126 HARV. L. REV. 2151 (2013) (analyzing
             28   the phenomenon of racial capitalism, which is “the process of deriving social and economic value
                  from the racial identity of another person” and broadly mentioning identity capitalism)
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                                                       Case No. 3:22-cv-07182-WHA
                                                       SER-1122
(223 of 262), Page 223 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 223 of 262
                    Case 3:22-cv-07182-WHA Document 39-3 Filed 10/18/23 Page 8 of 9



              1   unresolved due to the lack of transparency and accountability. Favoring disclosure, as required by

              2   FOIA, would incentivize more equitable workplace practices, while also allowing various

              3   stakeholders, including employees, investors, legislators, consumers, civil rights advocates, and the

              4   public to become informed about companies that have been successful at closing inequality gaps,

              5   which could open opportunities for debate and learning that can help solve chronic

              6   underrepresentation across industries.

              7          23.    The widespread use of the “trade secret” and “commercial information” exemption in

              8   this context is not only continuing weak legal arguments, it is also interfering with the core purposes

              9   of civil rights and EEO law.

             10                  I declare under penalty of perjury of the laws of the United States of America that

             11   the foregoing is true and correct to the best of my knowledge and belief.

             12

             13                  Executed October 18 in Cambridge, Massachusetts.

             14
                                                                         /s/ Jamillah Bowman Williams
             15                                                          Jamillah Bowman Williams
             16

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                                                       Case No. 3:22-cv-07182-WHA
                                                       SER-1123
(224 of 262), Page 224 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 224 of 262
                    Case 3:22-cv-07182-WHA Document 39-3 Filed 10/18/23 Page 9 of 9



                                                           1                                   ATTORNEY ATTESTATION
                                                           2          I, Aaron R. Field, am the ECF User whose ID and password are being used to file this
                                                           3   document. In compliance with N.D. Cal. Civil L.R. 5-1(i)(3), I hereby attest that concurrence in
                                                           4   the filing of this document has been obtained from the other Signatories.
                                                           5
                                                                                                                    /s/ Aaron Field
                                                           6
                                                                                                                    AARON R. FIELD
                                                           7

                                                           8

                                                           9
    100 PINE STREET, SUITE 350, SAN FRANCISCO CA, 94111




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                     ATTORNEYS AT LAW




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                                                                                                       ATTORNEY ATTESTATION
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(225 of 262), Page 225 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 225 of 262
                     Case 3:22-cv-07182-WHA Document 23 Filed 04/06/23 Page 1 of 6




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         8 DEPARTMENT OF LABOR

         9

        10                                    UNITED STATES DISTRICT COURT

        11                                 NORTHERN DISTRICT OF CALIFORNIA

        12                                        SAN FRANCISCO DIVISION

        13

        14   THE CENTER FOR INVESTIGATIVE                         ) Case No. 22-cv-07182-WHA
             REPORTING and WILL EVANS,                            )
        15                                                        )
                     Plaintiffs,                                  ) JOINT CASE MANAGEMENT STATEMENT
        16                                                        ) AND [PROPOSED] ORDER
                v.                                                )
        17                                                        ) Date:     April 13, 2023
             UNITED STATES DEPARTMENT OF                          ) Time:     11:00 a.m.
        18   LABOR,                                               ) Place:    Courtroom 12, 19th Floor
                                                                  )
        19                                                        ) The Hon. William Alsup
                     Defendant.                                   )
        20                                                        )

        21

        22           Pursuant to Clerk’s Notice dated March 6, 2023, Dkt. No. 22, and pursuant to the Standing Order

        23 for All Judges of the Northern District of California dated January 17, 2023, and Civil Local Rule 16-9,

        24 the parties jointly submit this Joint Case Management Statement (“JCMS”) and Stipulated Request To

        25 Continue Case Management Conference.

        26           1.      Jurisdiction and Service

        27           There are no issues concerning personal jurisdiction, venue, or service. Plaintiff brought this

        28 action under the Freedom of Information Act (“FOIA”), 5 U.S.C § 552(a)(4)(B). Defendant has been

             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                              1

                                                         SER-1125
(226 of 262), Page 226 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 226 of 262
                     Case 3:22-cv-07182-WHA Document 23 Filed 04/06/23 Page 2 of 6




         1 served.

         2           2.     Facts

         3           This lawsuit was filed on November 15, 2022, and relates to four FOIA requests submitted by

         4 Plaintiffs Center for Investigative Reporting (“CIR”) and Will Evans to the Office of Federal Contract

         5 Compliance Program (“OFCCP”), a component of the U.S. Department of Labor (“DOL”), between

         6 January 2019 and June 2022. These requests were modified into a single FOIA Request as of June 3,

         7 2022, seeking the disclosure of consolidated (Type 2) EEO-1 reports for all federal contractors for the

         8 years 2016 through 2020. EEO-1 Type 2 reports require companies to report the total number of

         9 employees across their establishments by race/ethnicity, gender, and job category.

        10           DOL calculates that this request encompasses approximately 75,000 reports from a total of

        11 approximately 24,000 unique federal contractors. DOL began actively processing this request after

        12 Plaintiffs’ final modification in June 2022. DOL has begun its rolling release of records with a small

        13 release on March 2, 2023. It is continuing the processing of the remaining records.

        14           Since the last JCMS, DOL completed the mailing of a final notice to the submitting federal

        15 contractors. This notice provided a final response date of March 31, 2023 for contractors to submit

        16 objections to the release of their data. DOL is now in the process of sorting the data and reconciling the

        17 list of objectors against the approximately 75,000 reports so that it can release the information of non-

        18 objectors. DOL is on track for release of the non-objector data on or before April 17, 2023, as targeted

        19 in the March 3, 2023 JCMS, Dkt. No. 21. On April 12, 2023, DOL will provide CIR the anticipated

        20 total number of reports to be released and the total number of objections received, subject to the

        21 understanding that these numbers may be adjusted slightly as the release is finalized in the following

        22 five days.

        23           OFCCP’s jurisdiction team is continuing to examine the responses of additional companies that

        24 have asserted non-contractor status. An additional small release is anticipated following that process,

        25 which should be completed on or before May 31, 2023.

        26           Following the release of non-objectors’ data, the remaining reports will require further

        27 evaluation to determine whether they will be withheld under FOIA Exemption 4 and possibly other

        28 exemptions. Due to the number of reports and the complexity of the evaluation process, DOL

             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                              2

                                                         SER-1126
(227 of 262), Page 227 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 227 of 262
                     Case 3:22-cv-07182-WHA Document 23 Filed 04/06/23 Page 3 of 6




         1 anticipates that the evaluation process, which will be done on a rolling basis, will be complete by the end

         2 of September 2023.

         3          OFCCP anticipates that a supplemental release of reports may be made at this time or sooner if it

         4 determines that the objections do not support the assertion of an exemption. OFCCP also anticipates

         5 that it may assert that a number of reports are exempt from disclosure after this review process.

         6          The parties have and will continue to confer on an ongoing basis.

         7          3.       Legal Issues

         8          Defendant: DOL does not yet know how many reports will be withheld under Exemption 4.

         9 DOL anticipates that the parties will engage in a meet and confer process following the completion of

        10 processing as described above regarding any withholdings. DOL believes that following the completion

        11 of processing, the following legal issue may be in dispute: whether Defendant has appropriately

        12 asserted Exemption 4 with respect to any EEO-1 reports that are not released.

        13          Plaintiffs: Legal issues will include whether Defendants properly refused to withhold

        14 records under FOIA, including but not limited to FOIA Exemption 4 and whether FOIA obligations

        15 were improperly thwarted through agency regulations.

        16          4.       Motions

        17          There are no prior or pending motions. The parties anticipate that this matter can be resolved on

        18 cross-motions for summary judgment if the parties cannot informally resolve the matter.

        19          5.       Amendments of Pleadings

        20          The parties do not anticipate amending their pleadings.

        21          6.       Evidence Preservation

        22          The parties have reviewed the Guidelines Relating to Discovery of Electronically Stored

        23 Information (“ESI Guidelines”). The parties confirm that they have met and conferred regarding

        24 reasonable and proportionate steps taken to preserve evidence relevant to the issues reasonably evident

        25 in this action.

        26          7.       Disclosures

        27          The parties request that they be relieved from the initial disclosure requirements of Federal Rule

        28 of Civil Procedure 26(a). The parties agree that initial disclosures are not necessary as this is a FOIA

             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                             3

                                                        SER-1127
(228 of 262), Page 228 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 228 of 262
                     Case 3:22-cv-07182-WHA Document 23 Filed 04/06/23 Page 4 of 6




         1 action.

         2           8.     Discovery

         3           To date, no discovery has been taken by any party, and the parties do not anticipate based on

         4 current information that discovery will be necessary in this case.

         5           9.     Class Actions

         6           Not applicable.

         7           10.    Related Cases

         8           Not applicable.

         9           11.    Relief

        10           The parties will each seek summary judgment. Plaintiffs seek an order directing Defendant to

        11 produce all of the contested documents and further order any appropriate attorneys’ fees. Defendant

        12 denies that Plaintiffs are entitled to any relief and will seek dismissal.

        13           12.    Settlement and ADR

        14           The parties anticipate that they will file motions for summary judgment. The parties request that

        15 any consideration of ADR be deferred until after the summary judgment motions are decided.

        16           13.    Other References

        17           The parties do not believe that this case is suitable for reference to binding arbitration, a special

        18 master, or the Judicial Panel on Multidistrict Litigation.

        19           14.    Narrowing of Issues

        20           The parties will continue to meet and confer in an attempt to narrow issues.

        21           15.    Expedited Trial Procedure

        22           The parties believe that this case can be resolved on summary judgment. The expedited trial

        23 procedure is therefore inapplicable.

        24           16.    Scheduling

        25           The parties anticipate that this matter can ultimately be resolved on summary judgment. As set

        26 forth above, DOL anticipates that its final release will occur following the completion of the review

        27 process at the end of September 2023. DOL believes that summary judgment practice should occur after

        28 the completion of the September 2023 production, after DOL has made a final determination as to

             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                                4

                                                          SER-1128
(229 of 262), Page 229 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 229 of 262
                     Case 3:22-cv-07182-WHA Document 23 Filed 04/06/23 Page 5 of 6




         1 whether it will withhold the requested information under an applicable exemption. Plaintiffs believe

         2 that summary judgment motion practice is appropriate at a sooner stage, in the next several months, and

         3 a summary judgment motion schedule should be set as soon as possible, particularly given the Plaintiffs’

         4 newsworthy interest in the records. The parties respectfully propose that the Court schedule an

         5 additional case management conference for May 11, 2023, and that the parties provide a status report

         6 seven days before the conference regarding the progress of the release and whether a summary judgment

         7 motion schedule can be set at that time.

         8          17.     Trial

         9          The parties anticipate that this entire case may be resolved on summary judgment.

        10          18.     Disclosure of Non-party Interested Entities or Persons

        11          On November 15, 2022, Plaintiffs filed their Certificate of Interested Entities, Dkt. 3, stating

        12 Plaintiffs had no such interested entities or persons.

        13          Defendant is exempt from this requirement as a federal government entity pursuant to Civil

        14 Local Rule 3-15.

        15          19.     Professional Conduct

        16          All attorneys of record for the parties have reviewed the Guidelines for Professional Conduct for

        17 the Northern District of California.

        18          20.     Other

        19          The parties believe that there are no other case management orders necessary in this case and

        20 request that the Court continue the Case Management Conference.

        21 DATED: April 6, 2023                                     Respectfully submitted,

        22                                                          ISMAIL J. RAMSEY
                                                                    United States Attorney
        23
                                                                    /s/ Pamela T. Johann
        24                                                          PAMELA T. JOHANN
                                                                    Assistant United States Attorney
        25
                                                                    Attorneys for Defendant
        26

        27

        28

             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                              5

                                                        SER-1129
(230 of 262), Page 230 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 230 of 262
                     Case 3:22-cv-07182-WHA Document 23 Filed 04/06/23 Page 6 of 6




         1 DATED: April 6, 2023                                  THE CENTER FOR INVESTIGATIVE
                                                                 REPORTING
         2
                                                                 /s/ D. Victoria Baranetsky
         3                                                       D. VICTORIA BARANETSKY
         4                                                       Attorneys for Plaintiffs
         5                                              ATTESTATION
         6          I, Pamela T. Johann, hereby attest under penalty of perjury that in compliance with Civil Local
         7 Rule 5-1(h)(3), I have obtained the concurrence in the filing of this document from D. Victoria

         8 Baranetsky.

         9                                                       /s/ Pamela T. Johann
                                                                 PAMELA T. JOHANN
        10

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             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                            6

                                                       SER-1130
(231 of 262), Page 231 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 231 of 262
                     Case 3:22-cv-07182-WHA Document 21 Filed 03/02/23 Page 1 of 6




         1 STEPHANIE M. HINDS (CABN 154284)
           United States Attorney
         2 MICHELLE LO (NYRN 4325163)
           Chief, Civil Division
         3 PAMELA T. JOHANN (CABN 145558)
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         6        Facsimile: (415) 436-7234
                  pamela.johann@usdoj.gov
         7
           Attorneys for Defendant UNITED STATES
         8 DEPARTMENT OF LABOR

         9

        10                                    UNITED STATES DISTRICT COURT

        11                                 NORTHERN DISTRICT OF CALIFORNIA

        12                                        SAN FRANCISCO DIVISION

        13

        14   THE CENTER FOR INVESTIGATIVE                         ) Case No. 22-cv-07182-WHA
             REPORTING and WILL EVANS,                            )
        15                                                        )
                     Plaintiffs,                                  ) JOINT CASE MANAGEMENT STATEMENT
        16                                                        ) AND [PROPOSED] ORDER
                v.                                                )
        17                                                        ) Date:     March 9, 2023
             UNITED STATES DEPARTMENT OF                          ) Time:     11:00 a.m.
        18   LABOR,                                               ) Place:    Courtroom 12, 19th Floor
                                                                  )
        19                                                        ) The Hon. William Alsup
                     Defendant.                                   )
        20                                                        )

        21

        22           Pursuant to Clerk’s Notice dated February 14, 2023, Dkt. No. 20, and pursuant to the Standing

        23 Order for All Judges of the Northern District of California dated January 17, 2023, and Civil Local Rule

        24 16-9, the parties jointly submit this Joint Case Management Statement (“JCMS”) and Stipulated Request

        25 To Continue Case Management Conference.

        26           1.      Jurisdiction and Service

        27           There are no issues concerning personal jurisdiction, venue, or service. Plaintiff brought this

        28 action under the Freedom of Information Act (“FOIA”), 5 U.S.C § 552(a)(4)(B). Defendant has been

             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                              1

                                                         SER-1131
(232 of 262), Page 232 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 232 of 262
                     Case 3:22-cv-07182-WHA Document 21 Filed 03/02/23 Page 2 of 6




         1 served.

         2           2.     Facts

         3           This lawsuit was filed on November 15, 2022, and relates to four FOIA requests submitted by

         4 Plaintiffs Center for Investigative Reporting (“CIR”) and Will Evans to the Office of Federal Contract

         5 Compliance Program (“OFCCP”), a component of the U.S. Department of Labor (“DOL”), between

         6 January 2019 and June 2022. These requests were modified into a single FOIA Request as of June 3,

         7 2022, seeking the disclosure of consolidated (Type 2) EEO-1 reports for all federal contractors for the

         8 years 2016 through 2020. EEO-1 Type 2 reports require companies to report the total number of

         9 employees across their establishments by race/ethnicity, gender, and job category.

        10           DOL calculates that this request encompasses approximately 75,000 reports from a total of

        11 approximately 24,000 unique federal contractors. DOL began actively processing this request after

        12 Plaintiffs’ final modification in June 2022. DOL has begun its rolling release of records with a small

        13 release on March 2, 2023. It is continuing the processing of the remaining records.

        14           According to DOL, the processing of this request is a massive undertaking requiring the

        15 involvement of a number of DOL employees from OFCCP and the Office of the Solicitor. In addition to

        16 existing staff, the FOIA Team has added two highly experienced staff members with database and data

        17 analytic training from DOL’s Branch of Expert Services and Department of Programs Operations to

        18 dedicate their time and expertise in data management to ensure that the processing of this request and

        19 the sorting of data for release is accurate.

        20           As of the date of the last JCMS, February 9, 2023, DOL anticipated that it would be in a position

        21 to release the vast majority of responsive documents—approximately 65,000 reports—by February 24,

        22 2023. Following the filing of that JCMS, several complications have arisen that have compelled

        23 OFCCP to push the anticipated release date back. Specifically:

        24                 OFCCP received additional correspondence expressing concern that contractors had not
        25                  received notice of the intended release of their documents. This included correspondence

        26                  dated February 10, 2023 from Congresswoman Virginia Foxx, Chair of the House

        27                  Committee on Education and the Workforce, who raised questions about OFCCP’s

        28                  processing of the FOIA request and concerns that OFCCP had not provided contractors

             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                             2

                                                          SER-1132
(233 of 262), Page 233 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 233 of 262
                     Case 3:22-cv-07182-WHA Document 21 Filed 03/02/23 Page 3 of 6




         1                  sufficient time to object, and requested that OFCCP reopen the objection period for an

         2                  additional 60 days.

         3                 More recently, OFCCP received correspondence from a contractor raising additional
         4                  concerns about the notification process and suggesting that the mass emails that OFCCP

         5                  sent had have a high failure rate and were unlikely to be reaching many contractors

         6                  because of data security protocols that block mass communications.

         7                 The objections have revealed that OFCCP’s list of potentially responsive records
         8                  continues to include non-federal contractors, whose records may not be disclosed.

         9          As a result, OFCCP has determined that it needs to take additional steps, given the unique

        10 circumstances of this case, to ensure that its records of non-objectors and federal contractors are correct

        11 before it will be in a position to release the non-objectors’ data. It currently anticipates sending a final

        12 notice by U.S. Mail on or before March 14, 2023. This notice will provide a final response date of

        13 March 31, 2023. The non-objectors’ data, which will comprise the majority of requested data, is

        14 anticipated to be released on or before April 17, 2023. To the extent that any of these letters are returned

        15 as undeliverable, DOL will make an effort to correct the address and re-send the letter, with a final

        16 response date that is adjusted accordingly. This will not delay the anticipated release on April 17, 2023,

        17 but there may be a small supplemental release two to three weeks later for these contractors.

        18          OFCCP’s jurisdiction team is continuing to examine the responses of additional companies that

        19 have asserted non-contractor status. An additional small release is anticipated following that process,

        20 which should be completed on or before May 31, 2023.

        21          Following the release of non-objectors’ data, the remaining reports will require further

        22 evaluation to determine whether they will be withheld under FOIA Exemption 4 and possibly other

        23 exemptions. Due to the number of reports and the complexity of the evaluation process, DOL

        24 anticipates that the evaluation process will be complete by the end of September 2023.

        25          OFCCP anticipates that a supplemental release of reports may be made at this time if it

        26 determines that the objections do not support the assertion of an exemption. OFCCP also anticipates

        27 that it may assert that a number of reports are exempt from disclosure after this review process.

        28          3.      Legal Issues

             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                              3

                                                         SER-1133
(234 of 262), Page 234 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 234 of 262
                     Case 3:22-cv-07182-WHA Document 21 Filed 03/02/23 Page 4 of 6




         1           Defendant: DOL does not yet know how many reports will be withheld under Exemption 4.

         2 DOL anticipates that the parties will engage in a meet and confer process following the completion of

         3 processing as described above regarding any withholdings. DOL believes that following the completion

         4 of processing, the following legal issue may be in dispute: whether Defendant has appropriately

         5 asserted Exemption 4 with respect to any EEO-1 reports that are not released.

         6           Plaintiffs: Legal issues will include whether Defendants properly refused to withhold

         7 records under FOIA, particularly FOIA Exemption 4 and whether FOIA obligations were improperly

         8 thwarted through agency regulations.

         9           4.      Motions

        10           There are no prior or pending motions. The parties anticipate that this matter can be resolved on

        11 cross-motions for summary judgment if the parties cannot informally resolve the matter.

        12           5.      Amendments of Pleadings

        13           The parties do not anticipate amending their pleadings.

        14           6.      Evidence Preservation

        15           The parties have reviewed the Guidelines Relating to Discovery of Electronically Stored

        16 Information (“ESI Guidelines”). The parties confirm that they have met and conferred regarding

        17 reasonable and proportionate steps taken to preserve evidence relevant to the issues reasonably evident

        18 in this action.

        19           7.      Disclosures

        20           The parties request that they be relieved from the initial disclosure requirements of Federal Rule

        21 of Civil Procedure 26(a). The parties agree that initial disclosures are not necessary as this is a FOIA

        22 action.

        23           8.      Discovery

        24           To date, no discovery has been taken by any party, and the parties do not anticipate based on

        25 current information that discovery will be necessary in this case.

        26           9.      Class Actions

        27           Not applicable.

        28           10.     Related Cases

             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                              4

                                                         SER-1134
(235 of 262), Page 235 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 235 of 262
                     Case 3:22-cv-07182-WHA Document 21 Filed 03/02/23 Page 5 of 6




         1          Not applicable.

         2          11.     Relief

         3          The parties will each seek summary judgment. Plaintiffs seek an order directing Defendant to

         4 produce all of the contested documents and further order any appropriate attorneys’ fees. Defendant

         5 denies that Plaintiffs are entitled to any relief and will seek dismissal.

         6          12.     Settlement and ADR

         7          The parties anticipate that they will file motions for summary judgment. The parties request that

         8 any consideration of ADR be deferred until after the summary judgment motions are decided.

         9          13.     Other References

        10          The parties do not believe that this case is suitable for reference to binding arbitration, a special

        11 master, or the Judicial Panel on Multidistrict Litigation.

        12          14.     Narrowing of Issues

        13          The parties will continue to meet and confer in an attempt to narrow issues.

        14          15.     Expedited Trial Procedure

        15          The parties believe that this case can be resolved on summary judgment. The expedited trial

        16 procedure is therefore inapplicable.

        17          16.     Scheduling

        18          The parties anticipate that this matter can ultimately be resolved on summary judgment. As set

        19 forth above, DOL anticipates that its final release will occur following the completion of the review

        20 process at the end of September 2023. DOL believes that summary judgment practice should occur after

        21 the completion of the September 2023 production. Plaintiffs believe that summary judgment motion

        22 practice is appropriate at this stage of litigation and a summary judgment motion schedule should be set

        23 as soon as possible. The parties respectfully propose that the Court schedule an additional case

        24 management conference for April 13, 2023, and that the parties provide a status report seven days before

        25 the conference, regarding the progress of the release and whether a summary judgment motion schedule

        26 can be set at that time.

        27          17.     Trial

        28          The parties anticipate that this entire case may be resolved on summary judgment.

             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                               5

                                                         SER-1135
(236 of 262), Page 236 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 236 of 262
                     Case 3:22-cv-07182-WHA Document 21 Filed 03/02/23 Page 6 of 6




         1          18.    Disclosure of Non-party Interested Entities or Persons

         2          On November 15, 2022, Plaintiffs filed their Certificate of Interests Entities, Dkt. 3, stating

         3 Plaintiffs had no such interested entities or persons.

         4          Defendant is exempt from this requirement as a federal government entity pursuant to Civil

         5 Local Rule 3-15.

         6          19.    Professional Conduct

         7          All attorneys of record for the parties have reviewed the Guidelines for Professional Conduct for

         8 the Northern District of California.

         9          20.    Other

        10          The parties believe that there are no other case management orders necessary in this case and

        11 request that the Court continue the Case Management Conference.

        12 DATED: March 2, 2023                                     Respectfully submitted,

        13                                                          STEPHANIE M. HINDS
                                                                    United States Attorney
        14
                                                                    /s/ Pamela T. Johann
        15                                                          PAMELA T. JOHANN
                                                                    Assistant United States Attorney
        16
                                                                    Attorneys for Defendant
        17

        18 DATED: March 2, 2023                                     THE CENTER FOR INVESTIGATIVE
                                                                    REPORTING
        19
                                                                    /s/ D. Victoria Baranetsky
        20                                                          D. VICTORIA BARANETSKY
        21                                                          Attorneys for Plaintiffs
        22                                               ATTESTATION
        23          I, Pamela T. Johann, hereby attest under penalty of perjury that in compliance with Civil Local
        24 Rule 5-1(h)(3), I have obtained the concurrence in the filing of this document from D. Victoria

        25 Baranetsky.

        26                                                          /s/ Pamela T. Johann
                                                                    PAMELA T. JOHANN
        27

        28

             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                              6

                                                         SER-1136
(237 of 262), Page 237 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 237 of 262
                     Case 3:22-cv-07182-WHA Document 19 Filed 02/09/23 Page 1 of 8




         1 STEPHANIE M. HINDS (CABN 154284)
           United States Attorney
         2 MICHELLE LO (NYRN 4325163)
           Chief, Civil Division
         3 PAMELA T. JOHANN (CABN 145558)
           Assistant United States Attorney
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                  450 Golden Gate Avenue, Box 36045
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         7
           Attorneys for Defendant UNITED STATES
         8 DEPARTMENT OF LABOR

         9

        10                                    UNITED STATES DISTRICT COURT

        11                                 NORTHERN DISTRICT OF CALIFORNIA

        12                                        SAN FRANCISCO DIVISION

        13

        14   THE CENTER FOR INVESTIGATIVE                         ) Case No. 22-cv-07182-WHA
             REPORTING and WILL EVANS,                            )
        15                                                        )
                     Plaintiffs,                                  ) JOINT CASE MANAGEMENT STATEMENT
        16                                                        ) AND [PROPOSED] ORDER
                v.                                                )
        17                                                        ) Date:     February 16, 2023
             UNITED STATES DEPARTMENT OF                          ) Time:     11:00 a.m.
        18   LABOR,                                               ) Place:    Courtroom 12, 19th Floor
                                                                  )
        19                                                        ) The Hon. William Alsup
                     Defendant.                                   )
        20                                                        )

        21

        22           Pursuant to Clerk’s Notice dated December 28, 2022, Dkt. No. 15, and pursuant to the Standing

        23 Order for All Judges of the Northern District of California dated January 17, 2023, and Civil Local Rule

        24 16-9, the parties jointly submit this Joint Case Management Statement and Stipulated Request To

        25 Continue Case Management Conference.

        26           1.      Jurisdiction and Service

        27           There are no issues concerning personal jurisdiction, venue, or service. Plaintiff brought this

        28 action under the Freedom of Information Act (“FOIA”), 5 U.S.C § 552(a)(4)(B). Defendant has been

             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                              1

                                                         SER-1137
(238 of 262), Page 238 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 238 of 262
                     Case 3:22-cv-07182-WHA Document 19 Filed 02/09/23 Page 2 of 8




         1 served.

         2           2.      Facts

         3           This lawsuit was filed on November 15, 2022, and relates to four FOIA requests submitted by

         4 Plaintiffs Center for Investigative Reporting (“CIR”) and Will Evans to the Office of Federal Contract

         5 Compliance Program (“OFCCP”), a component of the U.S. Department of Labor (“DOL”), between

         6 January 2019 and June 2022. These requests were modified into a single FOIA Request as of June 3,

         7 2022, seeking the disclosure of consolidated (Type 2) EEO-1 reports for all federal contractors for the

         8 years 2016 through 2020. EEO-1 Type 2 reports require companies to report the total number of

         9 employees across their establishments by race/ethnicity, gender, and job category.

        10           DOL calculates that this request encompasses approximately 75,000 reports from a total of

        11 approximately 24,000 unique federal contractors. DOL began actively processing this request after

        12 Plaintiffs’ final modification in June 2022. No records have been disclosed as of the date of the

        13 statement.

        14           According to DOL, the processing of this request is a massive undertaking requiring the

        15 involvement of a number of DOL employees from OFCCP and the Office of the Solicitor. In addition to

        16 existing staff, the FOIA Team has added two highly experienced staff members with database and data

        17 analytic training from DOL’s Branch of Expert Services and Department of Programs Operations to

        18 dedicate their time and expertise in data management to ensure that the processing of this request and
        19 the sorting of data for release is accurate. DOL anticipates that it will be in a position to release the vast

        20 majority of responsive documents—approximately 65,000 reports—by February 24, 2023. The

        21 remaining reports will require further evaluation to determine whether they will be withheld under FOIA

        22 Exemption 4 and possibly other exemptions. Due to the number of reports and the complexity of the

        23 evaluation process, DOL anticipates that this process will be complete by the end of July 2023.

        24           The following is DOL’s summary of the processing steps that have occurred and that remain to

        25 be completed:

        26           •    DOL is subject to Executive Order 12600, which sets forth predisclosure notification
        27                procedures for potentially confidential commercial information. Pursuant to 29 C.F.R.

        28                § 70.26, DOL’s regulation implementing that Executive Order, DOL is required to provide

             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                               2

                                                         SER-1138
(239 of 262), Page 239 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 239 of 262
                     Case 3:22-cv-07182-WHA Document 19 Filed 02/09/23 Page 3 of 8




         1            notice to a third-party submitter of confidential commercial information whenever it “has

         2            reason to believe that the information requested under the FOIA may be protected from

         3            disclosure under Exemption 4, but has not yet determined whether the information is

         4            protected from disclosure under that exemption or any other applicable exemption.” The

         5            regulation requires that the submitters be provided a reasonable time to respond to the notice.

         6        •   OFCCP provided notice to contractors covered by this FOIA request through a published
         7            notice in the Federal Register, an email to all federal contractors for whom OFCCP has

         8            contact information, and the OFCCP Submitter Notice Response Portal. (“OFCCP Response

         9            Portal”). This notice was provided on August 18 and 19, 2022. The notice requested that

        10            any entities that objected to the disclosure of the information submit their objections by

        11            September 19, 2022. That deadline was extended to October 19, 2022 to provide sufficient

        12            opportunity for responses in light of numerous requests from contractors for an extension and

        13            inquiries from companies regarding whether they were subject to the FOIA request.

        14        •   Following the close of the response period, a second email was sent to contractors that
        15            OFCCP determined had not submitted a response. This email was sent to determine whether

        16            the apparent non-response was because the companies were not in fact federal contractors

        17            during the period of 2016-2020, and to confirm that OFCCP’s records were accurate as to the

        18            lack of a response. The companies were given until January 2, 2023 to respond.

        19        •   OFCCP received objections from approximately 2,500 companies. It also received responses
        20            indicating that over 100 reports corresponded to companies that believed that they were not

        21            federal contractors. OFCCP’s jurisdiction team analyzed these responses to determine if the

        22            assertions of non-contractor status were accurate. OFCCP also undertook an initial sorting

        23            and processing of the objections to prepare a list of companies that had not objected, and

        24            whose EEO-1 reports OFCCP intended to release.

        25        •   That list of non-objectors was posted on the OFCCP Response Portal on February 2, 2023,
        26            and notice was emailed to all contractors for whom OFCCP had emails the same day.

        27            Contractors were given until February 7, 2023 to notify OFCCP of any errors. OFCCP

        28            extended the response date to February 17, 2023 because the initial responses that OFCCP

             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                            3

                                                      SER-1139
(240 of 262), Page 240 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 240 of 262
                     Case 3:22-cv-07182-WHA Document 19 Filed 02/09/23 Page 4 of 8




         1               received indicated that this list included companies (or related companies) that had

         2               previously submitted objections, had not previously received OFCCP’s notification emails,

         3               or believed that they were not federal contractors. To ensure the accuracy of this list prior to

         4               release, OFCCP needs additional time to verify contractor and objector status.

         5          •    OFCCP anticipates that it will release the reports of all non-objectors by February 24, 2023.
         6          •    OFCCP’s jurisdiction team is continuing to examine the responses of additional companies
         7               that have asserted non-contractor status. An additional small release is anticipated following

         8               this process.

         9          •    OFCCP is also in the process of evaluating the objections to release submitted by
        10               approximately 2,500 companies. OFCCP anticipates that the process will be complete by the

        11               end of June 2023, and a supplemental release of reports may be made at the end of July 2023

        12               following this process.

        13          3.      Legal Issues

        14          Defendant: DOL does not yet know how many reports will be withheld under Exemption 4.

        15 DOL anticipates that the parties will engage in a meet and confer process following the completion of

        16 processing as described above regarding any withholdings. DOL believes that following the completion

        17 of processing, the following legal issue may be in dispute: whether Defendant has appropriately

        18 asserted Exemption 4 with respect to any EEO-1 reports that are not released.
        19          Plaintiffs: Legal issues will include whether Defendants properly refused to withhold records

        20 under FOIA, particularly FOIA Exemption 4 and whether FOIA obligations were improperly thwarted

        21 through agency regulations.

        22          4.      Motions

        23          There are no prior or pending motions. The parties anticipate that this matter can be resolved on

        24 cross-motions for summary judgment if the parties cannot informally resolve the matter.

        25          5.      Amendments of Pleadings

        26          The parties do not anticipate amending their pleadings.

        27          6.      Evidence Preservation

        28          The parties have reviewed the Guidelines Relating to Discovery of Electronically Stored

             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                               4

                                                         SER-1140
(241 of 262), Page 241 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 241 of 262
                     Case 3:22-cv-07182-WHA Document 19 Filed 02/09/23 Page 5 of 8




         1 Information (“ESI Guidelines”). The parties confirm that they have met and conferred regarding

         2 reasonable and proportionate steps taken to preserve evidence relevant to the issues reasonably evident

         3 in this action.

         4           7.      Disclosures

         5           The parties request that they be relieved from the initial disclosure requirements of Federal Rule

         6 of Civil Procedure 26(a). The parties agree that initial disclosures are not necessary as this is a FOIA

         7 action.

         8           8.      Discovery

         9           To date, no discovery has been taken by any party, and the parties do not anticipate based on

        10 current information that discovery will be necessary in this case.

        11           9.      Class Actions

        12           Not applicable.

        13           10.     Related Cases

        14           Not applicable.

        15           11.     Relief

        16           The parties will each seek summary judgment. Plaintiffs seek an order directing Defendant to

        17 produce all of the contested documents and further order any appropriate attorneys’ fees. Defendant

        18 denies that Plaintiffs are entitled to any relief and will seek dismissal.
        19           12.     Settlement and ADR

        20           The parties anticipate that they will file motions for summary judgment. The parties request that

        21 any consideration of ADR be deferred until after the summary judgment motions are decided.

        22           13.     Other References

        23           The parties do not believe that this case is suitable for reference to binding arbitration, a special

        24 master, or the Judicial Panel on Multidistrict Litigation.

        25           14.     Narrowing of Issues

        26           At this time, it is unknown whether issues can be narrowed until Defendant has produced all

        27 responsive, non-exempt records. The parties will meet and confer following the completion of the

        28 release in an attempt to narrow issues.

             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                                5

                                                          SER-1141
(242 of 262), Page 242 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 242 of 262
                     Case 3:22-cv-07182-WHA Document 19 Filed 02/09/23 Page 6 of 8




         1          15.     Expedited Trial Procedure

         2          The parties believe that this case can be resolved on summary judgment. The expedited trial

         3 procedure is therefore inapplicable.

         4          16.     Scheduling

         5          The parties anticipate that this matter can ultimately be resolved on summary judgment. As set

         6 forth above, DOL anticipates releasing the majority of requested documents within three weeks, and is

         7 evaluating objections to determine the applicability of FOIA exemption to the remaining reports. DOL

         8 will make its first production on February 24, 2023 and anticipates that the final release will be complete

         9 by the end of July 2022. The parties respectfully propose that the case management conference be

        10 continued until March 9, 2023, and that the parties provide a status report seven days before the

        11 conference, regarding the progress of the release and whether a summary judgment motion schedule can

        12 be set at that time.

        13          17.     Trial

        14          The parties anticipate that this entire case may be resolved on summary judgment.

        15          18.     Disclosure of Non-party Interested Entities or Persons

        16          On November 15, 2022, Plaintiffs filed their Certificate of Interests Entities, Dkt. 3, stating

        17 Plaintiffs had no such interested entities or persons.

        18          Defendant is exempt from this requirement as a federal government entity pursuant to Civil

        19 Local Rule 3-15.

        20          19.     Professional Conduct

        21          All attorneys of record for the parties have reviewed the Guidelines for Professional Conduct for

        22 the Northern District of California.

        23          20.     Other

        24          The parties believe that there are no other case management orders necessary in this case and

        25 request that the Court continue the Case Management Conference.

        26

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             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                              6

                                                         SER-1142
(243 of 262), Page 243 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 243 of 262
                     Case 3:22-cv-07182-WHA Document 19 Filed 02/09/23 Page 7 of 8




         1

         2 DATED: February 9, 2023                               Respectfully submitted,

         3                                                       STEPHANIE M. HINDS
                                                                 United States Attorney
         4
                                                                 /s/ Pamela T. Johann
         5                                                       PAMELA T. JOHANN
                                                                 Assistant United States Attorney
         6
                                                                 Attorneys for Defendant
         7

         8

         9 DATED: February 9, 2023                               THE CENTER FOR INVESTIGATIVE
                                                                 REPORTING
        10
                                                                 /s/ D. Victoria Baranetsky
        11                                                       D. VICTORIA BARANETSKY

        12                                                       Attorneys for Plaintiffs

        13

        14                                              ATTESTATION
        15          I, Pamela T. Johann, hereby attest under penalty of perjury that in compliance with Civil Local
        16 Rule 5-1(h)(3), I have obtained the concurrence in the filing of this document from D. Victoria

        17 Baranetsky.

        18
                                                                 /s/ Pamela T. Johann
        19                                                       PAMELA T. JOHANN
        20

        21

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             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                            7

                                                       SER-1143
(244 of 262), Page 244 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 244 of 262
                     Case 3:22-cv-07182-WHA Document 19 Filed 02/09/23 Page 8 of 8




         1                                         [PROPOSED] ORDER

         2          Having reviewed the parties’ Joint Case Management Statement, and good cause appearing

         3 therefore, it is hereby ordered that:

         4          The Case Management Conference scheduled for February 16, 2023, is continued until March 9,

         5 2023 at 11:00 a.m. The parties shall provide a status report by March 2, 2023.

         6          IT IS SO ORDERED.

         7 DATED:__________________

         8
                                                               WILLIAM ALSUP
         9                                                     United States Senior District Judge
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             JOINT CASE MANAGEMENT STATEMENT
             No. 22-cv-07182-WHA                           8

                                                      SER-1144
(245 of 262), Page 245 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 245 of 262
                     Case 3:22-cv-07182-WHA Document 16 Filed 01/18/23 Page 1 of 16




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           Attorneys for Defendant UNITED STATES
         8 DEPARTMENT OF LABOR

         9

        10                                    UNITED STATES DISTRICT COURT

        11                                  NORTHERN DISTRICT OF CALIFORNIA

        12                                         SAN FRANCISCO DIVISION

        13

        14   THE CENTER FOR INVESTIGATIVE                          ) Case No. 3:22-cv-07182-WHA
             REPORTING and WILL EVANS,                             )
        15                                                         )
                     Plaintiffs,                                   ) ANSWER OF DEFENDANT UNITED STATES
        16                                                         ) DEPARTMENT OF LABOR
                v.                                                 )
        17                                                         )
             UNITED STATES DEPARTMENT OF                           )
        18   LABOR,                                                )
                                                                   )
        19                                                         )
                     Defendant.                                    )
        20

        21           Defendant the United States Department of Labor (“DOL” or “Defendant”) hereby responds to

        22 the Complaint for Injunctive Relief (“Complaint”) filed by Plaintiffs The Center for Investigative

        23 Reporting (“CIR”) and Will Evans (collectively “Plaintiffs”) as follows:1

        24                                               INTRODUCTION

        25           1.      The allegations contained in Paragraph 1 constitute Plaintiffs’ characterization of this

        26

        27           1
                    The headings and numbered paragraphs of this Answer correspond to the headings and
        28 numbered   paragraphs of Plaintiffs’ Complaint. Defendant does not waive any defensive theory or agree
           to or admit that Plaintiffs’ headings are accurate, appropriate, or substantiated.
             ANSWER TO COMPLAINT
             No. 3:22-cv-07182-WHA                             1

                                                         SER-1145
(246 of 262), Page 246 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 246 of 262
                     Case 3:22-cv-07182-WHA Document 16 Filed 01/18/23 Page 2 of 16




         1 action brought pursuant to the Freedom of Information Act (“FOIA”) and their reasons for bringing this

         2 action to which no response is required. To the extent any further response is required, Defendant

         3 admits that Plaintiffs purport to bring this action under the Freedom of Information Act (“FOIA”), 5

         4 U.S.C. § 552 et seq. Defendant denies any remaining allegations contained in Paragraph 1.

         5          2.      Defendant admits that Plaintiffs submitted three FOIA requests to DOL between January

         6 2019 and September 2020 (the “Requests”).2 Defendant denies that these Requests as submitted sought

         7 disclosure of consolidated (Type 2) EEO-1 reports for the years 2016 through 2020. Defendant avers

         8 that Plaintiffs submitted a fourth FOIA request on June 2, 2022. The remaining allegations contained in

         9 Paragraph 2 consist of Plaintiffs’ characterization of the subject matter of their FOIA requests, to which

        10 no response is required. Defendant respectfully refers the Court to Plaintiffs’ FOIA requests for a full

        11 and accurate statement of their contents.

        12          3.      Defendant denies the allegations contained in Paragraph 3. Defendant avers that the first

        13 FOIA Request, 872421, was modified to include the second FOIA Request, 875877, and the third FOIA

        14 Request, 897123, after which those requests were administratively closed. Additionally, on June 3,

        15 2022, FOIA Request 872421 was further modified, after a fourth related FOIA request was made by

        16 Plaintiffs in a June 2, 2022 email, to include additional years of data for 2019 and 2020. As of June 3,

        17 2022, FOIA Request 872421 encompasses the consolidated (Type 2) EEO-1 reports for all federal

        18 contractors for the years 2016 through 2020. Defendant respectfully refers the Court to Defendant’s

        19 FOIA responses for a full and accurate statement of their contents.

        20          4.      Defendant denies the allegations contained in Paragraph 4. Defendant avers that the final

        21 FOIA request received and consolidated into FOIA Request 872421 was received on June 2, 2022, and

        22 that it continues to process Plaintiffs’ FOIA Request 872421 as required under the FOIA statute and the

        23 Department’s regulations.

        24          5.      The allegations contained in Paragraph 5 consist of Plaintiffs’ characterizations of prior

        25

        26          2
                     The three FOIA Requests noted were originally assigned the tracking numbers 872421 (request
        27 for “[a] spreadsheet  of all consolidated (Type 2) EEO-1 reports for all federal contractors for 2016”),
           875877 (request for “[a] spreadsheet of all consolidated (Type 2) EEO-1 reports for all federal
        28 contractors for 2017”), and 897123 (request for “[a] spreadsheet of all consolidated (Type 2) EEO-1
           reports for all federal contractors for 2018”).
             ANSWER TO COMPLAINT
             No. 3:22-cv-07182-WHA                            2

                                                        SER-1146
(247 of 262), Page 247 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 247 of 262
                     Case 3:22-cv-07182-WHA Document 16 Filed 01/18/23 Page 3 of 16




         1 litigation and conclusions of law to which no response is required. To the extent any further response is

         2 required, Defendant denies the allegations contained in Paragraph 5 to the extent that they imply that the

         3 substantive FOIA ruling in Ctr. for Investigative Reporting v. Dep’t of Labor, 424 F. Supp. 3d 771 (N.D.

         4 Cal. 2019), was affirmed by the Ninth Circuit. Defendant avers that the Ninth Circuit dismissed the

         5 appeal for lack of jurisdiction sub nom. Evans v. Synopsys, Inc., 34 F.4th 762 (2022).

         6          6.      The allegations contained in Paragraph 6 constitute Plaintiffs’ characterizations of prior

         7 litigation and conclusions of law, and Plaintiffs’ opinions, interpretations, and/or speculation to which

         8 no response is required. To the extent that any further response is required, Defendant denies the

         9 allegations contained in Paragraph 6. Defendant specifically denies these allegations to the extent they

        10 imply that this Court has made any prior ruling requiring the release of EEO-1 reports or that DOL has

        11 acted in abrogation of FOIA.

        12          7.      Defendant admits that Plaintiffs sent several communications regarding the FOIA

        13 Requests to OFCCP. The remaining allegations contained in Paragraph 7 consist of Plaintiff’s

        14 characterization of the content of these communications and/or conclusions of law to which no response

        15 is required. Defendant respectfully refers the Court to these communications for a full and accurate

        16 statement of their contents. To the extent any further response is required, Defendant denies the

        17 allegations contained in Paragraph 7 and specifically denies these allegations to the extent that they

        18 imply that the substantive FOIA ruling in Ctr. for Investigative Reporting v. Dep’t of Labor, 424 F.

        19 Supp. 3d 771 (N.D. Cal. 2019), was affirmed by the Ninth Circuit.

        20          8.      The allegations contained in Paragraph 8 contain conclusions of law, Plaintiffs’

        21 characterization of prior litigation, Plaintiffs’ characterization of communications from Defendant, and

        22 an ambiguous cross-reference citation to which no response is required. Defendant respectfully refers

        23 the Court to the referenced communications for a full and accurate statement of their contents. To the

        24 extent any further response is required, Defendant denies the allegations contained in Paragraph 8.

        25          9.      Defendant admits that on August 19, 2022, it published a notice in the Federal Register,

        26 and respectfully refers the Court to the Federal Register notice for a full and accurate statement of its

        27 contents. Defendant denies any remaining allegations contained in Paragraph 9.

        28          10.     The allegations in Paragraph 10 consist of Plaintiffs’ characterization of Defendant’s

             ANSWER TO COMPLAINT
             No. 3:22-cv-07182-WHA                            3

                                                         SER-1147
(248 of 262), Page 248 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 248 of 262
                     Case 3:22-cv-07182-WHA Document 16 Filed 01/18/23 Page 4 of 16




         1 August 19, 2022, Federal Register notice. Defendant respectfully refers the Court to the Federal

         2 Register notice for a full and accurate statement of its contents.

         3          11.     Defendant admits that it has not yet released records pertaining to FOIA Request 872421.

         4 Defendant further avers that it is continuing to process the records as required under the FOIA statute

         5 and its regulations. The remaining allegations contained in Paragraph 11 consist of conclusions of law

         6 to which no response is required. To the extent any further response is required, Defendant denies the

         7 allegations contained in the second sentence of Paragraph 11.

         8          12.     The allegations contained in Paragraph 12 constitute Plaintiffs’ opinions and/or

         9 subjective characterizations, interpretations, speculation, and generalizations to which no response is

        10 required, and do not set forth a claim for relief or aver facts in support of a claim to which an answer is

        11 required. On that basis, Defendant denies the allegations contained in Paragraph 12.

        12          13.     The allegations contained in Paragraph 13 consist of conclusions of law to which no

        13 response is required. To the extent any further response is required, Defendant denies the allegations

        14 contained in Paragraph 13.

        15          14.     The allegations contained in Paragraph 14 consist of Plaintiffs’ characterization of their

        16 request for relief, to which no response is required. Defendant denies the allegations contained in

        17 Paragraph 14 to the extent they assert that Plaintiffs are entitled to immediate release of the Defendant’s

        18 records.

        19                                               JURISDICTION

        20          15.     Paragraph 15 contains Plaintiffs’ legal conclusions regarding jurisdiction to which no

        21 response is required. To the extent any further response is required, Defendant admits this Court has

        22 subject matter jurisdiction over FOIA claims subject to the terms and limitations of FOIA.

        23                             VENUE AND INTRADISTRICT ASSIGNMENT

        24          16.     Paragraph 16 contains Plaintiffs’ legal conclusions regarding venue to which no response

        25 is required. To the extent any further response is required, Defendant states that it lacks sufficient

        26 information or knowledge to form a belief as to the truth or falsity of the allegations contained in

        27 Paragraph 16, and on that basis denies them.

        28          17.     Paragraph 17 contains Plaintiffs’ legal conclusions regarding intradistrict assignment to

             ANSWER TO COMPLAINT
             No. 3:22-cv-07182-WHA                            4

                                                        SER-1148
(249 of 262), Page 249 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 249 of 262
                     Case 3:22-cv-07182-WHA Document 16 Filed 01/18/23 Page 5 of 16




         1 which no response is required. To the extent any further response is required, Defendant states that it

         2 lacks sufficient information or knowledge to form a belief as to the truth or falsity of the allegations

         3 contained in Paragraph 17, and on that basis denies them.

         4                                                   PARTIES

         5          18.     Defendant lacks sufficient information or knowledge to form a belief as to the truth or

         6 falsity of the allegations contained in Paragraph 18, and on that basis denies them.

         7          19.     Defendant lacks sufficient information or knowledge to form a belief as to the truth or

         8 falsity of the allegations contained in Paragraph 19, and on that basis denies them.

         9          20.     Defendant admits that DOL is a Department of the Executive Branch of the United

        10 States, and that the Office of Federal Contract Compliance Programs (“OFCCP”) is a component of

        11 DOL. Defendant further admits that DOL has its headquarters in Washington, D.C., with offices located

        12 throughout the country, including in Oakland and San Francisco, California. The remaining allegations

        13 contained in Paragraph 20 constitute legal conclusions to which no response is required.

        14                                         FACTUAL BACKGROUND

        15                                         EEO-1 Reports and OFCCP

        16          21.     Paragraph 21 contains Plaintiffs’ characterization of a statute regarding OFCCP’s

        17 mandate and duties, and does not set forth a claim for relief or aver facts in support of a claim to which a

        18 response is required. Defendant respectfully refers the Court to the cited statutory authority for a full

        19 and accurate statement of its requirements.

        20          22.     Paragraph 22 consists of Plaintiffs’ characterization of information from OFCCP’s

        21 website, and does not set forth a claim for relief or aver facts in support of a claim to which a response is

        22 required. To the extent a response is required, Defendant respectfully refers the Court to the cited

        23 website for a full and accurate statement of its contents.

        24          23.     Paragraph 23 consists of Plaintiffs’ characterization of information from OFCCP’s

        25 website and statutory authority, and does not set forth a claim for relief or aver facts in support of a

        26 claim to which a response is required. To the extent a response is required, Defendant respectfully

        27 refers the Court to the cited website and statutory authority for a full and accurate statement of their

        28 contents.

             ANSWER TO COMPLAINT
             No. 3:22-cv-07182-WHA                            5

                                                         SER-1149
(250 of 262), Page 250 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 250 of 262
                     Case 3:22-cv-07182-WHA Document 16 Filed 01/18/23 Page 6 of 16




         1          24.     Paragraph 24 contains Plaintiffs’ characterization of legal requirements and information

         2 from OFCCP’s website, and does not set forth a claim for relief or aver facts in support of a claim to

         3 which a response is required. Defendant respectfully refers the Court to the cited website for a full and

         4 accurate statement of its contents.

         5          25.     Paragraph 25 contains Plaintiffs’ characterization of legal requirements and information

         6 from OFCCP’s website, and does not set forth a claim for relief or aver facts in support of a claim to

         7 which a response is required. Defendant respectfully refers the Court to the website and cited document

         8 for a full and accurate statement of their contents.

         9          26.     The allegations contained in Paragraph 26 consist of conclusions of law to which no

        10 response is required. To the extent a response is required, Defendant respectfully refers the Court to the

        11 cited statutory authority for a full and accurate statement of its contents.

        12          27.     Paragraph 27 contains Plaintiffs’ characterization and quotation of information from the

        13 website of the Equal Employment Opportunity Commission (“EEOC”) and of EEOC records, and does

        14 not set forth a claim for relief or aver facts in support of a claim to which a response is required.

        15 Defendant respectfully refers the Court to the website and cited document for a full and accurate

        16 statement of their contents.

        17          28.     Paragraph 28 contains legal conclusions and Plaintiffs’ characterization and quotation of

        18 information from the EEOC’s website and of EEOC records, and does not set forth a claim for relief or

        19 aver facts in support of a claim to which a response is required. Defendant respectfully refers the Court

        20 to the website and cited document and statutory authority for a full and accurate statement of their

        21 contents.

        22          29.     Paragraph 29 contains Plaintiffs’ characterization and quotation of information from

        23 OFCCP’s website and of OFCCP records, and does not set forth a claim for relief or aver facts in

        24 support of a claim to which a response is required. Defendant respectfully refers the Court to the

        25 website and cited document for a full and accurate statement of their contents.

        26          30.     Paragraph 30 contains legal conclusions and Plaintiffs’ characterization and quotation of

        27 information from OFCCP’s website and of OFCCP records, to which no response is required.

        28 Defendant respectfully refers the Court to the website and cited document for a full and accurate

             ANSWER TO COMPLAINT
             No. 3:22-cv-07182-WHA                            6

                                                         SER-1150
(251 of 262), Page 251 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 251 of 262
                     Case 3:22-cv-07182-WHA Document 16 Filed 01/18/23 Page 7 of 16




         1 statement of their contents. Defendant avers that when it receives a FOIA request for submitter

         2 information, it follows its applicable notification regulation for predisclosure notification to submitters

         3 of information that may be protected from disclosure under Exemption 4, 29 C.F.R. § 70.26, as required

         4 by Executive Order No. 12,600, 3 C.F.R. 235 (1988).

         5          31.     Defendant lacks sufficient information or knowledge to form a belief as to the truth or

         6 falsity of the allegations contained in Paragraph 31, and on that basis denies them. Paragraph 31 further

         7 constitutes Plaintiffs’ characterization of publicly available articles, to which no response is required,

         8 and does not set forth a claim for relief or aver facts in support of a claim to which a response is

         9 required. On that basis, Defendant denies the allegations contained in Paragraph 31. Defendant

        10 respectfully refers the Court to the cited articles for a full and accurate statement of their contents.

        11          32.     The allegations in Paragraph 32 constitute Plaintiffs’ opinions and/or subjective

        12 characterizations, interpretations, speculation, generalizations, and legal conclusions regarding EEO-1

        13 Reports and regarding a publicly available report, to which no response is required, and do not set forth

        14 a claim for relief or aver facts in support of a claim to which a response is required. On that basis,

        15 Defendant denies the allegations contained in Paragraph 32. Defendant respectfully refers the Court to

        16 the cited document for a full and accurate statement of its contents.

        17          33.     The allegations in Paragraph 33 constitute Plaintiffs’ opinions and/or subjective

        18 characterizations, interpretations, speculation, generalizations, and legal conclusions regarding EEO-1

        19 Reports and regarding a publicly available website and document, to which no response is required, and

        20 do not set forth a claim for relief or aver facts in support of a claim to which a response is required. On

        21 that basis, Defendant denies the allegations contained in Paragraph 33. Defendant specifically denies

        22 the general allegation that the EEO-1 reports do not contain sensitive or commercial information.

        23 Defendant respectfully refers the Court to the cited document for a full and accurate statement of its

        24 contents.

        25          34.     The allegations in Paragraph 34 constitute Plaintiffs’ opinions and/or subjective

        26 characterizations, interpretations, speculation, generalizations, and legal conclusions and citation to a

        27 publicly available third-party website, to which no response is required, and do not set forth a claim for

        28 relief or aver facts in support of a claim to which a response is required. On that basis, Defendant denies

             ANSWER TO COMPLAINT
             No. 3:22-cv-07182-WHA                             7

                                                         SER-1151
(252 of 262), Page 252 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 252 of 262
                     Case 3:22-cv-07182-WHA Document 16 Filed 01/18/23 Page 8 of 16




         1 the allegations contained in Paragraph 34. Defendant respectfully refers the Court to the cited website

         2 for a full and accurate statement of its contents.

         3          35.     Defendant lacks sufficient information or knowledge to form a belief as to the truth or

         4 falsity of the allegations contained in Paragraph 35, and on that basis denies them. Paragraph 35 further

         5 constitutes Plaintiffs’ characterization of its actions and of publicly available articles, to which no

         6 response is required, and does not set forth a claim for relief or aver facts in support of a claim to which

         7 a response is required. On that basis, Defendant denies the allegations contained in Paragraph 35.

         8 Defendant respectfully refers the Court to the cited articles for a full and accurate statement of their

         9 contents.

        10          36.     Defendant lacks sufficient information or knowledge to form a belief as to the truth or

        11 falsity of the allegations contained in Paragraph 36, and on that basis denies them. Paragraph 36 further

        12 constitutes Plaintiffs’ opinions and/or subjective characterizations, interpretations, speculation, and

        13 generalizations to which no response is required, and does not set forth a claim for relief or aver facts in

        14 support of a claim to which an answer is required. On that basis, Defendant denies the allegations

        15 contained in Paragraph 36.

        16                                        CIR’s EEO-1 FOIA Requests

        17          37.     Defendant admits that it received a FOIA request from Will Evans by email dated

        18 January 10, 2019, and that it assigned this request FOIA tracking No. 872421. The remaining

        19 allegations contained in Paragraph 37 contain Plaintiffs’ description and characterization of this FOIA

        20 request. Defendant respectfully refers the Court to Plaintiffs’ FOIA request for a full and accurate

        21 statement of its contents.

        22          38.     Defendant admits that it received a FOIA request from Will Evans by email dated March

        23 25, 2019, and that it assigned this request FOIA tracking No. 875877. The remaining allegations

        24 contained in Paragraph 38 contain Plaintiffs’ description and characterization of this FOIA request.

        25 Defendant respectfully refers the Court to Plaintiffs’ FOIA request for a full and accurate statement of

        26 its contents.

        27          39.     Defendant admits that DOL replied to Mr. Evans by letter on July 18, 2019. The

        28 remaining allegations contained in Paragraph 39 constitute Plaintiffs’ quotation and characterization of

             ANSWER TO COMPLAINT
             No. 3:22-cv-07182-WHA                              8

                                                         SER-1152
(253 of 262), Page 253 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 253 of 262
                     Case 3:22-cv-07182-WHA Document 16 Filed 01/18/23 Page 9 of 16




         1 that letter, to which no response is required. Defendant respectfully refers the Court to that email for a

         2 full and accurate statement of its contents.

         3          40.     Defendant admits that it received an email from Will Evans on August 8, 2019. The

         4 remaining allegations contained in Paragraph 40 constitute Plaintiffs’ characterization of that email, to

         5 which no response is required. Defendant respectfully refers the Court to that email for a full and

         6 accurate statement of its contents.

         7          41.     Defendant admits that it received a FOIA request from Will Evans by email dated

         8 September 11, 2020, and that it assigned this request FOIA tracking No. 897123. The remaining

         9 allegations contained in Paragraph 41 contain Plaintiffs’ description and characterization of their FOIA

        10 request. Defendant respectfully refers the Court to Plaintiffs’ FOIA request for a full and accurate

        11 statement of its contents.

        12          42.     Defendant admits that DOL sent Mr. Evans a letter on October 2, 2020. The remaining

        13 allegations contained in Paragraph 42 constitute Plaintiffs’ characterization of that letter, to which no

        14 response is required. Defendant respectfully refers the Court to that letter for a full and accurate

        15 statement of its contents.

        16          43.     The allegations contained in Paragraph 43 constitute Plaintiffs’ characterization of the

        17 letter sent by DOL to Mr. Evans on October 2, 2020, to which no response is required. Defendant

        18 respectfully refers the Court to that email for a full and accurate statement of its contents.

        19          44.     Defendant admits that it received an email from CIR on October 30, 2020. The

        20 remaining allegations contained in Paragraph 44 constitute Plaintiffs’ characterization of that email,

        21 conclusions of law, characterizations of prior litigation, and citations to publicly available articles and a

        22 district court case, to which no response is required. Defendant respectfully refers the Court to that

        23 email and its citations for a full and accurate statement of their contents. Defendant specifically denies

        24 the allegations contained in Paragraph 44 to the extent that they imply that the substantive FOIA ruling

        25 in Ctr. for Investigative Reporting v. Dep’t of Labor, 424 F. Supp. 3d 771 (N.D. Cal. 2019), was

        26 affirmed by the Ninth Circuit.

        27          45.     Defendant admits that it responded to CIR by email on November 7, 2020. The

        28 remaining allegations contained in Paragraph 45 constitute Plaintiffs’ characterization of that email, to

             ANSWER TO COMPLAINT
             No. 3:22-cv-07182-WHA                            9

                                                          SER-1153
(254 of 262), Page 254 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 254 of 262
                    Case 3:22-cv-07182-WHA Document 16 Filed 01/18/23 Page 10 of 16




         1 which no response is required. Defendant respectfully refers the Court to that letter for a full and

         2 accurate statement of its contents.

         3          46.     Defendant admits that it received an email from CIR on December 11, 2020. The

         4 remaining allegations contained in Paragraph 46 constitute Plaintiffs’ characterization of that email, to

         5 which no response is required. Defendant respectfully refers the Court to that email for a full and

         6 accurate statement of its contents.

         7          47.     Defendant admits that DOL sent CIR an email on December 18, 2020. The remaining

         8 allegations contained in Paragraph 47 constitute Plaintiffs’ quotation and characterization of that email,

         9 to which no response is required. Defendant respectfully refers the Court to that email for a full and

        10 accurate statement of its contents.

        11          48.     The allegations contained in Paragraph 48 constitute Plaintiffs’ quotation and

        12 characterization of DOL’s December 18, 2020 email to CIR, to which no response is required.

        13 Defendant respectfully refers the Court to that email for a full and accurate statement of its contents.

        14          49.     The allegations contained in Paragraph 49 constitute Plaintiffs’ characterization of DOL’s

        15 December 18, 2020 email to CIR, to which no response is required. Defendant respectfully refers the

        16 Court to that email for a full and accurate statement of its contents.

        17          50.     Defendant admits that it received an email from CIR on January 7, 2021. The remaining

        18 allegations contained in Paragraph 50 constitute Plaintiffs’ characterization of that email, to which no

        19 response is required. Defendant respectfully refers the Court to that email for a full and accurate

        20 statement of its contents.

        21          51.     Defendant denies the allegations contained in Paragraph 51.

        22          52.     Defendant admits that it received an email from Will Evans dated May 10, 2021. The

        23 remaining allegations contained in Paragraph 52 contain Plaintiffs’ characterization of that email, to

        24 which no response is required. Defendant respectfully refers the Court to that email for a full and

        25 accurate statement of its contents.

        26          53.     Defendant denies the allegations contained in Paragraph 53. Defendant avers that

        27 OFCCP modified the first FOIA Request, 872421, to include a spreadsheet of the consolidated (Type 2)

        28 EEO-1 reports for all federal contractors for the years 2016 through 2018 and informed Mr. Evans that it

             ANSWER TO COMPLAINT
             No. 3:22-cv-07182-WHA                           10

                                                        SER-1154
(255 of 262), Page 255 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 255 of 262
                    Case 3:22-cv-07182-WHA Document 16 Filed 01/18/23 Page 11 of 16




         1 would administratively close FOIA Request 897123 (request for “[a] spreadsheet of all consolidated

         2 (Type 2) EEO-1 reports for all federal contractors for 2018”). Defendant respectfully refers the Court to

         3 the email communications in Exhibit I for a full and accurate statement of their contents.

         4          54.     Defendant admits that it received a FOIA request from Will Evans by email dated June 2,

         5 2022. Defendant denies that the request sought data from 2019 and 2018. Defendant avers that the June

         6 2, 2022 FOIA Request from Mr. Evans sought a spreadsheet of all consolidated (Type 2) EEO-1 reports

         7 for all federal contractors for 2019 and 2020. Defendant further avers that it sent a response to Mr.

         8 Evans on June 3, 2021, and that it modified FOIA Request No. 872421 to include data for the additional

         9 years requested. Defendant further avers that as of June 3, 2022, FOIA Request 872421 encompassed

        10 the consolidated (Type 2) EEO-1 reports for all federal contractors for the years 2016 through 2020.

        11 Defendant respectfully refers the Court to Plaintiffs’ FOIA request for a full and accurate statement of

        12 its contents.3

        13                       CIR’s Objection Letter to the Department of Labor Solicitor

        14          55.     Defendant admits that it received a letter from CIR dated May 23, 2022 and that it did not

        15 appeal the District Court’s December 10, 2019 ruling in Ctr. for Investigative Reporting v. Dep’t of

        16 Labor, 424 F. Supp. 3d 771 (N.D. Cal. 2019). The remaining allegations contain Plaintiffs’

        17 characterization of that letter, to which no response is required. Defendant respectfully refers the Court

        18 to that letter for a full and accurate statement of its contents. Defendant denies the remaining allegations

        19 contained in Paragraph 55 and specifically denies these allegations to the extent that they imply that the

        20 substantive FOIA ruling in Ctr. for Investigative Reporting v. Dep’t of Labor, 424 F. Supp. 3d 771 (N.D.

        21 Cal. 2019), was affirmed by the Ninth Circuit.

        22          56.     The allegations contained in Paragraph 56 constitute Plaintiffs’ characterization of CIR’s

        23 May 23, 2022 letter to Defendant, to which no response is required. Defendant respectfully refers the

        24 Court to that letter for a full and accurate statement of its contents.

        25          57.     Defendant admits that it replied to CIR’s May 23, 2022 letter by letter dated June 15,

        26 2022. The remaining allegations contained in Paragraph 57 constitute Plaintiffs’ quotation and

        27
                    3
        28           The corresponding Exhibit is incorrectly identified in the Complaint as “Exhibit I.” The
             correspondence referenced in Paragraph 54 is located at Exhibit J.
             ANSWER TO COMPLAINT
             No. 3:22-cv-07182-WHA                            11

                                                         SER-1155
(256 of 262), Page 256 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 256 of 262
                    Case 3:22-cv-07182-WHA Document 16 Filed 01/18/23 Page 12 of 16




         1 characterization of Defendant’s June 15, 2022 response, to which no response is required. Defendant

         2 respectfully refers the Court to that response for a full and accurate statement of its contents.

         3          58.     The allegations contained in Paragraph 58 constitute Plaintiffs’ quotation and

         4 characterization of Defendant’s June 15, 2022 letter to CIR, to which no response is required.

         5 Defendant respectfully refers the Court to that letter for a full and accurate statement of its contents.

         6          59.     Defendant admits that it received an email from CIR dated June 16, 2022. The remaining

         7 allegations contained in the first two sentences of Paragraph 59 constitute Plaintiffs’ characterization of

         8 that email, to which no response is required. Defendant respectfully refers the Court to that email for a

         9 full and accurate statement of its contents. 4 Defendant lacks sufficient information or knowledge to

        10 form a belief as to the truth or falsity of the allegations contained in the third sentence of Paragraph 59,

        11 and on that basis denies them.

        12          60.     Defendant admits that it replied to CIR’s June 16, 2022 email by email dated June 27,

        13 2022. The allegations contained in the first sentence of Paragraph 60 constitute Plaintiffs’

        14 characterization of Defendant’s June 27, 2022 response, to which no response is required. Defendant

        15 respectfully refers the Court to that response for a full and accurate statement of its contents. Defendant

        16 admits that it received a response from CIR, which was dated June 30, 2022. The allegations contained

        17 in the second sentence of Paragraph 60 constitute Plaintiffs’ characterization of CIR’s June 30, 2022

        18 response, to which no response is required. Defendant respectfully refers the Court to that response for

        19 a full and accurate statement of its contents.

        20          61.     Defendant admits that it replied to CIR’s June 30, 2022 email by email dated July 6,

        21 2022. The allegations contained in the first sentence of Paragraph 61 constitute Plaintiffs’

        22 characterization of Defendant’s July 6, 2022 response, to which no response is required. The allegations

        23 contained in the second sentence of Paragraph 61 consist of conclusions of law to which no response is

        24 required. To the extent any further response is required, Defendant denies the allegations contained in

        25 the second sentence of Paragraph 61.

        26          62.     Defendant admits only that it received an email from CIR dated August 5, 2022, and that

        27
                    4
        28           The corresponding Exhibit is incorrectly identified in the Complaint as “Exhibit L.” The
             correspondence referenced in Paragraphs 59 through 62 is located at Exhibit M.
             ANSWER TO COMPLAINT
             No. 3:22-cv-07182-WHA                            12

                                                         SER-1156
(257 of 262), Page 257 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 257 of 262
                    Case 3:22-cv-07182-WHA Document 16 Filed 01/18/23 Page 13 of 16




         1 it replied to CIR’s email on August 5, 2022. The remaining allegations contain conclusions of law,

         2 Plaintiffs’ characterization of its reason for sending an email on August 5, 2022, and Plaintiff’s

         3 characterization of the content of those emails, to which no response is required. Defendant respectfully

         4 refers the Court to that email correspondence for a full and accurate statement of their contents.

         5 Defendant denies any remaining allegations contained in Paragraph 62.

         6                                      OFCCP’s Federal Register Notice

         7          63.     Defendant admits only that on August 19, 2022, it published a notice in the Federal

         8 Register. The remaining allegations contained in Paragraph 63 contain conclusions of law and

         9 Plaintiffs’ characterization of the Federal Register notice, to which no response is required. Defendant

        10 respectfully refers the Court to the Federal Register notice for a full and accurate statement of its

        11 contents. Defendant denies any remaining allegations contained in Paragraph 63.

        12          64.     Defendant admits only that it published its “Evans FOIA Correspondence Since 2019” to

        13 its online OFCCP FOIA Library on or about September 23, 2022. Defendant avers that this release was

        14 in response to a FOIA request from a third party. The remaining allegations contained in Paragraph 64

        15 constitute conclusions of law and Plaintiffs’ opinions and/or subjective characterizations, interpretations,

        16 speculation, and generalizations to which no response is required. Defendant respectfully refers the

        17 Court to the cited OFCCP FOIA Library records for a full and accurate statement of their contents.

        18 Defendant denies any remaining allegations contained in Paragraph 64.

        19          65.     The allegations in Paragraph 65 consist of Plaintiffs’ characterization of Defendant’s

        20 August 19, 2022 Federal Register notice. Defendant respectfully refers the Court to the Federal Register

        21 notice for a full and accurate statement of its contents.

        22          66.     Defendant admits only that it extended the deadline for contractors to submit written

        23 objections to October 19, 2022. Defendant avers that it announced this extension via its website on the

        24 OFCCP Submitter Notice Response Portal. Defendant respectfully refers the Court to the cited Federal

        25 Register notice for a full and accurate statement of its contents.

        26          67.     Defendant lacks sufficient information or knowledge to form a belief as to the truth or

        27 falsity of the allegations contained in Paragraph 67, and on that basis denies them. Paragraph 67 further

        28 constitutes Plaintiffs’ characterization of publicly available articles, to which no response is required,

             ANSWER TO COMPLAINT
             No. 3:22-cv-07182-WHA                            13

                                                         SER-1157
(258 of 262), Page 258 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 258 of 262
                    Case 3:22-cv-07182-WHA Document 16 Filed 01/18/23 Page 14 of 16




         1 and does not set forth a claim for relief or aver facts in support of a claim to which a response is

         2 required. On that basis, Defendant denies the allegations contained in Paragraph 67. Defendant

         3 respectfully refers the Court to the cited articles for a full and accurate statement of their contents.

         4          68.     Defendant admits that it sent an email to Mr. Evans on November 1, 2022. The

         5 remaining allegations contained in Paragraph 68 constitute Plaintiffs’ characterization of Defendant’s

         6 November 1, 2022 email, to which no response is required. Defendant respectfully refers the Court to

         7 that email for a full and accurate statement of its contents.

         8          69.     The allegations contained in Paragraph 69 consist of conclusions of law to which no

         9 response is required. To the extent any further response is required, Defendant avers that it is continuing

        10 to process FOIA Request 872421. Defendant denies any remaining allegations contained in Paragraph

        11 69.

        12          70.     Defendant admits only that more than 20 working days have passed since January 15,

        13 2019. Defendant denies any remaining allegations or conclusions implied by the allegations contained

        14 in Paragraph 70.

        15          71.     Defendant denies the allegations contained in Paragraph 71.

        16          72.     Defendant denies the allegations contained in Paragraph 72.

        17          73.     Paragraph 73 consists of consists of conclusions of law and Plaintiffs’ characterization of

        18 the legal relief it seeks, to which no response is required. To the extent a response is required,

        19 Defendant denies the allegations contained in Paragraph 73.

        20                                             CAUSE OF ACTION

        21                                  Violation of Freedom of Information Act

        22          74.     Defendant realleges and incorporates by reference its responses to Paragraphs 1-73 above

        23 as though fully set forth herein.

        24          75.     The allegations contained in Paragraph 75 consist of Plaintiffs’ conclusions of law and

        25 characterization of FOIA requirements, to which no response is required. To the extent a response is

        26 required, Defendant denies the allegations contained in Paragraph 75.

        27          76.     Defendant denies the allegations contained in Paragraph 76.

        28          77.     The allegations contained in Paragraph 77 consist of Plaintiffs’ conclusions of law, to

             ANSWER TO COMPLAINT
             No. 3:22-cv-07182-WHA                            14

                                                         SER-1158
(259 of 262), Page 259 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 259 of 262
                    Case 3:22-cv-07182-WHA Document 16 Filed 01/18/23 Page 15 of 16




         1 which no response is required. To the extent a response is required, Defendant denies the allegations

         2 contained in Paragraph 77.

         3          78.     Defendant denies the allegations contained in Paragraph 78.

         4          79.     Defendant denies the allegations contained in Paragraph 79.

         5                                            REQUESTED RELIEF

         6          The remainder of Plaintiffs’ Complaint consists of Plaintiffs’ prayer for relief, to which no

         7 response is required. To the extent these paragraphs are deemed to contain factual allegations,

         8 Defendant denies those allegations and denies that Plaintiffs are entitled to any relief.

         9                                             GENERAL DENIAL

        10          Except to the extent expressly admitted or qualified above, Defendant denies each and every

        11 allegation contained in Plaintiffs’ Complaint.

        12                                 AFFIRMATIVE OR OTHER DEFENSES

        13                                     FIRST AFFIRMATIVE DEFENSE

        14          The Court lacks subject matter jurisdiction over some or all of the claims alleged or relief

        15 requested.

        16                                   SECOND AFFIRMATIVE DEFENSE

        17          The Complaint fails to state a claim upon which relief may be granted.

        18                                    THIRD AFFIRMATIVE DEFENSE

        19          Plaintiffs have failed to exhaust administrative remedies.

        20                                   FOURTH AFFIRMATIVE DEFENSE

        21          Plaintiffs’ requests are not proper requests for documents under FOIA.

        22                                     FIFTH AFFIRMATIVE DEFENSE

        23          Plaintiffs have not alleged sufficient factual and/or legal bases for their request for costs and/or

        24 attorneys’ fees.

        25                                     SIXTH AFFIRMATIVE DEFENSE

        26          At all times alleged in the Complaint, Defendant was acting with good faith, with justification,

        27 and pursuant to authority.

        28                                  SEVENTH AFFIRMATIVE DEFENSE

             ANSWER TO COMPLAINT
             No. 3:22-cv-07182-WHA                            15

                                                         SER-1159
(260 of 262), Page 260 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 260 of 262
                    Case 3:22-cv-07182-WHA Document 16 Filed 01/18/23 Page 16 of 16




         1         The Freedom of Information Act does not authorize the injunctive relief requested.

         2                                  EIGHTH AFFIRMATIVE DEFENSE

         3         The requests that are the subject of this lawsuit may implicate certain information that is exempt

         4 or protected from disclosure, in whole or in part, by one or more statutory exemptions. Disclosure of

         5 such information is not required or permitted.

         6                                   NINTH AFFIRMATIVE DEFENSE

         7         Defendant has conducted adequate searches in response to the underlying requests under the

         8 Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, as amended, or otherwise is in the process of

         9 completing its searches for and releases of any non-exempt, responsive records, or segregable portions

        10 thereof.

        11                                         PRAYER FOR RELIEF

        12         WHEREFORE, Defendant prays that:

        13         1.      Plaintiffs take nothing by its Complaint;

        14         2.      The Complaint be dismissed with prejudice;

        15         3.      Judgment be entered in favor of Defendant;

        16         4.      Defendant be awarded its costs of suit;

        17         5.      The Court award such other and further relief as it may deem proper.

        18

        19 DATED: January 18, 2023                               Respectfully submitted,

        20                                                       STEPHANIE M. HINDS
                                                                 United States Attorney
        21
                                                                 /s/ Pamela T. Johann
        22                                                       PAMELA T. JOHANN
                                                                 Assistant United States Attorney
        23
                                                                 Attorneys for Defendant
        24

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             ANSWER TO COMPLAINT
             No. 3:22-cv-07182-WHA                          16

                                                       SER-1160
(261 of 262), Page 261 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 261 of 262
                     Case 3:22-cv-07182-WHA Document 14 Filed 12/28/22 Page 1 of 1




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                                       4                                   UNITED STATES DISTRICT COURT

                                       5                                  NORTHERN DISTRICT OF CALIFORNIA

                                       6

                                       7     CENTER FOR INVESTIGATIVE                            Case No. 22-cv-07182-SK
                                             REPORTING, et al.,
                                       8                    Plaintiffs,                          ORDER REASSIGNING CASE
                                       9             v.
                                      10
                                             UNITED STATES DEPARTMENT OF
                                      11     LABOR,
                                                            Defendant.
                                      12
    Northern District of California
     United States District Court




                                      13          IT IS ORDERED that this case has been reassigned using a proportionate, random and

                                      14   blind system pursuant to General Order No. 44 to the Honorable William H. Alsup in the San

                                      15   Francisco division for all further proceedings. Counsel are instructed that all future filings shall

                                      16   bear the initials WHA immediately after the case number.

                                      17          All hearing and trial dates presently scheduled are vacated. However, existing briefing

                                      18   schedules for motions remain unchanged. Motions must be renoticed for hearing before the judge

                                      19   to whom the case has been reassigned, but the renoticing of the hearing does not affect the prior

                                      20   briefing schedule. Other deadlines such as those for ADR compliance and discovery cutoff also

                                      21   remain unchanged.

                                      22   Dated: December 28, 2022

                                      23

                                      24
                                                                                             Mark B. Busby
                                      25                                                     Clerk, United States District Court
                                      26
                                      27

                                      28   A true and correct copy of this order has been served by mail upon any pro se parties.


                                                                                 SER-1161
(262 of 262), Page 262 of 262
                            Case: 24-880, 07/10/2024, DktEntry: 16.5, Page 262 of 262
                    Case 3:22-cv-07182-WHA Document 14-1 Filed 12/28/22 Page 1 of 1




                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
                                                      cand.uscourts.gov




                              NOTICE OF ELIGIBILITY FOR VIDEO RECORDING


                   This case is assigned to a judge who participates in the Cameras in Courtroom Pilot Project.
            See General Order 65 and cand.uscourts.gov/cameras. The parties’ consent is required before any
            proceedings in this case may be recorded. If a party, the presiding judge, or a member of the media
            requests that a proceeding be recorded, consent of the parties will be presumed unless a party
            submits an Objection to Request for Video Recording form as directed by the Cameras in the
            Courtroom Procedures.


                   Parties objecting to video recording are asked, for research purposes, to communicate to
            the Court the reasons for declining to participate. If you decline to participate, you should candidly
            convey the reasons for your decision. Whether you agree to participate or decline to participate
            will have no effect on your case whatsoever.




                                                                          _________________
                                                                          Clerk, Clerk of Court




                                                         SER-1162
